Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 1 of 465




                           Exhibit 6
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 2 of 465
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 3 of 465
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 4 of 465
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 5 of 465
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 6 of 465




                           Exhibit 7
    Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 7 of 465




                          ARIZONA SUPREME COURT

 STATE OF ARIZONA,                        No. CR–87–0135–AP
               Appellee                   Pima County Superior Court
                                          Nos. CR14065 and CR15397
          v.
 FRANK JARVIS ATWOOD,                     Ninth Circuit No. 14–99002

               Appellant.                 U.S. District Court No. CV–98–116–
                                          TUC–JCC

                                          MOTION TO MODIFY BRIEFING
                                          SCHEDULE

                                          (Capital Case)


      The State of Arizona hereby respectfully moves to modify the briefing

schedule this Court established in this matter for the State’s Motion for Warrant of

Execution under A.R.S. § 13–759(A).           The State’s anticipated motion has

previously been disclosed, see Motion to set Briefing Schedule, filed 4/6/21, at Ex.

A, and it is presently due to be filed on July 21, 2021, for an anticipated conference

date of August 24, 2021.      Order, filed 5/21/21.     Should this Court grant an

execution warrant on August 24, Atwood’s execution would occur 35 days later,

on September 28, 2021. See A.R.S. § 13–759(A). This request is supported by the

existence of “highly extraordinary circumstances,” see Order, filed 5/21/21, in the

form of new information recently acquired from the Arizona Department of

Corrections, Rehabilitation and Reentry (ADCRR) bearing on the compounded


                                          1
    Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 8 of 465




pentobarbital’s beyond-use date. Moreover, Atwood will not suffer any prejudice

from modifying the briefing schedule.

      ADCRR’s retained compound pharmacist previously advised ADCRR that

the pentobarbital to be used in Atwood’s execution would have a 90-day beyond-

use date once compounded. See Motion to Set Briefing Schedule, filed 4/6/21, at

2. The State moved for a briefing schedule in good-faith reliance on that opinion.

The pharmacist, however, has now revised that opinion and has advised ADCRR

that, until certain specialized testing of a sample batch is conducted, pentobarbital

that is compounded for Atwood’s execution will have an initial beyond-use date of

45 days. The specialized testing could extend the beyond-use date of subsequently

compounded doses from the same batch of pentobarbital. However, this testing

has not yet commenced and will not be completed in time to accommodate the

briefing schedule.

      As discussed in previous pleadings, ADCRR’s compound pharmacist will

compound the pentobarbital shortly after the date on which the State’s Motion is

filed to comply with the protocol’s testing and disclosure requirements.         See

ADCRR Dep’t Order 710, Attach. D, ¶ C.2. 1             Under the current briefing

schedule—which was set in reliance on the previously quoted 90-day beyond-use

                             ________________________
1
 Publicly available at
https://corrections.az.gov/sites/default/files/policies/700/0710_031021.pdf.


                                         2
    Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 9 of 465




date—the pentobarbital will expire prior to Atwood’s anticipated execution on

September 28. Under the terms of a civil settlement, ADCRR may not “use or

select for use in an execution” any chemicals having a beyond-use date falling

before the date of an execution. See Motion to Set Briefing Schedule, filed 4/6/21,

at Ex. C, pp. 2–3, ¶ (2)(f).

      Accordingly, the State respectfully requests that this Court modify the

briefing schedule currently in place so that the September 28 projected execution

date will fall within the 45-day initial beyond-use date of the compounded

pentobarbital. As stated above, this Court has identified an anticipated conference

date of August 24, 2021, see Order, filed 5/21/21, and the State has already

disclosed to this Court and counsel a copy of the Motion for Warrant of Execution

that it intends to file. See Motion to Set Briefing Schedule, filed 4/6/21, at Ex. A.

The State thus proposes the following briefing schedule:

      • The State shall file its Motion for Warrant of Execution no later
        than 5:00 p.m. on August 13, 2021;

      • Atwood shall respond to the Motion no later than 5:00 p.m. on
        August 17, 2021;

      • The State shall file its reply, if any, no later than 5:00 p.m. on
        August 18, 2021.

      Atwood will not suffer any prejudice from modifying the briefing schedule.

This is the first request for any sort of modification to the briefing schedule.

Moreover, Atwood’s current deadline for responding to the State’s motion (a copy

                                         3
    Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 10 of 465




of which he has had for months, thereby enabling him to begin work on his

response) is August 4, 2021. See Order, filed 5/21/21. The State’s proposed

modification would thus give him an additional 13 days to prepare his response.

And as discussed in prior pleadings, see Motion to Set Briefing Schedule, filed

4/6/21, at 5–6, this proceeding is limited to the narrow question whether the

“conviction and sentence of death [have been] affirmed and the first post-

conviction relief proceedings have concluded.” A.R.S. § 13–759(A); see Ariz. R.

Crim. P. 31.23(b). Atwood’s response to this question should therefore be fairly

easy to prepare. 2

      Accordingly, for the foregoing reasons, the State respectfully moves to

modify the briefing schedule that the Court established in this matter for the State’s

Motion for Warrant of Execution.




                             ________________________
2
  In the event this Court is not inclined to modify the briefing schedule as discussed
above, then the State respectfully moves in the alternative for a temporary stay of
the briefing schedule. This option is not preferred because it would necessitate
scheduling a new conference date for the execution warrant and, by extension,
result in a new projected execution date. This would create unnecessary delay and
emotional trauma for the victims in this aging capital case. See Ariz. Const. Art. 2,
§ 2.1(A)(10) (entitling victim to prompt and final conclusion of the case).
However, this option would allow ADCRR to confirm that the compounded
chemical will carry a longer beyond-use date. Should this Court stay the
proceeding, the State will promptly notify this Court and counsel when testing is
complete and any new beyond-use date determined.


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  Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 11 of 465




    DATED this 22nd day of June, 2021.

                                   Respectfully submitted,

                                   Mark Brnovich
                                   Attorney General
                                   (Firm State Bar No. 14000)


                                   s/Lacey Stover Gard
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QZPRWHBG0F11MC




                                    5
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 12 of 465




                           Exhibit 8
  Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 13 of 465




                           ARIZONA SUPREME COURT

 STATE OF ARIZONA,                       No. CR-87-0135-AP
                Appellee                 Pima County Superior Court
                                         Nos. CRl 4065 and CRl5397

 FRANK JARVIS AIWOOD,                    Ninth Circuit No. I 4-99002

                Appellant.               U.S. District Court No. CV-98-116-
                                         TUC_JCC

                                         MOTION TO SET BRIEFING
                                         SCHEDULE FOR MOTION FOR
                                         WARRANT OF EXECUTION.

                                         (Capital Case)


      The State of Arizona hereby gives notice of its intent to move for a warrant

of execution under Rule of Criminal Procedure 31.23(b) for Frank Jarvis Atwood

A copy of the State's anticipated motion is attached hereto as Exhibit    A.   For the

reasons that   follow, the State respectfully moves this Court to establish a firrn

briefing schedule in advance of the motion's filing to ensure that the State's motion

will be decided by this Court on a date certain and the Arizona Department of

Corrections, Rehabilitation, and Reentry (ADCRR) can accordingly comply with

its testing and disclosure obligations regarding the drug to be used in the execution

      In the event Atwood selects lethal injection as his method of execution,     see

A.R.S.   $   13-757(8), ADCRR intends        to   execute   him using   compounded
  Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 14 of 465



pentobarbital. Once compounded, the drug has a beyond-use date of 90 days from

the date of compounding. In April 2021, the State filed a similar motion in this

case based on an opinion from            ADCRR's retained compound pharmacist that, once

compounded, the pentobarbital to be used would have an initial beyond-use date                of

90 days. After this Court set a briefing schedule, however, the compound

pharmacist revised his original opinion and advised that, until certain specialized

testing of a sample batch was conducted, pentobarbital compounded for Atwood's

execution would have an initial beyond-use date of 45 days. No. CR-87-0135-AP,

Motion to Modifo Briefing Schedule, filed June 22,2021. That testing has now

been completed, establishing that the pentobarbital                    to be used in    Atwood's

execution will have a beyond-use date of at least 90 days.

      The current lethal-injection protocol and a related civil settlement prohibit

ADCRR from using or selecting for use any drug that will be expired or past its

use-by date at the time the execution is carried          out.   See   ADCRR Dep't Order 710,

Attach. D,   tT   A.1.III;   see also   Exhibit B (federal court order).r Therefore, to ensure

strict compliance with the protocol, ADCRR intends to carry out the execution

during the drug's 90-day shelf life-established by the recent testing-from the

date of compounding.


I Departmental Order 710 is publicly available at
https;//corrections.az.s                          le/policies/iOOl07lO      03 1021 .pdf,




                                                   2
  Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 15 of 465




      Separately, the lethal-injection protocol requires ADCRR           to   disclose to

Atwood upon request (which he will presumably make), a quantitative analysis of

the chemical to be used in his execution within 10 days of the State's filing of a

motion for warrant of execution. See ADCRR Dep't Order 710, Attach. D,             1l   C.2

To ensure ADCRR can meet this obligation to provide testing results within               10


days and also have the compounded pentobarbital be within the 90-day shelf-life

on the date of the execution, the drug must be compounded no more than a few

days before the deadline for providing the testing report (i.e.,    l0 days after the
State's motion for warrant of execution is filed in this Court). This is because,        as


noted above, once the drug is compounded, its 90-day shelf life   will   begin to run.

      Under an ordinary briefing schedule, assuming no extensions are requested

or received, and that this Court does not prescribe different deadlines, Atwood

would receive 10 days to respond to the State's motion and the State would receive

5 days to file its reply. See ARCAP (6)(a)(2); see also Ariz. R. Crim. P.31.6(e)

This Court would then conference the motion and,      if it grants the motion, would
fix an execution date 35 days from the date the motion is granted.        See A.R.S.      $


l3-759(A); Ariz. R. Crim. P. 31.23(c). But when extended filing periods                  are

granted, as is virtually inevitable in capital cases, the pre-warrant briefing process




                                          J
    Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 16 of 465



alone, not including the statutory 35-day waiting period on the execution warrant,

can last for months.2

       The State therefore respectfully requests that this Court issue a set briefing

schedule for the State's anticipated motion    for warrant of execution. The State

requests that this Court   identiff in advance the date on which it will consider   and

potentially issue the execution warrant and, working backward, calendar deadlines

as follows3:

       1. The State shall file its motion for an execution warrant (along with
          its motion to consolidate, if necessary) approximately 30 days
          before this Court's conference date. The motion shall be identical
          to Exhibit A to this pleading.

       2. Atwood shall respond to the State's motions within 10 calendar
          days of the date of the motions'filing.

       3. The State shall file its replies, if any, within 5 calendardays of the
          filing of Atwood's responses.


2 For example, the pre-warrant litigation for inmate Robert Glen Jones spanned
approximately 2 months. See No. CR-98-0537-AP, Motion for Warrant of
Execution (filed on June 25,2013); Warrant of Execution (issued on August27,
2013). Likely because another inmate was also pending execution, Jones's
execution date was fixed for a date past the 35-day statutory waiting period. See
id., Warrant of Execution (fixing date for execution as October 23, 2013). Nearly 4
months thus elapsed between the State's request for an execution warrant and
Jones's execution.

3The State has this date filed a similar motion in inmate Clarence Dixon's case.
See No. CR-08-0025-AP. The State asks that this Court stagger the respective
briefing schedules so that the cases are not conferenced at the same time.



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    Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 17 of 465



While the responsive briefing            is ongoing, ADCRR will        ensure that the

pentobarbital is compounded and tested and the testing results disclosed within 10

days of the State's motion's       filing (Item #1 above). This schedule would   ensure

that ADCRR can comply with its obligation to provide quantitative testing results

of the compounded pentobarbital within 10 days after the State files its motion for

a warrant of execution and carry out the execution within the drug's 90-day shelf

life

         This procedure also will not prejudice Atwood. As discussed, the State has

attached to this pleading a copy of its anticipated motion for warrant of execution.

See    Exhibit   A.   Atwood therefore has received notice of the State's motion and can

begin to work on his response, as well as any other last-minute litigation he intends

to pursue, while he awaits this Court's briefing schedule. Atwood has                 also

received, through this motion, advanced notice that ADCRR intends                to   use

compounded pentobarbital in his execution should he select lethal injection, which

will enable him to pursue expeditiously any civil challenges     he deems appropriate.a

         Moreover, the issue before this Court in determining whether to issue           a

warrant is narrow: this Court need only determine whether Atwood's first post-

conviction proceeding and habeas appellate review have concluded. See A.R.S.            $


a
  Under the protocol, ADCRR is not required to disclose the drug to be used until
the State files a motion for warrant of execution . See ADCRR Dep't Order 710,
Attach. D, tTtT C.l & C.2.


                                              5
  Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 18 of 465



13-759(4); Ariz. R. Crim. P. 31.23(b). If those proceedings have terminated,       as


the State will show, see Exhibit A, the relevant statute and procedural rule,

respectfully, leave this Court no discretion to deny the warrant. See A.R.S. 13-

759(A) (directing that "the supreme court shall issue a warrant of execution" once

the first post-conviction proceeding has concluded, and that the "supreme court

shall grant subsequent warrants of execution on a motion by the state") (emphasis

added); Ariz. R. Crim. P.   31   .23(b) ("On the State's motion, the Supreme Court

must issue a warrant of execution when federal habeas corpus proceedings and

habeas appellate review conclude.") (emphasis added).

     Accordingly, in light of this Court's narrow inquiry, combined with the

State's early disclosure of its anticipated motions for an execution warrant and to

consolidate, a firm briefing schedule from the date the Court   will   conference the

motion on the timeframe set forth above is appropriate. For these reasons, the

State respectfully requests that this Court grant this motion and set      a briefing

schedule for its upcoming motion for warrant of execution.




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Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 19 of 465



  DATED this 5th day of January 2022.

                                  Respectful ly submitted,

                                  Mark Brnovich
                                  Attorney General
                                  (Firm State Bar No. 14000)


                                  siJeffrev L. Sparks
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Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 20 of 465




   E,XHIBIT A
  Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 21 of 465




                            ARIZONA SUPREME COURT

 STATE OF AzuZONA,                           No. CR-87-0135-AP
                 Appellee                    Pima County Superior Court
                                             Nos. CRI 4065 and CRI 5397
           v

 FRANK JARVIS AIWOOD,                        Ninth Circuit No. 1 4-99002

                 Appellant.                  U.S. District Court No. CV-98-116-
                                             TUC-JCC

                                             MOTION FOR WARRANT OF
                                             EXECUTION

                                             (Capital Case)


    Pursuant    to A.R.S. $ l3-759(A) and Arizona Rule of Criminal         Procedure

31.23(b), the State of Arizona moves this Court for a Warrant of Execution for

Frank Jarvis Atwood. Atwood's direct appeal, first post-conviction proceeding,

and federal habeas proceeding have concluded. Accordingly, under $ 13-759(4.)

and Rule 31.23(b), a warrant    of execution must issue. See A.R.S.        13-759(4.)

("After a conviction and sentence of death are affirmed and the first           post-

conviction relief proceedings have concluded, the supreme court shall issue         a


warrant   of   execution that authorizes the director   of the state department of
corrections to carry out the execution thirty-five days after the supreme court's

mandate or order denying review or upon motion by the state. The supreme court

shall grant subsequent warrants of execution on a motion by the state."); Ariz. R.


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        Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 22 of 465



Crim. P.        3   1   .23(b) ("On the State's motion, the Supreme Court must issue a warrant

of execution when federal habeas corpus proceedings and habeas appellate review

conclude.").

            A jury convicted Atwood of the 1984 kidnapping and first-degree murder of

S-year-old              V.L.H. State v. Arwood, l7l Ariz. 576, 591-96 (1992). A judge
sentenced Atwood to death for the first-degree murder conviction. Id. at 591. This

Court affirmed Atwood's convictions and sentences on direct review, see id., and

the United States Supreme Coun denied certiorari, Atwood v. Arizona, 506 U.S.

1084 (1993) (Mem.). The trial court denied Atwood's first petition for post-

conviction relief, this Court denied review, see No. 97-0289-PC, and the United

States Supreme Court again denied certiorari, Atwood v. Arizona,523 U.S. 1082

(   1   ee8).

            Atwood filed his federal habeas petition on March 12, 1998, and the district

court denied relief on January 27, 2014. See Atwood v. Ryan, 2014 WL 289987

(D. Ariz. Jan.27,2014). The Ninth Circuit affirmed the district court's decision on

September 13,2017, Atwoodv. Ryan,870 F.3d 1033 (9th Cir.2017), and denied

Atwood's petitions for panel and en banc rehearing on January 8,2018, with no

judge requesting a vote on whether to rehear the matter en banc. See Ninth Circuit

No. 14-99002, Dkt. # 76. Atwood failed to file a timely petition for writ of

certiorari, and the United States Supreme Court denied his motion to file a petition



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  Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 23 of 465



out-of-time.   See Atwood v.   Ryan,139 S. Ct.298 (2018) (Mem.)

      Atwood's federal habeas appeals have thus concluded. This Court should

therefore issue an execution warrant. See A.R.S. $ 13-759(A); Ariz. R. Crim. P.

31.23(b)


     DATED this     _   day of   _,2022
                                         Respectful ly submitted,

                                         Mark Brnovich
                                         Attorney General
                                         (Firm State Bar No. 14000)

                                         s/Jeffrey L. Sparks
                                         Acting Chief Counsel
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                                         Attorneys for Appellee


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Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 24 of 465




   E,XHIBIT B
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 25 of 465
      Case 2:14-cv-01447-NVW Document           l-87   triled 061221L7 Page 1 of 4



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 6                          IN THE TINITED STATES DISTzuCT COURT
 7                                 FOR THE DISTzuCT OF ARIZONA
 8

 9   First Amendment Coalition of Arizona, Inc.;        No. CV- I 4-01 447 -PFX-NVW
     Charles Michael Hedlund; Graham S. Henry;
l0   David Gulbrandson: Robert Povson: Todd             ORDER FOR DISMISSAL                   OF
     Smith; Eldon Schurz, and Roger Scott,              CLAIMS SIX AND SEVEN
l1
                     Plaintiffs,
t2
l3
     CharlesL Ryan, Director of ADC; James
t4   O'Neil, Warden, ASPC-Eyman; Greg
     Fizer, Warden, ASPC-Floren'ce; arid Doef
15   1-10, Unknown ADC Personnel, in their
     official capacities as Agents of ADC,
16
                     Defendants.
t7
18

t9
           Plaintiffs Charles Michael Hedlund, Graham S. Henry, David Gulbrandson,
20
     Robert Poyson, Todd Smith, Eldon Schurz, and Roger Scott (collectively, "Plaintiffs"),
2l
     and Defendants Charles        L. Ryan, Director of the Arizona Department of Corrections
22
     ("ADC"); James O'Neil, Warden, ASPC-Eyman; and Greg Fizer, Warden. ASPC-
23
     Florence (collectively, "Defendants"), have jointly stipulated to dismiss Claims Six and
24
     Seven of Plaintiffs' Second Amended Complaint (ECF Nos. 94         &   97) and Supplemental
25
     Complaint (ECF No. 163) ("Claims Six and Seven"), based upon the recitals in the
26
     parties' concurrently filed Stipulated Settlement Agreement for Dismissal of Claims Six
)1
     and Seven ("Stipulated Settlement Agreement") (ECF No. 186), and under the terms that
28
     follow below.
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 26 of 465
      Case 2:14-cv-01447-NVW Document             l-87   triled 061221L7 Page 2 oI 4



 I         Having considered the parties' Stipulated Settlement Agreement, and good cause
 2   appearing, IT IS I{EREBY ORDERED that:

 3         (1)     Claims Six and Seven         of Plaintiffs'   Second Amended Complaint and
 4   Supplemental Complaint are dismissed, without prejudice.

 5         (2)     Upon any showing by any Plaintiff or any other current or future prisoner
 6   sentenced   to death in the   State   of   Arizona that any   of the Defendants, any of         the

 7   Defendants' successors, or the ADC intend to engage in or have actually engaged in any
 8   of the following conduct (together, the "Prohibited Conduct"):
 9                 (a)    adopt language        in any future version of the ADC's execution
l0         procedures that purports to disclaim the creation of rights or obligations;

11                 (b)   grant the ADC and/or the ADC Director the discretion to deviate
t2         from timeframes set forth in the ADC's execution procedures regarding issues that
l3         are central to the execution process, which include but are not limited to those
t4         relating to execution chemicals and dosages, consciousness checks, and access of
l5         the press and counsel to the execution itself;

16                 (c)   change the quantities         or types of     chemicals   to be used in      an

t7         execution after a warrant of execution has been sought without first notifying the
18         condemned prisoner and his/her counsel of the intended change, withdrawing the

19         existing warrant of execution, and applying for a new warrant of execution;
20                 (d)    select for use in an execution any quantity or type of chemical that

2l         is not expressly permitted by the then-current, published execution procedures;

22                 (e)   fail to provide upon request, within ten calendar days after the State
23         of    Arizona seeks   a   warrant     of   execution,   a   quantitative analysis   of   any

24         compounded or non-compounded chemical to be used in an execution that reveals,

25         at a minimum, the identity and concentration of the compounded or                        non-

26         compounded chemicals;

27                 (0    use or select     for use in an execution any chemicals that have an
28         expiration or beyond-use date that is before the date that an execution is to be


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Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 27 of 465
      Case 2'.I4-cv-01-447-NVW Document         187    triled 06122117 Page 3 of 4



 I          carried out; or use or select for use in an execution any chemicals that have an
 2          expiration or beyond-use date listed only as a month and year that is before the
 3          month in which the execution is to be carried out;
 4                 (g)      adopt   or use any lethal-injection protocol that uses a      paralytic
 5          (including but not limited to vecuronium bromide, pancuronium bromide, and
 6          rocuronium bromide); or
 7                 (h)      adopt any provision in any future version of the ADC's execution
 8          procedures that purports to permit prisoners or their agents to purchase and/or

 9          supply chemicals for use in the prisoner's own execution; then
l0   Claims Six and Seven shall be reinstated and reopened pursuant to Rule 60(b)(6) of the
l1   Federal Rules of Civil Procedure, and, based on the agreement and consent       of the parties
t2   granted in their concurrently filed Stipulated Settlement Agreement,    an injunction    shall
13                                                     for breach of the parties'
     immediately issue in this action or in a separate action
t4   Stipulated Settlement Agreement, permanently enjoining Defendants, Defendants'
15   successors, and the   ADC from engaging in any of the Prohibited Conduct.
16          (3)    Plaintiffs shall not be awarded attorneys' fees or costs incurred in litigating
t7   Claims Six and Seven unless Defendants, Defendants' successors, or the ADC breach the
l8   parties' Stipulated Settlement Agreement, in which case Plaintiffs shall be entitled to an
l9   award, either in this action or in a separate action for breach of the parties' Stipulated
20   Settlement Agreement, of their reasonable attorneys' fees and costs incurred in litigating

2l   this action from its inception through the date of this Order (which currently are in excess
22   of   $2,630,000), as determined     by the Court after briefing by the parties. In        that

23   circumstance, Plaintiffs shall also be entitled to seek to collect their reasonable attorneys'

24   fees and costs incurred in moving to enforce the parties' Stipulated Settlement Agreement

25   and this Order.

26          (4)    The stay order (Doc.68) entered November 24,2014, is vacated.
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Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 28 of 465
      Case 2:L4-cv-01447-NVW Document         187    Filed   O5l22lt7 Page 4 of 4



 I          With the entry of this Order, all claims of all parties have been disposed            of.   The
 2   Clerk shall terminate this case.
 J          Dated: June 22,2017   .



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 6                                                                  Hon         Neil Y. \\ake
                                                               Senior Urrited States District Judse
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Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 29 of 465




                           Exhibit 9
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      Case2:22-cv-00860-MTL--JZB
            2:22-cv-00743-DJH--JFMDocument
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                                                         05/06/22 Page
                                                                   Page301 of
                                                                           of 465
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 6                        IN THE UNITED STATES DISTRICT COURT
 7                                 FOR THE DISTRICT OF ARIZONA
 8
 9     Clarence Wayne Dixon,                              No. CV-22-00743-PHX-DJH (JFM)
10                   Petitioner,                          ORDER
11     v.
12     Arizona Department of Corrections
       Rehabilitation and Reentry, et al.,
13
                     Respondents.
14
15            In this civil rights action, Plaintiff Clarence Dixon challenges ADCRR’s failure to
16     provide Beyond Use Date information for the compounded pentobarbital the State

17     intends to use to execute him next Wednesday, May 11, 2022.             Plaintiff filed an
18     Emergency Motion for Temporary Restraining Order or Preliminary Injunction to compel

19     that information or stay his execution (Doc. 5).

20            Defendants filed a Motion to Dismiss and a Response indicating it had provided
21     the information Plaintiff requested (Doc. 9). Defendants attached a redacted laboratory
22     report reflecting various testing of compounded pentobarbital which, according to

23     Defendants, includes “what facially is a BUD.” Plaintiff disputes that the information

24     provided is responsive to his request for confirmation that the State plans to execute him

25     with unexpired pentobarbital (Doc. 11).

26            Upon review of the laboratory report, the Court will direct Defendants to file a
27     supplemental Notice as reflected herein.
28            The Notice must state the Beyond Use Date for the compounded pentobarbital the
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      Case2:22-cv-00860-MTL--JZB
            2:22-cv-00743-DJH--JFMDocument
                                    Document
                                           1-212 Filed
                                                   Filed05/19/22
                                                         05/06/22 Page
                                                                   Page312 of
                                                                           of 465
                                                                              2



 1     State intends to use to execute Plaintiff next Wednesday, May 11, 2022. If unable to
 2     provide that specific information, the Notice must explain to the Court why the State is
 3     unable to provide such information.       To the extent that the State needs additional
 4     certification from the compounding pharmacist to establish the BUD, the Court will
 5     allow them to obtain that additional certification, but the Notice must explain: 1) exactly
 6     how it intends to obtain any additional testing or certification and 2) when it will be
 7     provided to Plaintiff and to the Court.
 8            Because of the obvious time constraints, the Court will set this matter for a status
 9     conference tomorrow, Saturday May 7, 2022 at 11.30 a.m. to discuss any issues relating
10     to the State’s forthcoming notice.
11            IT IS ORDERED:
12            (1)    Before midnight on May 6, 2022, Defendants must file a Notice as
13                   described herein.
14            (2)    This matter is set for a Telephonic Status Conference tomorrow, Saturday
15                   May 7, 2022 at 11.30 a.m. to discuss any issues relating to the State’s
16                   forthcoming notice. The Court will email the parties dial-in instructions.
17            Dated this 6th day of May, 2022.
18
19
20                                                  Honorable Diane J. Humetewa
21                                                  United States District Judge

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Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 32 of 465




                          Exhibit 10
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Case 2:22-cv-00860-MTL--JZB
     2:22-cv-00743-DJH--JFM Document
                            Document1-2
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                                               05/19/22
                                                 05/06/22Page
                                                          Page331ofof465
                                                                      13




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Case 2:22-cv-00860-MTL--JZB
     2:22-cv-00743-DJH--JFM Document
                            Document1-2
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                                                          Page342ofof465
                                                                      13
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Case 2:22-cv-00860-MTL--JZB
     2:22-cv-00743-DJH--JFM Document
                            Document1-2
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                                                 05/06/22Page
                                                          Page353ofof465
                                                                      13




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Case 2:22-cv-00860-MTL--JZB
     2:22-cv-00743-DJH--JFM Document
                            Document1-2
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                                                          Page364ofof465
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Case 2:22-cv-00860-MTL--JZB
     2:22-cv-00743-DJH--JFM Document
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                                                          Page375ofof465
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Case 2:22-cv-00860-MTL--JZB
     2:22-cv-00743-DJH--JFM Document
                            Document1-2
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                                                          Page386ofof465
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Case 2:22-cv-00860-MTL--JZB
     2:22-cv-00743-DJH--JFM Document
                            Document1-2
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                                                          Page397ofof465
                                                                      13




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Case 2:22-cv-00860-MTL--JZB
     2:22-cv-00743-DJH--JFM Document
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                                                          Page408ofof465
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Case 2:22-cv-00860-MTL--JZB
     2:22-cv-00743-DJH--JFM Document
                            Document1-2
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                                               05/19/22
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                                                          Page419ofof465
                                                                      13
Case 2:22-cv-00743-DJH--JFM
     2:22-cv-00860-MTL--JZB Document 1-2
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                                           Filed05/19/22
                                                 05/06/22 Page
                                                           Page4210ofof465
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Case 2:22-cv-00743-DJH--JFM
     2:22-cv-00860-MTL--JZB Document 1-2
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                                                           Page4311ofof465
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Case 2:22-cv-00743-DJH--JFM
     2:22-cv-00860-MTL--JZB Document 1-2
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                                           Filed05/19/22
                                                 05/06/22 Page
                                                           Page4412ofof465
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           ATTACHMENT 3
Case 2:22-cv-00743-DJH--JFM
     2:22-cv-00860-MTL--JZB Document 1-2
                                     14-1 Filed
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                                                 05/06/22 Page
                                                           Page4513ofof465
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Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 46 of 465




                          Exhibit 11
 Case
  Case2:22-cv-00860-MTL--JZB
       2:22-cv-00743-DJH--JFM Document
                               Document1-2
                                         27 Filed
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                                                   05/08/22 Page
                                                             Page47
                                                                  1 of
                                                                    of 16
                                                                       465



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 8   ATTORNEYS FOR DEFENDANTS

 9
                      UNITED STATES DISTRICT COURT
10                                DISTRICT OF ARIZONA
11
      Clarence Wayne Dixon,                     CV 22–00743–PHX–DJH (JFM)
12                      Plaintiff,
13           -v-
                                                OPPOSITION TO PLAINTIFF’S
14    Arizona Department of                     MOTION FOR PRELIMINARY
                                                INJUNCTION OR TEMPORARY
      Corrections, Rehabilitation &             RESTRAINING ORDER
15    Reentry, et al.,
16                     Defendants.              HEARING SET FOR 5/9/2022 AT
                                                11:00 A.M.
17
18
19          Plaintiff Clarence Dixon is scheduled to be executed on May 11, 2022 for

20 his conviction of the 1978 first degree murder of 21-year-old Arizona State
21 University student Deana Bowdoin. See State v. Dixon, 250 P.3d 1174 (Ariz.
22 2011). He seeks to enjoin the State from carrying out his lawfully-imposed
23 sentence solely on the basis that, as part of testing performed to establish a beyond
24 use date for the compounded pentobarbital to be used in his execution, a pH test
25 resulted in a value of 10.6, rather than 9.0–10.5. But Dixon has failed to
26 demonstrate a substantial likelihood of success on the merits of his Eighth and
27 Fourteenth Amendment claims based on this fact, and the other relevant factors
28 also weigh against a stay. This Court should therefore deny Dixon’s request for
   temporary restraining order or preliminary injunction.
 Case
  Case2:22-cv-00860-MTL--JZB
       2:22-cv-00743-DJH--JFM Document
                               Document1-2
                                         27 Filed
                                             Filed05/19/22
                                                   05/08/22 Page
                                                             Page48
                                                                  2 of
                                                                    of 16
                                                                       465



 1                         PROCEDURAL BACKGROUND
 2        Plaintiff is scheduled to be executed on May 11, 2022, for his conviction of
 3 the 1978 first degree murder of 21-year-old Arizona State University student
 4 Deana Bowdoin. See State v. Dixon, 250 P.3d 1174 (Ariz. 2011). Scant days
 5 before his execution, Dixon filed a Complaint asserting a First Amendment and
 6 Due Process right to information regarding the beyond use date (“BUD”) of the
 7 compounded pentobarbital Defendants intend to use in his execution. Dkt. # 1. He
 8 also asked this Court to enjoin Defendants from executing him until they provided
 9 the requested information.     Dkt. # 5.       On May 6, 2022, this Court ordered
10 Defendants to file a notice stating the BUD for the compounded pentobarbital to be
11 used in Dixon’s execution. Dkt. # 12. Defendants did so, filing a Notice stating
12 that the BUD of the compounded pentobarbital to be used in Dixon’s execution
13 was August 25, 2022. Dkt. # 14. Defendants also provided a declaration from the
14 pharmacist who compounded the pentobarbital stating that the BUD was August
15 25, 2022, based on stability testing of a preparation of pentobarbital from the same
16 original powder as the preparation to be used in Dixon’s execution. See Dkt. # 14,
17 Exhibit 1.
18        This Court held a hearing on May 7, 2022, at which it granted Defendants’
19 motion to dismiss the complaint as moot because “Plaintiff has been provided the
20 information he requested” and, additionally, because his First Amendment claim
21 was foreclosed by First Amendment Coalition of Arizona v. Ryan, 938 F.3d 1069,
22 1080 (9th Cir. 2019). Dkt. # 16. At the hearing Dixon indicated he would likely
23 amend his complaint to raise additional claims related to use of the compounded
24 pentobarbital with the BUD of August 25, 2022. Id.
25        On May 8, 2022, Dixon filed an Amended Complaint asserting a violation of
26 the Eighth and Fourteenth Amendments premised on the unsupported conclusion
27 that the compounded pentobarbital to be used in his execution will be expired. Dkt.
28 # 21-1. He also asked for a preliminary injunction or temporary restraining order

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  Case2:22-cv-00860-MTL--JZB
       2:22-cv-00743-DJH--JFM Document
                               Document1-2
                                         27 Filed
                                             Filed05/19/22
                                                   05/08/22 Page
                                                             Page49
                                                                  3 of
                                                                    of 16
                                                                       465



 1 enjoining Defendants from executing him with an expired drug. Dkt. # 23. The
 2 entire premise of Dixon’s claims and request for emergency injunctive relief is
 3 wholly unsupported. The beyond use date of the drug to be used in his execution is
 4 August 25, 2022. His request for injunctive relief should be denied.
 5                 LEGAL STANDARD FOR INJUNCTIVE RELIEF
 6         Finally, a plaintiff seeking a preliminary injunction or TRO must establish
 7 that (1) he is likely to succeed on the merits, (2) he is likely to suffer irreparable
 8 harm without an injunction, (3) the balance of equities tips in his favor, and (4) an
 9 injunction is in the public interest. Winter v. Nat. Res. Def. Council, Inc., 555 U.S.
10 7, 20 (2008). “Speculative injury does not constitute irreparable injury.” Goldie’s
11 Bookstore, Inc. v. Superior Court of State of Cal., 739 F.2d 466, 472 (9th Cir.
12 1984) (citation omitted).     And a preliminary injunction is “‘an extraordinary
13 remedy that may only be awarded upon a clear showing that the plaintiff is entitled
14 to such relief.’” Ctr. for Competitive Politics v. Harris, 784 F.3d 1307, 1312 (9th
15 Cir. 2015).     These principles apply “even in the context of an impending
16 execution.” Lopez v. Brewer, 680 F.3d 1068, 1072 (9th Cir. 2012); see also Hill v.
17 McDonough, 547 U.S. 573, 583–84 (2006) (“Filing an action that can proceed
18 under § 1983 does not entitle the complainant to an order staying an execution as a
19 matter of course.”).
20         Finally, if this Court grants injunctive relief, Defendants request that this
21 Court grant Plaintiff a preliminary injunction rather than a temporary restraining
22 order. Unlike an order granting a preliminary injunction, an order granting a
23 temporary restraining order ordinarily is not an appealable order. SEIU v. Nat'l
24 Union of Healthcare Workers, 598 F.3d 1060, 1067 (9th Cir. 2010). Since Dixon’s
25 execution is scheduled for May 11, a temporary restraining order would serve to
26 vacate the Arizona Supreme Court’s warrant of execution without providing an
27 appealable order to the State. A preliminary injunction, in contrast, would preserve
28 Defendants’ ability to seek appellate review of any grant of injunctive relief.

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  Case2:22-cv-00860-MTL--JZB
       2:22-cv-00743-DJH--JFM Document
                               Document1-2
                                         27 Filed
                                             Filed05/19/22
                                                   05/08/22 Page
                                                             Page50
                                                                  4 of
                                                                    of 16
                                                                       465



 1              THIS COURT SHOULD DENY INJUNCTIVE RELIEF
 2         Dixon’s request for a preliminary injunction or TRO should be denied
 3 because he cannot demonstrate that the Winter factors favor granting him
 4 preliminary relief.
 5         I.    Dixon cannot show a reasonable likelihood of success on the merits.
 6         First, Dixon has failed to show a reasonable likelihood of success on the
 7 merits of his Eighth or Fourteenth Amendment claims.
 8               A. Dixon’s Eighth Amendment claim fails.
 9         To succeed on an Eighth Amendment method-of-execution claim, a prisoner
10 must establish that the method presents a risk that is “sure or very likely to cause
11 serious illness and needless suffering and give rise to sufficiently imminent
12 dangers.” Glossip v. Gross, 576 U.S. 863, 877 (2015) (quoting Baze v. Rees, 553
13 U.S. 35, 50 (2008)) (cleaned up). And for the prisoner to prevail, “there must be a
14 substantial risk of serious harm, an objectively intolerable risk of harm that
15 prevents prison officials from pleading that they were subjectively blameless for
16 purposes of the Eighth Amendment.” Id. (quoting Baze, 553 U.S. at 50) (cleaned
17 up). Moreover, a prisoner cannot succeed on a method-of-execution challenge
18 “merely by showing a slightly or marginally safer alternative.” Id. (quoting 553
19 U.S. at 51). A prisoner has the burden of identifying an “alternative that is
20 feasible, readily implemented, and in fact significantly reduces a substantial risk of
21 severe pain.” Id. (quoting 553 U.S. at 52) (cleaned up). This is likewise true for
22 an as-applied method-of-execution challenge. See Bucklew v. Precythe, 587 U.S.
23 ___, ___, 139 S. Ct. 1112, 1126 (2019) (“identifying an available alternative is a
24 requirement of all Eighth Amendment method-of-execution claims alleging cruel
25 pain) (cleaned up, emphasis in original). As the Supreme Court has recently
26 reiterated, pentobarbital, which will be used in Dixon’s execution is “widely
27 conceded to be able to render a person fully insensate and does not carry the risks
28 of pain that some have associated with other lethal injection protocols.” Barr v.

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  Case2:22-cv-00860-MTL--JZB
       2:22-cv-00743-DJH--JFM Document
                               Document1-2
                                         27 Filed
                                             Filed05/19/22
                                                   05/08/22 Page
                                                             Page51
                                                                  5 of
                                                                    of 16
                                                                       465



 1 Lee, 140 S. Ct. 2590, 2591 (2020) (cleaned up).
 2         Finally, the Supreme Court has cautioned that “challenges to lethal injection
 3 protocols test the boundaries of the authority and competency of federal courts”
 4 and thus the federal courts “should not embroil themselves in ongoing scientific
 5 controversies beyond their expertise.” Glossip, 576 U.S. at 882 (quoting Baze, 553
 6 U.S. at 51) (cleaned up).      Thus, in his challenge to ADCRR’s protocol, Dixon
 7 bears the burden to show, based on evidence presented, that there is a “substantial
 8 risk of severe pain” in the pentobarbital execution procedure scheduled for later
 9 this week. Id.
10         Dixon has presented no evidence to justify a stay of execution and has not
11 shown a reasonable likelihood that he can meet his burden under Glossip to show
12 that the pentobarbital to be used on May 11 is “sure or very likely to cause serious
13 illness and needless suffering and give rise to sufficiently imminent dangers.”
14 Dixon’s Eighth Amendment Claim is premised on the unsupported conclusion that
15 the compounded pentobarbital is expired. Dkt. # 23, at 6, 11–12. Dixon argues that
16 because the Summary Report indicates that the pH of the tested pentobarbital was
17 10.6, which is 0.1 beyond the stated range of 9.0 to 10.5, the drug “failed this test”
18 and therefore the BUD of the compounded pentobarbital to be used in his
19 execution cannot extend past 45 days. Dkt. # 6. As a result, he contends, by using
20 the compounded pentobarbital prepared on February 26, 2022, in his execution,
21 Defendants will violate the execution protocol’s requirement that they “will only
22 use chemicals in an execution that have an expiration or beyond-use date that is
23 after the date that the execution is carried out.”       Dkt. # 9–1, Exhibit 1, at
24 Attachment D, ¶ A.1.I. But, importantly, Dixon has presented no evidence that a
25 particular pH test result of .1 beyond the stated range precludes the pharmacist
26 from extending the BUD, as the pharmacist did.
27         In support of his argument that the 10.6 pH result means that compounded
28 pentobarbital’s BUD cannot be extended, Dixon points to his expert’s statement

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 Case
  Case2:22-cv-00860-MTL--JZB
       2:22-cv-00743-DJH--JFM Document
                               Document1-2
                                         27 Filed
                                             Filed05/19/22
                                                   05/08/22 Page
                                                             Page52
                                                                  6 of
                                                                    of 16
                                                                       465



 1 that, in addition to potency, “[t]here are other parameters such as pH … that need
 2 to be also included … in order to offer a complete and accurate picture of the drug
 3 quality and provide assurance that the medication will perform as expected.” Dkt.
 4 # 21-3, ¶ 24.     And although Dixon’s expert states in a different report that
 5 pentobarbital “should” be tested for “pH: 9.0-10.5,” Dkt. # 21-2, ¶ 31, Dixon has
 6 presented no evidence stating that a pH result of 10.6 automatically precludes
 7 extension of the BUD beyond 45 days.                Moreover, the United States
 8 Pharmacopeia, 22 General Chapter <797> Pharmaceutical Compounding-Sterile
 9 Preparations,” does not state that a pH test is required to extend a BUD beyond 45
10 days. See USP 23 <797> at “STORAGE AND BEYOND-USE DATING.” Dixon
11 therefore cannot establish a reasonable likelihood of success on the merits of his
12 Eighth Amendment claim because he has failed to demonstrate that the
13 pentobarbital is expired.
14        Even if Dixon could show that the pentobarbital will be “expired” due to the
15 pH test result, he still has no plausible Eighth Amendment claim. To obtain a stay,
16 Dixon must show a substantial likelihood that he can establish that the
17 compounded pentobarbital to be used in his execution creates a substantial risk of
18 severe pain. Glossip, 576 U.S. at 877. He has not done so. Nothing Dixon has
19 presented establishes that the compounded pentobarbital is degraded, unstable, or
20 ineffective, much less that it will “cruelly superadd[] pain to the death sentence.”
21 Bucklew, 139 S. Ct. at 1125. As shown in the Stability Study Summary, the testing
22 results show that the pentobarbital solution is sterile and within the assay
23 parameters. See Dkt. # 14–1, Exhibit 1, Attachment 3. As for pH, Dixon has not
24 presented any evidence that the additional 0.1 value will cause any pain, much less
25 the “serious illness and needless suffering” required to establish an Eighth
26 Amendment claim. And his reference to his age and declining health simply
27 speculates that the pentobarbital may take longer to work, see Dkt. # 23, at 11–12,
28 which does not approach the threshold for an Eighth Amendment claim to establish

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 Case
  Case2:22-cv-00860-MTL--JZB
       2:22-cv-00743-DJH--JFM Document
                               Document1-2
                                         27 Filed
                                             Filed05/19/22
                                                   05/08/22 Page
                                                             Page53
                                                                  7 of
                                                                    of 16
                                                                       465



 1 a substantial risk of serious harm. There is no Eighth Amendment claim here, and
 2 Dixon’s request to stay his execution should be denied.
 3             B. Dixon does not have a due process liberty interest in ADCRR
                  Department Order 710 (“DO 710”) and even if he does, it will
 4                not be violated.
 5         Dixon claims that he has a due process liberty interest created by ADCRR
 6 DO 710’s requirement that no drug will be used in an execution that is past its
 7 BUD. Dkt. # 23, at 8–11. Dixon does not possess such a liberty interest, and in
 8 the alternative, even if he does it will not be violated because the compounded
 9 pentobarbital to be used in his execution is not expired.
10                 1. DO 710 does not create a liberty interest under the 14th
                      Amendment.
11
           The Fourteenth Amendment prohibits a State from depriving any person of
12
   “life, liberty, or property, without due process of law;…” U.S. Const. amend. XIV,
13
   § 1. “To create a liberty interest, a statute or regulation must contain ‘explicitly
14
   mandatory language,’ i.e., specific directives to the decisionmaker that if the
15
   regulations’ substantive predicates are present, a particular outcome must follow.”
16
   Rodriguez v. McLoughlin, 214 F.3d 328, 338 (2d Cir. 2000) (quoting Kentucky
17
   Department of Corrections v. Thompson, 490 U.S. 454, 463 (1989)). Moreover,
18         It should be obvious that the mandatory language requirement is not
19         an invitation to courts to search regulations for any imperative that
           might be found. The search is for relevant mandatory language that
20         expressly requires the decisionmaker to apply certain substantive
21         predicates in determining whether [the plaintiff] may be deprived of
           the particular interest in question.
22
   Thompson, 490 U.S. at 464 n.4 (emphasis in original). Also, just because ADCRR
23
   “has established procedures to be followed does not mean that it has created a
24
   protectable liberty interest.” Rodriguez, 214 F.3d at 339. “A liberty interest is of
25
   course a substantive interest of an individual; it cannot be the right to demand
26
   needless formality.” Olim v. Wakinekona, 461 U.S. 238, 280 (1983) (alteration
27
   omitted) (citing Shango v. Jurich, 681 F.2d 1091, 1100–01 (7th Cir. 1982)).
28
   “Process is not an end in itself. Its constitutional purpose is to protect a substantive
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  Case2:22-cv-00860-MTL--JZB
       2:22-cv-00743-DJH--JFM Document
                               Document1-2
                                         27 Filed
                                             Filed05/19/22
                                                   05/08/22 Page
                                                             Page54
                                                                  8 of
                                                                    of 16
                                                                       465



 1 interest to which the individual has a legitimate claim of entitlement.” Id.
 2         “Where a particular amendment ‘provides an explicit textual source of
 3 constitutional protection’ against a particular sort of government behavior, ‘that
 4 Amendment, not the more generalized notion of “substantive due process,” must
 5 be the guide for analyzing these claims.’” Albright v. Oliver, 510 U.S. 266, 273
 6 (1994) (Rehnquist, C.J., for plurality) (quoting Graham v. Connor, 490 U.S. 386,
 7 395 (1989)). In other words, “if a constitutional claim is covered by a specific
 8 constitutional provision, such as the Fourth or Eighth Amendment, the claim must
 9 be analyzed under the standard appropriate to that specific provision, not under the
10 rubric of substantive due process.” United States v. Lanier, 520 U.S. 259, 272 n. 7
11 (1997) (emphasis added); see also Hall v. City of Los Angeles, 697 F.3d 1059,
12 1068 (9th Cir.2012) (“Where a particular Amendment provides an explicit textual
13 source of constitutional protection against a particular sort of government behavior,
14 that Amendment, not the more generalized notion of substantive due process, must
15 be the guide for analyzing such a claim.”).
16         Further, “[a] violation of state law does not by itself constitute a violation of
17 the Federal Constitution.” Nordlinger v. Hahn, 505 U.S. 1, 26 (1992). In Pavatt v.
18 Jones, 627 F.3d 1336, 1341 (10th Cir. 2010), the court found that a death row
19 inmate failed to establish a substantial likelihood of prevailing on a due process
20 challenge to the state’s execution protocol based on the inmate’s assertion that the
21 protocol violated state law. In reaching that conclusion, the court noted that there
22 was no indication the state denied the inmate the opportunity to challenge the
23 protocol administratively or in state court. Id. Here, Dixon does not even contend
24 that ADCRR’s protocol violates state law, only that the protocol (which is not law)
25 will be violated. If an alleged violation of state law did not create a protected
26 liberty interest under the due process clause, then surely an alleged violation of a
27 protocol that is not law cannot.
28         DO 710’s requirement to use non-expired drugs does not create a protectable

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 Case
  Case2:22-cv-00860-MTL--JZB
       2:22-cv-00743-DJH--JFM Document
                               Document1-2
                                         27 Filed
                                             Filed05/19/22
                                                   05/08/22 Page
                                                             Page55
                                                                  9 of
                                                                    of 16
                                                                       465



 1 liberty interest because it is merely a procedure to be followed.              Dixon’s
 2 substantive liberty interest is to be executed without violating the Eighth
 3 Amendment’s prohibition against “cruel and unusual punishment[].”           The use of
 4 execution drugs within its BUD is merely a procedural safeguard. Dixon, by
 5 claiming to have a liberty interest in the drug’s BUD, is demanding needless
 6 formality which the Supreme Court has found inappropriate. Instead, Dixon’s
 7 claim must be analyzed under the Eighth Amendment’s specific rubric and not
 8 under the generalized due process rubric.
 9         For example, in Sepulvado v. Jindal.         729 F.3d 413 (5th Cir. 2013),
10 Louisiana sought to carry out an execution without disclosing its execution
11 protocol. Id. at 415—16. Louisiana, however, disclosed it would use a single dose
12 of pentobarbital. Id. Sepulvado joined an existing a 42 U.S. § 1983 suit alleging
13 that failure to disclose the details of the execution protocol violated his Due
14 Process rights under the Fourteenth Amendment. Id. “There is no violation of the
15 Due Process Clause from the uncertainty that Louisiana has imposed on Sepulvado
16 by withholding the details of its execution protocol.” Id. at 420. Thus, if a state
17 may withhold its execution protocols in conformity with Due Process Clause, the
18 fact of disclosing the protocols to explain the procedures cannot create such a due
19 process right.
20         In the alternative, even if Dixon could establish a due process liberty interest
21 in assuring that his execution is carried out consistent with the execution protocol,
22 Department Order 710, and the Eighth Amendment, he has not alleged a plausible
23 violation of that interest. First, Dixon points to no authority for the idea that he
24 possesses a procedural right to challenge the BUD provided by Defendants.
25 Defendants’ execution procedures do not purport to create any such right, and
26 Dixon cites no constitutional provision, statute, or case law supporting such a right.
27 By comparison, if Defendants were using a manufactured drug for Dixon’s
28 execution with a manufacturer’s expiration date on the label, Dixon would not be

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 Case
  Case2:22-cv-00860-MTL--JZB
       2:22-cv-00743-DJH--JFM Document
                               Document1-2
                                        27 Filed
                                           Filed 05/19/22
                                                 05/08/22 Page
                                                          Page 56
                                                               10 of
                                                                  of 465
                                                                     16



 1 entitled to obtain information documenting how the manufacturer arrived at a
 2 particular expiration date in order to dispute its accuracy. The same is true here.
 3 Although Defendants’ execution protocol makes clear they will not use any drug
 4 that is past its BUD, it purports to create no procedural right to challenge an
 5 expiration date or BUD assigned to the drug that will be used in an execution.
 6         Second, as explained above, Dixon has failed to establish that the August 25,
 7 2022, BUD certified by ADCRR’s pharmacist is invalid based on the pH test
 8 result. The fact that Defendants’ pharmacist apparently requested more testing
 9 than is necessary to determine the BUD does not then turn that additional testing
10 into a requirement. The test results show that there no risks of “sub-potency” or
11 “degradation,” Dkt. # 23, at 11, because the Pentobarbital Sodium Assay test
12 results showed that the compounded pentobarbital fell within the 92.0–108.0%
13 requirements up to 180 days from initial testing.         Dkt. # 14–1, Exhibit 1,
14 Attachment 3 (Stability Study Summary Report).
15         The fact remains that, based on the Stability Study Summary Report, the
16 FDA-registered testing laboratory concluded that the compounded pentobarbital
17 “met client provided specifications through 180 days in ambient storage
18 conditions.” Id. And, based on those same results, the licensed pharmacist, who is
19 “aware of and follow[s] the guidelines and requirements found in the United States
20 Pharmacopeia,” concluded that the BUD of the compounded pentobarbital
21 prepared on February 26, 2022 was August 25, 2022, 180 days from its
22 preparation. Id. at Exhibit 1, ¶¶ 2–3, 9. If extending the BUD required that the pH
23 test results fell between 9.0 and 10.5, then neither the lab nor the pharmacist would
24 have reached the conclusions they did.
25         Dixon’s attempt to invalidate the BUD stated in the pharmacist’s declaration
26 thus fails. As a result, even if Dixon could establish a due process liberty interest
27 in Defendants’ not violating their execution protocol (which he cannot), Dixon
28 nevertheless cannot establish a reasonable likelihood of success on the merits of

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                                                 05/08/22 Page
                                                          Page 57
                                                               11 of
                                                                  of 465
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 1 his due process claim because he has failed to allege facts suggesting that any
 2 violation will occur.
 3         II.   Dixon will not suffer irreparable harm.
 4         Nor do Dixon’s unsupported conclusions meet his burden to establish to
 5 establish Winter’s second factor, that he will suffer irreparable harm absent an
 6 injunction. To meet the “irreparable harm” requirement, Plaintiff must do more
 7 than simply allege imminent harm; he must demonstrate it. Caribbean Marine
 8 Servs. Co., Inc. v. Baldridge, 844 F.2d 668, 674 (9th Cir. 1988).               Mere
 9 “[s]peculative injury does not constitute irreparable injury sufficient to warrant
10 granting a preliminary injunction.” Id. at 674-75. The party seeking preliminary
11 relief may not rely on “unsupported and conclusory statements regarding harm [it]
12 might suffer” to justify its requested relief. Herb Reed Enters., LLC v. Fla. Entm't
13 Mgmt., Inc., 736 F.3d 1239, 1250 (9th Cir. 2013).
14         Defendants have established that the compounded pentobarbital to be used
15 in Dixon’s execution has a BUD of August 25, 2022, well after his scheduled
16 execution date. Thus, Defendants are in compliance with the requirement that they
17 not use a drug past its BUD, and Dixon will suffer no harm if his request for
18 preliminary injunction is denied.       “Absent a showing of irreparable harm,
19 Plaintiff’s Motion for Preliminary Injunction fails as a matter of law.” Center for
20 Food Safety v. Vilsack, 636 F.3d 1166, 1174 (9th Cir. 2011).
21       III. The balance of equities and public interest do not favor an
                injunction.
22
         Finally, Dixon also fails to establish that the third and fourth Winter factors,
23
   balance of the equities and public interest, weigh in favor of a stay of execution.
24
   The Supreme Court has recognized that a stay of execution “is not available as a
25
   matter of right, and equity must be sensitive to the State's strong interest in
26
   enforcing its criminal judgments without undue interference from the federal
27
   courts.” Hill, 547 U.S. at 584. Regarding the equities, “[a] court considering a
28
   stay must also apply ‘a strong equitable presumption against the grant of a stay
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                                           Filed 05/19/22
                                                 05/08/22 Page
                                                          Page 58
                                                               12 of
                                                                  of 465
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 1 where a claim could have been brought at such a time as to allow consideration of
 2 the merits without requiring entry of a stay.’” Id. (quoting Nelson v. Campbell,
 3 541 U.S. 637, 650 (2004)).        Dixon waited to file his lawsuit regarding the
 4 compounded pentobarbital’s BUD until only days remained before his scheduled
 5 execution, and amended his complaint to include the current claims a mere 3 days
 6 before his execution. Although he claims he diligently sought the requested BUD
 7 information from ADCRR, he could have brought his claim at an earlier time in
 8 order to allow consideration without necessitating a stay of his lawfully imposed
 9 death sentence and scheduled execution. See Rhines v. Weber, 544 U.S. 269, 277–
10 78 (2005) (Court recognizing that “capital [habeas] petitioners might deliberately
11 engage in dilatory tactics to prolong their incarceration and avoid execution of the
12 sentence of death”). This equitable consideration should weigh strongly against
13 granting his request for a stay. See Hill, 547 U.S. at 584.
14         The Supreme Court has also long recognized a “State's significant interest in
15 enforcing its criminal judgments.” Nelson, 541 U.S. at 650 (emphasis added).
16 And both the State and the victims of crime have an important interest in timely
17 enforcement of a criminal sentence. Hill, 547 U.S. at 584; see also Nelson, 541
18 U.S. at 644 (“a State retains a significant interest in meting out a sentence of death
19 in a timely fashion”). Similarly, “any time a State is enjoined by a court from
20 effectuating statutes enacted by representatives of its people, it suffers a form
21 of irreparable injury.” Maryland v. King, 567 U.S. 1301, 133 S. Ct. 1, 3, 183
22 L.Ed.2d 667 (2012) (Roberts, C.J., in chambers) (emphasis added) (alterations and
23 citation omitted). Here, Dixon’s conviction and death sentence are long final on
24 direct appeal, and he has exhausted his state post-conviction and federal habeas
25 corpus remedies. Under those circumstances, A.R.S. § 13-759(A) provides for the
26 lawful carrying out of executions, stating that a warrant of execution shall be
27 issued with the execution occurring on the 35th day following the issuance of the
28 warrant. Plaintiff’s request for a TRO or preliminary injunction seeks to prevent

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  Case2:22-cv-00860-MTL--JZB
       2:22-cv-00743-DJH--JFM Document
                               Document1-2
                                        27 Filed
                                           Filed 05/19/22
                                                 05/08/22 Page
                                                          Page 59
                                                               13 of
                                                                  of 465
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 1 that from occurring—thereby enjoining Arizona law from being effectuated.
 2 Additionally, Arizona crime victims have a constitutional right to a prompt and
 3 final conclusion of the case. See Ariz. Const. art. II, § 2.1(10). Justice for Dixon’s
 4 victims has been delayed far too long already.
 5         “The federal courts can and should protect States from dilatory or
 6 speculative suits.” Hill, 547 U.S. at 585. Dixon has failed to establish a likelihood
 7 of success on the merits. There is no risk irreparable harm because the drug used
 8 in his execution will be within its BUD. And given his last-minute filing and the
 9 State’s considerable interest in timely carrying out lawful sentences, the balance of
10 equities and public policy weigh against a stay of execution. Because Dixon fails
11 to establish that the relevant factors weigh in favor of a stay, his request for a TRO
12 or preliminary injunction should be denied. Winter, 555 U.S. at 20.
13
14       IF THIS COURT ENTERS AN INJUNCTION, IT SHOULD ALLOW
     DEFENDANTS TO CARRY OUT DIXON’S EXECUTION WITH NEWLY
15    COMPOUNDED PENTOBARBITAL THAT IS WITHIN A BUD THAT
16              DOES NOT REQUIRE STABILITY TESTING
           The basis for Dixon’s request for injunctive relief is his argument that the
17
     pentobarbital prepared on February 26, 2022, to be used in his execution is
18
     expired. He contends that the stability study disclosed by Defendants “cannot be
19
     used to extend the BUD beyond 45 days, the outer limits set by pharmacy
20
     compounding standards.” Dkt. # 23, at 2. Thus, he asserts, the pentobarbital
21
     prepared on February 26, 2022, is expired, and he asks this Court to enjoin
22
     Defendants from executing him using it. If this Court grants the injunctive relief
23
     Dixon requests, the constitutional violations he has pled would be remedied by
24
     executing him on May 11, 2022, with newly compounded pentobarbital that will
25
     not be past its BUD on the date of execution. Thus, an order granting an injunction
26
     should allow ADCRR to overcome the injunction and proceed with Dixon’s
27
     execution using newly-compounded pentobarbital that is within a BUD that has not
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     been extended by stability testing. Indeed, Dixon concedes that using “a drug that
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       2:22-cv-00743-DJH--JFM Document
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                                           Filed 05/19/22
                                                 05/08/22 Page
                                                          Page 60
                                                               14 of
                                                                  of 465
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 1 will not be expired on the date of his execution” is a “known and available
 2 alternative” to using the pentobarbital compounded on February 26, 2022. Dkt. #
 3 23, at 12.
 4         ADCRR is prepared, in the event this Court grants an injunction, to have a
 5 new preparation of pentobarbital compounded on May 9, 2022, and stored under
 6 refrigeration, for use in the execution on May 11, 2022. As a result, any injunction
 7 entered by this Court should state that Defendants may proceed with Dixon’s 10:00
 8 a.m., May 11, 2022, execution if it uses pentobarbital that was prepared no less
 9 than 72 days prior to that date and time and kept refrigerated. ADCRR is also
10 prepared to provide potency testing results of such newly compounded
11 pentobarbital approximately 24 hours prior to the actual time of execution.
12 Dixon’s expert admits that according to USP Chapter 797, without any stability
13 testing, a pentobarbital solution that is “kept refrigerated” has a BUD of 72 hours.
14 Dkt. # 21–2, ¶ 10. Accordingly, pentobarbital prepared on May 9, 2022, and kept
15 refrigerated, would have a BUD of the time of preparation on May 12, 2022, the
16 day after Dixon’s execution. Thus, any injunction against executing Dixon with
17 the pentobarbital compounded on February 26, 2022, should allow ADCRR to
18 execute Dixon with pentobarbital compounded on May 9, 2022, and kept under
19 refrigeration. Dixon cannot object to this course of action because he himself
20 suggests it as a viable alternative. In other words, if the Court finds that Dixon has
21 met his burden for a TRO or preliminary injunction, this Court should not stay
22 Dixon’s execution altogether, but should only determine whether ADCRR can use
23 the pentobarbital prepared on February 26, 2022, and permit ADCRR to proceed
24 using Dixon’s own identified alternative of pentobarbital that is within its beyond
25 use date.
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                                                 05/08/22 Page
                                                          Page 61
                                                               15 of
                                                                  of 465
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 1        IV.   Conclusion.
 2        Based on the foregoing, Defendants’ respectfully request that this Court
 3 deny Dixon’s request for a preliminary injunction or temporary restraining order
 4 against Defendants carrying out his scheduled execution.
 5         Respectfully submitted this 8th day of May, 2022.
 6                                               Mark Brnovich
                                                 Attorney General
 7
 8                                               s/ Jeffrey Sparks___
                                                 Chief Counsel
 9
                                                 Ginger Jarvis
10                                               Jason Easterday
                                                 Assistant Attorneys General
11                                               Attorneys for Defendants
12
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                                                               16 of
                                                                  of 465
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 1                             CERTIFICATE OF SERVICE
 2       I hereby certify that on May 8, 2022, I electronically transmitted the attached
   document to the Clerk’s Office using the ECF System for filing and served the
 3 attached document using ECF on the following registered participants of the ECF
   System:
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     Attorneys for Plaintiff
10
     Liz Gallagher
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14   SKRAUSOG0DYCQ2

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                          Exhibit 12
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  Case2:22-cv-00860-MTL--JZB
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                                                                       of 465
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15
16                   UNITED STATES DISTRICT COURT
17                               DISTRICT OF ARIZONA
18    Clarence Wayne Dixon,                     CV 22–00743–PHX–DJH
                        Plaintiff,
19
             -v-
20                                              STIPULATED SETTLEMENT
      Arizona Department of                     AGREEMENT AND
21                                              [PROPOSED] ORDER
      Corrections, Rehabilitation &
22    Reentry, et al.,
                       Defendants.
23
24
25                 Plaintiff Clarence Wayne Dixon (“Plaintiff”) and Defendants the
26 Arizona Department of Corrections, Rehabilitation & Reentry (“ADCRR”); David
27 Shinn, Director of the ADCRR; James Kimble, Warden, ASPC – Eyman;
28 (collectively, “Defendants”) hereby stipulate and agree as follows:
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  Case2:22-cv-00860-MTL--JZB
        2:22-cv-00743-DJH--JFMDocument
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                                                     05/09/22 Page
                                                               Page652 of
                                                                       of 465
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 1         WHEREAS, on January 5, 2022, the State of Arizona moved the Arizona
 2 Supreme Court to set a briefing schedule on its anticipated motion for a warrant of
 3 execution for Plaintiff. See Motion to Set Briefing Schedule for Motion for
 4 Warrant of Execution, State of Arizona v. Clarence Wayne Dixon, No. CR–08–
 5 0025–AP (Ariz. Jan. 5, 2022);
 6         WHEREAS, on February 9, 2022, the Arizona Supreme Court granted the
 7 State’s motion and set a briefing schedule on the warrant for Plaintiff’s execution
 8 that concluded on March 31, 2022. Order, State of Arizona v. Clarence Wayne
 9 Dixon, No. CR–08–0025–AP (Ariz. Feb. 9, 2022);
10         WHEREAS, on April 5, 2022, the Arizona Supreme Court issued a warrant
11 of execution for Plaintiff, and his execution is scheduled to occur on May 11,
12 2022;
13         WHEREAS, on May 3, 2022, Plaintiff filed in the United States District
14 Court for the District of Arizona a 42 U.S.C. § 1983 civil action against
15 Defendants, Dixon v. ADCRR, et al., No. CV-22-00743-PHX-DJH (JFM),
16 asserting claims for violations of the First and Fourteenth Amendments to the
17 United States Constitution;
18         WHEREAS, on May 4, 2022, Plaintiff filed an Emergency Motion for
19 Temporary Restraining Order or Preliminary Injunction requesting that the Court
20 issue an order preventing ADCRR from executing Dixon without proving him the
21 Beyond Use Date (“BUD”) of the drug to be used for his execution;
22         WHEREAS, on May 7, 2022, the United States District Court for the
23 District of Arizona held a telephonic status conference and an order granting
24 Defendants’ Motion to Dismiss the Complaint;
25         WHEREAS, on May 8, 2022, Dixon filed a new motion for preliminary
26 injunction or temporary restraining order and a First Amended Complaint raising
27 claims for violations of the Eighth and Fourteenth Amendments;
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                                                     05/09/22 Page
                                                               Page663 of
                                                                       of 465
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 1        WHEREAS, Defendants deny the pentobarbital intended to be used in
 2 Plaintiff’s execution has exceeded its BUD and opposed Plaintiff’s Motion for
 3 Preliminary Injunction or Temporary Restraining Order;
 4        WHEREAS, in Defendants’ Opposition to Plaintiff’s Motion for
 5 Preliminary Injunction or Temporary Restraining Order (Dkt. 27) Defendants
 6 offered to prepare a new solution of compounded pentobarbital on May 9, 2022,
 7 stored under refrigeration for use on May 11, 2022. (Dkt. 27, at 14.)
 8        WHEREAS, Plaintiff in his Reply in Support of Emergency Motion for
 9 Temporary Restraining Order or Preliminary Injunction offered to Defendants the
10 following terms:
11        a. The compounding pharmacist will compound a new batch of drugs
12           tomorrow [on May 9, 2022], consistent with what was stated in
13           Defendants’ Opposition filed this afternoon, May 8, 2022;
14        b. The pharmacist will provide a declaration (identity redacted) that states
15           the date of compounding and the storage conditions;
16        c. The result of the ‘quantitative’ analysis for this batch of drugs will be
17           provided to Plaintiff’s counsel before the drug is used to carry out his
18           execution; and
19        d. This settlement does not constitute a waiver for any other prisoner who
20           faces a future execution date of the entitlement to the “quantitative”
21           analysis within the time frames set forth under the protocol.
22        IT IS THEREFORE STIPULATED AND AGREED that:
23        1. Defendants shall undertake or cause to be done:
24               a. The compounding pharmacist has compounded a new batch of
25 pentobarbital on May 9, 2022, consistent with what was stated in Defendants’
26 Opposition, filed May 8, 2022;
27
28

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                                                                       of 465
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 1               b.    Defendants will provide Plaintiff declaration(s) from the
 2 pharmacist and others (identities redacted) that states the date of compounding and
 3 the storage conditions;
 4               c. The result of the “quantitative” analysis for this batch of drugs will
 5 be provided to Plaintiff’s counsel before the drug is used to carry out his execution;
 6 and
 7               d. This settlement does not constitute a waiver for any other prisoner
 8 who faces a future execution date of the entitlement to the “quantitative” analysis
 9 within the time frames sent forth under the protocol.
10         2. The parties agree that CV-22-00743-PHX-DJH (JFM) is dismissed with
11 prejudice upon the production of the declaration(s) and test results that meet the
12 requirements of this agreement.
13         3. This settlement agreement does not violate or trigger any enforcement
14 mechanisms found in First Amendment Coalition of Arizona, et al. v. Charles
15 Ryan, et al., CV–14–01447–NVW (JFM), Dkt. # 186, 187.
16         IT IS SO STIPULATED
17         Respectfully submitted this 9th day of May, 2022.
18   Jon M. Sands                                   Mark Brnovich
19   Federal Public Defender                        Attorney General

20   Jennifer M. Moreno                             Jeffrey Sparks
     Therese M. Day                                 Ginger Jarvis
21   Amanda C. Bass                                 Jason Easterday
     Assistant Federal Public Defenders             Assistant Attorneys General
22
     By: s/Jennifer M. Moreno                       By: s/ Jeffrey Sparks___
23   Counsel for Plaintiff                          Counsel for Defendants
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25
26
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 1                             CERTIFICATE OF SERVICE
 2        I hereby certify that on May 9, 2022, I electronically transmitted the attached
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 3 attached document using ECF on the following registered participants of the ECF
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 4
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     Attorneys for Plaintiff
10
     s/Liz Gallagher
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Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 69 of 465




                          Exhibit 13
    Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 70 of 465




                                                                 Pursuant to 28 U.S.C. § 1746(2).

                         Declaration of James H. Ruble, PharmD, JD

I, James H. Ruble, declare as follows:

1. I have supplied several prior declarations in the Arizona Supreme Court in support of Mr.
   Atwood’s litigation beginning in April 2021.

2. As reflected before, I reside in Utah and have been a registered pharmacist in that state since
   1992, having earned the degrees of Doctor of Pharmacy, Juris Doctor, Bachelor of Science in
   Pharmacy, and Bachelor of Science in Biology from the University of Utah, Salt Lake City. I
   am an assistant dean for student affairs, an associate professor (clinical) in the Department of
   Pharmacotherapy, adjunct associate professor in the S.J. Quinney College of Law, and an
   adjunct associate professor in the School of Medicine – Center for Medical Ethics, Arts, and
   Humanities, in the College of Law, and in the Department of Pharmaceutical Chemistry and
   Pharmaceutics at the University of Utah. I am currently president-elect of the American
   Society for Pharmacy Law. Exhibit A The information in this declaration is based upon my
   personal knowledge and sources of the type relied upon by researchers in my field.

3. I have compounded non-sterile and sterile pharmaceutical preparations for more than 25
   years. I have experience as a manager of a home infusion compounding pharmacy,
   including the compounding of high-risk compounded sterile preparations. I have served as
   an independent, supervising pharmacist for compounding pharmacies under licensing
   probation with the State of Utah Division of Occupational and Professional Licensing.

4. I have reviewed recent disclosures from the State of Arizona, including information and
   testing records submitted in the federal litigation of Mr. Clarence Dixon earlier this month
   and relating to the attestations of the Department of Corrections’ compounding pharmacist,
   who remains anonymous.

5. In the Dixon federal litigation, Mr. Dixon evidenced that the pharmacist’s testing had failed
   and was deficient for establishing an expiry of the pentobarbital later than his scheduled
   execution date of May 11, 2022. The State responded to that evidence by seeking settlement
   of the suit by offering to prepare a new batch of pentobarbital approximately 48 hours before
   the time of execution. Mr. Dixon accepted that resolution, despite the impossibility of
    Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 71 of 465




   sufficient inquiry to ensure the fitness of the chemicals for use under the Department’s
   Execution Procedures.

6. This extraordinary turn of events transpired on the backdrop of the State having supplied
   limited information about the steps the Department’s pharmacist has taken, which the
   pharmacist had characterized in their brief declaration dated May 5, 2022, as “stability
   testing.” Exhibit B. The reliability of such “stability testing” is decisive for determining
   whether the Department’s pharmacist can prepare compounded pentobarbital that is adequate
   for use in lethal injections under the Department’s Execution Procedures.

7. Critical to this assessment is whether the pharmacist’s assertions, along with the laboratory
   testing documentation the State has disclosed, permit the conclusion that the pharmacist has
   prepared pentobarbital sodium on or around April 7, 2022, when the State moved for Mr.
   Atwood’s execution warrant, that has a beyond-use date, or “BUD,” after his June 8, 2022
   execution date.

8. As I have explained before, the BUD of any compounded preparation such as injectable
   pentobarbital is defined in the United States Pharmacopeia (USP) USP <797> (Chapter 797)
   as “the date or time after which a [compounded sterile preparation] shall not be stored or
   transported. The BUD is determined from the date and time the preparation is compounded.”

9. BUD is also a defined term under Arizona Administrative Regulations, which govern the
   conduct of Arizona-licensed pharmacists, and provides:

       A date determined by a pharmacist and placed on a prescription label at the time of
       dispensing to indicate a time beyond which the contents of the prescription are not
       recommended to be used; or [a] date determined by a pharmacist and placed on
       a compounded pharmaceutical product's label at the time of preparation as specified in
       R4-23-410(B)(3)(d), R4-23-410(I)(6)(e), or R4-23-410(J)(1)(d) to indicate a time beyond
       which the compounded pharmaceutical product is not recommended to be used.
Ariz. Admin. Code R4-23-410.
10. Given the information made available to this point, the State has failed to compound
   pentobarbital for use on June 8, 2022, with a BUD after that date. As set forth below, the
   Department’s pharmacist’s stability testing results, on their face, failed. Further, the
   pharmacist has not conducted the testing under the prevailing pharmaceutical standards as
   enunciated in the USP and related guidance. Thus, the Department lacks a pharmaceutical



                                                 2
    Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 72 of 465




   and pharmacopeia basis for claiming any BUD beyond the default empiric BUDs established
   under prevailing industry standards.

11. The USP has established empiric BUDs for high-risk compounded sterile preparations such
   as pentobarbital. According to USP <797>, for any compounded chemicals that lack reliable
   stability testing, the following basic BUD values apply: (a) 24 hours, if the product is stored
   at a controlled room temperature, (b) three days, if the product is refrigerated, and (c) 45
   days, if the product is stored in a solid, frozen temperature.

12. Thus, the pentobarbital compounded on or around April 7, 2022 (for Mr. Atwood’s
   execution), most likely exceeded its BUD by April 11, 2022—just three days after it was
   prepared. In the best-case scenario for the Department, the compounded chemicals were
   immediately frozen and have been kept frozen solid. Under those conditions, the
   pentobarbital could have a BUD of 45 days from the preparation date, which would be
   approximately this Sunday on May 22, 2022.

13. In this declaration I discuss shortfalls reflected both in the laboratory results the State has
   disclosed and the failings of the Department’s pharmacist in satisfying basic stability testing
   requirements under industrial standards. Further, I address the implications of these
   inadequacies for Mr. Atwood, especially in the context of the unexpected resolution to the
   Dixon litigation in federal court.

14. The State’s disclosures and representations, including those from the Department’s
   pharmacist in their brief affidavit, only superficially address the major considerations for the
   compounding of the lethal injection chemicals. Before engaging with the limited information
   the State has supplied to this point, focus belongs on the significant revelations made in the
   pharmacist’s affidavit.

15. The affidavit established that the pharmacist is Arizona-licensed and acknowledges that they
   “follow the guidelines and requirements found in the United States Pharmacopeia [USP].”
   Exhibit B at 2.

16. Judging from the laboratory testing documentation that the State has disclosed, which reflects
   lab methods used for 503A pharmacies, it is apparent that the Department’s pharmacist
   practices within a 503A pharmacy. The 503B class, sometimes referred to as “outsourcing



                                                   3
    Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 73 of 465




    compounding pharmacies”, conducts large-scale production of compounded pharmaceuticals
    and is required to register with the FDA, and adhere to current Good Manufacturing Practices
    (cGMP) in its compounding practices; accordingly, they “resemble[] drug manufacturing
    more than … the professional practice of pharmacy.”1

17. In contrast, a 503A compounder serves to compound for individual patients pursuant to
    prescription. 503A compounders are not subject to the drug approval process and the
    rigorous checks and regulatory procedures required under cGMPs.2 Arizona regulations,
    however, do require 503A compounders to comply with official compendium requirements.3
    Arizona’s official compendium is the latest revision of the United States Pharmacopeia and
    The National Formulary (USP–NF).4

18. Thus, it is obviously the case that any licensed compounding pharmacist working with a
    503A pharmacy is obligated to adhere to the USP. While the pharmacist’s acknowledgment
    establishes the proper bases for evaluating the adequacy of the work in compounding
    pentobarbital for Arizona’s lethal injections, the recognition that they must follow the USP’s
    guidance is merely conceding the existence of a fundamental, non-discretionary duty.

19. In 2021, the State sought scheduling for execution warrant motions based on representations
    attributed to the Department’s pharmacist that any prospectively compounded pentobarbital
    would have an expiry of 90 days from the date of preparation. In June 2021, after the Arizona
    Supreme Court ordered scheduling for Messrs. Dixon and Atwood, the State returned to the
    Court to modify the scheduling based on a retraction attributed to the pharmacist indicating
    that only a 45-day BUD was possible for compounded pentobarbital unless “specialized
    testing” was conducted on the API. Based on records disclosed in recent months, it appears
    that the pharmacist embarked on sample testing some time in September 2021.

20. The change in the State’s position was a dramatic course correction taken after Mr. Atwood’s
    attorneys repeatedly presented extensive information about the prevailing pharmaceutical
    standards and the impossibility of the State’s claims about the timeframe available to them



1
  Ex. 1 at 3, ¶ 13.
2
  21 C.F.R., part 211.
3
  Ariz. Admin. Code § 4-23-410.
4
  A.R.S. § 32-1901.


                                                 4
    Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 74 of 465




   for securing an execution date and conducting a lethal injection with compounded chemicals
   possessing a BUD later than the execution date.

21. Given that the pharmacist is obligated to follow USP requirements, it is important to give
   attention to the first area of concern in compounding a high-risk sterile preparation such as
   pentobarbital. Any “specialized testing” the Department’s pharmacist may have carried out
   should begin with their handling of the original materials for the preparation, the active
   pharmaceutical ingredient, known as “API.”

22. I have reviewed a publicly released redacted record of what appears to be an invoice dated
   October 22, 2020, indicating the Arizona Department of Corrections paying an undisclosed
   source $1,500,000 for a kilogram, in 1,000 1-gram vials, of pentobarbital sodium salt.
   Exhibit C. This procurement appears to provide the API the pharmacist has been using to
   prepare the solution for lethal injections.

23. The essential first step in any high-risk sterile compounding process, especially one in which
   multiple batches will be prepared from a particular API source, is to ascertain the purity of
   the API under industry standards. In simple terms, this means laboratory testing to yield a
   certificate of analysis (“COA”). The complex process for obtaining and evaluating a COA is
   described in USP <1080> Bulk Pharmaceutical Excipients – Certificate of Analysis. A
   COA, provided by the manufacturer of the raw API, is indispensable, first, in establishing
   that the API is, in fact, what it has been represented to be by the seller. In a situation such as
   this one where obvious pedigree questions are apparent from the face of the limited available
   information and underscored by the absence of pertinent otherwise indispensable
   information, a COA is all the more important. Second, this lab analysis will identify
   impurities. This initial testing is especially important for that purpose as it is essential to
   identify the presence of pharmacologically active substances because the presence of such
   substances, in relation to the API itself, can create pharmacodynamic, and/or
   pharmacokinetic effects that can impede the pentobarbital’s fundamental efficacy when
   injected.

24. Other essential considerations about the API are the rigorous, environmental storage
   conditions, which are of great importance given the size of the Department’s purchase of the




                                                  5
    Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 75 of 465




   salt its pharmacist is using for compounding. I am unaware of any disclosure addressing this
   vital factor for the API or, for that matter, any preparations made from it.

25. The bulk API for pentobarbital is nonsterile, which necessitates adherence to certain aseptic
   techniques and the verification of same at regular intervals. Sterile compounding of
   pentobarbital sodium injection must be done in a Direct Compounding Area that has ISO 5
   quality airflow within a primary engineering control (e.g., a HEPA-filtered, horizontal
   laminar airflow workbench) that is located within a clean room that has ISO 7 quality
   airflow, as well as numerous additional engineering and design features.

26. USP <797> has robust expectations for cleaning and maintenance of the clean room and
   compounding equipment, as well as quality assurance processes and quality control testing of
   the equipment for microbial and other non-viable particulate contaminants. Compliance with
   these USP <797> requirements is mandatory. Nothing has been shared about the
   Department’s pharmacist’s compliance with these requirements. In my experience, this is an
   area of substantial non-compliance with USP standards by 503A compounding pharmacies.

27. The pharmacist’s May 5, 2022 affidavit relies on their shipment of “sodium pentobarbital
   solution provided to a[n] FDA registered laboratory for stability testing in order to establish
   the solution’s Beyond Use Date.” Ex. B at 2. However, there has been no description of the
   steps taken in preparing the solution. Whether the pharmacist used an appropriate
   methodology or stability protocol to prepare the solution for the eventual lab testing is critical
   in determining the adequacy of the preparation for purposes of extending the BUD of
   subsequently prepared compounding.

28. Thus, the assertion that stability testing is conducted by a lab is highly misleading. It is the
   responsibility of the pharmacist to conduct a stability protocol that culminates in external lab
   testing of the kind reflected in the limited testing disclosures turned over by the State in these
   cases. Industry standards dictate establishing a written stability protocol to achieve
   “specialized testing” sufficient to establish a BUD for subsequently compounded sterile
   preparations made from the same active and inactive (i.e., excipients, such as propylene
   glycol and alcohol) ingredients.

29. Such a written plan or protocol specifies and contemporaneously records testing of the API to
   determine the quality of the chemical and identify impurities. From that foundation, as well


                                                   6
    Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 76 of 465




   as international standards, the methodology should entail preparation of a minimum of three
   batches and from each batch the provision of multiple samples for laboratory testing. Thus,
   the preparation of a single test batch is a striking deficiency in the methodology of the
   Department’s pharmacist. Further, sound methodology contemplates enumeration of the tests
   to be performed on the samples, the testing conditions, the frequency and methodology of
   testing, the conditions of storage, including temperature and container qualities, and,
   critically, the specific formulation of the compounded preparation, noting the identity of not
   only the active ingredient (i.e., the pentobarbital sodium), but the identity of the other
   ingredients.

30. These criteria can be expected to yield results addressing the meaningful quality concerns for
   establishing a sound BUD. If sample batching satisfies the basic criteria, the resulting BUD
   may be transferable to subsequently prepared batches, but only if using identical ingredients
   and formulation as the sample batches.

31. It is apparent from the pharmacist’s claims about the “specialized testing” performed on the
   single test batch prepared in or around September 2021 that they believed they established a
   180-day span for setting a BUD for future compounding from the above-described kilogram
   of salt.

32. Judging from the pharmacist’s opinion expressed in Mr. Dixon’s case, it would seem that the
   State, if forced, would rely on the pharmacist to add 180 days to April 7, 2022, or a date near
   that day, to yield a BUD for the preparation made for Mr. Atwood’s execution date.

33. This would be incorrect for various reasons, some of which are explored below. The first
   observation, though, is that BUD ascertainment is not retrospective. This is a fact of
   compounding that the Department’s own Execution Procedures recognize in requiring the
   following:

       Upon receipt of the Warrant of Execution, the Housing Unit 9 Section Leader shall: . . .
       [e]nsure that complete sets of chemicals are on site, not expired, and immediately
       available for use. ADC will only use chemicals in an execution that have an expiration or
       beyond-use date that is after the date that an execution is carried out. If the chemical’s
       expiration or beyond-use date states only a month and year (e.g., “June 2017”), then ADC
       will not use that chemical after the last day of the month specified.
Attachment D, ¶ A.1.III.



                                                 7
    Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 77 of 465




34. On the face of this protocol, the Department is required to receive the compounded chemicals
    in a manner consistent with basic USP requirements, namely that a BUD has been
    established at the point of dispensing and that that date has been affixed to the preparation’s
    container itself. This is an unsurprising requirement because it reflects basics under the USP
    and Arizona’s corresponding administrative regulations. Supra ¶¶ 8-9.

35. In this context, the failure of the State simply to state anywhere the specific BUD for the
    injectable solution prepared for Mr. Atwood’s June 8, 2022, execution defies the most basic
    conduct required of competent 503A compounding. It leads to an inference that the BUD has
    not been set out during the preparation of the chemicals. Thus, the default, empiric BUD
    assignment for high-risk sterile preparations must apply. In this circumstance, 24 hours at
    controlled room temperature, 3 days, at a cold temperature, or 45 days, in a solid frozen state.

36. In the Dixon federal litigation, the State asserted that the laboratory records it had disclosed
    for the September 2021 testing batch established basic stability for that test batch and, what is
    more, that from the 180-day BUD it claimed from that single batch’s testing it could also
    extrapolate that 180-day BUD for all future batches from the API salt.

37. First, the testing results for that single batch reflect that it failed. The test batch was unusable
    as medicine or in an execution.

38. This failure underscores the above-mentioned fundamental standard for stability testing that
    multiple batches, no fewer than three, should be prepared for yielding multiple testing
    samples for each of the batches. From that array of preparations and samples, reliable data
    can arise. Supra ¶ 29.

39. Instead, the Department’s pharmacist attempted a single testing batch and that batch simply
    did not satisfy the enumerated criteria under USP guidelines. As a result, the pharmacist is
    unable to selectively use lab results on the batch’s potency to conjure a BUD and then apply
    that BUD to all future batches from the same API salt. But that is what this pharmacist has
    attempted to do.

40. Specifically, the pH of 10.6 reflected in the pharmacist’s lab testing falls outside of the
    accepted parameters for pH for injectable pentobarbital sodium. These parameters, as set
    forth in the prevailing USP Monograph for this preparation, and pursuant to USP <791>, are



                                                   8
    Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 78 of 465




    between 9.0 and 10.5. Exhibit D. The difference of 0.1 in pH, viz., between the upper end of
    10.5 and 10.6, appears modest, however, the published range is decisive; either the pH value
    for a given preparation falls within the parameters or it fails to meet that essential criterion.5
    The Department’s test batch fails this critical measure. This batch was unusable and it is self-
    evident that a batch that would need to be discarded cannot supply data for extrapolation to
    establishing BUDs for other batches. This is apparent disregard for the USP requirements
    follows patterns that I observed as a supervising pharmacist overseeing pharmacies under
    licensing probation, and also notable given the attestation from the compounding pharmacy
    contracted to the Department, indicating compliance with USP requirements.

41. The USP is illuminating on the importance of pH in relation to the stability of an injectable
    (i.e., soluble) high-risk compounded sterile preparation:

         pH Effect
        The degradation of many drugs in solution accelerates or decelerates exponentially as
        the pH is decreased or increased over a specific range of pH values. Improper pH ranks
        with exposure to elevated temperature as a factor most likely to cause a clinically
        significant loss of drug, resulting from hydrolysis and oxidation reactions. A drug
        solution or suspension, for example, may be stable for days, weeks, or even years in its
        original formulation, but when mixed with another liquid that changes the pH, it degrades
        in minutes or days. It is possible that a pH change of only 1 unit (e.g., from 4 to 3 or 8 to
        9) could decrease drug stability by a factor of 10 or greater.

<1191> Stability Considerations in Dispensing Practice (emphasis added).
42. Given the exponential effects of pH deviations on the degradation of many drugs, certainly
    including high-risk sterile compounds such as pentobarbital sodium, a nominally modest
    difference of 0.1 may cause profound change to the quality of the drug.

43. In the context of injectables such as, of course, pentobarbital sodium under the Department’s
    Execution Procedures, an increase of this kind raises the spectre of catastrophic effects on
    venous endothelial cells during the prospective injection. These endothelial cells constitute
    the inner lining of veins and comprise the site of actual contact between injected solutions,
    i.e., pentobarbital sodium, and the venous circulatory system. Information available describes
    that a pH of 11 may kill these endothelial cells upon contact, stripping away any buffer for



5
 Further, the established optimal pH for pentobarbital sodium injection is 9.5. See package insert, Nembutal Sodium
Solution CII.


                                                        9
    Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 79 of 465




   the innumerable nerve endings throughout the venous system. The resulting pain from such a
   failure is incomprehensible. Yet the degree of departure from an acceptable outer limit of pH
   for pentobarbital sodium to a catastrophically high level is seemingly modest. Elevation of a
   pH level outside the accepted parameters presents serious concerns.

44. In this context, the State sought a swift resolution of Mr. Dixon’s federal suit claiming that
   the pharmacist’s “specialized testing” or “stability testing” had failed.

45. However, the form of that resolution, from the standpoint of the adequacy of the
   compounded pentobarbital ultimately used for Mr. Dixon’s execution and the discarding of
   the basic framework in place to improve reliability in the drugs and avoid last minute
   instability in conducting lethal injections, is deeply concerning from a pharmaceutical
   standpoint.

46. The elements of the Department’s Execution Procedures obligating it to obtain, upon
   issuance of a warrant, lethal injection drugs with a sufficient BUD for use on the scheduled
   execution date, Att. D, ¶ A.1.III, coupled with the Department’s obligation to supply
   quantitative analysis of the specific drugs by ten days from the given warrant motion, Att. D,
   ¶ C.2, establish a rudimentary framework for managing the inherent risk of inefficacious
   drugs resulting from the processes of making high-risk compounded sterile preparations such
   as pentobarbital sodium. Even under optimal circumstances, very much can go wrong in
   making such sensitive preparations. Further, under the circumstances of compounding for
   executions, the absence of transparency in the actual preparation increases the inherent
   vulnerability in the compounding process. In my professional opinion, it is thus unsurprising
   that over the course of the past decades, numerous lethal injections have not gone according
   to plan.

47. The basic framework codified in the Execution Procedures should function to mitigate a
   substantial degree of the risk in this undertaking and provide far greater reliability in the
   preparation of lethal injection drugs than what has existed in the past from unsupported
   assurances about the readiness of the given drugs.

48. In Mr. Dixon’s case, the first one under the Department’s protocol requiring establishment of
   a BUD, the orderliness of this framework was discarded at the first indication of
   pharmaceutical inadequacy concerning the execution drugs.


                                                 10
    Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 80 of 465




49. In my review of the events in recent days culminating in Mr. Dixon’s lethal injection on May
   11, it appears that the State, through its Department’s pharmacist, swapped the measured
   approach to execution drugs verification for ad hoc preparation at literally the last possible
   moment.

50. The Department thus relied on the above-referenced empiric BUD of three days for
   refrigerated high-risk sterile preparations (supra ¶¶ 11, 35), so that it could avoid an
   evaluation of the fitness of the drugs it had expected to use in Mr. Dixon’s injection.

51. I am unable to opine on the adequacy of the pentobarbital solution ultimately used to carry
   out that execution and perhaps there will be additional scientific clarity if a post-execution
   analysis is conducted on Mr. Dixon. But whatever those results reflect, a substantial element
   of that execution, as a matter of the prohibition against cruel and unusual punishments, will
   remain unknowable because indications of pain can be masked in this process.

52. The juncture where meaningful steps can be taken to mitigate the substantial risk of inflicting
   severe pain in a lethal injection is at the point where the basic testing of the drugs can occur.
   When a batch is prepared about 48 hours prior to its use, key testing elements are simply
   unavailable. While potency can be tested, this tight timeframe prevents sterility and
   endotoxins testing, two vital components to the basic evaluation of the fitness of drugs for
   use in this context. Sterility testing takes two weeks, conventionally. Pyrogen testing for
   bacterial endotoxins, for example, also is infeasible on that compressed timeline.

53. My emphasis on the importance of conducting sterility and endotoxins testing concerns the
   detection of contaminants. The concern in the context of a lethal injection is not whether the
   receiver of the injection is susceptible to developing an infection from the process. Infecting
   microbial organisms present other immediate harms besides just reproducing and spreading
   through the body. Rather, it is important to detect contaminants in the injectable solution
   because the presence of crystalized particles within it is among the most likely factors
   leading to severely painful or even botched executions. Obviously, such debris placed into an
   injection could be catastrophic, as crystals are susceptible to causing embolisms (ie., a
   particulate blocking a blood vessel) and associated failings in the process, leading to a
   prolonged or ineffective execution and severe pain.




                                                 11
    Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 81 of 465




I declare under penalty of perjury that the foregoing is true and correct to the best of my
knowledge and belief.
Executed this 18th day of May 2022.
                      Digitally signed by James Ruble
                      Date: 2022.05.18 10:47:43
                      -06'00'
__________________________________
James H. Ruble, PharmD, JD




                                                        12
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 82 of 465




                        EXHIBIT A
   Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 83 of 465




                                    James H. Ruble
                                          April 2022

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EMPLOYMENT / PROFESSIONAL EXPERIENCE
Academia Position – Primary
2021 – Present Assistant Dean for Student Affairs, College of Pharmacy, University of Utah,
               Salt Lake City, Utah (effective 1 August 2021)
2013 – Present Associate Professor (Clinical), Department of Pharmacotherapy, College of
               Pharmacy, Skaggs Pharmacy Institute, University of Utah, Salt Lake City,
               Utah
                   Assistant Professor (Clinical) 2010 – 2013
                   Clinical Assistant Professor (adjunct) 1995 – 2010
Academia Positions – Adjunct
2020 – Present Adjunct Associate Professor, SJ Quinney College of Law, University of Utah,
               Salt Lake City, Utah
2016 – Present Adjunct Associate Professor, Center for Health Ethics, Arts and Humanities
               (CHeEtAH), School of Medicine, University of Utah, Salt Lake City, Utah
2017 – Present Adjunct Associate Professor, Department of Pharmaceutics and
               Pharmaceutical Chemistry, College of Pharmacy, Skaggs Pharmacy Institute,
               University of Utah, Salt Lake City, Utah
                   Adjunct Assistant Professor 2010 – 2016
2006 – 2011,   Visiting Faculty, Roseman University of Health Sciences, South Jordan, Utah
2018

Non-academia Positions – Health Care
2018 – Present Faculty Relations Specialist, Office of the Associate Vice President for
               Faculty and Academic Affairs, University of Utah Health, Salt Lake City,
               Utah
2016 – 2018    Ombudsman, Office of the Associate Vice President for Faculty and
               Academic Affairs, University of Utah Health, Salt Lake City, Utah
2009 – 2016    Clinical Pharmacist, Department of Pharmacy Services, University of Utah
               Health Care, Salt Lake City, Utah
   Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 84 of 465




2007 – 2009    Manager, Infusion Pharmacy, Department of Pharmacy Services, University
               of Utah Health Care, Salt Lake City, Utah
2004 – 2007    Sterile Compounding/IV Admix Clinical Pharmacist, Department of Pharmacy
               Services, University of Utah Health Care, Salt Lake City, Utah
2000 – 2001    Staff Pharmacist, Target Stores Pharmacy, Centerville, Utah
1996 – 1999    Clinical Pharmacist in Ambulatory Neurology and Neurosurgery, Department
               of Pharmacy Services, University of Utah Health Care, Salt Lake City, Utah
1995 – 1996    Clinical Pharmacist in Drug Information, Department of Pharmacy Services,
               University of Utah Health Care, Salt Lake City, Utah
1994 – 1995    Pediatric Pharmacy Team Coordinator, Pharmacy Department, Geisinger
               Medical Center, Janet Weis Children's Hospital, Danville, Pennsylvania
1992 – 1994    Staff Pharmacist, Pharmacy Department, Primary Children's Medical Center,
               Salt Lake City, Utah
1989 – 1992    Pharmacist Intern, Pharmacy Department, Primary Children’s Medical Center,
               Salt Lake City, Utah
1988 – 1990    Clinical Technologist, Sleep Disorders Center, University of Utah Health
               Care, Salt Lake City, Utah
1985 – 1988    Pulmonary Function Technician, Pulmonary Laboratory, University of Utah
               Health Care, Salt Lake City, Utah
1985 – 1985    Anesthesiology Technician, Anesthesiology Workroom, University of Utah
               Health Care, Salt Lake City, Utah
Non-academia Positions – Law and Consulting
2013 – Present Founder and Member, Salus Consulting, LLC, Bountiful, Utah
2004 – 2006    Attorney, Wasatch Intellectual Property Services, LLC, N. Salt Lake, Utah
2002 – 2005    Associate Attorney, Pate Pierce & Baird, PC, Salt Lake City, Utah
2001 – 2001    Law Clerk, Jones Waldo Holbrook & McDonough, PC, Salt Lake City, Utah
2000 – 2000    Independent Consultant, Christensen & Jensen, PC, Salt Lake City, Utah

EDUCATION
Degree                                 Years           Institution
Juris Doctor                           1999 – 2002     University of Utah
Doctor of Pharmacy                     1992 – 1994     University of Utah
Bachelor of Science – Pharmacy         1989 – 1992     University of Utah
Bachelor of Science – Biology          1984 – 1989     University of Utah
(Molecular & Biochemistry emphasis)




                                                                               Ruble, Page 2
   Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 85 of 465




LICENSURE/CERTIFICATION/ADDITIONAL TRAINING
2019 – 2020      Academic Leadership Fellows Program (ALFP) (Cohort 16), American
                 Association of Colleges of Pharmacy, Arlington, Virginia
2016 – 2017      Conflict Resolution Graduate Certificate Program, University of Utah,
                 Department of Communication (Certificate awarded April 2017)
2016             Foundations of Organizational Ombudsman Practice, International
                 Ombudsman Association (IOA), Santa Ana, California, June 2016
2014 – Present   Basic Life Support for Healthcare Providers (CPR and AED), American
                 Heart Association
2004 – Present   Registered Patent Attorney, United States Patent and Trademark Office,
                 Reg. No. 56118
2002 – Present   Attorney, Utah State Bar, Member No. 09426
1994 – 1996      Registered Pharmacist – Pennsylvania Board of Pharmacy
                 License No. RP041317R (expired 9/30/1996)
1992 – Present   Registered Pharmacist – Utah Division of Occupational and Professional
                 Licensing, License No. 153627-1701 (expires 9/30/2021)
1986 – 1988      Certified Pulmonary Function Technician (CPFT), National Board for
                 Respiratory Care
1985 – 1997      Advanced Cardiovascular Life Support (ACLS), American Heart
                 Association
1985 – 1997      Basic Life Support (BLS). American Heart Association

HONORS, RECOGNITIONS & AWARDS
2021 P1 Class Teacher of the Year, College of Pharmacy, University of Utah, Salt Lake City, Utah
2020 P4 Class Teacher of the Year, College of Pharmacy, University of Utah, Salt Lake City, Utah
2019 Distinguished Teaching Award & Teacher of the Year, College of Pharmacy, University of
     Utah, Salt Lake City, Utah
2019 P2 Class Teacher of the Year, College of Pharmacy, University of Utah, Salt Lake City, Utah
2018 P1 Class Teacher of the Year, College of Pharmacy, University of Utah, Salt Lake City, Utah
2017 Overall Best Mediator, recognized by Peers and Faculty in Conflict Resolution Graduate
     Certificate Course, University of Utah, Salt Lake City, Utah
2016 P3 Class Teacher of the Year, College of Pharmacy, University of Utah, Salt Lake City, Utah
2015 Leadership in Ethics Education Award, Daniels Fund/David Eccles School of Business,
     University of Utah, Salt Lake City, Utah
2015 Outstanding Professor Award, Hinckley Institute, Univ. of Utah, Salt Lake City, Utah
2014 Distinguished Teaching Award & Teacher of the Year, College of Pharmacy, University of
     Utah, Salt Lake City, Utah

                                                                                 Ruble, Page 3
   Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 86 of 465




2014 P4 and P2 Class Teacher of the Year, College of Pharmacy, University of Utah, Salt Lake
     City, Utah
2011 Distinguished Teaching Award & Teacher of the Year, College of Pharmacy, University of
     Utah, Salt Lake City, Utah
2011 P2 Class Teacher of the Year, College of Pharmacy, University of Utah, Salt Lake City, Utah
2005 Partners-in-Caring Award, University of Utah Health Care, Salt Lake City, Utah
1995 Employee Recognition Award for Outstanding Service, Geisinger Medical Center, Danville,
     Pennsylvania
1993 Ewart Swinyard Scholarship, College of Pharmacy, University of Utah, Salt Lake City, Utah
1992 Facts and Comparisons Award for Excellence in Clinical Communications, College of
     Pharmacy, University of Utah, Salt Lake City, Utah
1992 McNeil Pharmaceuticals Award for Outstanding Achievement in Pharmacy Administration,
     College of Pharmacy, University of Utah, Salt Lake City, Utah
1991 Allen and Hanburys Scholarship, University of Utah, Salt Lake City, Utah
1991 Faculty Scholarship, College of Pharmacy, University of Utah, Salt Lake City, Utah

RESEARCH AND SCHOLARLY WORK
Grants
2021 – 2023 A database and heuristic of ethical issues in biomedical research.
            Principle Investigator: James Ruble
            Total Budget: $50,000 (proposal accepted for funding)
            Funding Source: ALSAM
2016 – 2019 Treatment patterns, patient outcomes, and healthcare charges in hemophilia
            at Hemophilia Treatment Centers in the Intermountain West.
            Principal Investigator: David Stenehjem, PharmD, BCOP
            Direct Costs: $462,500 Total Costs: $613,738
            Role: Co-Investigator (< 5%)
            Funding Source: Biogen/IDEC
2012 – 2014 Evaluation, Research, Survey and Recommendations: Physician Dispensing
            Exemption from Pharmacy Licensure.
            Principal Investigator: Mark Munger, PharmD
            Direct Costs: $67,000 Total Costs: $67,000
            Role: Co-Investigator (40%)
            Funding Source: State of Utah, MP12023
2011 – 2013 Promoting the Pharmacy Profession as a Career Pathway for Female Students
            and Students from Ethnically Diverse Backgrounds
            Principal Investigator: James H. Ruble
            Direct Costs: $3,500 Total Costs: $3,500
            Role: Principal Investigator (100%)
            Funding Source: Educational Resources Development Council



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    Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 87 of 465




2012 – 2012     Evaluation of buffer solutions and impact of gas sterilization processes
                Principal Investigator: Mark Munger, PharmD
                Direct Costs: $15,000 Total Costs: $15,000
                Role: Co-Investigator (50%)
                Funding Source: BARD Access Systems, Inc.
1998 – 1998     Comprehensive evaluation of psychometric assessment tools in Alzheimer’s
                disease
                Principal Investigator: Gary Oderda, PharmD, MPH
                Direct Costs: $10,000 Total Costs: $10,000
                Novartis Pharmaceuticals Corporation
                Role: Co-Investigator (50%)

PUBLICATIONS
Peer-Reviewed Journal Articles
17. Bald E, Kourtides D, Cox N, Raber H, Ruble J, Richards B. Comparison of a Self-Care
    Therapeutics Course Taught in the P1 versus the P2 Year. J Pharm Pract. 2021 Aug
    16:897 doi: 10.1177/08971900211038860
16. Carr C, Scoville J, Ruble J, Condie C, Davis G, Floyd C, Kelly L, Monson K, Reichert E,
    Sarigul B, Hawryluk G. An Audit and Comparison of pH, Measured Concentration, and
    Particulate Matter in Mannitol and Hypertonic Saline Solutions. Front Neurol. 2021 May
    17;12:667842. doi: 10.3389/fneur.2021.667842
15. Rosenberg E, Albert EL, Mospan GA, Panther S, Ruble J, Stein RL. A Pilot Study
    Regarding Pharmacy Law Education Across Doctor of Pharmacy Programs. Am J Pharm
    Educ. 2020;84(2):7172. doi: 10.5688/ajpe7172.
14 Tak CR, Gunning K, Kim J, Sherwin CM, Ruble JH, Nickman NA, Biskupiak JE. The
    effect of a prescription order requirement for pharmacist-administered vaccination on
    herpes zoster vaccination rates. Vaccine. 2019 Jan 21;37(4):631-636. doi:
    10.1016/j.vaccine.2018.12.003. Epub 2018 Dec 15.
13. Ruble JH. Evaluation of US Federal Legislation for Opioid Abuse: 1973-2016. J Pain
    Palliat Care Pharmacother. 2016 Sep;30(3):218-24. doi:
    10.1080/15360288.2016.1211213.
12. Feehan M, Durante R, Ruble JH, Munger MA. Qualitative Interviews about Pharmacist
    Prescribing in the Community Setting. Am J Health-Syst Pharm. 2016 Sep
    15;73(18):1456-61. doi: 10.2146/ajhp150691.
11. Ruble JH. Tools for “decloaking” the elephant in the room: Conflict-of-interest, Shared
    Decision-Making and Patient-Centered Care [Commentary]. J Pain Palliat Care
    Pharmacother. 2015 Jun;29(2):173-7. doi: 10.3109/15360288.2015.1037519.
10. Ruble JH. The “death” of lethal injection as we know it? An opportunity to reflect on the
    role of chemical execution in the US criminal justice system [Commentary]. J Pain Palliat
    Care Pharmacother. 2014 Sep;28(3):276-81. doi: 10.3109/15360288.2014.941133. Epub
    2014 Aug 14.


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     Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 88 of 465




9.   Munger MA, Ruble JH, Nelson SD, Ranker L, Petty RC, Silverstein, S, et al. National
     Evaluation of Prescriber Drug Dispensing. Pharmacotherapy. 2014 Oct;34(10):1012-21.
     doi: 10.1002/phar.1461. Epub 2014 Jul 23.
8.   Ruble JH. Prescriber-Pharmacist Collaboration: Re-engineering the Partnership to
     Optimize Pain Patient Care [Commentary]. J Pain Palliat Care Pharmacother. 2013
     Dec;27(4):365-6. doi: 10.3109/15360288.2013.849322. Epub 2013 Oct 21.
7.   Ruble JH. Distribution of Controlled Substances in the US Supply Chain: Where does
     the Compass Point? [Commentary]. J Pain Palliat Care Pharmacother. 2012
     Sep;26(3):251-3. doi: 10.3109/15360288.2012.703983.
6.   Shrewsbury R, Augustine S, Birnie C, Nagel K, Ray D, Ruble J, Scolaro K, Athay Adams
     J. AACP Report: Assessment and Recommendations of Compounding Education in
     AACP Member Institutions. Am J Pharm Educ. 2012 Sep 10;76(7):S9. doi:
     10.5688/ajpe767S9.
5.   Ruble JH. Off-label Prescribing of Medications for Pain: Maintaining Optimal Care at an
     Intersection of Law, Public Policy and Ethics. J Pain Palliat Care Pharmacother.
     2012;26:146-52.
4.   Ruble JH. Baxter v. Montana, Libertarianism, and End-of-Life: The Ripe Time for a
     Paradigm Shift. J Pain Palliat Care Pharmacother. 2010 Sep;24(3):263-70. doi:
     10.3109/15360288.2010.502214.
3.   Ruble J, Matsuo F. Antiepileptic-induced cutaneous drug reactions: Incidence,
     mechanisms, and management. CNS Drugs. 1999;12(3): 215-36.
2.   Ruble J, Muncey LA. Beta-adrenergic agonists in the treatment of asthma. J Pharm Care
     Pain Symptom Control. 1997;5(4): 49-56.
1.   Goeser S, Ruble J. Melatonin: Historical and clinical perspectives. J Pharm Care Pain
     Symptom Control. 1997;5(1):37-49.

Letters and Other Publications
8. Pan RJ, Ruble JH. A Commentary on Ethical Decision-Making in the Pharmacy
    Profession and the APhA Code of Ethics. Journal of the American Pharmacists
    Association. 2021;61(2):E68-E70. doi.org/10.1016/j.japh.2020.10.021.
    https://www.japha.org/article/S1544-3191(20)30547-1/fulltext
7. Ruble JH, Brixner DA. Comment & Response: Outpatient Pharmacy Expenditures for
   Children with Serious Chronic Illness in California, 2010-2012. JAMA. 2016;315(7):706.
   doi:10.1001/jama.2015.16978.
6. Subach RA, Ruble J. Misprint of dosage interval for liposomal doxorubicin hydrochloride
   [Letter]. Am J Health Syst Pharm. 1996;53(14):1727.
5. Ruble JH. Pharmacoeconomics – an evolving tool in health technology assessment.
   Division of Medical Ethics and Humanities Newsletter, School of Medicine, University of
   Utah. June 2016. Available at:
   http://medicine.utah.edu/internalmedicine/medicalethics/newsletters/index.php


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   Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 89 of 465




4. Ruble J. Impact safety, efficiency, and the bottom line with premixed IV products.
   Pharmacy Purchasing & Products. 2008;5(2):34,36,38.
3. Ruble J. USP Chapter <797> Compliance: Important legal issues. Pharmacy Purchasing
   & Products. 2008;5(6):16,18,20.
2. Ruble J, Hill GK. Inadvertent Public Disclosure and Possible Loss of Intellectual
   Property Rights. Nutraceutical Business & Technology 2005;1(5):34-40.
1. Ruble J, Koberstein W, ed. Special Report: The Secure IPO Launch Plan – A Virtual
   Roundtable. BioExecutive International 2005;1(4):58-67.

Book Chapters
2. Ruble JH. Legal Implications for Pharmacists: US Legal Framework, Regulatory
   Oversight, Civil Responsibility, and Professional Judgement. In: Pharmacy Student
   Survival Guide, 4th ed., Nemire R, Assa-Eley M, eds. New York, NY:McGraw-Hill
   Medical; 2022 [in press]
1. Ruble JH. Compounded medications in pain management: customized rational
   polypharmacy. In: Aronoff GM, editor. Medication management of chronic pain: what
   you need to know. Bloomington, IN:Trafford Publishing; 2017.

Scientific Posters and Abstracts
16. Bald E, Kourtides D, Cox N, Raber H, Ruble, J, Nazminia K, Richards B. (2021).
     Comparison of a Self-Care Therapeutics Course Taught in the P1 versus the P2 year.
     American Association of Colleges of Pharmacy, Annual Meeting (virtual).
15. Paulson CM, Ruble J. (2020). Pharmacists’ Perceptions of Ethical Dilemmas
    Encountered in Community Practice. Professional Development Poster Session,
    University of Utah College of Pharmacy, Salt Lake City, Utah.
14. Winter K, Ruble J. (2020). Pharmacists’ Perceptions of Ethical Dilemmas Encountered
    in Acute Care/Institutional Practice. Professional Development Poster Session,
    University of Utah College of Pharmacy, Salt Lake City, Utah.
13. Winter K, Ruble J. (2019). Pharmacist Perceptions of Ethical Dilemmas Encountered in
    Acute Care/Institutional Practice. American College of Clinical Pharmacy (ACCP)
    Annual Meeting, New York City, New York.
12. Knight LH, Rimer E, Ruble J. (2019). An Assessment of Potential Roles of a Clinical
    Pharmacist in Optimizing Health and Athletic Performance of Student Athletes. College
    of Pharmacy Doctor of Pharmacy Program Poster Session. University of Utah, Salt Lake
    City, Utah.
11. Clark L, Ruble J. (2018). UHealth Ombudsman Office: A Resource for Conflict
    Resolution. UHealth Resiliency Program – Wellness Champions Poster Session.
    University of Utah, Salt Lake City, Utah.
10. Raber H, May A, Nyman H, Ruble J, Witt D. (2018). The White Space Project. UHealth
    Resiliency Program – Wellness Champions Poster Session. University of Utah, Salt Lake
    City, Utah.
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     Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 90 of 465




9.   Carr C, Scoville J, Condie C, Davis G, Floyd C, Kelly L, Monson K, Reichert E, Ruble J,
     Hawryluk G. (2018). A Comparison of Measured pH, Salinity, Osmometry,
     Nephelometry, and Particulate Matter in Mannitol and Hypertonic Saline [Abstract
     #41977]. American Association of Neurological Surgeons (AANS) Annual Meeting,
     New Orleans, Louisiana.
8.   Carr C, Scoville J, Condie C, Davis G, Floyd C, Kelly L, Monson K, Reichert E, Ruble J,
     Hawryluk G. (2018). An Audit of pH, Salinity, Osmometry, Nephelometry, and
     Particulate Matter in Commercially Available Hyperosmolar Solutions [Abstract
     #41971]. American Association of Neurological Surgeons (AANS) Annual Meeting,
     New Orleans, Louisiana.
7.   Tak CR, Kim J, Gunning K, Ruble JH, Sherwin CMT, Nickman NA, Biskupiak J.
     (2018). Effect of a Prescription Order Requirement for Pharmacist-Administered
     Vaccination on Zoster Vaccination Rates. AMCP Managed Care and Speciality
     Pharmacy Annual Meeting, Boston, Massachusetts.
6.   Bowman N, Ruble J, Crouch BI. Homemade Play-Dough: Money Saving and Potentially
     Life-Threatening? North American Congress of Clinical Toxicology. (2016) NACCT
     Abstracts 2016, Clinical Toxicology, 54:8, 659-811, DOI:
     10.1080/15563650.2016.1197486
5.   Skrabal MZ, Downs GE, Carter RA, Eagerton DH, Franson KL, Hritcko PM, Jungnickel
     PW, Kissack JC, Ruble J, Torrado C. (2016). Marijuana Use Task Force (MUTF):
     Considerations for Schools Regarding Marijuana Use by Students, Faculty, and
     Preceptors. American Association of Colleges of Pharmacy Annual Meeting, Anaheim,
     California.
4.   Blumenthal D, Stephens S, Nyman H, Jennings B, Ruble J, et al. (2013). Rapid
     development and longitudinal incorporation of interprofessional education simulations
     into the pharmacy curriculum. American Association of Colleges of Pharmacy Annual
     Meeting, Chicago, Illinois.
3.   Ruble J, Edwards D, Schmidt J, et al. (2003). Medication Use Review: Infliximab use in
     the ambulatory clinic infusion center at University Health Care. Report presented to
     Pharmacy Administration, University of Utah Health Care, Salt Lake City, Utah.
2.   Ruble J, Constantino T, Godsey C, et al. (1998). Topiramate (TPM) use in refractory
     epilepsy patients ineligible for surgical treatment [Abstract #100231]. American Epilepsy
     Society 52nd Annual Meeting, Sheraton Convention Center, San Diego, California.
1.   Forshew DA, Ruble J, Bromberg MB. (1998). A survey of ALS/MND specialists for
     medication preferences for relief of symptoms associated with ALS/MND. Platform
     Presentation. The 9th International Symposium on ALS/MND, Park Hilton, Munich,
     Germany.




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   Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 91 of 465




EDITORIAL EXPERIENCE
Editorial Board Member
   Journal of Pain & Palliative Care Pharmacotherapy
Reviewer Experience
   Journal of Managed Care Pharmacy, Alexandria, Virginia, USA
   Research in Social and Administrative Pharmacy, Elsevier, Amsterdam, Netherlands
   Journal of Pain & Palliative Care Pharmacotherapy, Informa Healthcare USA
   American Journal of Pharmaceutical Education, Arlington, Virginia, USA
   Hospital Pharmacy Journal, ThomasLand Publishers, St. Louis, Missouri, USA
   Pharmacist’s Letter, Therapeutic Research Center, Stockton, California, USA
   BMC Research Notes, BioMed Central, London, UK
   Handbook of Nonprescription Drugs: An Interactive Approach to Self-Care, 20th Edition,
   Chapter 4: Legal and Regulatory Issues in Self-Care Pharmacy Practice.


PRESENTATIONS
Meeting Presentations
National/Regional/Local
03/2023 Case Law Updates. American Pharmacists Association (APhA), Annual Meeting &
          Exposition, Phoenix, Arizona
11/2022 Case Law Updates. American Society for Pharmacy Law (ASPL) – Fall Seminar
          National Meeting, Naples, Florida
08/2022 Civility, Respect, and Professionalism in Academic Research. Keynote
          Presentation. Association of Research Integrity Officers (ARIO) National Meeting.
          Marriott Hotel and Conference Center, Salt Lake City, Utah
11/2021 Case Law Updates. American Society for Pharmacy Law (ASPL) – Fall Seminar
          National Meeting, Las Vegas, Nevada
07/2021 Teaching Pharmacy Students Resource Allocation Ethics in a Courageous New
          World. American Association of Colleges of Pharmacy (AACP) Annual Meeting
          (virtual conference)
03/2021 Case Law Updates. American Pharmacists Association (APhA), Annual Meeting &
          Exposition (virtual conference)
11/2018 Ethics in Pharmacy and Law: Practice implications of anti-discrimination standards
          in MRPC 8.4(g) and ACA section 1557. American Society for Pharmacy Law
          (ASPL) – Fall Seminar National Meeting, Hilton Head, South Carolina
07/2018 Ethical, Legal, and Social Issues in the Era of Genomic Medicine: How Do We Best
          Educate Pharmacy Students. Special Presentation, American Association of
          Colleges of Pharmacy (AACP), AACP Annual Meeting, Boston, Massachusetts
04/2018 Opioid Crisis in Utah – Symposium. Center for Law and Biomedical Sciences, SJ
          Quinney College of Law, University of Utah, Salt Lake City, Utah
                                                                                Ruble, Page 9
   Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 92 of 465




07/2017   Ethical Dilemmas in Pharmacotherapy – Communication and Conflict Resolution
          Skills for the Pharmacy Learner Continuum. Special Presentation, American
          Association of Colleges of Pharmacy (AACP), AACP Annual Meeting, Nashville,
          Tennessee
04/2017   Reducing Risk and Maintaining Empathy: Professional Practice Tips for Risk
          Management & Strengthening Relationships. Anticoagulation Forum National
          Meeting, Los Angeles, California
03/2017   Death-With-Dignity: Legal, Ethical, Clinical and Pharmaceutical Perspectives. 18th
          Annual Conference on Emerging Issues in Healthcare Law, American Bar
          Association (ABA) National Meeting, New Orleans, Louisiana
11/2016   Educator’s Session – Formative and Summative Assessment in Pharmacy Law
          Education. American Society for Pharmacy Law (ASPL) – Fall Seminar National
          Meeting, Austin, Texas
05/2016   Moral Distress and Moral Fatigue in Health Care Professionals. Project ECHO –
          Burn and Soft Tissue Injury. University of Utah Burn Center. Salt Lake City, Utah
01/2016   Reducing Risk and Maintaining Empathy: Professional Practice Tips for Risk
          Avoidance, Risk Mitigation & Strengthening Relationships. Anticoagulation Forum
          Boot Camp. Salt Lake City, Utah
11/2014   Pharmacy and the Continuum of Lethal Injection. American Society for Pharmacy
          Law (ASPL) – Fall Seminar National Meeting, Indian Wells, California
11/2014   Educator’s Session – Teaching Federal Pharmacy Law. American Society for
          Pharmacy Law (ASPL) – Fall Seminar National Meeting. Indian Wells, California
10/2014   Prescription Drugs and Poisonings: Exploring the Landscape – Legal Perspective.
          Utah Poison Control Center 60th Anniversary Symposium. Salt Lake City, Utah
11/2013   Compounding Paradigm Shift: A New Regulatory Landscape. American Society
          for Pharmacy Law (ASPL) – Fall Seminar National Meeting, Jacksonville, Florida
11/2012   Pharmacy Compounding and Meningitis Tragedy Update: What Lessons Can We
          Learn? Utah Board of Pharmacy, Salt Lake City, Utah
09/2010   Criminal Liability for Compounding Errors: A Discussion of Recent Cases. Utah
          Society of Health System Pharmacists, Annual Meeting, Salt Lake City, Utah
07/2009   Is Compounding Illegal or Unethical? A Discussion of Law and Ethics in
          Pharmaceutical Compounding. University of Utah College of Pharmacy
          Pharmacotherapy Department Seminar
04/2009   Equipoise and Clinical Research in an Academic Medicine Environment. University
          of Utah Health Care, Ethics Committee, Educational Presentation, Salt Lake City,
          Utah
08/2007   Investigational New Drug Applications: Information for Principal Investigators and
          IRB Panel Members. Institutional Review Board Annual Retreat, University of
          Utah, Salt Lake City, Utah
08/2006   INDA’s – Investigational New Drug Applications: An Introduction in 10 Questions.
          Institutional Review Board Annual Retreat, University of Utah, Salt Lake City,
          Utah
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   Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 93 of 465




11/1998   Ten Questions (and Answers) About Your Medications for Parkinson’s Disease. St.
          George/Southern Utah Parkinson’s Disease Association, Senior Center, St. George,
          Utah
05/1998   Know Your Medications: Ten Questions (and Answers) About Your Medications
          for Parkinson’s Disease. Annual Meeting, Utah Chapter, American Parkinson’s
          Disease Association. Moran Eye Center Auditorium, University of Utah, Salt Lake
          City, Utah
09/1997   Drug Therapies for Neurologic Disorders. 2nd Annual Salt Lake Veterans Affairs
          Hospital Gerontological Nursing Conference. Wyndham Hotel Convention Center,
          Salt Lake City, Utah
11/1995   Temporal Variation in Pharmacotherapy and the Drug Regulatory Process.
          Department of Pharmacy Practice, College of Pharmacy, University of Utah, Salt
          Lake City, Utah

Grand Rounds, Invited and Professional Development Presentations
03/2020 Negotiation Essentials. Leadership Development Seminar, University of Utah, Salt
         Lake City, Utah
02/2020   Communication, Leadership, and Conflict Competence. Senior Leadership
          Development Conference, University of Utah Health, Salt Lake City, Utah
10/2017   Communication and Conflict Resolution Skills for Pharmacy Professionals.
          Pharmacy Grand Rounds, Department of Pharmacy Service, University of Utah
          Health, Salt Lake City, Utah
10/2016   Assisted Suicide: Implications for Families and Society. Fall Symposium. J.
          Reuben Clark Law School, Brigham Young University, Provo, Utah
09/2016   Keynote Speech: Time and Opportunity. White Coat Ceremony. College of
          Pharmacy, University of Utah, Salt Lake City, Utah
02/2015   Lethal Injection in the United States Criminal Justice System: A Modern Kairos?
          Hinckley Institute at The University of Utah, Salt Lake City, Utah
08/2014   Art Imitating Life – Reflecting on the Fictional World of Harry Potter and Realities
          in Pharmacy and Pharmaceutical Sciences. Eccles Health Sciences Library,
          University of Utah, Salt Lake City, Utah
01/2011   Pharmacist Liability: A Case Study. Grand Rounds, Department of Pharmacy
          Services, University of Utah Health Care, Salt Lake City, Utah
05/2006   Applied Bioethics and Withdrawal of Life-Support in Dying Patients. Grand
          Rounds, Department of Pharmacy Services, University Health Care, University of
          Utah, Salt Lake City, Utah
11/2003   Fundamentals of Intellectual Property for the Neurologist and Neuroscientist.
          Grand Rounds, Department of Neurology, University of Utah School of Medicine,
          Salt Lake City, Utah


                                                                                 Ruble, Page 11
   Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 94 of 465




Continuing Education Presentations
11/2019    Medical Cannabis in Utah: A Primer for Medical Pharmacy Providers (Webinar).
           Utah Department of Health/University of Utah School of Medicine, Salt Lake City,
           Utah
04/2017    Medical Aid-in-Dying, Pharmacy, Public Policy, and Perspectives. Greater New
           York Hospital Association, Metropolitan New York City
01/2017    Ethical Challenges of Pharmaceuticals in Capital Punishment. Continuing
           Professional Development Conference for Australian Healthcare Professionals.
           Canyons Resort, Park City, Utah
01/2017    Review and Update of Drug Interactions Commonly Encountered in Patient Care.
           Continuing Professional Development Conference for Australian Healthcare
           Professionals. Canyons Resort, Park City, Utah
06/2016    Hemophilia Managed Care Review Board – Health Economics and
           Pharmacoeconomics Assessment – Analyzing Available Data to Assess the Value
           of Treatment Options and Collaborative Care Management. Web-based
           Continuing Education Program. Philadelphia, Pennsylvania
01/2016    New and Forthcoming Medicines and Pharmaceutical Technologies. Continuing
           Professional Development Conference for Australian Healthcare Professionals.
           Canyons Resort, Park City, Utah
01/2016    Extemporaneous Compounding Regulations in Australia and the US and Prudent
           Professional Judgment. Continuing Professional Development Conference for
           Australian Healthcare Professionals. Canyons Resort, Park City, Utah
09/2015    Death With Dignity, Pharmacy and HB 391. Utah Society of Health-System
           Pharmacists, McKay-Dee Hospital, Ogden, Utah
02/2014    Pharmacist Providers: Professional Evolution or Passing Fancy? Utah
           Therapeutics and Pharmacy Law Continuing Education Program. Roseman
           University of Health Sciences. Salt Lake City and Logan, Utah
09/2013    Compounding Paradigm Shift: Public Policies and Changes in Regulatory
           Landscape. Utah Society of Health-System Pharmacists, Salt Lake City, Utah
08/2013    Hot Potato: A Chronicle of Non-Sterile Compounding. Utah Pharmacists
           Association, Layton, Utah
11/2012    Conflict, Compassion and Communication: Ethical Reasoning in Drug Shortages
           and Resource Allocation. Greater New York Hospital Association, Metropolitan
           New York City
05/2012    Pharmacy Law Review and Refresher Course. University of Utah College of
(annually Pharmacy Continuing Pharmacy Education Program, Health Sciences Education
Presented) Building, University of Utah, Salt Lake City, Utah. (Full-day CPE program in
           Pharmacy Law and Ethics)
03/2011    Ethics Panel Discussion: A Continuum of Pharmacy Issues at End-of-Life. Panel
           participant and moderator. Mid-Winter meeting: Utah Society of Health-System
           Pharmacists and University of Utah College of Pharmacy. Health Sciences
           Education Building, University of Utah, Salt Lake City, Utah

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   Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 95 of 465




11/2010   Pharmacist Liability: A Case Study. Department of Pharmacy Services,
          Intermountain Medical Center. Murray, Utah
03/2010   USP <797> -- Planning, Implementation and Enforcement: Successes and
          Struggles. Southern Nevada Society of Health-System Pharmacists, Mid-year
          Meeting. Henderson, Nevada
02/2010   Pharmacist Liability: A Case Study. Utah Society of Health-System Pharmacists
          Annual Meeting. Davis Convention Center, Layton, Utah
01/2010   Brands, Generics, and Pay-for-Delay: Implications in Patient Care. University of
          Southern Nevada, Winter CPE Meeting. South Jordan, Utah, and Logan, Utah
11/2009   Disclosing a Dispensing Error: Ethical Reasoning. Utah Pharmacists Association,
          Fall Meeting. Wyndam Hotel and Convention Center, Salt Lake City, Utah
05/2009   Complying with Controlled Substances Laws While Maintaining Compassion for
          Patients. Continuing Education Program, University of Southern Nevada, South
          Jordan, Utah
10/2008   Conflict-of-Interest. Fall Continuing Education Program, University of Utah
          College of Pharmacy, Salt Lake City, Utah
12/2007   Applied Bioethics and Withdrawal of Life-support in Dying Patients. 14th Annual
          Winter CE Program, University of Arizona College of Pharmacy, Park City, Utah
12/2006   Review of Medicare/Medicaid Fraud and Abuse. 13th Annual Winter CE Program,
          University of Arizona College of Pharmacy, Park City, Utah
12/2006   Dealing with Conflict of Interest Ethical Issues. 13th Annual Winter CE Program,
          University of Arizona College of Pharmacy, Park City, Utah
04/2006   Pharmacist Refusal to Dispense: An Overview of Legal and Ethical Issues. Utah
          Pharmacists Association Annual Meeting, Dixie Center, Saint George, Utah
12/2005   Pharmacist Refusal to Dispense: An Overview of Legal and Ethical Issues. Annual
          Winter CE Program, University of Arizona College of Pharmacy, Park City, Utah
12/2004   Negligence Update: Pharmacists Duty to Warn. 11th Annual Winter CE Program,
          University of Arizona College of Pharmacy, Park City, Utah
12/2004   Business Law Primer for Pharmacists. 11th Annual Winter CE Program, University
          of Arizona College of Pharmacy, Park City, Utah
12/2003   Federal and State Administrative Law: FDA, FTC, DEA and State Boards. 10th
          Annual CE Program, University of Arizona College of Pharmacy, Park City, Utah
12/2003   Federal Legislation and Pharmacy Practice Update. 10th Annual Winter CE
          Program, University of Arizona College of Pharmacy, Park City, Utah
10/2003   Navigating Federal Drug Law: 1987-2003: Significant Legislation, Rx-to-OTC
          switch, Drug Importation. Annual Meeting, Utah Society of Health-System
          Pharmacists, University of Utah College of Pharmacy, Salt Lake City, Utah
04/1999   Medical Assistant In-service Lecture Series: Medication Injections and Commonly
          Used Oral Medications in the Ambulatory Clinic. Medical Assistants, University of
          Utah Hospitals & Clinics, Salt Lake City, Utah


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    Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 96 of 465




10/1998     Treatment of Parkinson’s Disease: New Tricks and Old Treats. Continuing
            Education Program, College of Pharmacy, University of Utah, Salt Lake City, Utah
Industrial Presentations
05/1998     Parkinson’s Disease, Multiple Sclerosis, and Amyotrophic Lateral Sclerosis,
            Partnership For Care Program, Athena Home Pharmacy Division, Athena
            Neurosciences, Embassy Suites, South San Francisco, California
03/1997     Idiopathic Parkinson’s Disease. SmithKline Beecham Pharmaceuticals,
            Intermountain Sales Team, Chart House Restaurant, Salt Lake City, Utah
12/1997     Presenter, Pfizer Inc., Cerebyx: A new advance in seizure control. Paracelsus
            Family Practice Department, Salt Lake City, Utah

News and Media Appearances
05/2021   “Warrant signed for Idaho’s first death row execution since 2012
          Idaho is seeking to execute convicted double-murderer Gerald Pizzuto Jr. next
          month” Idaho Capital Sun. (printed 5/7/21).
          https://idahocapitalsun.com/2021/05/07/warrant-signed-for-idahos-first-death-row-
          execution-since-2012/
05/2018   “Competition in the Pharmaceutical Industry” Top of Mind with Julie Rose. BYU
          Radio. (aired 6/19/2018) https://www.byuradio.org/episode/c9d37a75-3db2-4b0b-
          ad6b-09c36bba5d2d?playhead=3130&autoplay=true
11/2017   “Compounding pharmacies and lethal injection” VICE News with Gianna Tobani.
          VICE Media/HBO. (interview filmed; not published).
04/2017   “Opioid Crisis” Top of Mind with Julie Rose. BYU Radio. (aired 6/28/2017)
          http://www.byuradio.org/episode/e5beffb6-9d27-4077-868b-
          b1891dd5f6ec?playhead=62&autoplay=true
08/2015   “Printing Pills” Science Friday with Ira Flatow. Public Radio International. (aired
          8/7/2015) http://www.sciencefriday.com/segments/venomous-frogs-a-polar-bear-
          world-record-and-printing-pills/

PROFESSIONAL ORGANIZATIONS & SERVICE
Professional Organizations
2015 – 2019     Member, American Society of Health-System Pharmacists (ASHP)
2015 – 2017      Member, American Pharmacists Association (APhA)
2014 – Present   Member, Rho Chi Society – Pharmacy Honor Society
2013 – Present   Member, American Society for Pharmacy Law (ASPL)
2013 – 2021      Faculty Advisor, National Community Pharmacists Association Chapter
2012 – Present   Member, American Association of Colleges of Pharmacy (AACP)
2004 – Present   Admitted to the United States Patent and Trademark Office Bar
2002 – Present   Admitted to the United States District Court for the District of Utah Bar

                                                                                   Ruble, Page 14
   Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 97 of 465




2002 – Present   Member, Utah State Bar Association
1996 – 2011      Member, Utah Society of Health-System Pharmacists
1994 – Present   Member, Phi Lambda Sigma Pharmacy Leadership Society
1990 – 1992      Member, American Pharmacists Association – Academy of Student
                 Pharmacists


Professional Service
2022-2025        President-Elect, President, Past President, American Society for Pharmacy
                 Law (ASPL)
2016 – 2019      Chair-Elect, Chair, Past Chair, Health Care Ethics Special Interest Group
                 (SIG), American Association of Colleges of Pharmacy
2015 – Present   Pharmacy Law Educator’s Sub-Committee, American Society for Pharmacy
                 Law (ASPL) Chair, 2015-2017
2015 – 2018      Task Force Member, American Association of Colleges of Pharmacy, AACP
                 Task Force on Marijuana Use by Students, Faculty and Preceptors
2010 – 2012      Task Force Member, American Association of Colleges of Pharmacy, AACP
                 Task Force to Evaluate Compounding Instruction in US Pharmaceutical
                 Education
2009 – 2011      Board Member-at-Large, Utah Society of Health-System Pharmacists
2002 –2004       Co-Chair, Utah Society of Health-System Pharmacists, Newsletter
                 Committee

Public Service
2021 – 2023      Member, Board of Directors, Wasatch Homeless Health Care, also known as:
                 “4th Street Clinic”, Salt Lake City, Utah
2018 – Present   Member, Quality Improvement Committee, Wasatch Homeless Health Care,
                 also known as: “4th Street Clinic”, Salt Lake City, Utah
2018 – 2022      Chair, Controlled Substances Advisory Committee. Utah Department of
                 Health. State of Utah
2013 – 2018      Pharmacy Compounding Task Force. Utah Board of Pharmacy, Division of
                 Occupational & Professional Licensing, Department of Commerce, State of
                 Utah
2013 – 2014      Health Information Workgroup: State of Utah Health Innovation Model
                 Grant. State of Utah Department of Health. Center for Health and
                 Informatics. CFDA 93.624
2010 – 2016      Presenter, Area Health Education Centers, Presented information on
                 pharmacy careers and interactive pharmacy compounding demonstration for
                 Health Careers Summer Camp for Rural Health Scholars Program at
                 Southern Utah University
                                                                                  Ruble, Page 15
   Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 98 of 465




UNIVERSITY COMMITTEE ACTIVITIES
University Level – University of Utah
2021 – 2027        Member, Consolidated Hearing Committee (CHC), Academic Senate,
                   University of Utah
2021 – 2024        Member, Academic Appeals and Misconduct Committee, Academic
                   Senate, University of Utah
2017 – 2021        Member, Curriculum Policy Review Board / Special Fee Review
                   Committee
2016 – 2019        Member, Faculty Committee on Community and Governmental Relations
2006 – 2009        Member, Institutional Review Board


University of Utah Health Care System
2007 – 2017        Hospital Ethics Committee
                      Chair, 2015 – 2017
                      Co-Chair, 2013 – 2015
                      Clinical Ethics Consultation Team, 2007 – 2017
2009 – 2010        USP <797> Compounding Task Force, Department of Pharmacy Services


College Level – University of Utah College of Pharmacy
2021 – Present    Member, Executive Committee
2018 – Present    Member, Learning and Teaching Committee
2017 – 2021       Chair, Curriculum Committee
2015 – 2018       Member, Scholastic Standards Committee
2013 – 2015       Member, Inter-Professional Education (IPE) Committee
2012 – 2017       Member and P1 Steward, Curriculum Development Committee
2011 – 2014       Member, Admissions Committee
2011 – Present    Member, Student Mentoring Committee
2009 – 2011       Member, Diversity Advisory Committee

CURRENT & PAST AREAS OF TEACHING RESPONSIBILITY
Courses Directed
2022 – 2023        LAW 7360-001: Health Law
2020 – Present     LAW 7080-004: FDA Law and Regulation
2017 – 2018        PHARM 5144: Foundations in Drug Information and Critical Inquiry
2015 – 2017,       PHARM 6243: Community Practice (OTC & Self-Care)
2020
2010 – 2021        PHARM 6242: Pharmaceutical Compounding and Drug Delivery Systems
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   Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 99 of 465




2009 – Present    PHARM 5142: Foundations in Pharmacy Law, Ethics, and Risk
2008 – 2015       PCTH 7436: Ethical Dilemmas in Pharmacotherapy & Pharmaceutical
                  Science

Additional Courses Taught
2022 – Present    Contributor, BME 5120: Regulatory Affairs II (Biomedical Engineering)
2011 – 2013       Co-instructor, PHCEU 7975: Journal Club-PhD
2010 – 2015       Co-Instructor, PHARM 5113: Basics in Pharmaceutical Sciences
2009 – Present    Co-Instructor, PHARM 5120: Foundations in Pharmaceutical Sciences
2008 – 2010       Primary Instructor, PCTH 7603: Home Health Clerkship
2004 – Present    Co-Instructor, PHARM 5140: Foundations in Patient-Centered Care
2009 – 2012       Contributor, PCTH 7321: Introduction to Clerkships
2011 – 2012       Contributor, PCTH 6500: Research Ethics
2012 – 2016       Contributor, PCTH 6890: Research Seminar I
2012 – 2016       Contributor, PCTH 7100: Clinical Seminar I

Other Didactic Lectures
2019              Communications, Workplace Conflict and Ombudsman Services. Conflict
                  Resolution Graduate Certificate Program, Department of Communications,
                  University of Utah, Salt Lake City, Utah
2018 – Present    Difficult Choices: Ethics capstone for Foundations of Medicine, Medical
                  Students, University of Utah School of Medicine, Salt Lake City, Utah
2016 – 2019       Basal Ganglia and Movement Disorders – Clinical Pharmacology, Medical
                  Students, University of Utah School of Medicine, Salt Lake City, Utah
1998              Pharmacotherapy of Neurological Disorders. Physical Therapy Students.
                  College of Health, University of Utah, Salt Lake City, Utah
1998 – 1999       Medical Assistant In-service Lecture Series: Medication injections and
                  commonly used oral medications in the ambulatory clinic. Medical
                  Assistants, University of Utah Health Care, Salt Lake City, Utah

Department/Division Conferences
10/2020           Communications and Conflict, Division of Physical Medicine and
                  Rehabilitation, University of Utah School of Medicine, Salt Lake City,
                  Utah
08/2019           Communication and Conflict Resolution, Department of Family and
                  Preventive Medicine, University of Utah School of Medicine, Salt Lake
                  City, Utah
06/2019           Ethical Issues Surrounding Medical Cannabis. Evening Ethics
                  Presentation, Program in Medical Ethics and Humanities. Department of
                  Internal Medicine, University of Utah, Salt Lake City, Utah

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  Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 100 of 465




06/2019       Ethics Training Workshop: Ethics Consultation & Ethics Committees.
              College of Law, University of Utah, Salt Lake City, Utah
05/2019       When Clinicians Disagree: How to speak up when there is a power
              differential. Internal Medicine Resident Conference. George Whalen
              Veteran’s Affairs Medical Center, and University of Utah Hospital, Salt
              Lake City, Utah
03/2019       Ethical and Legal Perspectives: Responsible pain management in the wake
              of the opioid crisis. Internal Medicine Resident Conference. George
              Whalen Veteran’s Affairs Medical Center, Salt Lake City, Utah.
10/2017       Is an Ethically Appropriate Cost (or Price) Possible for Pharmaceuticals?
              Evening Ethics Presentation, Division of Medical Ethics and Humanities,
              Department of Internal Medicine, University of Utah, Salt Lake City, Utah
07/2017       Conflict Resolution for Healthcare Professionals. Professional
              Development Seminar, Department of Pharmacotherapy, College of
              Pharmacy, Salt Lake City, Utah
04/2017       Leadership, Professional Advocacy, and Politics. Career Opportunity
              Seminar, College of Pharmacy, Salt Lake City, Utah
02/2017       Clinical Ethical Reasoning and Decision Making. Internal Medicine
              Resident Conference. George Whalen Veteran’s Affairs Medical Center,
              Salt Lake City, Utah
01/2017       Common Issues for Faculty Visitors to Ombudsman Office. Senior
              Leadership Conference – Health Sciences Administration, University of
              Utah Health Sciences, Salt Lake City, Utah
11/2011       Communication of Risk in Pharmacotherapy: More Than Just a Four-Letter
              Word. Department of Pharmacotherapy, College of Pharmacy, University
              of Utah, Salt Lake City, Utah
05/2011       Ethics of High Cost Oncology Drugs: Identifying Victims, Villains, and
              Values. Department of Pharmacy Services, University of Utah Health Care,
              Salt Lake City, Utah
09/2010       Risk Management and the Lexicon of Pharmacy Practice. Task Force on
              Future Curricular Revision, College of Pharmacy, University of Utah, Salt
              Lake City, Utah
08/1999       New Antiepileptic Drugs: Advantages and Disadvantages. Clinical Sciences
              Conference, Department of Neurology, University of Utah, Salt Lake City,
              Utah
08/1998       Pharmacological Treatment of Parkinson’s Disease: Current issues and
              future directions. Clinical Sciences Conference, Department of Neurology,
              University of Utah, Salt Lake City, Utah
05/1997       Antidepressant Selection in Patients with Neurologic Disorders. Clinical
              Sciences Conference, Department of Neurology, University of Utah. Salt
              Lake City, Utah


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   Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 101 of 465




06/1997            Botulinum Toxin in Neurologic, Ophthalmologic, and Laryngeal Disorders.
                   Pharmacy Department, University Hospital, Salt Lake City, Utah

Forensic and Legal Consultation / Expert Witness
05/2021          State of Arizona. Frank Jarvis Atwood v. State of Arizona; In the Supreme
                 Court for the State of Arizona. No.CR–87–0135–AP Pima County Superior
                 Court; Nos. CR14065 and CR15397Ninth Circuit; No. 14–99002 U.S.
                 District Court No. CV–98–116–TUC–JCC
11/2020          State of South Carolina. Richard Bernard Moore v. State of South
                 Carolina; In the Supreme Court for the State of South Carolina. Case No.
                 2001-021895
10/2020          State of Utah. Kay Heath and Shauna Peterson v. Maple Mountain
                 Pharmacy, Inc. et al; In Utah District Court for Utah County, Fourth
                 District. Case No. 200401569
09/2018          State of Utah. In the matter of South Valley Compounding Pharmacy to
                 Practice as a Pharmacy and to Dispense Controlled Substances in the State
                 of Utah; In the Utah Department of Commerce, Division of Occupational
                 and Professional Licensing, Case No. DOPL 2018-158
07/2018          United States Supreme Court. Brief amicus curiae of Pharmacy,
                 Medicine, and Health Policy Experts. Bucklew v. Precythe, 585 US
                 _______ (2018) (No. 17-8151), [US Supreme Court oral argument
                 scheduled for November 6, 2018]
07/2017          US Federal Court – District of Arizona. Guardian News & Media, LLC,
                 et al. v. Charles L. Ryan, et al.; In the United States District Court for the
                 District of Arizona. Case No. CV-14-02363-PHX-GMS
06/2017          State of Arizona. Shannon Coleman, et al. v. Zion’s Rx Formulations,
                 LLC, et al.; In the Superior Court of the State of Arizona, In and For the
                 County of Maricopa. No. CV2015-006403
07/2016          US Federal Court of Appeals – Fifth Circuit. Jeffrey Wood, et al. v.
                 Bryan Collier, et al.; In the United States Court of Appeals for the Fifth
                 Circuit. No. 16-20556
05/2016          US Federal Court – Southern District of Texas. Thomas Whitaker, et al.
                 v. Brad Livingston, et al.; In the United States District Court for the
                 Southern District of Texas, Houston Division. Case No. 4: 13-cv-02901
11/2015          US Federal Court – Eastern District of Virginia. Alfredo Prieto v.
                 Harold Clarke, et al.; In the United States District Court for the Eastern
                 District of Virginia, Alexandria Division. Case No. 1:15cv1258
07/2015          State of Tennessee. Stephen M. West, et al. v. Derrick D. Schofield, et al.;
                 In the Chancery Court of Davidson County, Tennessee. Case No. 13-1627-I




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Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 102 of 465




                         EXHIBIT B
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Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 116 of 465




                         EXHIBIT C
                    Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 117 of 465


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                                                                                                  Shipped To:
                                                                                                  Arizona Department of Corrections
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            Pentobarbltal sodium salt, >99% USP Grade                                      l G              1000 $1500. 00 $150000C
             Packaging (4-8 Jars) unlabled
            Shipping Unmarked jars and boxes
            Shipping location AZ (to be determined )




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Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 118 of 465




                        EXHIBIT D
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                                                DOI Ref: x58dn                                    DOI: https://doi.org/10.31003/USPNF_M62410_03_01    1

                                                                                         Standard preparation—Dissolve an accurately weighed
        Pentobarbital Sodium Injection                                                quantity of USP Pentobarbital RS in Mobile phase, and dilute
                                                                                      quantitatively, and stepwise if necessary, with Mobile phase to
        » Pentobarbital Sodium Injection is a sterile                                 obtain a solution having a known concentration of about
                                                                                      0.1 mg per mL.
        solution of Pentobarbital Sodium in a suitable                                   Assay preparation—Quantitatively dilute a suitable volume
        solvent. Pentobarbital may be substituted for the                             of Injection with Mobile phase to obtain a solution having a
        equivalent amount of Pentobarbital Sodium, for                                known concentration of about 0.1 mg per mL.
        adjustment of the pH. The Injection contains the                                 Chromatographic system (see Chromatography á621ñ)—The
        equivalent of not less than 92.0 percent and not                              liquid chromatograph is equipped with a 214-nm detector
                                                                                      and a 4.6-mm × 25-cm column that contains 5-µm packing
        more than 108.0 percent of the labeled amount                                 L1. The flow rate is about 1.0 mL per minute.
        of C11H17N2NaO3.                                                              Chromatograph the Standard preparation, and record the peak
                                                                                      responses as directed for Procedure: the capacity factor, k′, is
        Packaging and storage—Preserve in single-dose or                              not less than 2.5; the column efficiency is not less than 15,000
        multiple-dose containers, preferably of Type I glass. The                     theoretical plates; the tailing factor is not more than 1.5; and
        Injection may be packaged in 50-mL containers.                                the relative standard deviation for replicate injections is not
        Labeling—The label indicates that the Injection is not to be                  more than 2.0%.
        used if it contains a precipitate.                                               Procedure—Separately inject equal volumes (about 10 µL)
        USP Reference standards á11ñ—                                                 of the Standard preparation and the Assay preparation into the
        USP Pentobarbital RS                                                          chromatograph, record the chromatograms, and measure the
        Identification—The retention time of the major peak in the                    responses for the major peaks. Calculate the percentage
        chromatogram of the Assay preparation corresponds to that in                  of C11H17N2NaO3 in the portion of Injection taken by the




                                                                                        al
        the chromatogram of the Standard preparation, as obtained in                  formula:
        the Assay.
        Bacterial Endotoxins Test á85ñ —It contains not more than                                   100(248.25/226.27)(C S/C U)(r U/r S)
        0.8 USP Endotoxin Unit per mg of pentobarbital sodium.
        pH á791ñ: between 9.0 and 10.5.                                               in which 248.25 and 226.27 are the molecular weights of
        Other requirements—It meets the requirements under
        Injections and Implanted Drug Products á1ñ.
        Assay—
                                                                       ci             pentobarbital sodium and pentobarbital, respectively; C S is
                                                                                      the concentration, in mg per mL, of USP Pentobarbital RS in
                                                                                      the Standard preparation; C U is the final concentration, in mg
           Mobile phase—Prepare a filtered and degassed pH 3.5                        per mL, of the Assay preparation; and r U and r S are the peak
        mixture of 0.01 M monobasic potassium phosphate and                           areas obtained from the Assay preparation and the Standard
                                                    ffi
        acetonitrile (65:35). Make adjustments if necessary (see System               preparation, respectively.
        Suitability under Chromatography á621ñ).
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Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 120 of 465




                           Exhibit 14
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 121 of 465
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 122 of 465
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 123 of 465




                           Exhibit 15
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~ AZ Department of Corrections
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                           PACKAGING                    DESCRIPTION




    2         2        1#BOTTLE        X   UN1680, POTASSIUM CYANIDE, SOLID
                                           6.1, PGI, POTASSIUM CYANIDE BRICK
                                           CHEMICALLY PURE 1 LB. BOTTLE
                                           2LB
              Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 125 of 465




  Sold To:                                                 Ship To:
                                                           AZ. Department of Corrections
                                                           PRISON OPERATIONS
                                                           164S West Jefferson,MC 321
                                                           Phoenix AZ., CA 85007




    · Date                 •   •                   el htTerms                         Pa ment Terms
 12/16/2020                                                                                COD
                                                                 ~
                                                                 12/8/2020
QTY Shipped    Packaging           Total                  Product                       Unit Price    Amount

         2 1 # BOTTLE                      POTASSIUM CYANIDE BRICK                      700.0000/ #     1,400.00
                                           OiEMICALLY PURE 1 L




                                                             Merchandise SubTotal                       1,400.00
                                                                             Tax                         129.SO



                                                                      Total Invoice                    1,529.50
 Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 126 of 465




                                         DESCRIPTION




,,                          UM1823, SODIUM HYDROXIDE, SOL 0
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                            ::,ELLETS
                            SIGMA ALDRlCH ACS REAGENT 500
                            GRAM BTL
                            1000G




                                        'RIC ACID
                                       RIC ACID #0681
                                       .. ED REAGENT 2.5 L
                Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 127 of 465




    AZ Departmenl of Corrections
    PRlSON OPERATIONS
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                                                        DESCRIPTION


    2          2                           CHcMICALS, N.O S NON.REGULATED
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                                            TOT AL COO AMOUNT                $687.11
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                                     Ship To:
                                     AZ Department of Corrections
                                     PRISON OPERATIONS
                                     1645 West Jefferson,MC 321
                                     Phoenix AZ, CA 85007




                      PHENOLPHll-lALEIN                             90.0000/ E    180.00
                      SIGMA ALDRICH 100 GRAM



                                    9681                        101.8600/ E      203.72
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                                    DE AR PELLETS                   62.2600/ E    124.52
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                                       Merchandise SubTotal                      508.24
                                                        Tax                       47.01
                                            Freight Charges                      131.86



                                                Total Invoice                    687.11
                      Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 129 of 465
ARIZONA DEPARTMENT OF CORRECTIONS

Request for Purchase / Purchase Order
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 RFP Number                                                  Activity Manager and Date•                           AZ Contract Number


Budget Unit
 DCA-Agency Support
Date Prepared                                                                                                     Accounting and Date•
                        12/17/2020
 Requestor and Phone•                                        ComptObj                                              : •••    .,;    u,e ~   ~ • • ••   . , ..




 Vendor                                                                       Ship To                                      Bill To
  ADCAR - Revolving Fund                                                       1601 W Jefferson St                         Attn: Financial Services
  Central Office                                                               Phoenix, AZ 85007                           1645 W Jefferson St
                                                                                                                           Phoenix, AZ 85007
 Phone Number                                                                 Attn and MIC                                 Customer Number



 Line        Qty       Unit     Commodity No.                                      Description                                    Unit Price          Extended Price
 No.

                        LS                                                                                                        $2,216.61              $2,216.61



                                                     Function-
                                                     Object:-




                                                                                                                           Subtotal                       $2,216.61
 Delivery Required                            Terms••                                    FOB
                                                                                                                           Tax                                 0
                                                                                                                           Freight                             0
 Received and Date• - / certify this order received except as noted above.
                                                                                                                           Total                          $2 ,216.61
 • Requires signature
 - Signalura must be on file with Financial Se,vices Bureau as authorized IO sign RFP
 + SignalU<o must be on filo wilh Iha Flnsndal $entices Bureau as authorized to sign
   encumbrances/purchase orders
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                    Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 130 of 465
Arizona Department of Corrections, Rehabilitation and Reentry
                                                                                                                'Purchase Ord_                             .___ _ __ __ ___,
Requ est for Purchase/Purchase Order


RFPNo.:


Budget Um:                                                                                                         chasa1g/Oace-:
Prison O rations
Oate Prepared:

                                 November 30, 2020
Requested by/Phone':




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                                                                                                                                 AZ Department of Correctiol'\S
                                                                                                                                 Prison Operations
                                                                                                                                 1645 West Jefferson, MC 321
                                                                                                                                 Phoenix, Arizona 85007



    line                                                                                                                                                              Exiended
    No.      Otv          Ur.t     Commodil y No.                                      Oesc,~oon                                       Uril Price                      Prico




       1           2 botlles                                         Potassium Cyanide - 1 lb botues                                          700.00                           $1,400.00

                                                                     Potassium Cyanide Brick
                                                                     Chemically Pure 1 lb. bottle




                                                                                                                                 S\.Cllolal                                    $1 ,400.00
Delivery Requited:                                        Te,ms..:      NET30             FOB: DESTINATION                       Tax                                             $129.50
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                  Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 131 of 465

Arizona Department of Corrections, Rehabilitation and Reentry
Aequesl for Purchase/Purchase Order


RFP No.:                                                                                                              Conllact No.:


Budget Ut\11:                                                                                                     rchasing/Dato·:


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                               December 9 2020
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                                                                                Ship to:                                              Billo:
                                                                                                                                      AZ. Department ol Corrections
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                                                                                                                                      1645 West Jefferson, MC 321
                                                                                                                                      Phoenix, Arizona 85007



 line                                                                                                                                                                Exten(jed
  No.      Ot         Unit        Commodity No.                                            Description                                    Unit Price                   Price




                2 each                                           Phenolphthalein powder (100 gram)                                              90.00                            $180.00

     2          2 each                                           Sulfulic Acid 96-98% Reagent (2.5L)                                           101.86                            $203.72

     3          2 each                                           Sodium Hydroxide (Caustic Soda pellets) (500 gram)                             62.26                            $124.52



                                                                 Freight for Sulfuric Acid                                                                                       $131.86




                                                                                                                                      ~total                                     $640. 10
Delivery Required:           _ _ _ _ _ _ _T..;.erms··:             NET 30             FOB: DESTINATION                                Tax 9.25%                                   $47.01
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                   Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 132 of 465




AGY:      DCA

    INVOICE NO. INVOICE OT.
                                       STATE OF ARIZONA REMITTANCE ADVICE


                                                     AGENCY CONTACT: ACCOUNTING MANAGER

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Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 133 of 465




                           Exhibit 16
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 134 of 465

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      Telephone: (415) 621-2493

      Attorneys for Plaintiffs


                                   UNITED STATES DISTRICT COURT

                         FOR THE NORTHERN DISTRICT OF CALIFORNIA


      DAVID FIERRO, ROBERT HARRIS, and                   No. C-92-1482-MHP
      ALEJANDRO GILBERT RUIZ, as
      individuals and on behalf of themselves
      and all others similarly situated,                 DECLARATION OF CARLA
                                                         McCLAIN SUBMITTED IN
                     Plaintiffs,                         LIEU OF LIVE TESTIMONY
                                                         BY STIPULATION OF THE
      V.                                                 PARTIES

      JAMES GOMEZ, as an individual, and in his
      capacity as Director, California Department of
      Corrections, and DANIEL VASQUEZ, as an
      individual, and in his capacity as Warden of
      San Quentin Prison,

                     Defendants.




                                     PLAINTIFFS' EXHIBIT NO. 37




                                                                  JCRC000082
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 135 of 465




                        DECLARATION OF CARLA McCLAIN


         I, Carla McClain, declare the following:


         1.   On April 6, 1992, at approximately 12:10 a.m., I was a
   media witness to the execution of Donald Harding, the first
   execution in Arizona in twenty-nine years. I have been a
   reporter for almost twenty-five years, and for the last thirteen
   years have written on health and medicine policy issues for the
   Tucson Citizen. I was chosen to witness this execution from
   among the Citizen's staff based on seniority and experience.


         2.   I was escorted along with the other witnesses to the
   freshly painted death house, where we were taken inside one by
   one. The three windows which we faced were covered with blinds.
   Slowly, the blinds were lifted. Mr. Harding was already strapped
   into the execution chair. Mr. Harding was stripped to his
   undershorts and the white flesh of his body seemed to fill the
   heavy metal chair. He was tightly strapped to the chair.


         3.   Mr. Harding seemed agitated, his hands moving about
   under the straps. He appeared startled when the curtains were
    lifted and he was facing the Arizona Attorney General. Turning
    his head, Mr. Harding saw his attorney and gave him a thumbs up
    sign and a smile.




                                                             JCRC000083
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 136 of 465



        4.    I could see the warden through the chamber as he stood
  with his hand on the lever that would lower the cyanide into the

  acid. I saw him drop his arm and heard the clank of the heavy

  lever which sent the pound of cyanide pellets into the vat of
  acid beneath the chair. I saw the deadly gas enshroud Mr.

  Harding in a fine, white mist.


        5.    Mr. Harding shuddered deeply, then slowly raised the
  middle finger of his left hand, aiming it at the warden who had
  set the execution in motion by bringing the lever down. Mr.
  Harding breathed deeply, his hands clenching. He groaned loudly

  and began to choke to death. His head dropped forward, and then
  swung up high and back. He groaned again and again, gasped, and
  his body turned bright red, almost purple as he clenched and

   convulsed in obvious pain.


        6.    As his head rolled to the right I saw his eyes begin to
   close. His head jerked up again, then rolled forward and then
   slowly down onto his chest. He was unconscious, finally, after

   more than two minutes.


         7.   For several more minutes his chest convulsed and his

   muscles quivered. He seemed to continue gasping and shuddering.
   His body heaved, and then he was still.


         8. The witness room was silent. Several more minutes


   DECLARATION OF CARLA McCLAIN         2




                                                             JCRC000084
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 137 of 465



   passed. Then the public information officer for the prison

   entered and announced the execution was complete. Eleven minutes
   had passed.




   I declare under penalty of perjury under the laws of the State of
   California and the United States of America that the foregoing is
                                         7,46
   true and correct. Dated this       cb.LC/       day of October, 1993.


                                               r
                                      CARLA McCLAIN




    DECLARATION OF CARLA McCLAIN         3




                                                                  JCRC000085
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 138 of 465




                           Exhibit 17
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 139 of 465
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                                   UNITED STATES DISTRICT COURT

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      DAVID FIERRO, ROBERT HARRIS, and                   No. C-92-1482-MHP
      ALEJANDRO GILBERT RUIZ, as
      individuals and on behalf of themselves
      and all others similarly situated,                 DECLARATION OF DONNA
                                                         LEONE HAMM SUBMITTED
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                                                         TESTIMONY BY STIPULATION
      V.                                                 OF THE PARTIES

      JAMES GOMEZ, as an individual, and in his
      capacity as Director, California Department of
      Corrections, and DANIEL VASQUEZ, as an
      individual, and in his capacity as Warden of
      San Quentin Prison,

                     Defendants.




                                     PLAINTIFFS' EXHIBIT NO. 16




                                                                  JCRC000086
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 140 of 465


                             DECLARATION OF 1XNN74.   FI



   I, Donna Leone Hamm, declare as follows:



   1. Don Eugene Harding was executed in Arizona's gas chamber on April 6, 1992

   beginning at 12:18 a.m., just over a week ago. I knew Don for about eight months

   prior to his execution. Don had asked me to witness his execution so that I might

   tell his family and the families of others on death row what actually happens when

   one is killed by lethal gas. Despite strong apprehensions, I agreed to honor his

   request.



   2. Upon my arrival at Arizona State Prison, Florence, Arizona, I was escorted by a

   prison official to the chapel where other witnesses for Don Harding were waiting.

   As a group, we avoided talking About what we were about to see. Instead, we Shared

   heucries of our personal human experiences with Don and his family, and spoke about

   carrying out his final wishes. We were in the chapel for nearly an hour during

   which time a prison official had us draw numbers from a box. This number established

   the order in which we would enter into the viewing area and where we would stand

   in proximity to the viewing windows of the gas chamber. I drew number eighteen.



   3. At approximately 12:00 a.m., all the witnesses for Don, for the State and from

   the media, converged an the sidewalk to walk over to the Death House. NO one spoke.

   The only noises I could hear were my own footsteps and the sounds of some inmates

   in the darkened celiblocks hollering at us as we passed by their windows. We

   filed into the Death House in the pre-designated order, as a prison staff member

   checked off our lottery numbers I stood in the second of three rows, directly

   behind where Don was seated in the gas chamber Chair Three sides of the octagonal

   gas chamber had windows for viewing. As    we entered and took our places, the blinds




                                                                    JCRC000087
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 141 of 465
                                    -2-



  ware drawn. When all the witnesses were assembled, an official announced that

  Don's last appeal had failed and the execution would proceed. The door to the

  Death House viewing room was closed and an officer was ordered to roll up the

  blinds.



   4. in was strapped to the metal chair with numerous black restraints. He was

   facing away from us, dressed only in his underwear. I had been warned in advance

  of the ritualistic execution policies, and observed my fellow witnesses take on

  behavior which could only be described as "execution etiquette" -- an unspoken

  but pervasive feeling that we were expected to act civily and with detachment to

  the coming events. However, I was struck with a feeling of overwhelming dispair

  as Don Harding, in the name of our government, had indeed been literally and

   figuratively stripped of his humanity.



   5. I watched Don turn to look at one of his attorneys. He forced a slight smile,

  but could not disguise the child-like terror in his face. He turned the other

  direction and I believed he was looking for me. He never knew I was there, as he

  could not see the people standing directly behind him. He moved around in the

  chair, as much as the restraints would allow. He seemed to be mumbling to himself.

  He was agitated and fidgety. Knowing Don as I did, I realized that his agitation

  was born of his tragic desire to control one tiny aspect of this utterly dehumanizing

   spectacle. He wanted it to be quick and painless.



   6. About 60 seconds after the blinds were lifted, the pellets were released under

   his chair I heard the loud noise as they were dropped into the acid. It took

   about 5 seconds for the mist, and the first trace of fumes, to reach him. At

   that point, Don's naked back inflated against the chair as if he were taking a




                                                                  JCRC000088
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 142 of 465
                                           -3—




   large breath. His head was thrown back violently against the chair and he

   turned his head from side to side. He jerked and twisted as if gasping for air.

  At the same time, his body buckled against the straps.         Severe convulsing began,

   and continued throughout. Even through the thick glass of the gas chamber, I

  heard him moan a low, gutteral sound of sheer torment.         I prayed for him to

  go quickly.



   7. At one point, I was unable to sustain watching this prolonged suffering alone.

   I broke from my assigned standing spot and walked over to Don's minister. We

  held on to each other and with his arm around my shoulder, I noticed how badly I

  was shaking.   FL-Lau that   position, I could closely see Don's hand and arm twitching.

  For the almost two minutes I stood there, his hand never stopped contorting in

  bizarre ways. His body, especially his back and neck had turned a deepening red.

  His head flung back and then drooped against his chest. The convulsions caused

  his body to Shake so badly that I momentarily thought the chair would shake.

  The spans and gasping lasted about seven minutes until his head dropped to his

  chest for the last time. Finally, he appeared to be dead, but I noticed what

  appeared to be involuntary movement of his left hand. I continued to pray that

  this spectacle be over.



   8. I saw a prison doctor approach the glass fram the other side of the chamber,

   in front of Don. He gazed dispassionately at Don's now quieted body and quickly

  moved away from the window and back into the Shadows on the front side of the chamber

   Soon, a prison official announced to the witnesses that the execution was complete.

   It had taken ten and one-half minutes. The last Doak at Don was one I will never

   forget. Where minutes before his body had been hot red , it was now slumped over

   and was ashen grey/beige -- the antiseptic color of the gas chamber itself. The




                                                                       JCRC000089
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 143 of 465
                                      -4-



   prison officials ordered the blinds to be closed. The door to the outside

   opened and we all filed out.



   9.    Nothing in my life prepared me to witness the prolonged, ritualistic torture

   of another human being . I have struggled to put this experience into any kind of

   human perspective. I had spent a lot of time imagining painful death before. my

   father burned to death in a plane crash when I was 21 years old. He died brutally

   and his body was charred beyond recognition. I am still plagued -- twenty-three

   years later -- by gruesome images of his unspeakable suffering in the last painful

   seconds of his life. Nonetheless, as I watched the agony suffered by Don Harding,

   I knew that his torment was far worse and much prolonged than that experienced by

   my father. I am told that my father probably died in 30 seconds. Don endured his

   torture for ten and one-half minutes. His suffering was palpable and sickening,

   and I felt it like a cloak draped over my body. I winced with every convulsion,

   moan, and every desperate contortion. Those ten and one-half minutes were the

   longest and most harrowing moments of my life.



   10.   A little more than a week later, I am still in shock over what I witnessed.

   I awake during the night startled and unable to sleep because of the terrifying

   images of Don suffocating to death. The images of his convulsing and with his

   hand clenched to the chair will be etched in my mind forever.



   .11. I am humiliated for my fellow man. Don's punishment was to torture him

   in view of 25 witnesses. It was not the act of civilized people. He suffered

   in discernable agony for over ten minutes. I talked with Don's family About his

   execution, but I could not bring myself to tell them just how brutally he died.

   Death by gas is barbaric, and an inhumane infliction of torture.




                                                                   JCRC000090
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 144 of 465

                                     -5-




   I declare under penalty of perjury that the foregoing is true and correct to

   the best of my ability, and that this declaration was executed on April 14,

   1992 at Tempe, Arizona.




                                                                  JCRC000091
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 145 of 465




                           Exhibit 18
 Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 146 of 465




                                                                                    "He needed to know from st:ar: to flsh
                                                                                 that we were not going to cut :um any
                                                                                 slack because he didn't deserve it. That
                   Woods says                                                    means right up to the end."
                                                                                 • Instead, Woods said he focused or.
                                                                                 another witness, Debrah Gage.... whose
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                   he didn't see                                    1
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                   finger.E..gettu-,te                                        : to "go. through; but I think- it pales in
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                 -       Atturney . General Grant Woods -said he                    Noting.that ge-....hai always advocated
                     did • not see= triple murderer Donald                                                   means of killing
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                          an obscene gesture through the gas                  "-tik.. :.•.of the giuT chamber "solidified. my
                 :• ;chamber                                      •=•.' "   ,... opumon we should gO to..that."1.;
                         Woods said he got thi-message anyway.                            took so long," he'said...7 don't know
                         "He certainly lOoke4: at me, and he                .%.1;ho'.. came...up:with. this concept of a gas
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Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 147 of 465




                           Exhibit 19
                  Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 148 of 465
                                                           Arizona Republic (Phoenix, Arizona)   · Thu, Mar 4, 1999 · Page 1

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                  Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 149 of 465
                                                           Arizona Republic (Phoenix, Arizona)   · Thu, Mar 4, 1999 · Page 2

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Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 150 of 465




                           Exhibit 20
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 151 of 465

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      Attorneys for Plaintiffs


                                   UNITED STATES DISTRICT COURT

                         FOR UM NORTHERN DISTRICT OF CALIFORNIA


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      ALEJANDRO GILBERT RUIZ, as
      individuals and on behalf of themselves
      and all others similarly situated,                 DECLARATION OF TAD
                                                         DUNBAR IN LIEU OF LIVE
                     Plaintiffs,                         TESTIMONY BY STIPULATION
                                                         OF THE PARTIES
      V.

      JAMES GOMEZ, as an individual, and in his
      capacity as Director, California Department of
      Corrections, and DANIEL VASQUEZ, as an
      individual, and in his capacity as Warden of
      San Quentin Prison,

                     Defendants.




                                     PLAINTIFFS' EXHIBIT NO. 14



                                                                  JCRC000092
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 152 of 465



                          DECLARATION OF TAD DUNBAR



        I, Tad Dunbar, do declare:
        1.    I have been in the television news business for over
   twenty-nine years. After I graduated from Abilene Christian
   College in Abilene, Texas, I went to work for several television
   news departments in Texas. I worked there for seven years, then
   moved to Reno, Nevada, where I have worked as an anchorman at
   Channel 8 News since 1969.
        2.    In 1979, Nevada had its first post-Furman execution. It
   was the only the third in the nation and there was a great deal of
   publicity surrounding the execution. I agreed to act as a press
   witness for Channel 8 News to the October 22, 1979 lethal gas
   execution of Jesse Bishop at the Nevada State Prison in Carson
   City. As part of my assignment, I interviewed Jesse Bishop one
   week before his scheduled execution. He was determined to be very
   "cool" and dignified throughout his execution.
         3.   There were fourteen witnesses at Mr. Bishop's execution.
   Before we entered the observation room, a prison official told us
   that if when we were in the room and we "smell anything funny --
   hold your breath and exit the room quickly." Needless to say, this
   was a bit unnerving.
         4. The witnesses were led into the observation room and stood
   in sort of a semi-circle around the chamber. Curtains were drawn
   on the chamber. When they were lifted, Mr. Bishop was already
   strapped into the chair. He was wearing blue jeans and a blue

                                       1




                                                             JCRC000093
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 153 of 465



   prison shirt. I had an unobstructed view of the most of his face
   and the front of his body. He looked around the room to see who
   had come to watch him die. His eyes met mine, and I soon heard a
   "clunk." The pellets had been released into the acid-water.

         5.   I didn't see any gas, but I noticed that Mr. Bishop took
   a deep breath. He immediately gasped and convulsed strenuously.
   His body stiffened and his head lurched back. His eyes widened,
   and he strained as much as the straps would allow. He
   unquestionably appeared to be in pain. I noticed that he had

   urinated on himself.
         6.   He alternately strained and then relaxed against the
   straps for about ten minutes. I could see his chest expand and
   contract. These movements became weaker as the minutes ticked
   away. I could not tell at what point Bishop finally died.

         7.   I had entered the observation room at the Nevada State
    Prison with no predisposed thoughts about the use of lethal gas.
    I was surprised to see that death did not appear to come rapidly
    or painlessly under that method of execution.


         I declare, under penalty of perjury, that the foregoing is
    true and correct, and that this declaration was executed on April

    A0, 1992    at Reno, Nevada.




                                                Tad Dunbar



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                                                             JCRC000094
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 154 of 465




                           Exhibit 21
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 155 of 465

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      Attorneys for Plaintiffs


                                   UNITED STATES DISTRICT COURT

                         FOR THE NORTHERN DISTRICT OF CALIFORNIA


      DAVID FIERRO, ROBERT HARRIS, and                   No. C-92-1482-MHP
      ALEJANDRO GILBERT RUIZ, as
      individuals and on behalf of themselves
      and all others similarly situated,                 DECLARATION OF DENNIS N.
                                                         BALSKE, ESQ. IN LIEU
                     Plaintiffs,                         OF LIVE TESTIMONY BY
                                                         STIPULATION OF THE
      V.                                                 PARTIES

      JAMES GOMEZ, as an individual, and in his
      capacity as Director, California Department of
      Corrections, and DANIEL VASQUEZ, as an
      individual, and in his capacity as Warden of
      San Quentin Prison,

                     Defendants.




                                     PLAINTIFFS' EXHIBIT NO. 2



                                                                  JCRC000095
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 156 of 465




                     DECLARATION OF DENNIS N. BALSKE


           I, Dennis N. Balske, do declare:
           1.   I am an attorney licensed to practice law in the
     States of Ohio and Alabama. I received my J.D. degree from
     Ohio State University College of Law in 1974, where I
     subsequently taught from 1975 to 1978. From 1978 to 1986, I
     was a staff attorney and then Legal Director at the Southern
     Poverty Law Center in Montgomery, Alabama. I was the founder
     and first president of the Alabama Criminal Defense Lawyers
     Association in 1981. I have been a member of the Alabama
     Supreme Court Advisory Committee on Criminal Procedure since
     1985. In 1986, I was awarded the Heeney Award, the highest
     award given by the National Association of Criminal Defense
     Lawyers, and in 1989, I received the Award of Merit from the
     Alabama State Bar Association. I currently maintain a
     private practice in Montgomery, Alabama.
           2.   For many years, I have specialized in trial and
     post-conviction representation of inmates charged with
     capital crimes. One of my clients was Jimmy Lee Gray, the
     first man executed in Mississippi following reinstatement of
     the death penalty. I represented Mr. Gray in post-conviction
     proceedings in 1983. His case is reported as Gray v. Lucas,
      677 F.2d 1086 (5th Cir. 1982).
           3. Mr. Gray was executed by cyanide gas on September 9,
      1983, at 12:01 a.m. in Parchman, Mississippi. At his
     request, I was a witness to his death. I was made to stand
     with reporters in an area designated for observation. The




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Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 157 of 465




     area was hot and muggy and thick with the smell of bug spray.
     Although Mr. Gray's face was not covered, the chair into
     which he was strapped faced away from us. No vantage point
     from the observation area allowed a clear view of Mr. Gray's
     face. I saw only the back of Mr. Gray's head.
           4.   The signal was given, the pellets were dropped and
     white fumes rose from below the chair. Once the gas reached
     Mr. Gray's face, he began to thrash around in his chair. He
     jerked forward and back, repeatedly slamming his head on a
     metal support pole situated behind the chair. The chilling
     sound of his head desperately smashing against the pole
     reverberated through the area over and over again. About the
     seventh time he pounded his head against the pipe, his
     desperation was so great that the six-sided glass chamber
     seemed to shake with the impact. He slumped and lay still
     for a few moments, then tensed up and resumed his struggling,
     again smashing his head against the pole. Mr. Gray struggled
     for air while his body contorted and twisted.
           5. A full eight minutes into the execution, while Jimmy
     Lee Gray writhed in agony, all reporters were ordered to
     leave. Several seconds later, I too was ordered from the
     observation room, despite my objections that Mr. Gray wanted
     me there and had the right to have his attorney present. I
     was made to leave while Mr. Gray was still struggling for air
     and banging his head. It was a nightmare.
           6. Nothing in my experiences as an attorney or a human
     being could have prepared me to witness the prolonged and




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Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 158 of 465




     torturous death of Jimmy Lee Gray. I could tell that Mr.
     Gray was still alive when I and the other witnesses were
      forced to leave. I believe that the prison officials made me
     leave prematurely, because they were deliberately trying to
     conceal the extreme and prolonged suffering caused by the
     cyanide gas.
           7. Although I fully expected that this would be an
     unpleasant manner of death for Mr. Gray, I had not
     anticipated the conditions under which I witnessed my client
     suffer. As a witness, this execution was vile and repulsive
     to observe. For Mr. Gray, it was clearly excruciating and
     horrific.
           I declare under penalty of perjury that the foregoing is
     true and correct and that this declaration was executed on
     April 13, 1992, at Montgomery, Alabama.




                                      DENNIS N. BALSKE

          Sworn to and subscribed before me this the 13th day of
     April, 1992.



                                      NOT     PUBL
                                      My Commission Expires:    747--




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Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 159 of 465




                           Exhibit 22
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 160 of 465

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      Attorneys for Plaintiffs


                                   UNITED STATES DISTRICT COURT

                         FOR THE NORTHERN DISTRICT OF CALIFORNIA


      DAVID FIERRO, ROBERT HARRIS, and                 No. C-92-1482-MHP
      ALEJANDRO GILBERT RUIZ, as
      individuals and on behalf of themselves
      and all others similarly situated,               DECLARATION OF DAN A.
                                                       LOHVVASSER SUBMITTED
                     Plaintiffs,                       IN LIEU OF LIVE
                                                       TESTIMONY BY STIPULATION
      V.                                               OF THE PARTIES

      JAMES GOMEZ, as an individual, and in his
      capacity as Director, California Department of
      Corrections, and DANIEL VASQUEZ, as an
      individual, and in his capacity as Warden of
      San Quentin Prison,

                     Defendants.




                                                                  JCRC000099
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 161 of 465




                      DECLARATION OF DAN A. LOHWASSER



        I, Dan A. Lohwasser, declare as follows:

         1.   I live in Charlotte, North Carolina. I graduated from

   University of North Carolina, with a degree in journalism. I was

   a reporter for the United Press International from 1975 to 1984,

   and for the Charlotte Observer for two years. I am currently the

   senior vice president of a sports marketing company.

        2.    I was a helicopter pilot in the Viet Nam War, during

   which time I was exposed to violent death and hideous injuries.

   I have seen combat, as well as civilian casualties, in which

   people had suffered truly gruesome deaths. Therefore, I was not

   particularly concerned when I was asked to cover an execution in

   the gas chamber.

        3.    On September 8, 1983, as a reporter for United Press

   International, I traveled to Parchman, Mississippi to witness the

   lethal gas execution of Jimmy Lee Gray. I arrived at the Prison

   several hours before the scheduled execution and joined three

   other reporters in the administration building. We were

   instructed as to the rules and regulations to be followed, then

   driven to observation room.

         4.   Jimmy Lee Gray, wearing a prison jumpsuit, was escorted

   into the chamber by two guards. He was quickly strapped into the

   large, metal chair. A prison guard hooked the cyanide crystals

   beneath the chair, then left Mr. Gray alone. The chamber door

   was sealed. Very shortly afterwards, I heard the lever being




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Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 162 of 465




  pulled and the cyanide dropped into the acid.

        5.   When the white mist began to rise, Mr. Gray leaned

  forward and inhaled. Then suddenly, his head snapped back and

  his body rose up against the straps. He was struggling to lift

  himself up out of the gas. His eyes were open and his head moved

  from side to side. His mouth took on an anguished, distorted

  expression as he gasped for air. These movements went on for

  about three to four minutes. After about four minutes, Mr.
  Gray's head fell forward on his chest, then he again raised it up

   and started to slam his head into the metal pole situated behind

  his chair. He let out a very long guttural groan. He looked

   like he was being strangled to death. It was obvious that Mr.

   Gray was in excruciating pain.

        6.   Eight minutes into the execution, while Mr. Gray was

   still smashing his head on the pole, a prison official sternly

   stated, "Gentlemen, let's go." All of the witnesses, including

   myself, were confused. Jimmy Lee Gray was still appeared to be

   alive, repeatedly smashing his head against a pole and gasping

   for air. I was to report to the press conference and describe

   the execution. I was very shocked by the scene before me and

   confused by the prison's decision to dismiss us partway through

   the execution.

        7.   The images of Jimmy Lee Gray helplessly searching the

   room with his eyes, straining to escape the gas, and smashing his

   head against that pole are permanently burned into my memory.

   These images are far more cruel, barbaric, and demoralizing than


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Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 163 of 465




   any other violent and gruesome acts that I have witnessed.
         8. After the painful details of Jimmy Lee Gray's execution
   were made public, I fully believed that the gas chamber had been
   replaced by more humane methods of execution. I was shocked and
   dismayed when I recently heard that an execution by lethal gas
   had been scheduled in California. Death by lethal gas can never
   be anything less than brutal and inhumane.


         I declare under penalty of perjury under the laws of the
   United States of America and the State of California that the
   foregoing is true and correct and that this declaration was
   executed on April     //3"--, 1992.


                                                  g
                                         DANIEL LOHWASSER




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                                                             JCRC000102
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 164 of 465




                           Exhibit 23
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 165 of 465

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      Telephone: (415) 621-2493

      Attorneys for Plaintiffs


                                   UNITED STATES DISTRICT COURT

                         FOR THE NORTHERN DISTRICT OF CALIFORNIA


      DAVID FIERRO, ROBERT HARRIS, and                 No. C-92-1482-MHP
      ALEJANDRO GILBERT RUIZ, as
      individuals and on behalf of themselves
      and all others similarly situated,               DECLARATION OF ROBERT R.
                                                       MARSHALL, ESQ. SUBMITTED
                     Plaintiffs,                       IN LIEU OF LIVE TESTIMONY
                                                       BY STIPULATION OF THE
      V.                                               PARTIES

      JAMES GOMEZ, as an individual, and in his
      capacity as Director, California Department of
      Corrections, and DANIEL VASQUEZ, as an
      individual, and in his capacity as Warden of
      San Quentin Prison,

                     Defendants.




                                                                  JCRC000103
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 166 of 465




                  DECLARATION OF ROBERT R. MARSHALL, ESO.



         I, Robert Marshall, declare under penalty of perjury:



         1.   I am an attorney licensed to practice law in the State

   of Mississippi. Before completing my undergraduate studies in

   English at a Southern Baptist College in Clinton, Mississippi, I

   served for three years in the United States Army Infantry as a

   machine gunner and ultimately as an E5 sergeant. I saw no

   combat, but I am no stranger to violence and sudden death.



         2.   After receiving my J.D. from the University of

   Mississippi in Oxford in 1973, I worked for eight years with the

   firm of Young, Scanlon, & Sessums in Jackson, Mississippi, first

   as an associate and then as a partner. I withdrew from the firm

   in 1981, and continued practice as a sole practitioner. I

   currently maintain a private practice in Hattiesburg,

   specializing in bankruptcy and family law. I am also a candidate

   for the M.S. degree in counseling psychology at the University of

   Southern Mississippi.



         3.   In 1987, I shared an office with attorney Shirley Payne.

  • Ms. Payne represented Connie Ray Evans in post-conviction

   proceedings in Mississippi, following a 1981 death sentence. The

   final denial of Mr. Evans' request for a stay and petition for

   writ of certiorari is reported as Evans v. Thigpen, 483 U.S. 1033


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Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 167 of 465




    (1987).



         4.   As Mr. Evan's execution date drew nearer, Ms. Payne

   associated me onto the case. She believed that the services of

   second attorney would be vitally important during the final hours

   before execution. Ms. Payne anticipated that legal proceedings

   would continue into the final hours. In that case, it was

   essential that an attorney be with our client to inform him of
   any changes in the status of the litigation and ensure that the

   litigating attorney had confidential access to the personal

   knowledge and assistance of the inmate. Moreover, we considered

   it important for one member of the defense team to witness the

   execution. Accordingly, I was among the witnesses to the

   execution by lethal gas of Connie Ray Evans on July 7, 1987.



         5.   The execution took place at Parchman, Mississippi i on a

   hot, muggy summer night. I was one of about 20 witnesses who

   entered the observation room. Glass observation windows of the

   metal gas chamber protruded into the observation room, but

   curtains were drawn on the chamber's windows. Once the witnesses

   were seated, s spokesman for the prison explained that procedure

   and told the witnesses that Connie Ray would be probably be dead

   after a minute or two but a healthy young male like Connie Ray

   would live for several minutes after becoming brain dead. The

   curtains were opened. Mr. Evans was already strapped into the

   metal chair, dressed in a prison jumpsuit. His head was tied to


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Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 168 of 465




    a metal post behind him.



         6.   As the only attorney present on Mr. Evans' behalf, a

    special chair had been designated for me. From this chair, I had

    a side view of Mr. Evans. Reporters and other witnesses sat in

    the same observation room, but could see only the back of my

    client. I could see through the chamber's windows to the side

    behind a wall where the State's witnesses sat. These included

    the warden, assistant warden, chaplain, a representative from the

    attorney general's office, and the physician who pronounced Mr.

    Evans dead.



         7.   The chamber was not sound proof -- I heard a "thump" and

   gas began to rise from below Mr. Evans' chair. He then let out

    the first of several loud agonizing gasps. I saw the muscles

    tightening and bulging on his neck. His forced breathing and

    tensed body exhibited excruciating pain. He lost control of his

    bodily functions. Saliva drooled from his mouth, running down

   his chin, and hanging in a long rope from his chin. I was on the

   verge of nausea, with a sick felling in the pit of my stomach,

   and I felt a nervous energy which both agitated and drained me.

    It took the cyanide gas thirteen minutes to kill Mr. Evans, the

    longest and most horrific thirteen minutes of my life.



         8.   The beeping stopped on the heart monitor, and Mr. Evans

   was pronounced dead. A prison official shut the curtains, and


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Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 169 of 465




   the witnesses were ushered out of the room. I was numb and

   repulsed. I tried everything that I could to get the gruesome

   visions of Connie Ray Evans's death out of my mind, but they

   remain deeply etched. For almost five years, I've struggled with

   recurring visions and intrusive thoughts about the horror and

   repulsion of seeing Mr. Evans suffocate in an octagon-shaped

   chamber while over twenty people anxiously watch. I continue to

   have nightmares about Mr. Evans' torture. I have suffered post

   traumatic stress disorder as a direct result of witnessing this

   horrendous act. I received counseling from both a psychiatrist

   and a clinical psychologist to help me recover and deal not only

   with the stress disorder, but with the reality of the terrifying

   experience which brought it on.



         9. The execution of Mr. Evans is still a painful,

   difficult, and disturbing subject for me to talk about; however,

   I feel discussion is necessary in order to inform this country's

   citizens that execution by lethal gas can never be anything less

   than torturous and barbaric.



         I declare under penalty of perjury that the foregoing is

   true and correct and that this declaration was executed on the
    1444day of April, 1992.

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                                    ROBERT R. MARSHALL



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Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 170 of 465




                           Exhibit 24
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 171 of 465
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      Telephone: (415) 621-2493

      Attorneys for Plaintiffs


                                   UNITED STATES DISTRICT COURT

                         FOR THE NORTHERN DISTRICT OF CALIFORNIA


      DAVID FIERRO, ROBERT HARRIS, and                   No. C-92-1482-MHP
      ALEJANDRO GILBERT RUIZ, as
      individuals and on behalf of themselves
      and all others similarly situated,                 DECLARATION OF KENNETH
                                                         ROSE, ESQ. SUBMITTED
                     Plaintiffs,                         IN LIEU OF LIVE TESTIMONY
                                                         BY STIPULATION OF
      V.                                                 PARTIES

      JAMES GOMEZ, as an individual, and in his
      capacity as Director, California Department of
      Corrections, and DANIEL VASQUEZ, as an
      individual, and in his capacity as Warden of
      San Quentin Prison,

                     Defendants.




                                     PLAINTIFFS' EXHIBIT NO. 29




                                                                  JCRC000108
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 172 of 465




                      DECLARATION OF KENNETH ROSE



      I, Kenneth Rose, declare as follows:



      1.   I am an attorney licensed to practice law in the States

 of Mississippi, North Carolina and Georgia. I received my Arts

 and Sciences undergraduate degree from Washington University in

 Saint Louis, and my J.D. degree from Boston University Law School

 in 1981. Since that time, I have specialized in capital

 litigation throughout the South. From 1981 to 1984, I was a

 Staff Attorney with the Team Defense Project in Atlanta, Georgia.

 From 1984 to 1989, I established a private practice in Jackson

 Mississippi, where I continued to represent death-sentenced
 prisoners in post-conviction litigation, and in 1989, I became
 Director of the Mississippi Defense Resource Center. I

 currently maintain a private practice in Durham, North Carolina.



      2.   Over the years, I have represented many inmates

 sentenced to death, including Leo Edwards, the last person to die
 in Mississippi's gas chamber. I represented Mr. Edwards in post-

 conviction proceedings from 1983 to 1989. His final appeal is

 reported as Edwards v. Black, 876 F.2d 377 (5th Cir. 1989).



      3.   During the time that I knew him, Mr. Edwards was very

 protective of the other inmates on death row. He was more

 concerned about how others would be affected by his legal


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Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 173 of 465




 proceedings and eventual execution than he was with his own needs

 and well-being. He tried to comfort and reassure those around

 him that everything would work out. Even as his execution

 approached, Leo Edwards was a source of strength and inspiration

 to those who knew him.



       4.   On June 21, 1989, at 12:01 a.m., Leo Edwards was

 executed in the gas chamber at Parchman, Mississippi. At his

 request, I witnessed the execution. There were approximately a

 dozen witnesses, as well as a number of correctional officers.

 We were led into an observation room containing two rows of

 seats, one behind the other.

       5.   The guards brought Mr. Edwards into the chamber. They

 strapped him into the chair with arm, leg and chest restraints,

 then secured a heavy black harness over his head. The head

 harness fit tightly and attached to a thick chin strap,

 effectively preventing him from turning his head. According to

 newspaper reports of the execution, my client had been heavily

 sedated just prior to being led into the gas chamber. Despite

 whatever sedatives he was on, his eyes searched frantically and

 he looked confused and disoriented, like a wounded, injured

 animal. Mr. Edwards was forced to sit in the chair and wait for

 about 5 minutes before the pellets were finally dropped.



       6.   The deadly gas was visible, appearing like steam which

 rose from below Mr. Edwards' chair. When it reached his face, he


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Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 174 of 465




 gasped, then started banging his head and throwing himself back

 and forth in the chair. His body strained so desperately against

 the straps that I was afraid they would cut him. He then let out

 a shriek of terror, the first of many. It was the sound of pure

 torment. My heart raced as I tried to control my own reaction to

 the torture I was witnessing. It seemed like hours passed as he

 writhed and pleaded. The shrieking and thrashing lasted for

 several minutes; he remained alive for some time after that.



      7.   I know that Mr. Edwards was conscious and suffering

 excruciating pain during the execution. I do not believe that an

 unconscious person could scream the agonizing screams that ripped

 through that room in Mississippi. I was disgusted and sickened

 by the pain and torment I saw in Leo Edwards' final desperate

 minutes of life.



      8.   It is my opinion that the execution of Leo Edwards was

 nothing less than torture and that slow asphyxiation by cyanide

 gas is a horrible and painful way to die.



      I declare under penalty of perjury that the foregoing is

 true and correct and that this declaration was executed on April
/0, 1992, at Durham, North Carolina.

                                             Kenneth Rose, Esq.


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                                                             JCRC000111
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 175 of 465




                           Exhibit 25
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 176 of 465
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      Attorneys for Plaintiffs


                                   UNITED STATES DISTRICT COURT

                         FOR THE NORTHERN DISTRICT OF CALIFORNIA


      DAVID FIERRO, ROBERT HARRIS, and                   No. C-92-1482-MHP
      ALEJANDRO GILBERT RUIZ, as
      individuals and on behalf of themselves
      and all others similarly situated,                 DECLARATION OF GLORIA H.
                                                         LYON SUBMITTED IN LIEU
                     Plaintiffs,                         OF LIVE TESTIMONY BY
                                                         STIPULATION OF THE
      V.                                                 PARTIES

      JAMES GOMEZ, as an individual, and in his
      capacity as Director, California Department of
      Corrections, and DANIEL VASQUEZ, as an
      individual, and in his capacity as Warden of
      San Quentin Prison,

                     Defendants.




                                     PLAINTIFFS' EXHIBIT NO. 22




                                                                  JCRC000112
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 177 of 465




                    DECLARATION OF GLORIA H. LYON



I, Gloria H. Lyon, do declare:

      1.   I live in San Francisco, California, where my husband

and I have raised our two sons.         I am a survivor of the

Holocaust; I have spoken to over 350 groups about my experiences.

For several years, I have been preparing a film documentary about

my Holocaust history. I have attached videos which contain

footage of the ruins of the gas chambers and crematoria at

Auschwitz-Birkenau.

     2.    I was born in Nagy Bereg, Czechoslovakia. I had a

younger sister and four older brothers. We lived in a small

rural community of farmers where my father owned and operated a

farm and vineyards.

     3.    My entire family was picked up by German soldiers the

day after Passover in 1944; I was 14. Although one of our

neighbors had warned my family the night before that the Germans

were picking up all of the Jews, we Still had no idea of the

terror that awaited us. We were taken to Auschwitz-Birkenau.

     4.    It was only after three or four days at Auschwitz-

Birkenau that I realized that Auschwitz and the surrounding camps

were not just "relocation" camps; they were death' camps. Once a

girl was standing on a stool in the barracks, taking turns with

me singing, when a woman came over and smacked the girl. She

said, "What do you think this is, a resort? You see those smoke

stacks over there? The putrid smell, the black smoke? That is


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Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 178 of 465




the remnants of camp prisoners, most of them were fellow Jews."

It was at this moment that I realized the Nazis' brutal plans. I

lived in fear of the gas chambers every day thereafter.

      5.   At Birkenau, they separated the males from the females,

and then Dr. Josef Mengele further separated us into groups. My

mother and I were ordered into one group, and my sister, Annuska,

age 12, was put into a large group which included the old, sick,

pregnant, and all the children. Fortunately, Annuska escaped

from her group and caught back up with mother and me. We later

learned that all the others in that group were murdered

immediately upon arrival in the huge gas chambers, in which

hundreds could be killed at one time.

      6.   I remember another time Annuska was taken from us. An

SS officer came in and was harassing her, instructing her to

braid cloth around his boots. When she was finished, he took

Annuska with him. I believed that he was taking her to the gas

chamber. I am not able to describe the pain and heartache that I

felt knowing that my sister was going to suffocate in the gas

chamber. I knew it was a painful death, as I had heard screams

coming from the gas chamber. Annuska, once again, returned

unharmed, but the feeling that I had during her absence is
indescribable.

     7.    Birkenau had four gas chambers and crematoria where the

corpses were burned. On the way to work duty, my work detail

would have to walk by two crematoria and a lake into which they

dumped human ashes from the ovens. I could often see people come


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Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 179 of 465




 in on the cattle cars and march over to gas chamber and

 crematorium #4. They would undress outside on the lawn and then

 enter what they were told was a shower house. I never saw

 anybody come out. Piercing cries and screams of anguish could be

 heard coming from the brick building. Even today, when I hear

 children crying, I am physically affected as my memory takes me

 back to the gas chambers at Birkenau. Sometimes the SS officers

would hang blankets on the fence between our work place and the

 crematorium, in an effort to conceal the people being led to

 extermination. However, the screams were too chilling and the

 air too thick with smoke and smell of burning flesh for the

guards to hide the truth. One of my jobs was to sort the clothes

of those who were murdered in the gas chambers. The good quality

clothes were packaged by us for shipment to Germany.

      8.    I shared the third tier of a bunk with eleven other

girls. Obviously, we were unable to all lie down at once, so six

of us would sit up while the other six lay down, and then we

would switch positions. One night, my cousin Piroska Gelb was

sitting up on the outer side of the bunk bed. She fell asleep

and fell off the bunk. She broke a limb, so we had to lift her

back onto the bunk. The next morning she was not able to come

out for the daily head count. I saw a truck come to pick her up

and I never saw her again. Undoubtedly, Piroska died in the gas
chambers.

      9.    Every day of my incarceration, I lived with the constant

torture and fear of "When am I going to be next? When is my


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Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 180 of 465




mother going to be next? When is my best friend going to be

next?" The selection was arbitrary and one never really knew who

would be selected to go to the gas chamber. This arbitrariness

was part of the torture and part of the Nazis' deception. The

anticipation was too much for many prisoners to handle; it ate at

their nerves and will to live every day. It was a daily

occurrence to see people dead on the electric wire fames. They

committed suicide, rather than die in a gas chamber or live under

the constant fear and degradation.

      10. I know first hand what it is to face death by poison

gas. I was selected for extermination by Dr. Mengele, together

with 30 other young women, and ordered onto a truck bound for the

gas chamber. A guard in a low voice told us that our only chance

for survival was to jump from the truck on the way. We were all

naked, crammed into the truck like cattle. As the truck drove

along, I asked who would come with me. Nobody responded.

Everyone was starved, exhausted and robbed of all will power and

hope. But I had my loving mother and sister to live for. When

the truck approached the wooded area, the location of the gas

chambers, I jumped off the slow moving truck and slid down into a

deep ditch by the road. My body kept sticking to the ice. At

the bottom, the water ran into a culvert which could not be seen

from the road, and I crouched down in this culvert. I hid in the

culvert about 24 hours, without any food or clothing. The fear
of discovery and death in the gas chamber and the need to keep my

mother from weakening over my death and consequently leaving


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Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 181 of 465




Annuska alone, kept me going. The next night I crawled out from

my hiding place, followed a little light some distance away, and

entered undetected into a barrack. There I found a place for

myself among the inmates, one of whom gave me an overcoat.

      11.   My mother and sister remained at Auschwitz-Birkenau.

When I was selected, my mother broke down crying; it was the last

 time I ever saw her. From Birkenau I was shipped to the

 concentration camp of Bergen- Belsen. Every day I wondered about

my family. I wondered whether they were alive or dead. Even

more, however, I was concerned about my mother's grief for me. I

knew that everyone thought that I had died in the gas chamber,

and I worried about their grief.

      12.   After liberation, the Swedish Red Cross took me to

 Sweden. They gave us food, new clothes, and showed us to the

 showers. But we were all afraid to enter the Red Cross showers.

We all made the immediate connection to the gas chambers.

Memories of the cries, the smell, and visions of prisoners taking

their final walk into the death chamber permeated my mind.           They

had to prove to us that the showers were real, that they spewed

water, not gas, before we agreed to use them.

      13.   The visions of innocent men, women and children being

 driven into the gas chambers, and the memories of horror,

 anguish, and suffering continue to enter my dreams and come back

to me when I least expect them. The connections are obvious,

however: crying children, shower houses, smoke stacks, cattle

cars, and gas chambers.


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Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 182 of 465




      14.   When I learned of the scheduled execution of convicted

murderer Robert Harris in the San Quentin gas chamber on April

21, 1992, it caused me to think again of the gas chambers of Nazi

Germany and the millions of people tortured to death in them.

      15.   Each of the innocent victims of the Holocaust was a

unique person whose loss is important to all of us. The

circumstances of the convicts on death row can never be compared

to the horror and suffering of the victims of the Holocaust.

There is one similarity, however: the method of using poisonous

gas to take a human life.

      16.   Innocent Holocaust victims can never be compared with

convicted murderers. However, the fact remains that being

suffocated to death with poisonous gas is always cruel, painful,

inhumane and barbaric. As a person who saw the daily horror of

mass extermination by gas, I know that execution by gas is

torture and it can never be anything less. The torture begins

with one's awareness of the way in which his or her life would be

taken, and intensifies with one's knowledge of how slow, and

painful a method of execution gas is.

      17.   I have devoted my life to teaching others about the

Holocaust in the hope that we will remember the lessons of man's

inhumanity to man and learn to live together in peace on this

planet earth. All of us survivors carry in our hearts the memory

of the suffering of our families. It is the legacy of the

Holocaust that we must keep their memory alive and strive for the

betterment of humanity. Respect for human life is paramount. We




                                                             JCRC000118
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 183 of 465




must expect civilized society to do better than what a murderer

has done, even though he or she has shown no compassion for other

human beings. I know that the State of Israel, where many

thousands of Holocaust survivors have found sanctuary and have

rebuilt their lives, has abolished the death penalty altogether,

except for the crime of genocide. In our enlightened country, at

least the cruelty of death by gassing should be abolished.

      I declare under penalty of perjury that the foregoing is

true and correct and that this declaration was executed on April
7, 1992 at San Francisco, California.




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Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 184 of 465




                           Exhibit 26
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 185 of 465

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      Attorneys for Plaintiffs


                                   UNITED STATES DISTRICT COURT

                         FOR THE NORTHERN DISTRICT OF CALIFORNIA


      DAVID FIERRO, ROBERT HARRIS, and                   No. C-92-1482-MHP
      ALEJANDRO GILBERT RUIZ, as
      individuals and on behalf of themselves
      and all others similarly situated,                 DECLARATION OF JOHN M.
                                                         STEINER, PH.D. SUBMITTED
                     Plaintiffs,                         IN LIEU OF LIVE TESTIMONY
                                                         BY STIPULATION OF THE
      V.                                                 PARTIES

      JAMES GOMEZ, as an individual, and in his
      capacity as Director, California Department of
      Corrections, and DANIEL VASQUEZ, as an
      individual, and in his capacity as Warden of
      San Quentin Prison,

                     Defendants.




                                     PLAINTIFFS' EXHIBIT NO. 33




                                                                  JCRC000009
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 186 of 465




                DECLARATION OF JOHN M. STEINER. Ph.D.


     I, John M. Steiner, declare under penalty of perjury:


     1.   I am a resident of Mann County, California, where I
have lived since 1968. I am a Senior Professor of Sociology at
Sonoma State University, and Director of the Sonoma State
University Holocaust Studies Center. I received my Ph.D. Magna
Cum Laude from the University of Freiburg, Germany in sociology
with minors in psychology and psychopathology. Since receiving
my Ph.D., I have held positions at the University of California

at Berkeley, at the State Mental Hospital in Fulton, Missouri, at
San Quentin, and at the Wright Patterson Air Force Base in
Dayton, Ohio as a researcher in social psychology. I have been
twice awarded both Fulbright and Alexander Von Humboldt research
scholarships.


     2.   I was born in Prague, Czechoslovakia in 1925. I was a
young adult when my immediate and extended family were captured
and shipped to the concentration camp at Theresienstadt. My

father, my aunt, and I are the only members of the family who
survived the Nazi extermination camps. The rest of my family,
the friends I grew up with in Prague, community leaders, and the
many people I met while in the death camps were all killed. Some
were gassed to death, some were shot, some were hanged, and

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 Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 187 of 465




others starved to death or were killed by other means.


     3.   I was a prisoner in Nazi concentration camps, slave
labor camps, ghettos and death camps, including Theresienstadt,
Blechhammer, Auschwitz-Birkenau, Reichenbach, and Dachau. My
mother was gassed at Auschwitz-Birkenau, however, the exact
details of her death have been kept from us.


     4.   In the winter of 1945, along with hundreds of others, I
was forced on a death march out of Blechhammer to the
concentration camp at Reichenbach. I saw hundreds of people die
from exposure and exhaustion, and others who were shot to death
by rear guards. We were forced to march down roads lined with
the dead and the dying. My feet became frostbitten -- my toes
were totally rotten, forcing me actually to remove large chunks
of flesh, and the bones were exposed. I had almost given up. I
was unable to walk and knew that this would certainly mean being
shot to death, like so many others had been. A small group of us
were singled out by the guards and beaten and forced into a horse
drawn carriage which took us to the concentration camp
Reichenbach. For reasons unknown to me, we were not left to die
but were instead transported to that camp.


     5.   From Reichenbach, we were transported by box cars to
Dachau. Approximately one hundred of us were dumped into each of
these cars, literally on top of one another. Those on the bottom

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Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 188 of 465




were suffocated to death by the many bodies piled on top of them.
The corpses were ordered to remain packed in the box cars,
bloated and rotting. We were forced to remain inside, with more
and more people being shot, suffocated, and beaten to death. I
cannot convey in words the horror and odor of these box cars.


     6.   A pyramid of dead bodies grew in the center of the box
car where I was trapped. To keep myself from being beaten and
pushed to death, I had to crawl onto this pyramid of corpses and
hold my position by clinging to one beneath me.


     7.   For over a year, I was a prisoner in Auschwitz-Birkenau,
one of the death camps that used gas chambers to exterminate more
than 1.4 million Jews, Gypsies, social and political "deviants",
as well as Russian prisoners of war and diseased. While there, I
tried to deny what was happening around me for as long as I
could, refusing to believe that it was true. Although I saw it
every day, I could not accept the reality. When the SS guards
would come and round up the people to be gassed, many of us
refused to acknowledge what we could not accept. Then one
morning, Hans Fischer, my childhood friend from Prague and a
brilliant jazz pianist, was taken along with the entire transport
with which he had arrived to the gas chamber. He was removed
from the barracks and I never saw him again. Soon afterwards,
Hans Fischer's father, a renown psychiatrist from Prague, told me
that his son had been gassed, and it was at that moment that I

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Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 189 of 465




began to accept the reality and the extent of this mass •
extermination. That was the end of my denial. I've had
recurring nightmares about the gassing of Hans Fischer, my
mother, and others being taken away, and about the torture and
anguish they suffered.


     8. Many of those who were gassed, including Hans Fischer
and his entire transport, were given two days notice to prepare.
This waiting time is one of the most agonizing times for all
concerned. Being told that you are about to be gassed, and
awaiting and contemplating a painful execution is one of the most
cruel and dreadful forms of torture which can be imposed on
anyone. Alexander Leipen, a friend of mine and prisoner who was
also in the selected transport with Hans Fischer, escaped into a
frenzy of writing mathematical formulas during these two days.
He tried to remove himself from the unbearable reality by
performing and resolving complex mathematical equations. I know
of the indescribable pain extermination by gas causes because I
and others in the death camps experienced this form of torture
each day we survived.


     9. At Auschwitz-Birkenau, the sick and the weak were always
the most likely to be selected for extermination. I was
terrified that Dr. Joseph Mengele would make selections for
gassing at a time when I was ill with pneumonia, pleurisy, and
later with icterus, and confined in the infirmary barrack. It

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Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 190 of 465



was only through constant vigilance and the aid of others that I
was able to avoid selection and death until the end of 1944.


     10.     Having survived the extermination camps, I came to the
United States in 1953. In 1956, I enrolled at the University of
California at Berkeley as a doctoral candidate in sociology. In
1957, as a part of my studies, I took a position with the
California Department of Corrections as a correctional counselor
in the psychiatric section at San Quentin, where I worked from
1957 until 1959. During my employment at San        Quentin, I   was
asked to serve as a witness to an execution by lethal gas, which
I refused.


     11.     I refused to act as a witness because, among other
things, I knew that lethal gas is an excruciatingly painful
method of execution.    Witnessing     a person being gassed to death
would bring back horrendous memories of the hideous fate suffered
by millions, which included my family, extended relatives, and
friends. Even without witnessing the execution, being at San
Quentin brought back all of the memories,       including the   ghastly
odors of the death camp Auschwitz-Birkenau. Eventually, I had to
leave my work at the prison. Being reminded of the horror of the

death camps solidified my belief that I could not work in an
institution that was executing people by the use of lethal gas.


     12. It is my constant hope and endeavor that we, as

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Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 191 of 465



civilized people, can learn and have learned from these
experiences. The pending execution of Robert Harris, however,
not only undermines this hope, but is also indicative that we
have learned very little from the Holocaust. The cruelty
inherent in forcing the condemned to wait for their deaths in the
gas chamber along with the actual pain suffered during the

execution is a vivid reminder of the infamous Nazi gas chambers.
While it may be improper to compare the millions of innocent
Holocaust victims with convicted death row inmates, there is one
thing they have in common -- namely, violent death by lethal gas.
No human being, even if found guilty of murder and condemned to
death, should be made to suffer the agonizing death caused by
lethal gas, a notion which is posited on the questionable
ideology advocating the law of retribution (lex talionis). The
horror that I witnessed by exposing human beings to lethal gas
has left an indelible memory of indescribable cruelty in my mind.
It is the intentional infliction of pain and that strips us all
of our human dignity and moral consciousness.


     I declare under penalty of perjury under the laws of the
United States of America and the State of California that the
foregoing is true and correct. Signed this            -k       day of
April, 1992.

                                                 •




                                 JOHN M. STEINER, Ph.D.




                                                             JCRC000015
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 192 of 465




                           Exhibit 27
           Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 193 of 465




LaGrand: 18 minutes to die
by Patty Machelor on Mar 04, 1999, under Tucson and Arizona

     Recommend 3       Share



• The victim’s family members watch as the killer chokes on cyanide.

PATTY MACHELOR Citizen Staff Writer

The agonizing choking and gagging continued over several minutes.

Finally, shrouded in poisonous gas, Walter LaGrand slumped forward.

The 37-year-old killer had breathed his last breath.

Arizona’s first gas chamber execution in seven years took 18 minutes before the condemned man’s heart flat-
lined at 9:30 last night.

That’s seven minutes more than it took death row inmate Don Harding to die by cyanide poisoning on April 6,
1992.

Harding’s gruesome death prompted a change in law to allow inmates who committed murder before 1992 to
chose between the gas chamber and lethal injection.

Walter and Karl LaGrand – two half-brothers on death row since 1984 for stabbing a Marana bank manager 23
times in a robbery attempt before slitting his throat because he didn’t know the safe combination – chose gas.

Karl LaGrand, 35, changed his mind at the last moment and was executed last week by the less-painful lethal
injection.

Gov. Hull extended the same option to Walter LaGrand, but a 3 p.m. Friday deadline for such a request came and
went – as did the traditional last-minute flurry of appeals for a stay of execution.

With LaGrand’s death, the question now is whether legislators will allow the remaining 30 or so death-row
inmates to make such a choice of death and spectacle.

The LaGrand executions were objected to by Germany, where the brothers were born. Their deaths drew heavy
media coverage in Europe.
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             Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 194 of 465

”We have our laws, they have their laws,” said Gov. Jane Hull. ”We have respect for theirs. I hope they would
have respect for our laws. Our state has capital punishment.”

More than 30 people including news reporters and family members of the victim witnessed last night’s
execution.

As they moved into the room, witnesses faced a three-windowed capsule with blinds hiding the man who sat
within it, awaiting his death.

A blue curtain sectioned off the injection chamber.

Creaking could be heard from behind the window, perhaps as LaGrand was fastened into the chair with a black
harness, which was all that kept him from falling forward minutes later.

A Department of Corrections officer called over her radio, ”Witnesses are staged.”

The blinds were then raised, revealing the back of a man with thick, curly, dark hair clad in blue prison garb,
which blended softly with the light yellow paint inside the chamber.

LaGrand’s face could not be seen except by a very few, perhaps offering the convicted killer a final shred of
dignity.

He offered a final statement with a surprisingly steady voice as he asked for forgiveness and told surviving
stabbing victim Dawn Lopez and relatives of slain bank manager Kenneth Hartsock that he hopes they ”find
peace.”

”I just want to say sorry to the Hartsock family. First time I really got to see that picture,” he said, apparently
referring to a photo of the victim being held up by Kathy Hartsock, the victim’s daughter.

”I am truly sorry. I hope you find peace. I want to thank Helen (Hartsock’s sister) for forgiving us. I want to say
to her kids and to Lopez, Dawn Lopez, I hope you find peace.”

Moments later, the execution proceeded as cyanide pellets were dropped into the acid below the chair.

The witness room fell silent as a mist of gas rose, much like steam in a shower, and Walter LaGrand became
enveloped in a cloud of cyanide vapor.

He began coughing violently – three or four loud hacks – and then, in what appeared to be his last moments of
consciousness, he made a gagging sound before falling forward at about 9:15 p.m.

The method of death is comparable to having a heart attack, according to prison officials.

LaGrand had not been told by prison officials what death by lethal gas would be like, said Charles Ryan, deputy
director of prison operations.

Minutes passed as LaGrand’s back rose and fell with shallow breaths and his head twitched.
                                                                                        JCRC000005
           Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 195 of 465

In the witness room, the only sound was the continuing hum of the light overhead.

Lopez, the bank clerk who survived the stabbing attack by the LaGrands, began to quietly weep. Moments later,
she was escorted from the room by Deputy Pima County Attorney David White.

A few minutes later, at about 9:18, Walter LaGrand’s right arm again twitched.

Kathy Hartsock then left the room, which had become uncomfortably warm.

DOC spokeswoman Camilla Strongin said from where she stood, she could see that LaGrand turned only once –
apparently to see the photo Kathy Hartsock held of her father.

But shortly after, as the gas began to rise, Strongin noticed that LaGrand kept his eyes closed.

His hands, however, were red and clenched.

The LaGrands both chose to die by lethal gas weeks ago in order to appeal on grounds the method was a cruel
and unusual punishment.

The tactic bought Karl LaGrand a few extra hours of life when the 9th U.S. Circuit Court of Appeals issued a
stay, before the U.S. Supreme Court shot down the ruling without comment.

Changing his mind on the method of execution, Karl LaGrand died by lethal injection at 8 p.m. Feb. 24.

The German government, which banned the death penalty after World War II, tried to intervene and save the
brothers but failed in attempting to have state officials await an investigation by the World Court.

Delays for Walter LaGrand began yesterday when the 9th U.S. Circuit Court of Appeals granted an injunction
over the method of execution Walter LaGrand was facing.

At about 7:30, the U.S. Supreme Court lifted the injunction and issued a ruling that when Walter LaGrand chose
gas over lethal injection, he waived his right to appeal the method as being unconstitutionally cruel and unusual
punishment.

LaGrand’s hope was also that the World Court would be able to intervene in his execution.

Hull on Tuesday ignored a clemency board’s 2-1 recommendation that she issue a 60-day reprieve.

Hull met with Lopez and also with German Ambassador Jurgen Chrobog before deciding to go forward with the
execution as scheduled.

Alexander Privitera, a German and bureau chief of the Washington, D.C., ProSieben television, said the German
government was ”too little, too late” in its attempt to save Karl LaGrand.

But he said he was shocked by the ”immense arrogance” of Arizona Attorney General Janet Napolitano and Hull
in ”ignoring international law” and not granting a stay for the World Court to investigate the Walter LaGrand
                                                                                             JCRC000006
           Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 196 of 465

case.

Hull noted that the World Court has no legal authority to stop Arizona from executing a prisoner.

Edward Levy, chairman of the Arizona Executive Board of Clemency, and member Kathryn Brown voted
Tuesday to grant Walter LaGrand a 60-day reprieve.

Fellow member Edith Richardson opposed the request.

Napolitano defended the state’s position.

”I think that the United States cares about international law, but in this case it was too late,” she said at a press
conference, when questioned by Privitera.

She also refused to disclose her feelings about death by the gas chamber.

”It was the punishment he chose, and it was administered in this case. It was an execution. It’s the law, and we
carry out the law,” she said.

WALTER LaGRAND’S FINAL STATEMENT

”I just want to say sorry to the Hartsock family. First time I really got to see that picture (possibly referring to a
photo of Kenneth Hartsock being held by his daughter). I am truly sorry. I hope you find peace. I want to thank
Helen (Hartsock’s sister) for forgiving us. I want to say to her kids and to Lopez, Dawn Lopez, I hope you find
peace. To all my loved ones, I hope they find peace. To all of you out here today, I forgive you. I hope I can be
forgiven in my next life. That’s all I have to say.”

PHOTO CAPTIONS: Photos by MARY CHIND/Tucson Citizen

Monsignor Edward J. Ryle reads to other protesters outside the Arizona State Prison Complex-Florence
yesterday. Walter LaGrand was executed inside despite the protests outside the prison.

Several people from Tucson drove to Florence to protest the gas chamber execution of Walter LaGrand.

Our Digital Archive

This blog page archives the entire digital archive of the Tucson Citizen from 1993 to 2009. It was gleaned from
a database that was not intended to be displayed as a public web archive. Therefore, some of the text in some
stories displays a little oddly. Also, this database did not contain any links to photos, so though the archive
contains numerous captions for photos, there are no links to any of those photos.

There are more than 230,000 articles in this archive.

In TucsonCitizen.com Morgue, Part 1, we have preserved the Tucson Citizen newspaper's web archive from
2006 to 2009. To view those stories (all of which are duplicated here) go to Morgue Part 1
                                                                                           JCRC000007
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 197 of 465




                           Exhibit 28
     Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 198 of 465




                                                                     Pursuant to 28 U.S.C. § 1746(2)

                         Declaration of James S. Williams, M.D., M.Sc.


I, James S. Williams, M.D., M.Sc., declare as follows:

1.      Attorneys for Frank J. Atwood, a man for whom the Arizona Supreme Court has issued a
        warrant scheduling his execution for June 8, 2022, have engaged me to address the
        efficacy and feasibility of firing squad as a means of execution.


I.      Introduction

        A.     Qualifications
2.      I am engaged in active practice as an emergency services physician, primarily at Citizen’s
        Hospital in Victoria, Texas, as well as several other hospitals. I hold medical licenses
        from the states of Nebraska, Texas, and Wisconsin. I have been employed as the Medical
        Director of several emergency departments in Texas and Wisconsin, including Alice,
        Texas (09/2016-03/2018), Big Lake, Texas (10/2011-09/2015), and Waupaca, Wisconsin
        (12/2007-09/2011). I received my MD in 1991 from the University of Calgary in Alberta,
        Canada. I have been board-certified by the American Board of Family Medicine since
        1998, and the Canadian College of Family Practice since 1993. I have been continuously
        certified in Advanced Trauma Life Support by the American College of Surgeons since
        1994. I have more than 40,000 hours of ER and ICU experience, about 25% of which has
        been spent in direct trauma care. I have provided medical care to thousands of trauma
        patients during that time.
3.      I have used my medical skills while working closely with police departments. I was a
        Police Medical Officer with the City of Ripon, Wisconsin, Police Department from 2000-
        2010. My duties in this position were primarily administrative: writing and supervising
        policies for first responders, training police officers in the practice and principles of
        Trauma Critical Casualty Care (“TCCC”), and ensuring standards were maintained in all
        aspects of those fields. I also served as a SWAT Team Physician with Waupaca,
        Wisconsin, County Sheriff’s Department from 2008 to 2011. In addition to the
        administrative and training responsibilities noted above, my duties in that position were
        more hands-on, in that I operated as an embedded component of the SWAT Team. I

                                                   1
     Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 199 of 465




        participated in both training and actual SWAT operations with the Team. I was fully
        armed on all SWAT operations, was qualified to the same standards of firearms
        proficiency as all other officers on the SWAT team and was expected to perform to the
        same operational performance standards as all other members of the team. My duties
        included planning and conducting TCCC training for all SWAT operators, providing on-
        scene medical care to SWAT operators and civilians in the “hot zone” on operations,
        liaising with pre-hospital and hospital medical personnel in conjunction with SWAT
        operations, and acting as a fully functional SWAT operator myself as needed. I served in
        these posts while also performing my regular duties as a hospital emergency physician.
4.      I am recognized as an expert in firearms. I draw on a lifetime of experiences working
        with firearms, including the hunting of small and large game, as a firearms instructor, and
        many years of competitive shooting at the local, state, regional, and national levels. I
        currently conduct firearms trainings for law enforcement agencies and authorized civilian
        organizations through my company, Tactical Anatomy Systems LLC. I have conducted
        approximately 80 trainings over the past 15 years, and about 10 over the past 5 years. My
        courses are certified by the Peace Officer Standards and Training councils (“POST”) of
        several states, including Minnesota, Tennessee, Nevada, and Colorado. My courses are
        also used in many other states as non-POST-certified training, and in Canada, the United
        Kingdom, Australia, New Zealand, and a number of other countries for the training of
        police officers and military personnel. I have been recognized in this field by the
        American Society for Law Enforcement Training, the International Law Enforcement
        Training and Education Association, and the International Association of Law
        Enforcement Firearms Instructors, and I have spoken at national and international
        conferences sponsored by these and other organizations.
5.      I have provided expert reports and advice to Federal Public Defenders in Dallas, Texas in
        the matter of Danny Bible v. Texas Department of Corrections; and a report and advice to
        the Federal Defenders Office in Atlanta, Georgia in J.W. Ledford v. Gregory Dozier et
        al., Georgia Department of Corrections, both in 2017. I testified as an expert at trial and
        at a deposition in the case of McGehee et al v. Hutchinson et al., No. 4:17-cv-00179-
        KGB (E.D. Ark.) in 2019. In 2019 I also provided an expert report and advice to the
        Federal Defenders Office in Columbus, Ohio, in the matter of Cleveland Jackson v. the



                                                  2
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 200 of 465




   State of Ohio Department of Corrections. In 2021 I was deposed as an expert in the case
   of Richard Glossip v. Randy Chandler et al. (State of Oklahoma Dept. of Corrections).
   In 2020-21 I also provided a report and advice to the Federal Defenders Office in Las
   Vegas, Nevada in the matter of Floyd v. Daniels, et al., and testified as an expert at trial
   in the same case in November, 2021. I testified as an expert in the case of Richard
   Glossip v. Randy Chandler et al. (State of Oklahoma Dept. of Corrections) in March,
   2022.
6. I have no academic publications in the last 10 years. In 2006, I published a training
   manual entitled Tactical Anatomy Instructor Manual. My CV is attached to this report as
   Appendix A.
7. I am familiar with Mr. Atwood’s current health status, including that he has a medical
   history of severe cervical spondylosis, has been disabled for years, and must use a
   wheelchair.
8. Mr. Atwood’s attorneys have specifically engaged me to address four questions: (1)
   Would execution by firing squad cause death in a quick and painless manner? (2) Is
   execution by firing squad feasible in Arizona? (3) Is execution by firing squad generally
   feasible for a wheelchair user? (4) Would Mr. Atwood’s health condition present
   complications for conducting a firing squad execution? I address these questions in detail
   below. In short, my answers to each of the first three questions is a “yes” and to the final
   question, a “no.”


   B.      Materials considered
9. In addition to drawing from my knowledge and experience in the fields of medicine and
   firearms, in preparing this report I have considered (1) Utah’s protocol for executions by
   firing squad, attached to this report as Appendix B; (2) the U.S. Army’s protocol for
   executions by firing squad, attached to this report as Appendix C; (3) the expert
   declaration of Philip A. Davidson, M.D. (Jun. 21, 2021), from a prior civil action, Atwood
   v. Days, et al., 2:20-cv-00623-PHX-JAT (Doc. 109), as Appendix D; (4) an order entered
   Dec. 7, 2021 (Doc. 173), from the same civil action granting in part a temporary
   restraining order and preliminary injection concerning Mr. Atwood’s medical treatment




                                             3
      Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 201 of 465




         for his spinal condition, as Appendix E; and (5) the sources listed in the endnotes of the
         report.


II.      Whether execution by firing squad causes quick and painless death
10.      Contemporary understanding of how gunshot wounds affect the human body is extensive.
         Gunshot wounds can be painful—but unless the bullet strikes and fractures one or more
         of the long bones of the limbs, pain can be and often is relatively minor, if not virtually
         painless. Impact of a high velocity rifle bullet into a target organism causes deformation
         and stretching of the soft tissues near the wound; this is referred to in terminal ballistics
         as formation of a temporary cavity. The temporary cavity stretches the nerves supplying
         the tissues penetrated by the bullet, which stuns them to the point of nonfunctionality
         which may be temporary or permanent. This produces a state of traumatic anesthesia
         reported by most gunshot wound victims.
11.      The physical trauma inflicted by gunshot wounds depends on a number of factors. The
         first factor is one of ballistics: what is the projectile or bullet’s energy when it strikes the
         body? Energy is multiplied when several projectiles strike the body more or less
         simultaneously, such as the volley fire of a firing squad. Greater energy of impact imparts
         a greater degree of damage to the target organism, and subsequently more rapid
         incapacitation and death (assuming the projectile hits an appropriate target, as discussed
         further below). In an execution by firing squad, more projectiles striking the body
         simultaneously will impart a greater sum of energy and are therefore more likely to
         achieve the desired effect than a single projectile.1,2,3
12.      The second factor is one of anatomy: what vital organs are struck and disrupted by the
         projectile(s)? There are two ways to assure a quick and painless death: (1) targeting the
         heart: denying the central nervous system (CNS) the blood supply it requires to continue
         to function via shots to the cardiovascular bundle-the heart and the great vessels which
         lead to and from it-in the chest; or (2) targeting the brainstem:4 a shot or shots to the
         brainstem resulting in significant trauma to the brain CNS would be assured to cause a
         rapid death.
13.      A traditional firing squad execution causes death by the first method, cutting off blood to
         the CNS through trauma to the cardiovascular bundle. When the firing squad’s bullets



                                                    4
      Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 202 of 465




         strike the heart and great vessels, the immediate effect is to cause cessation of blood
         circulation at its source. Whether the heart stops electrophysiologically (by cessation of
         organized beating) or is structurally disrupted to the point of being unable to generate
         pulse pressure, or whether the arteries leading from the heart are disrupted such that
         blood flowing out of the heart cannot be delivered to the brain and body, the net effect is
         a catastrophic drop in blood pressure in the brain. The brain’s function depends upon a
         continuous supply of oxygen via the blood, and if that blood supply is stopped, loss of
         consciousness ensues within a matter of 10 seconds or less, and cortical/brainstem death
         inevitably follows within a matter of minutes.5,6,7
14.      By targeting the cardiovascular bundle, the firing squad causes death with minimal pain.
         This has been borne out by my professional experience treating gunshot wound victims,
         and by the experience of other medical and paramedical personnel with whom I have had
         extensive discussions over many years.
15.      In addition to my professional experience and that of my medical colleagues, I have
         interviewed personnel who have served as field medics in the U.S. Armed Forces with
         respect to the effects of a gunshot wound to the cardiac bundle. They have informed me
         that the response to being shot with a rifle in the chest can be highly variable, depending
         on range, ballistic trajectory, and point and angle of impact, and the anatomic path of the
         bullet within the body. Regardless of these factors, however, subjects who are shot in the
         central chest (cardiovascular bundle) typically exhibit no life signs when examined, even
         when the time between injury and examination is only a matter of a few (five to fifteen)
         seconds. This body of experience supports the traditional firing-squad aiming point, and
         furthermore is in accordance with medical knowledge of the terminal effects of
         cardiovascular bundle gunshot wounds.8,9
16.      The short interval between gunshot wound to the chest and death is also consistent with
         an examination of the experience of death by firing squad. In 1938, a physician
         monitored the heart activity of a man being executed by firing squad and found that his
         heart stopped 15 seconds after the shots were fired. See Graph of Heartbeat in Execution,
         Chicago Daily Tribune (Nov. 1, 1938) (reproduced below). Based on my examination of
         the ECG tracing in the photo, it appears the subject experienced immediate onset of
         ventricular fibrillation after bullet impact. This arrhythmia typically causes loss of



                                                   5
      Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 203 of 465




         consciousness almost immediately, in my professional experience; and at that point the
         condemned would of course be insensible to pain.




17.      The question of the relative painfulness of gunshot wounds to the chest can be answered
         by the experience of persons who have survived thoracic gunshot wounds. Invariably,
         these persons describe the sensation as being that of a severe blunt blow to the chest, like
         a hard punch, or being struck with a club or bat. Most gunshot-wound patients I have
         treated in an emergency department or ICU setting have told me their experiences were
         similar if not identical: the sensation of a powerful blow, a prolonged numbness to the
         region of the gunshot wound (presumably due to the neural structures in the area being
         stunned by the temporary cavitation of tissues caused by the bullet’s passage), and
         gradual onset of mild to moderate pain a few hours later.
18.      I received a gunshot wound to my right chest in April 1972. My experience is consistent
         with these reports. The bullet was a high-velocity .224 caliber projectile; in terms of
         ballistic energy, this would fall into the same category as a bullet from a police service
         caliber handgun on the order of a 9mm or .38 Special weapon. The sensation of being
         struck by the bullet was much like the sensation of receiving a hard tackle in a football
         game or being struck by a hard-pitched baseball: a powerful blunt blow, with no sharp,


                                                   6
      Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 204 of 465




         burning, or other painful sensation. Because the bullet passed very close to the brachial
         plexus (a bundle of nerves under the clavicle), I had the immediate sensation of
         numbness or tingling in my neck, shoulder, and right arm, very much like the sensation of
         a “stinger,” which I had experienced several times on the football and rugby field; while
         unpleasant, it did not seem to me to be in any way painful. I was transported to the
         hospital and received prompt care. I was asked repeatedly if I needed pain medication,
         and I declined each time because I simply wasn’t experiencing anything I could identify
         as pain. This pain-free period lasted until approximately 3 hours after I received the
         wound, by which time I had developed severe muscular stiffness and pain in the chest
         and shoulder area, and I agreed to an injection of narcotic pain medication.
19.      Finally, it should be stated explicitly that execution by firing squad substantially reduces
         the chance of a “botched” execution due to error on the part of the executioner(s). The
         means by which death is affected is simple and straightforward, using an implement
         (rifle) with which a substantial proportion of the population in general, and the law
         enforcement population in particular—there are roughly 14,500 sworn officers in the
         state of Arizona—are expertly familiar. Thus, the chance of “operator error” being
         introduced into the execution is substantially less than it is in execution by lethal
         injection. Further, the means of execution—rifles and ammunition, rather than
         pharmacologic agents—is not subject to unreliability of supply.


III.     Whether execution by firing squad is feasible.
         A.     Historical use of firing squads for executions.
20.      In order to address the feasibility of firing squads, I first sought answers to two questions
         concerning the historical use of this method.
21.      First, has execution by firing squad been successfully implemented in any other
         jurisdictions in the United States or abroad? The answer is “yes.” In military justice,
         death by firing squad, or by gunshot wound, has been a traditional and common means of
         execution since at least the early 19th century. In modern times, the state of Utah has
         offered condemned prisoners a choice between lethal injection or death by gunshot
         wound, and since Gary Gilmore’s execution in 1977, this method has been successfully
         implemented three times, most recently in 2010 (Ronnie Lee Gardner). It should also be



                                                   7
      Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 205 of 465



         noted that execution by firing squad is permitted by statute in several other states,
         including Oklahoma and South Carolina, and was a prescribed execution protocol
         for the United States armed services up until 2019.
22.      These historical and statutory features suggest that it’s possible to establish a protocol for
         successful implementation of death by gunshot wound in Arizona.
23.      The second question asks us to define what the term “firing squad” actually means in
         practical terms.
24.      Death by fusillade, or multiple riflemen firing simultaneously, has been a common means
         of military execution since at least the Napoleonic era. The rifle was typically the firearm
         selected for this purpose. Historically, this made sense, as armies usually had an
         abundance of riflemen armed with battle rifles, so forming a squad of them for a quick
         execution was possible almost anywhere. Typically, a battle rifle is considered the
         armament of the infantry soldier, a weapon capable of inflicting a fatal wound to an
         enemy combatant with a single well-placed bullet. A squad of soldiers armed with rifles
         could be counted upon to reliably dispatch a condemned man with little chance of his
         suffering undue pain, no chance of survival, and with a minimum of administrative
         impediments.
25.      In my opinion, the rifle meets the minimum threshold of lethality that a firing squad
         execution requires. The medical literature is incomplete as to the relative effectiveness of
         different types of small arms in causation of death, in part because mortality in the field
         precludes many gunshot wound victims from ever receiving medical care in a hospital,
         and in part because most medical authors are physicians with little actual firearms
         expertise to inform their discussion. However, hospital firearms injury data show that
         persons shot in the heart by a high-power centerfire rifle are at least twice as likely to die
         (48-50% vs 24.5%) than persons shot with a handgun. 10,11
26.      Using any weapon lighter than the high-power centerfire rifle risks causing injuries
         insufficient to cause rapid or near-instantaneous incapacitation and death of the subject.
         And based on my review of the proven firing squad execution protocols extant (Utah and
         U.S. Army, see below) the minimum number of rifles to be used should be no fewer than
         five and the maximum no more than ten.




                                                   8
      Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 206 of 465




27.      The execution is traditionally accomplished by having the condemned man face a squad
         of riflemen, who on command fire their rifles simultaneously into the condemned man’s
         chest; specifically, the cardiovascular bundle (the aggregate anatomic region comprising
         the heart and the large arteries and veins hear to and within the mediastinum) in the
         center of his chest. A squad, in American military terms, is a group of about 10 men.
         Historically, this number varies from four or five riflemen to as many as twenty. The
         condemned prisoner may stand or kneel or sit facing his executioners, and is fastened to a
         post, wall, or chair by straps, ropes, or other bindings. This binding serves to minimize
         movement by the condemned, allowing precise and fatal placement of the rifle shots by
         the firing squad.
28.      The squad’s rifles are aimed at the central lower one-third of the condemned man’s chest,
         in the vicinity of the heart. The primary purpose of this aiming point is to yield a quick
         death, and the secondary purpose is to avoid disfiguring the face and head of the person
         being shot.


         B.       Protocols for execution by firing squad.
29.      To prepare this report, I reviewed Utah’s current protocol for execution by firing squad
         and an older firing-squad protocol of the U.S. Army. In my opinion, these protocols or a
         similar protocol would suffice to cause a quick and painless death.
30.      In summary, the Utah form is as follows:
         a. The condemned is secured in a seated position, with an aiming point or target affixed
              to the chest;
         b. The firing squad, consisting of 5 riflemen, faces the condemned at a distance of 21
              feet, armed with service rifles of .30 caliber;
         c. The squad’s rifles are loaded with 2 rounds each by the squad commander; one of the
              rifles is loaded with blank cartridges, but the members of the firing squad are not
              aware of which rifle is so loaded prior to firing;
         d. On the order of the D.O.C. Director or his Designee, the firing squad commander
              gives the order to fire, and all 5 riflemen discharge their rifles at the target on the
              condemned man’s chest simultaneously;




                                                     9
      Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 207 of 465




         e. Three minutes after the first volley, the attending physician examines the condemned
              to determine if life signs are present; if so, he continues to check for life signs every 1
              minute to a maximum of 10 minutes; and if life signs are still present, a second volley
              shall be fired;
         f.   If, after the first volley, the condemned shows obvious signs of life or consciousness,
              a second volley shall be immediately fired.
31.      The Army’s procedure differs in some minor but practical points:
         a. The firing squad consists of 8 riflemen and a sergeant;
         b. The condemned is secured in a standing position to a post, with restraints at the waist
              and ankles;
         c. The squad’s rifles are loaded such that at least one, but no more than 3, are loaded
              with blank ammunition;
         d. The squad is arrayed 15 paces (approximately 35 feet) from the condemned;
         e. On the order of the officer commanding, all 8 riflemen discharge their rifles at the
              target on the condemned’s chest simultaneously;
         f. The officer commanding and medical officer will then examine the condemned, and
              if in the medical officer’s opinion the condemned is still alive, the sergeant will be
              instructed to fire a “coup de grace” handgun bullet into the condemned’s head, aiming
              just above the ear and with the muzzle one foot from the head.
         C.       Comments on Procedure:
32.      The condemned needs to be firmly restrained so an accurate aiming point may be
         established. A circular target roughly 3-4 inches in dimension should be affixed over the
         lower 1/3 of the subject’s sternum, overlapping the left sternal border, but not
         overlapping the inferior margin or right border of the sternum. This will direct the
         riflemen’s bullets into the upper half of the heart, where the pace-making structures of the
         heart reside, or into the aorta and other great vessels, where the outflow of blood from the
         heart proceeds.
33.      Records reflect that Mr. Atwood has needed the aid of a wheelchair for years and is
         disabled, under the Americans with Disabilities Act. The Department of Corrections
         could readily apply the foregoing firing squad procedures for him while he is seated in a
         standard wheelchair, given such the standard aluminum frame and fabric backing of such



                                                    10
      Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 208 of 465




         a medical device. For these purposes, it would be equivalent to a purpose-built chair.
         Alternatively, Mr. Atwood could be placed in a purpose-built seat and secured to it as
         contemplated in both protocols above.
34.      The number of riflemen in the squad seems to vary by jurisdiction, as noted previously,
         but five to ten rifles seems to be a reasonable number. (This includes, in most protocols,
         one or two rifles loaded with a blank cartridge.) Fewer than 5 rifles, as used in Utah for
         example, will risk the chance of failure to inflict sufficient injury to cause a quick death,
         and more than 10 increases the likelihood of more damage to the subject’s body than is
         strictly necessary.
35.      The distance (21 to 35 feet) between the riflemen and the condemned is appropriate. This
         is also in keeping with the distance specified by the United States Military protocol.
36.      Any competent and qualified officer/rifleman in any Arizona’s Department of
         Corrections (or any other branch of law enforcement) should be able to meet this
         marksmanship requirement easily.
37.       It should be noted that “service rifles of .30 caliber” as specified in the Utah protocol
         could for all practical purposes be any military or law enforcement grade rifle type and
         caliber. It seems reasonable to me that any general purpose rifle and caliber utilized by
         agencies of that state and by the Department of Corrections in particular would be
         suitable for the purposes of execution by firing squad.
38.      A suitable backstop should be employed immediately behind the body of the condemned.
         This should consist of a layer of ballistically absorbent material such as layers of lumber
         or sandbags, which would serve to block overpenetration of any bullets that passed
         entirely through the subject’s body and would absorb body fluids expelled from the exit
         wound(s). Behind this should be placed an impervious ballistic barrier such as woven
         Kevlar to prevent bullet fragments from escaping the catchment area and causing
         ricochets that might injure members of the execution team or witnesses.
39.      The traditional practice of loading one of the firing squad rifles with blank ammunition
         may be of some redeeming value from a public relations perspective, but it is of
         questionable practical importance. Historically, this was likely expedient when the
         enlisted men serving on a firing squad did so under orders, rather than as volunteers, as
         riflemen may have had grave individual reservations about being required to serve as



                                                   11
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 209 of 465




           executioners. The use of a random blank cartridge in one of the squad's rifles gave each
           rifleman a "plausible deniability" factor to relieve him from the guilt and/or public shame
          of having taken the life of a fellow soldier. In the context of a state-sanctioned execution
           in the present day, however, such an expedient seems unnecessary. The riflemen serving
           on the firing squad will necessarily be volunteers. Furthermore, any experienced rifleman
           is immediately aware of the fact when he fires a blank cartridge; there is little perceptible
           recoil. As such, each member of the execution team is unquestionably fully aware if he
           has fired a live round or a blank when he pulls the trigger, and any fiction generated to
           preserve anonymity is just that: a fiction. Whether this tradition is preserved in the
           development of a new protocol is up to the protocol's authors, but in this writer's opinion
           it is a dramatic gesture with little or no practical value.


IV.        Conclusion
40.        This report comprises my best attempt to answer the questions put to me by Plaintiff's
          counsel regarding execution by firing squad. I conclude to a reasonable degree of
          certainty that the firing squad is a feasible means of execution in Arizona and will result
          in a quick and painless death.
41 .      I reserve the right to revise my opinion should further relevant information come to my
          attention that clarifies, strengthens, or otherwise changes my opinion in the course of
          continued review. I sincerely hope that my efforts will prove to be of some worth to the
          Court.


I declare under penalty of perjury that the foregoing is true and correct to the best of my
knowledge and belief.
Executed this 4th day of May 2022.




                   J.
       es S. Williams M.D.




                                                     12
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 210 of 465




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                                           13
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 211 of 465




                         APPENDIX A
   Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 212 of 465




                                   CURRICULUM VITAE
                                 James Stuart Williams MD
                   609 Louisiana Ave, Corpus Christi, TX, 78404; Phone 432-301-2823



Education

   •   MD (1991) University of Calgary, Alberta, Canada
   •   MSc (1988) Endocrinology, University of Calgary, Alberta, Canada
   •   BSc (1976) Zoology, University of Calgary, Alberta, Canada

Postgraduate Training

   •   Board Certified in Family Medicine, American Board of Family Practice 1998, recertified
       2006, 2013
   •   Board Certified in Family Medicine, College of Family Physicians of Canada, 1993; named
       Fellow of the College of Family Physicians of Canada, 2004 (currently certified)
   •   Family Medicine Residency (completed 1993 at Royal Alexandra Hospital), University of
       Alberta, Canada
   •   Neonatal Resuscitation1991, recertified 2002, 2004, 2013, 2015, 2017
   •   ATLS 1994, recertified 2002, 2007, 2012, 2016, 2020
   •   ACLS 1993, recertified 1995, 1997, 1999, 2001, 2003, 2005, 2007, 2009, 2011, 2013,
       2015, 2017, 2019, 2021
   •   PALS, certified 1991, recertified 2013, 2015, 2017, 2019, 2021
   •   ALSO, certified 2000
   •   Certified as CIC (Sports Concussion Evaluation and Management) by ImPACT, Inc., 2012
   •   Certified in Diagnostic and Therapeutic Esophagogastroduodenoscopy (EGD), National
       Procedures Institute, 1999
   •   Certified in Diagnostic and Therapeutic Colonoscopy, National Procedures
       Institute, 1999; received full privileges in Colonoscopy, Polypectomy, and Biopsy, Berlin
       Memorial Hospital, 2000.
   •   Repeated completion of American College of Sports Medicine’s Team Physician Course
       Parts I and II, February 2005
   •   Completed the American College of Sports Medicine’s Team Physician Course Parts I and
       II, February 2001 (Completed Part I February 1998)
   •   Completed the American College of Sports Medicine’s Advanced Team Physician Course,
       December 2003.
   Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 213 of 465




Medical Licensure

   •   State of Nebraska, 2018 to present
   •   State of Texas, 2011 to present
   •   State of Wisconsin, 1997 to present
   •   Province of Alberta, Canada, 1991 to 2003

Employment History

   •   Owner/operator of Anahata West / Anahata Wellness Center, Abilene, TX, 11/2020 to
       present
   •   Owner/operator of Anahata Wellness Center, Mequon, WI, (Anahata Mequon LLC)
       09/2019 to 08/2020
   •   Owner/operator of Anahata Wellness Center, San Angelo, Corpus Christi, and Kingsville,
       TX, (Anahata Wellness Center PLLC) 10/2014 to present
   •   Emergency Department Physician, Citizens Hospital, Victoria, TX, 03/2018 to present
       (Schumacher Clinical Partners)
   •   Emergency Department Physician, St. Francis Hospital, Grand Island, NE, 07/2018 to
       present (Medicus Clinical Partners)
   •   Emergency Department Physician, Reeves County Hospital, Pecos, TX, 05/2015 to
       present
   •   Emergency Department Physician, Rio Grande Regional Hospital, Macallen, TX, 05/2020
       to present
   •   Emergency Department Physician, Corpus Christi Medical Center, Corpus Christi, TX,
       07/2020 to 09/2020
   •   Chief Medical Officer of Reagan County, TX, 05/2016 to present
   •   Medical Director, Reagan County TX Emergency Medical Services, 02/2015 to present
   •   Medical Director, Emergency Department, Christus Spohn Alice Hospital, 09/2016 to
       03/1208 (EmCare Physicians)
   •   Emergency Department Physician, Christus Spohn Alice Hospital, September 2016 to
       present (EmCare Physicians)
   •   Emergency Department Physician, independent contractor for agencies including
       Concord Medical, EmCare Physicians, Schumacher Clinical Partners, Medicus, and
       Southwest Medical; 09/2015 to present
   •   Medical Director, Shannon Sports Concussion Clinic, San Angelo TX, 03/2012 to 05/2016
   •   Medical Director, Emergency Department, Reagan Memorial Hospital, Big Lake TX,
       09/2011 to 09/2015
   •   Family physician, Shannon Clinic, San Angelo/Big Lake TX, 09/2011 to 09/2015
   •   Head Team Physician, Ripon College, Ripon WI, 09/1998-08/2011
   •   Medical Director, Emergency Department, Riverside Medical Center, Waupaca,
       Wisconsin, 12/2007 to 09/2011
   •   Emergency Department Physician, Riverside Medical Center, Waupaca, Wisconsin,
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 214 of 465




    06/2005 to 09/2011
•   Emergency Department Physician, Riverview Hospital, Wisconsin Rapids, WI, 06/2003
    to 06/2005 fulltime and on locum tenens basis 2005 to 2006
•   Adjunct Lecturer in Pharmacology; Department of Chemistry, Ripon College, Spring
    Semester 2004
•   Emergency Department Physician (Fulltime), Berlin Memorial Hospital, 07/2002 to
    06/2003
•   Family Practitioner, CHN Family Healthcare Clinic, Ripon, Wisconsin, 04/1997 to 08/2002
•   Emergency Department Duty Physician (part-time), Berlin Memorial Hospital, Berlin, WI,
    06/1998 to 08/2002
•   Emergency Department Duty Physician, Ripon Medical Center, Ripon, WI, 07/1997 to
    04/2000
•   Organizing partner and chief negotiator of Glenmore Clinic, a proposed multidisciplinary
    medical clinic comprising 6 family physicians and 2 Internal Medicine specialists, 1996.
•   Family Practitioner (private practice), in Didsbury, AB, Canada, and in Calgary, AB,
    Canada, 06/1993 to 04/1997
•   Trauma ICU/Cardiovascular-Surgical ICU Duty Physician at Rockyview General Hospital,
    Holy Cross Hospital, and Foothills Provincial General Hospital, 08/1994 to 03/1997
•   Sub-contract Physician for Calgary Remand Center, Calgary Correctional Institution, and
    Calgary Young Offenders Centre, 1994-1997
•   Graduate Teaching Assistant, Dept. of Anatomy and Physiology, Faculty of Medicine,
    University of Calgary, 1986-87
•   Mathematics and Chemistry teacher, Alternative High School, Calgary Public Board of
    Education, Calgary, Canada, 1987-88
•   Principal, Westlock Christian School, Westlock, Alberta, Canada, 1983-84
•   Vice-Principal, Ft. Saskatchewan Christian School, Ft. Sask., Alberta, Canada, 1980-83
•   Chemistry and Biology Teacher, Ft. Assiniboine School, Barrhead, Alberta, Canada, 1977-
    80

    Private Practice History
•   Operation of Anahata Wellness Center PLLC, a wellness clinic offering services in weight
    loss programs, neutraceutical therapy, bioidentical hormone replacement therapy, and
    medical aesthetics; 2014 to present.
        o Big Lake, TX, 09/2014 - 09/2016
        o Kingsville, TX, 11/2019 - present
        o Mequon, WI, 08/2019-08/2020
        o Abilene, TX, 12/2020 - present
•   Operation of solo private practice clinic in Calgary, Alberta, Canada, 01/1994-04/1997

    Board Certifications
•   Diplomate, American Board of Family Medicine, 1998 to present
•   Fellow (FCFP), College of Family Physicians of Canada, 2004 to present
•   Certificant (CCFP), College of Family Physicians of Canada, 1993 to 2004
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 215 of 465




    Scholarships & Awards

•   Named a Fellow of the College of Family of Physicians of Canada, 2004
•   Ripon Public Schools Friend of Education Award; for my twice yearly lectures to Ripon
    High School Students on the topics of STDs and Teen Pregnancy, 2003
•   Alberta Heritage Trust Fund Studentship in Medical Research, 1986-88; for academic
    merit
•   Calgary Co-op Scholarship, 1985; for academic merit


    Committees, Appointments, and Elected Offices

•   2016-present: Member, Medical Executive Committee, Christus Spohn Alice Hospital,
    Alice, TX
•   2014-15: Chief of Medical Staff, Reagan Memorial Hospital, Big Lake, TX
•   2010-11: Chief of Medical Staff, Riverside Medical Center, Waupaca, WI
•   2008 to 2011: Medical Officer and SWAT Team member, Waupaca WI County Sheriff’s
    Department
•   Member, Wisconsin Sports Concussion Collaborative, 2005-2011
•   1997 to 2011: Head Team Physician, Ripon College Athletic Department, Ripon,
    Wisconsin
•   2001 to 2011: Medical Liaison Officer, City of Ripon WI Police Department
•   2000 to 2003: Medical Director, Ripon College
•   1999 – 2002: Director, Ripon Area Service Center, a non-profit organization dedicated
    to the provision of safe residential and workplace environments for mentally
    handicapped persons
•   1999 - 2001: Chief of Medical Staff, Ripon Medical Center, Ripon, Wisconsin
•   1995-97: Chairman, Fee-for-Comprehensive-Care Working Group, Alberta Medical
    Association; this committee was the key working group researching and developing
    strategies for implementation of physician remuneration systems for Canadian
    Physicians during this time period; our work was under national scrutiny. Two of the
    papers we generated have been widely read and cited in Canadian and international
    health policy and economics.
•   1995-96: Member, College of Physicians and Surgeons of Alberta Advisory Committee
    on Communications; jointly responsible for developing a communications strategy for
    promoting the medical profession to the public.
•   1995: Delegate, from Alberta Medical Association, to the regular meetings of a national
    ad hoc committee of the Canadian Medical Association to discuss physician
    remuneration models; Ottawa, Ontario.
•   1994-95: Member, Alberta Medical Association Task Force on Alternative Remuneration
    Methods in Primary Care (ARMPC). Predecessor committee to the FCC Working Group,
    described above.
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 216 of 465




•   1994-95: Member, Organization Committee of the Calgary Regional Medical Staff
    Association.
•   1993: Chief Negotiator, Professional Association of Interns and Residents of Alberta
    (PAIRA); responsible for salary negotiations for all post-graduate medical trainees in the
    province.
•   1991-93: Treasurer, PAIRA; responsible for association’s annual budget of $250,000.
•   1991-93: PAIRA representative to College of Physicians and Surgeons of Alberta
    Committee on Professional Education.
•   1990-91: Graduating President of the Class of 1991, University of Calgary Medical
    School.
•   1989-91: Student representative, Alberta Medical Association’s Committee on
    Intraoperative and Anaesthetic Deaths.


    Memberships

•   Citizens Hospital Medical Staff, Victoria, TX, 2018-present
•   St. Francis Hospital Medical Staff, Grand Island, NE, 2018-present
•   Christus Spohn Hospital System Medical Staff at Alice, Beeville, and Kleburg campuses,
    September 2016 to present
•   Reeves County Hospital Medical Staff, Pecos, TX, 2015-present
•   Shawano Medical Center Medical Staff, Shawano, WI, 2019-20
•   Reagan County Memorial Hospital Medical Staff, 2011 to 2016
•   Shannon Clinic Medical Staff, 2011 to 2016.
•   Texas Medical Association 2012 to present.
•   Riverside Medical Center Medical Staff, 2005 to 2011
•   Wisconsin Sports Concussion Collaborative, 2005 to 2011
•   International Association of Law Enforcement Firearms Instructors, 2006 to present
•   International Law Enforcement Educator and Trainers Association, 2007 to present
•   Association of Emergency Physicians, 2003 to present
•   Riverview Hospital Medical Staff, 2003 to 2006
•   American College of Sports Medicine, 2000 to present
•   American Society for Law Enforcement Training, 1999 to 2005
•   State Medical Society of Wisconsin, 1997 to 2011
•   College of Family Physicians of Canada, 1991 to present.
•   Berlin Memorial Hospital Medical Staff, 1997 to 2004
•   Ripon Medical Center Medical Staff, 1997 to 2011
•   Canadian Medical Association, 1988-97
•   Alberta Medical Association, 1988-97
•   Rockyview General Hospital Medical Staff, 1994-97
•   Foothills Provincial General Hospital Medical Staff, 1994-97
•   Calgary General Hospital Medical Staff, 1994-97
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 217 of 465




•   Grace Hospital for Women Medical Staff, 1994-96
•   Didsbury General Hospital Medical Staff, 1993-1995
•   Edmonton English Springer Spaniel Club, 1991-1993
•   Calgary English Springer Spaniel Training Club, 1988-1995



    Lectures and Conferences (selected)

•   06/2018: Speaker/Instructor at the Annual Training Conference of the International
    Association of Law Enforcement Firearms Instructors (IALEFI), Houston, TX
•   01/2017: Speaker, National Forensic Examiners Conference, Nashville TN
•   06/2010: Speaker/instructor at the Annual Training Conference of the International
    Association of Law Enforcement Firearms Instructors (IALEFI), San Antonio, TX
•   04/2009: Speaker/instructor at the Annual Training Conference of the International Law
    Enforcement Educators and Trainers Association (ILEETA), Wheeling, IL
•   06/2009: Speaker/instructor at the Annual Training Conference of the International
    Association of Law Enforcement Firearms Instructors (IALEFI), West Palm Beach, FL
•   04/2008: Speaker/instructor at the Annual Training Conference of the International Law
    Enforcement Educators and Trainers Association (ILEETA), Wheeling, IL
•   06/2008: Speaker/instructor at the Annual Training Conference of the International
    Association of Law Enforcement Firearms Instructors (IALEFI), Reno, NV
•   04/2007: Speaker/instructor at the Annual Training Conference of the International Law
    Enforcement Educators and Trainers Association (ILEETA), Wheeling, IL
•   05/2007: Keynote Speaker to the General Assembly at the Annual Training Conference
    of the International Association of Law Enforcement Firearms Instructors (IALEFI), San
    Antonio, TX
•   06/2006: Speaker, “Proven & Practical Techniques for Training Patrol Officers in Three-
    Dimensional Target Visualization”, at IALEFI Annual Training Conference, West Palm
    Beach, FL
•   01/2006: Speaker, “Proven & Practical Techniques for Training Patrol Officers in Three-
    Dimensional Target Visualization”, and Member, ‘Panel of Firearms Experts’, at the
    International Meeting of the American Society of Law Enforcement Trainers (ASLET),
    Albuquerque, NM
•   01/2005: Speaker, “Three Dimensional Target Visualization as a Technique for Law
    Enforcement Firearms Training, and Member, ‘Panel of Firearms Experts’, at the
    International Meeting of ASLET, Jacksonville, FL
•   01/2004: Speaker, “Tactical Anatomy: A Firearms Training Model for Law Enforcement
    Officers”, at the International Annual meeting of ASLET, St. Louis, MO
•   2004: Member of Panel of Experts in Firearms at International Annual meeting of
    ASLET, St. Louis, MO
•   04/2003: Lecturer & Instructor, "Tactical Anatomy: A Medical Overview of Gunshot
    Wounds for Police", given at several locations, including Chapman Firearms Academy,
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 218 of 465




    Columbia, MO, and Ripon City Police Dept, Ripon WI
•   072002: Guest Lecturer, as above, at LFI’s Level One course for civilians, given at Port
    Washington, WI
•   07/2001: Guest Lecturer; “Tactical Anatomy: A Medical Overview of Gunshot Wounds”;
    given at Ripon, WI, for LFI Level One course for civilians. (LFI is a training organization
    recognized by the American Society for Law Enforcement Training, International Law
    Enforcement Educators and Trainers Association)
•   12/1998, Conference attendee and panel member at Medical College of Wisconsin
    Conference on Firearms Injury Prevention, December 1998, Milwaukee, WI
•   03/1995, Chairman, “Family Practice Update at Kananaskis”
•   1993 – 2004: Attendee at Continuing Medical Education conferences totaling at least 50
    hours per year, thereby earning status in 2004 as a Fellow of the College of Family
    Physicians of Canada.


    Expert Witness Reports/Testimony

•   Richard Glossip v. Randy Chandler et al. (State of Oklahoma Department of Corrections),
    provided expert report, and advice, and was deposed in this case in 2021; I testified as
    an expert at trial in March, 2022.
•   Floyd v. Daniels, et al. (State of Nevada Department of Corrections), provided expert
    report, advice, and testified as expert at trial in November, 2021.
•   Cleveland Jackson v. State of Ohio, 2019; Provided expert report and advice to and on
    behalf of Federal Defenders Office, Columbus, Ohio, 2019-2020.
•   McGehee v. Hutchinson, No. 17-cv-179 (E.D. Ark.) (State of Arkansas) 2019; provided
    expert report, advice, deposition and court testimony on behalf of Federal Defenders
    Office, Little Rock, AR.
•   Danny Bible v. State of Texas, 2017; provided expert report and advice to Federal
    Defenders Office, Austin, TX.
•   J.W. Ledford v. State of Georgia, 2017; provided expert report and advice to Federal
    Defenders Office, Atlanta, GA.


    References

    Available upon request.
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 219 of 465




                         APPENDIX B
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 220 of 465

               00    GENERAL PROVISIONS

      01/01.   O1    Purpose of Technical Manual
TME   01/01.   O02   Cross Reference
TME   01/01.   03    Policy
TME   01/01.   04    Definitions




REVISED   06/10/10                                 TMF   01/01   -




                                                                     pg.1




                                                                            GLOSSIP000092
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 221 of 465




                                                                     GLOSSIP000093
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 222 of 465


TMF   01/01.00   GENERAL PROVISIONS

TMF   01/01.01   Purpose    of Technical Manual

                 A,   The purpose of this Technical Manual is to
                      provide the Department's policies, procedures
                      and post orders for planning and carrying out
                      the sentence for the execution of a person
                      convicted of a capital offense.

                      This chapter shall         include    policies      and
                      procedures related         to:

                      1.      planning    and   preparation;
                      2.      execution of the sentence;

                      3.      post-execution requirements          and process;

                      4,      security    and control;

                      5.      witnesses and official visitors

                      6.      news   media    access   limitations and
                              briefing;
                      7.      delays, stays,      and commutations;

                      8.      support    services functions;

                      9.      briefing    and   training;   and

                      10.     documentation,      review and audit.

                      Post orders are included for the staff and
                      others involved in the execution planning,
                      implementation, documentation and review.
TMF   01/01.02   Cross Reference

                 A.   Department      Policies and Procedures Manuals

                      AGrO5     Media Relations
                                Inmate    Property
                      Other   Authority
                      UCA 77-19-6            Judgement of death-Warrant-
                                             Delivery of warrant-
                                          Determination of execution
                                          time.


REVISED   06/10/10                                          TMF   01/01    -




                                                                                pg.2


                                                                                       GLOSSIP000094
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 223 of 465


                        UCA 77-19-10         Judgement of death-Location
                                             and procedures for execution.
                        UCA 77-19-11         Who      may be present-
                                             Photographic            and    recording
                                             equipment.
                        UCA 77-19-12         Return         upon death warrant.
                        UCA 26-4-6           Investigation         of deaths by
                                             county         attorney-Requests for
                                             autopsies.
                        UCA 26-4-7           Deaths over which medical
                                             examiner has jurisdiction.
                        BPPPM 3.12           Commutation Hearings for Death
                                             Penaity         Cases

TMF   01/01.03   Policy
                 It   is the   policy     of the      Department          that:

                        execution of persons sentenced to death under
                 n

                 A.

                        Utah law by a court of competent authority
                        and jurisdiction be carried out in the
                        legally prescribed            manner;

                       the     Department shall            make    every effort in the
                       planning     and   preparation             of the execution
                       event to     ensure      that the execution process:

                       1.      adheres to the intent of the law;

                       2.      is handled in          a   manner     which minimizes
                               negative impact on the safety, security
                               and operational integrity of the prison;

                       3.      accommodates the need for                  public        access
                               to information             concerning      the event;

                       4,      reasonably addresses the privacy
                               interests of those persons for whom the
                               law, Department          policy or commonly-held
                               principles       of    decency require such
                               privacy;
                       5.      provides sufficient staffing to                      ensure
                               that unplanned problems can be
                               accommodated and overcome;

                       6.      prepares for          stays   of    execution,
                               commutations and other               delays        in the
                               execution count-down;

                       7,      provides    an   opportunity          for interested
                               persons    to exercise         their First

REVISED   06/10/10                                                  TMF    01/01    -




                                                                                         pg.3



                                                                                             GLOSSIP000095
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 224 of 465



                            Amendment rights to demonstrate                   for or
                            against capital punishment in a                   lawful
                            manner;

                            ensures a firm and adequate response to
                            unlawful civil disobedience, trespass,
                            or other violations of the law
                                                           by
                            persons    attempting         to   disrupt, prevent
                            or other-wise frustrate the lawful
                            process associated with the execution;
                            and

                            anticipates    and provides for sufficient
                            support    needs for the execution and the
                            prison    as    a    whole;

                      theDepartment         shall arrest and           encourage the
                     prosecution of         persons,      including      but not
                      limited to, those who:

                      1.    violate 77-19-11 UCA prohibitions
                            against filming, taping, sketching,
                            broadcasting or otherwise electronically
                            documenting the death of the condemned;
                            trespass or otherwise enter upon prison

                            property without proper permission and
                            clearance from the Department;

                            participate          in unlawful        demonstrations;

                            unlawfully attempt to              or   disrupt,
                            prevent    or       otherwise interfere with the
                            execution;

                            being inmates, are involved in
                            disruptive, assaultive or other
                            proscribed behavior; or
                            unlawfully threaten,           intimidate         or
                            terrorize persons involved in the
                            execution process;

                     staff involved in the execution make every
                     effort within the requirements and limits of
                     these polices and procedures and the laws of
                     the State of Utah to:

                     1.     minimize the anxiety and negative impact
                            of the execution on the victim’s and
                            inmate’s family and friends witnessing
                            the   execution;

REVISED   06/10/10                                             TMF    01/01   -




                                                                                       GLOSSIP000096
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 225 of 465



                       2.    display appropriate levels of
                             professionalism, restraint, and courtesy
                             in interaction with witnesses,
                             demonstrators, news media, and other
                             non-staff persons during the execution
                             process; and

                                 permit interactions, emotion or



                       Qo
                             not
                             intimidation to prevent their proper
                             handling of missions and duties;
                       the Department review        the    adequacy   and/or the
                       performance of:
                       1.    the   policies   and   procedures employed;
                       2     the Department staff members involved                   in
                             the execution;

                       3.   members of allied agencies            assisting
                            with the execution; and

                       4,    statutes   and other     authority impacting
                                                          the execution;      and


                 EF.   the evaluation of each execution event be
                       used to improve operational procedures for
                       the future.




                 allied agency           refers to another criminal
                                         justice agency

                 Attorney   General's    staff at the Attorney
                 Office                  General's Office or any
                                         designated        contract attorney
                                         approved     to    carry out the
                                         responsibilities described in
                                         this technical manual

                 attorney   of record    the condemned inmate's
                                         attorney and other assisting
                                         legal personnel




REVISED   06/10/10                                          TMF   01/01   ~




                                                                              pg.5


                                                                                    GLOSSIP000097
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 226 of 465



                 broadcast media            refers to radio and television
                                            media

                     civilians              any person    not a member       of the
                                            Department,    allied law
                                            enforcement agency,      nor     mutual
                                            aid agencies




                 Command Post               the member who is assigned to
                 Director                   supervise the command post
                                            functions and activities

                 commutation                the change from a greater to            a
                                            lesser punishment after
                                            conviction




                 drug injection             box or boxes each of which
                 box                        shall contain one complete
                                            set-up for lethal injection;
                                            with or without drugs

                 execution       building   refers to the   area

                                                             containing       the
                                            execution chamber

                 execution                  the immediate enclosed areas
                 chamber                    containing the condemned at
                                            the moment of execution




REVISED   06/10/10                                         TMF   01/01   -




                                                                             pg.6

                                                                                GLOSSIP000098
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 227 of 465




                mutual aid              agencies or personnel that
                                        provide medical, fire
                                        suppression, and other support
                                        services to the             Draper   site

                news    magazines       magazines having a national
                                        circulation being sold by news
                                        stands to the general public
                                        and    by     mail circulation

                news    media           collectively          refers to those
                                        involved with news gathering
                                        for newspapers, news
                                        magazines, radio, television
                                        mae   mar      martrianas
                                        Wee   siTwa    OL VLALOCS


                 news   media members   persons        over   the age of
                                        eighteen        who   are    primarily
                                        employed        in the business of
                                        gathering        or   reporting      news
                                        for    newspapers,          news

                                        magazines, national or
                                        international new services or
                                        radio or television stations
                                        licensed by the Federal
                                        Communications Commission

                 newspaper              for    purposes       of this      chapter,
                                        the    publication:
REVISED   06/10/10                                            TMF   01/01    ~




                                                                                 pg.7



                                                                                    GLOSSIP000099
 Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 228 of 465




                                       1.     circulates among the
                                              general public;
                                       2.     publishes legal notices
                                              in the community in which
                                              it is located     or    the   area
                                              to which it     distributes;
                                              and

                                       3.     contains items of general
                                              interest to the public
                                              such as political,
                                              commercial,     religious        or
                                              social affairs




                 pardon                anact of grace by an
                                      appropriate authority
                                      exempting a person from
                                      punishment for a crime
                 press                refers to the print media;
                                      also see "news media",
                                      generally
                 reprieve             the temporary       suspension      of
                                      the execution

                 respite              see    "reprieve"




                 security             the curtains which cover the
                 curtains             viewing room windows in the
                                      executionchamber

                 Warden               warden    assigned     to the   Draper
                                      site

                 witness    viewing   the    areas   from which the
REVISED   06/10/10                                     TMF   01/01    -



                                                                          pg.8


                                                                                 GLOSSIP000100
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 229 of 465


                 area                 execution is viewed by
                                      government witnesses, inmate's
                                      witnesses and   news   media
                                      witnesses




REVISED   06/10/10                                  TMF   01/01   -




                                                                      pg.9




                                                                         GLOSSIP000101
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 230 of 465




TMF   01/02. 00   PRE-EXECUTION CHECKLIST

TMF   01/02 OL    General Provisions
      01/02       Prior to    Receiving
                                     Death Warrant
TMF   01/02. 03   Receipt  of Death Warrant to         Thirty Days      Prior to
                  Execution
TME   01/02       TIwenty-Nine   to Fourteen    Days    Prior to the
                  Execution
TMF   01/02 -05   Thirteen to Seven       Days Prior to Execution
      01/02. 06   Six to Three Days       Prior to Execution
TME   01/02. 07




REVISED   06/10/10                                        TMF   01/02     -




                                                                                   GLOSSIP000102
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 231 of 465




TMF   01/02.00   PRE-EXECUTION CHECKLIST

TMF   01/02.0    General Provisions

                 A.   Purpose    of        Chapter
                      1.   The         of this chapter is to
                                  purpose
                           provide   checklist of procedures and
                                             a
                           events which should occur between the
                                   of the death warrant and 24
                                                 rt

                      2.   Full detail will not be provided for
                           each procedure or event in this chapter.
                            For detail, reference will be made to
                           Chapter TMF 01/05 and other chapters
                           where such detail may be found.

                      3.   This    chapter will be divided                  to cover
                           the    following time periods:
                           a.     prior          to    the death warrant          being
                                      issued;

                           b.     issuing of death warrant                   to    30   days
                                  prior to the execution;
                                                       days prior
                                      Or




                                           4 to 29                   to the
                           Qa




                                           xecution;

                           d.     7 to 13             days prior    to the
                                  execution;

                           e.     3 to 6          days prior       to the    execution;
                                  and




                 B.   Policy
                      1.   It is the policy of the Department that
                           the count-down to the execution be
                           completed in a systematic manner to
                           ensure that all procedures and events
                           which are necessary in the preparation
                           of the execution are completed in a
                           timely          manner.




  VISED   06/10/10                                            TMF    01/02        -




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                                                                                          GLOSSIP000103
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 232 of 465



                      2.    °This count-down, though offering
                             flexible application, should be observed
                             and followed as written unless deviation
                             or adjustment is required for
                                                            carrying
                             out the execution.

                      3.      The Executive   Director/designee
                                                              may
                              direct deviation from or adjustment to
                              the policies and procedures in this
                              manual at any time when necessary for
                              the good of the Department's mission in
                              carrying out the execution. Approval
                              for the changes shall be documented in
                              writing.
TMF   01/02.02   Prior to   Receiving    Death Warrant

                 A,   Execution    Planning   Team

                      When it appears an execution is imminent,
                      prior to the issuing of the death warrant,
                      the Warden shall select an Execution Planning
                      Team. The Team mayinclude:

                      1.

                      2.




                      10.

                      11.




REVISED   06/10/10                                   TMF   01/02   -




                                                                       pg.12


                                                                          GLOSSIP000104
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 233 of 465



                      Involve Additional           Planning    Assistance

                      Other    persons who may be invited to attend                    on
                      a     meeting-by-meeting basis, include:
                      1.        a representative or representatives                from
                                the Attorney General's Office;

                      2.        a   representative       from the office of the
                                County Attorney      which    prosecuted the
                                condemned;

                      3.        a   representative       from the   Board    of
                                Pardons and Parole;

                      4,        representatives from the law enforcement
                                agencies which investigated the case
                                involving the condemned;
                                representatives from law enforcement and
                      on




                                other allied agencies who may be asked
                                to assist with various         aspects      of the
                                execution; and

                      6.        any other persons deemed necessary                or

                                appropriate by the         Executive
                                Director/designee,         DIO Director      or
                                Warden.

                      Develop Assignments
                           avalon   Restanmants:
                Q




                      When it is reasonable to believe a death
                      warrant will be issued in the near future,
                      the Execution           Planning
                                             Team and those
                      additional persons deemed              appropriate
                                                            shall
                      meet to:

                      1.        review the Execution Plan            (TMF 01);

                      2.       make   assignments        for the   pending
                                execution;

                      3.       develop    a    schedule of events;

                      4,        assign responsibilities related to
                                revision of the Execution Plan, if
                                needed; and

                      5.       take any other steps necessary to
                               prepare for the issuance of the

                                                             TMF    01/02    -




                                                                                       GLOSSIP000105
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 234 of 465




                               deathwarrant and       begin    the execution
                               count down.

                     D.   Identify    Possible Execution Dates

                          1.   The Execution Planning Team shall review
                               the Department's schedule of events and
                               identify favorable and unfavorable dates
                               within the period of time in which the
                               execution may be ordered.

                          2.   Information concerning the Department's
                               requests/concerns related to scheduling
                               shall be communicated to the Attorney
                               General's       Office to be communicated to
                               the    sentencing    court.



TMF   01/02.03   Receipt of Death Warrant to           Thirty Days         Prior to
                 Execution

                 Upon receipt        of
                                   death warrant from a competent
                                           a

                 court, the following procedures shall be initiated
                 and should be completed at least 30 days prior to
                 execution.

                 A.       Receipt    of Death Warrant

                          1.   Upon receipt      of the death warrant and             as
                               soon    practical thereafter, a meeting
                                          as
                               of the Execution Planning Team shall be
                               scheduled by the Warden.

                          2.   The Execution Planning Team shall then
                               coordinate the implementation of the
                               procedures set forth in this technical
                               manual under the direction of the
                               Warden.




                 B.       Time and Place of Execution

                          1.   Date

                               The date for the execution shall be that
                               day set by the      sentencing judge.

REVISED   06/10/10                                           TMF   01/02     -




                                                                                      GLOSSIP000106
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 235 of 465



                              Time

                              "The Department of Corrections shall
                              determine the hour, within the appointed
                              day, at which the judgment is executed."
                               77-19-6(3)

                              Location




                      Condemned Inmate's Choice of Witnesses
                Q




                              The condemned inmate shall be informed
                      to




                              that he may designate religious
                              representatives, friends, or relatives
                              not-exceeding a total of five in number
                              to witness    the execution.        77-19-11      (2)
                              (ad)UCA

                      2.      Refer to TMF    O1/07.

                      Disposition    of Personal       Property
                      1.      The inmate shall be contacted for
                              instructions concerning the disposition
                              of his personal property.

                      2.      Refer to TMF 01/05.06.

                      Disposition    of Funds in Inmate's Account

                      1.      The condemned shall be contacted for
                              instructions concerning the disposition
                              of the funds in any accounts controlled
                              or administered by the prison or

                              Department.
                      2.      Refer to TMF    01/05.06 and      TMF    01/05.07.

                      Organ    Donation

                      Organ donation is not       an   option     for condemned
                      inmates.

                      Disposition    of    Body
                                                                                           tn
                                                                                     pod




                                                         TMF   01/02      -




                                                                               pg.
                                                                              ec




                                                                                     GLOSSIP000107
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 236 of 465




                           The condemned shall be asked for
                           instructions concerning the        disposition
                           of his remains following the execution.

                     2.    Refer to TMF 01/05.08.

                     Designate   Persons   Required     to Assist with
                     Execution

                     1.    Those persons necessary to carry out the
                           execution shall be identified.

                           a.    The Executive    Director/designee,
                                 DIO Director or Warden shall be
                                 responsible for identifying,
                                 selecting and obtaining the
                                 services of the executioners.   See
                                 TMF 01/05.03 and TMF 01/05.04.

                           b.    The Public Affairs Director shall
                                 be responsible for coordinating the
                                 notification of the news media and
                                 selection of individual news media
                                 witnesses.  See TMF 01.08.02.

                           c.    The Warden shall be responsible for
                                 designating those persons necessary
                                 to carry out and support the
                                 execution.

                           Redundancy in assignment may be
                           developed for all vital or important
                           positions.  The Warden, DIO Director,
                           and Executive Director/designee shall
                           determine which positions require back-
                           up and shall ensure adequate coverage is
                           provided.
                           "Compensation for members of a firing
                           squad or persons administering
                           intravenous     injections    shall be in    an
                           amount determined     by
                                                the director of the
                           Division of Finance." 77-19-10 (4)UCA

                           a.    The Department shall       negotiate
                                                                with
                                 the executioners and Division of
                                 Finance the fee to be       paid
                                                            to the
                                 executioners.




REVISED   06/10/10                                    TMF   01/02   -




                                                                             GLOSSIP000108
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 237 of 465




                      Other    Approved      Witnesses

                              The Executive Director/designee shall
                              designate other approved witnesses as
                              outlined in TMF 01/07.03.

                      Contact with State Medical Examiner

                      1.   Contact shall be made withthe State
                           Medical Examiner to coordinate the
                           Medical Examiner's role.

                              The Medical Examiner shall be        requested
                              to   provide    direction   concerning:
                              a.     transfer of custody of the executed
                                     inmate from the Warden to the
                                     Medical Examiner;




                           Refer to TMF 01/04.




                     Support       Services

                     1.    The Support Services Deputy Warden
                           coordinates the functions of Support
                           Services Section Personnel.

                           Support Services units shall             include,
                           but not be limited to:



                                                                            pg.17
    am        fa

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Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 238 of 465




                             a.        the Food Services Unit          (See TMF
                                       01/05.19); and
                             b.        the Maintenance Unit          (See TMF
                                       01/05.18).
                 L.   The Correctional Medical Administrator
                       coordinates functions of the Medical Unit
                       personnel. (See TMF 01/05.18)
                       Brief Prison Administrators

                       1.    It is necessary to maintain as nearly as
                             possible a normal prison operation
                             during the execution and the activities
                             preceding and following the execution.
                             Prison administrators should be briefed
                             as appropriate on plans for the

                             execution, restrictions on access, crowd
                             control, additional security procedures,
                             etc., on an on-going basis.

                             Briefings should begin as soon as plans
                             begin to evolve which will effect the
                             general prison operation, and should
                             continue until the operation returns to
                             normal.


TMF   01/02.04   Twenty~Nine      to   Fourteen   Days   Prior to the
                 Execution

                 A.   Witnesses

                       1.    The Executive        Director/designee
                                                             shall
                             develop a final list of witnesses
                             consistent with the requirements of 77-
                             19-11 (2) and (3) UCA.

                             Any changes      to the   Government witness
                             list shall be        approved by the Executive
                             Director.

                             Each witness shall be            required to sign
                             an   agreement prior        to   being cleared and
                             added to the witness list.




REVISED   06/10/10                                            TMF   01/02   ~




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Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 239 of 465



                      4,    The Executive Director may make
                            additions to the witness list when
                            necessary.
                      5.   Refer to TMF 01/05.05.

                 B.   News Media

                           Witness requests      shall be received and
                           processed by the      Public Affairs Office
                                                          na   Ing




                      2.   Alternate coverage/accommodations for
                           members of the press selected to be
                           present at alternate site shall be
                           handled consistent with TMF 01/08.03.

                 on   Inmate   Property    and Accounts

                      1.   Finalize arrangements for disposition of
                           the condemned inmate's property and
                           accounts 14 days prior to execution.

                      2.   Refer to TMF 01/05.06 and TMF 01/05.07.

                 D.   Disposition    of   Body
                      1.   Finalize, if possible,         decision
                           concerning disposition         of the       body.
                      2.   Refer to TMF      01/05.08.

                 E.   Selection of Executioners

                      1.   Finalize the selection of executioners
                           and their back-ups.

                      2.   Refer to TMF 01/05.03 and TMF 01/05.04.




                 F.   Medical/Medical Examiner

                           Finalize arrangements for a           physician
                           consistent with 77-19-10UCA.
                                                                                     pend




REVISED   06/10/10                                   TMF       01/02           pg.




                                                                                      GLOSSIP000111
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 240 of 465




                      3.      Refer to TMF      01/05.08.

                      Practices and Rehearsals

                      1.      Initiate practice sessions for persons
                              involved in the various parts of the
                              execution event.

                      2.      Not all of the         persons involved will
                              practice together. Individual teams
                              will practice as units, with inter-team
                              practices scheduled, as necessary.

TMF   01/02.05   Thirteen to Seven to         Days    Prior to Execution

                 A.   Inmate    Property/Accounts
                      All    paperwork    disposition of property and
                                         on
                      accounts    should be completed at least seven
                      days    prior to the execution.
                      Disposition of Body
                      All paperwork should be completed at               least
                      seven days prior to the execution.


                      Food Services

                      1.     At least seven days         prior
                                                       to execution,
                             contact the condemned inmate to arrange
                             last meal.  TMF 01/05.18.

                      2.     Determine with the Warden, Draper Site
                             Security Deputy Warden, and Public
                             Affairs Director what beverage and food
                             service will be needed at the various
                             locations where staff will be working.

                      Purchase of Substances to Be Used in Lethal
                      Injection
                      1.     Purchase substances to be used in the
                             execution.

                      2.     Refer to TMF       01/05.11.
                      Support    Services




REVISED   06/10/10                                         TMF   01/02   -




                                                                             pg. 20


                                                                                 GLOSSIP000112
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 241 of 465



                      Finalize all arrangements involving the
                      Support Services assistance with the Support

                      Finalize        all     arrangements involving      the
                      Medical Section assistance with the
                      Correctional Medical Administrator.

                      Allied     Agencies



TMF   01/02.06   Six to Three         Days    Prior to Execution

                 A.   Witnesses

                      1.   All
                                 ft
                                       witness    agreements    should be    signed.
                           a.           Copies    shall be   provided   to the:


                                        (1)     Command Post Director;       and

                                        (2)     Auditor-in-Charge.
                           b.           Persons    refusing to sign agreements
                                        shall not be    permitted to attend.
                      2,   Exceptions to the time requirements will
                           permit delayed signing of agreements for
                           witnesses coming in from out-of-state.

                      Brief Allied            Agencies
                      1.   Members of allied agencies who have not
                           participated in practice sessions or
                           have not otherwise been briefed
                           previously, shall be briefed and their
                           post         or    responsibilities expiained.
                      2.    Briefings will include a detailed review
                            of the individual's post order.

                 C.   Inmate     Property        and Accounts

                      1.    Complete           all unfinished    paperwork       and
                            arrangements.
                      2.    If the condemned fails to cooperate in
                            these arrangements, he shall be notified

                                                                  01/02      -




                                                                                       GLOSSIP000113
 Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 242 of 465




                             that the    property   and   money will be
                             disposed    according
                                         of               to   state   law,   and
                             Department policy.
                      Executioners

                      The   Warden    shall:

                      1.




                      2.     ensure   completion of all arrangements
                             necessary for   security of executioners
                             and   protection of their identities.
                      Equipment Check/Inventory



                      2,    Refer to TMF       01/05.10(Firing Squad)         and
                            01/10.09 (Lethal Injection).


TMF   01/02.07

                      Observation Period

                      1.




                      3.    Refer to TMF 01/05.12.

                      Meeting   of Execution     Planning      Team

                      The Team shall meet to examine preparation
                      for the execution.  The checklists shall be
                      reviewed and immediate assignments made to
                      bring all items current with the schedule of
                      events.



REVISED   06/10/10                                     TMF     01/02




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Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 243 of 465



                          Refer to TMF 01/02       pre-execution
                                                           checklist
                          Refer to TMF 01/03 execution checklist
                          Refer to TMF 01/04 post execution procedure

                    C.    Review of    Procedures
                          Conduct final review of          procedures.
                    D.    Arrangements     for    Pickup   of Executioners

                          4ie




                          Food Services
                    cl




                          1.    Verify   last meal     preparation.
                          2.    Verify beverage/food preparations                    for
                                working teams.
                          Communications

                          1.    Verifyinstallation of and test
                                communications equipment for:

                                a.


                                b,

                                Cc.     Information Center.

                          2.    Refer to TMF       01/05.10.

                     G.   Contact     Support Agencies
                          1,    Contact:

                                a.      the   Attorney General's Office;

                                bd.     the State Medical Examiner's
                                        Office;
                                                                                             m
                                                                                             QO
                                                                           co
                                                                                fO
                                                                      Cc




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                                                                 ej
                                                               und




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Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 244 of 465




                           Cc.     allied law enforcement    agencies;
                                   and

                           d.      the Governor's Office.

                      2.   Verify that each agency fully
                           understands its role and is prepared to
                           complete tasks.
                 H.   Equipment   Check

                           Complete pre-execution inventory        and
                           equipment check.
                      2.   All    systems   should be tested.




REVISED   06/10/10                                   TMF   01/02   ~




                                                                         GLOSSIP000116
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 245 of 465


TME   01/03. 00   EXECUTION CHECKLIST

TME   01/03. OL   General Provisions
TMF   01/03. 02
TMF   61/03.
TME   01/03.
TMF   02/03. Ve



TMF   01/03. 06




REVISED   06/10/10                                TMF   01/03   -




                                                                     GLOSSIP000117
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 246 of 465


TMF   01/03.00   EXECUTION CHECKLIST

TME   01/03.01   General Provisions

                 A.   Purpose    of   Chapter
                      1.   The purpose of this chapter is to
                           provide a checklist of procedures and
                           events which should occur



                           Full detail will not be provided for
                           each procedure or event in this chapter.
                            For detail, reference will be made to
                           Chapter TMF 01/05 and other chapters
                           where such detail may be found.

                      Policy
                      1.   Tt is the policy of the Department that
                           the count~down to the execution be
                           completed in a systematic manner to
                           ensure that all procedures and events
                           which are necessary to carry out the
                           execution are completed in a carefully
                           coordinated manner.

                           The    execution shall be carried out ina
                           manner    consistent with state law.

TMF   01/03.02




                           Refer to TMF 01/05.12.




REVISED   06/10/10                                TMF   01/03   —




                                                                     GLOSSIP000118
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 247 of 465




                      2.   Refer to TMF   01/05.12.

                      Inmate Communication




                 Q
                      1.




                      2,




                      3,




                      4,   Refer to TMF 01/05.12

                      Food Services

                      1.   The   Warden/designee  shall contact the
                           condemned to make    arrangements for the
                           final three meals.

                      2.   The final meal shall be served.

                           Refer to TMF 01/05.18.




REVISED   06/10/19                                 TMF   01/03.   ~




                                                                      pg.27


                                                                         GLOSSIP000119
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 248 of 465




                      2.      Refer to TMF     01/03.03 and   TMF    01/05.08.

                      Equipment    Check

                      1.




                              Refer to TMF 01/05.10 and TMF 01/05.11.

TMF   01/03.03

                 A.   Final    Briefing
                      1.



                              The final briefing shall be attended by
                              the Executive     Director/designee,
                                                               DIO
                              Director, Warden, special teams and
                              other persons specified by the Executive
                              Director or Warden.  The Warden shall
                              conduct the meeting, with the Executive
                              Director/designee and DIO Director
                              providing policy decisions, as needed.
                              During   the   briefing, participants        shall:

                              a.   identify problems, develop
                                   solutions and specify time lines
                                   and approve modified policy
                                   changes;
REVISED   06/10/10                                    TMF   01/03.     -




                                                                           pg. 28

                                                                               GLOSSIP000120
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 249 of 465



                           b.    provide     status   reports;
                                 coordinate       support   services
                                 involvement; and

                           d.    conduct final review of count down
                                 procedures
                 B.   Food Services

                      1.   Tne condemned shall be fed at
                           specifiedtimec
                      2.




                      3    Refer to TMF 01/05.18

                 C.   Visits

                      1,




                      2.




                      Restricting   Access   to   Prison    Property
                      1.



                           a.




                           c.


                           d.



                           e,




                      2.



REVISED   06/10/10                                    TMF   01/03      -




                                                                           pg.29


                                                                              GLOSSIP000121
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 250 of 465




                 E.




TMF   01/03.04

                 A.




REVISED   06/10/10                                TMF   01/03   ~




                                                                    pg. 30


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Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 251 of 465




                           or




REVISED   06/10/10                                TMF   01/03.   -




                                                                     pg.31


                                                                        GLOSSIP000123
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 252 of 465




                 B.

                      1.




                      2.




TMF   01/03.05

                 A.   Pre-Execution Procedures

                           The Warden shall ensure that all count-
                           down procedures for all required
                           activities and actions are completed.

                      2.   Immediate action to      complete any
                           unfinished required      procedures shall     be
                           initiated.

                 B.   Execution Site Teams Assemble

                      1.




                      2.   The Tie-~Down Teams and their back-ups
                           will be positioned to await escort of
                           the condemned to the execution chamber.



                      Contact with the   Attorney    General's Office




REVISED   06/10/10                                  TMF   01/03.   -




                                                                       pg.32


                                                                           GLOSSIP000124
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 253 of 465




                            a.




                                 (2)




                      2.




                      3.




                           a.




                           b,




                      4,




REVISED   06/10/10                                TMF   01/03.   -




                                                                     GLOSSIP000125
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 254 of 465




TMF   01/03.06

                     Communications with      Attorney      General's Office

                     Refer to TMF      01/03.05,C,    above.

                     Final Sequence      of Events:       Preparation
                      1.   Bringing    Condemned Inmate to Execution
                           Chamber

                           The condemned inmate shall be:

                           a.    removed from the observation cell
                                 by the Tie-Down Team;

                           b.
                                          dressed in a clean jump
                                 suit (the color of the jump suit
                                 will be at the discretion of the
                                 Warden);

                           Cc.




                           ad.   escorted to the execution chamber.

                           Tie-Down Procedures


                                                           the condemned
                           shall be tied down        as   explained     in TMF
                           01/05.13(lethal injection)           or    TMF
                           01/05.14(firing squad).
                           Prepare     Condemned Inmate for Fxecution

                           The condemned shall be readied for
                           execution:

                           a.    if lethal injection, by completing
                                 the I.V. set-up procedure (See TMF
                                 01/05.15);    or


                           b.    1f  firing squad, by completing             the
                                 firing squad set-up procedures               (See
                                 TMF    01/05.16).

                           Admit Witnesses



REVISED   06/10/10                                    TMF    01/03.     ~




                                                                            pg. 34


                                                                                 GLOSSIP000126
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 255 of 465


                            a.    Witnesses shall be admitted and
                                  escorted to assigned viewing areas.

                           b.     The government witnesses shali
                                  enter first and shall be escorted
                                  to the    government   witness       area.
                                  The escort shali       remain   with the
                                  witnesses.

                            Cc.   Following    the   government witnesses,
                                  the authorized witnesses invited by
                                  the condemned, and the victim’s
                                  witnesses shall be admitted and
                                  escorted to the designated witness
                                  area.


                                  (1)     T£ any of the condemned
                                          inmate's invited witnesses, or
                                          the victim’s witnesses wish to
                                          be on-site but not actually
                                          witness the execution,
                                          accommodations may be made for
                                          them.

                                  (2)     The escort officers shall
                                          remain with the condemned
                                          inmate's witnesses and the
                                          victim’s witnesses.

                           d.     The last witnesses to be admitted
                                  shail be the news media
                                  representatives.
                                  (1)     The members of the news media
                                          selected to witness the
                                          execution shall be escorted to
                                          the designated witness room.
                                          They shall be separate from
                                          the condemned inmate's
                                          witnesses and the victim’s
                                          witnesses.  Escort officers
                                          shall remain with the news
                                          media witnesses and ensure
                                          their separation from the
                                          other visitors while at the
                                          execution site.

                                  {2)     The two pool photographers
                                          shall be escorted to a
                                          designated   site, away from,
                                          and out of sight of,         the
                                          execution chamber.          They   shall

REVISED   06/10/10                                     TMF   01/03.     -




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                                                                                GLOSSIP000127
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 256 of 465


                                          be secured inside the
                                          designated site until after
                                          the execution and until such
                                          time that they are allowed to
                                          film the cleaned up execution
                                          chamber.

                     Final    Sequence    of Events:    Execution

                     1,      Staff Witness

                             a.   Staff participating in the
                                  preparation for the execution shall
                                  exit the execution site.


                             oy
                                  Staff members       remaining
                                                          to
                                  participate in and observe the
                                  execution shall include the:

                                  (1)     Executive    Director/designee;
                                  (2)     Executive Director's        back-up;
                                  (3)     DIO   Director;

                                  (4)     Warden;

                                  (5)     Executioners;

                                  (6)     Escort    Officers; and

                                  (7)     other staff as      designated by
                                          the Executive
                                          Director/designee,      DIO
                                          Director,    or   Warden.

                             Count-Down

                             a.   At the    designated
                                                    hour mandated for
                                  the execution, when         everything
                                                                 is
                                  ready, the phone communication
                                  shall be terminated and the
                                  Executive      Director/designee
                                                              shall
                                  instruct the Warden to proceed with
                                  the execution.

                                  The Warden and DIO Director shall
                                  pull open the curtains covering the
                                  witness room windows.




REVISED   06/10/10                                     TMF   01/03      -




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Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 257 of 465


                                 The Warden shall ask the condemned
                                 inmate if he has any last words or
                                 wishes to make a statement.

                                 (1)   The statement should not
                                       exceed two minutes.

                                 (2)   If the inmate uses foul
                                       language, the Warden should
                                       immediately proceed with tne
                                       next step in the execution
                                       procedure.
                                 (3)   If the statement exceeds two
                                       minutes, the execution shall
                                       proceed without         waiting
                                                               for
                                       the conclusion of his remarks.

                                       AUGdIiO

                                                              Department
                                                 recorait




                                       be used by the                      for
                                       the purpose of recording th
                                       defendant’s last words.   The
                                       Department shall permanently
                                       destroy the recording made
                                       under this subsection not
                                       later than 24 hours after the
                                       completion of the execution.




                                 The Executive       Director/designee
                                 shall instruct the executioners in
                                 the case of death by injection, or
                                 the firing squad leader in the case
                                 of a firing squad execution to
                                  roceed with the execution:
                                              beat      VAG




                                 (1)   upon receiving the        Warden’s
                                       signal to proceed;
                                 {2)   after     verifying
                                                       the earliest
                                       legal execution time has
                                       passed; and

                                 (3)   aif no instruction to halt has
                                       been received from the
                                       Attorney General's Office.

REVISED   06/10/10                                    TMF   01/03.   -




                                                                             GLOSSIP000129
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 258 of 465



                                Following    the instruction from the
                                Executive    Director/designee   to
                                execute the condemned inmate, the
                                executioners shall immediately
                                proceed with the execution as
                                required in TMF 01/05.15(if by
                                lethal injection) or TMF
                                O1/05.16(if   by firing squad).
                                If the execution is ordered       delayed


                                the Executive Director shall
                                instruct the executioners to step
                                away from the execution       equipment
                                and shall    notify
                                                 them that the
                                execution has been stayed or
                                delayed. The     procedures
                                                         set forth
                                under TMF 01/06 shall then be
                                initiated.




REVISED   06/10/10                                TMF   01/03    -




                                                                          GLOSSIP000130
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 259 of 465


TMF   01/04.00   POST-EXECUTION PROCEDURES

TMF 01/04.01     General Provisions
TMF 01/04.02      ertification of Death
TMF 01/04.03      emoving Witnesses from Execution Chamber
TMF 01/04.04      emoval of Executed Inmate
TMF              Removing Executioners from the Execution Area
TMF 01/04.06     Site Clean-Up
TMF 01/04.07     News Media Re-Entry to Execution Site
TMF 01/04.08     Returning to Standard Operation
TMF 01/04.09     Audit of Execution
TMF 01/04.10     Post-Execution Countdown Schedule




REVISED   06/10/10                                TMF   01/04   -




                                                                    pg.39



                                                                       GLOSSIP000131
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 260 of 465


TMF   01/04.00   POST-EXECUTION PROCEDURES

TMF   01/04.01   General Provisions

                 A.   Purpose   of   Chapter
                      The purpose of this            chapter   is:

                      1.   to  provide the procedures to be followed
                           following the death by execution of the
                           condemned inmate;

                      2.   to   identify       theresponsibilities             for
                           tasks to be         completed; and
                      3.   to   provide
                                      for the transfer of the                       body
                           of the condemned from the custody of the
                           Department.
                      Policy
                      It is the   policy       of the    Department         that:

                      1.   the witnesses to the execution shall be
                           removed from the execution chamber
                                                               for
                           the news media witnesses who shall be
                           removed to a secondary location until
                           permitted to return for a                 filming
                           opportunity in the execution chamber;

                      2.   the condemned inmate shall be examined
                           by a licensed physician following the
                           administering of the fatal drugs or the
                           first volley by the firing squad to
                           ensure that death has occurred;


                      3.   the physician, when satisfied that death
                           has occurred, shall certify the
                           condemned inmate dead;

                      4,   following the certification of death,
                           the body of the condemned shall be
                           surrendered to the State Medical
                           Examiner;

                      5.   after removal of the body,                 the chamber
                           shall be restored and the                 news   media
                           permitted      to   return to       photograph       the
                           chamber;


REVISED   06/10/10                                        TMF   01/04           pg.40


                                                                                       GLOSSIP000132
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 261 of 465


                       6.      after the chamber has been photographed,
                               the news media shall be returned to the
                               designated area to brief the other
                               assembled members of the news media;

                       7.




                       8.      the entire execution process will he
                               reviewed and evaluated by the
                               AuditBureau to permit a post-execution
                               examination.of the competence,
                               efficiency and effectiveness of the
                               execution procedures and staff (see TMF
                               01/20).

TMF   01/04.02   Certification of Death

                 A.    After the    drugs have been administered/or         the
                       execution    completed by firing squad:
                       1.      the Warden shall wait   a   maximum of three
                               minutes;
                                                                                                 |




                       2.      the Warden shall then tell the DIO
                               Director/designee to summon the
                               attending physician to the condemned;
                               and

                       3.      the physician shall take the condemned's
                               vital signs.

                 B.    If there are signs of life, the physician
                       shall wait beside the condemned and check the
                       vital signs every 60 seconds until vital
                       signs    cease.



                 Cc.   If execution is by firing squad, and if after
                       a maximum of ten minutes from the first

                       volley, there are still signs of life, the
                       physician will inform the Warden. The Warden
                       will then initiate the steps in TMF 01/05.16.

                 D.    When    vital signs are detected,
                               no                               the
                       physician shall certify death in        keeping     with
                       standard medical practices.

TMF   01/04.03   Removing     Witnesses from Execution Chamber



REVISED   06/10/10                                 TMF     01/04      -




                                                                          pg.4   4
                                                                                 !




                                                                                 GLOSSIP000133
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 262 of 465



                        2.   The Medical Examiner, or his designee,
                             may issue the death certificate for
                             deaths that occur at the prison. (UCA
                             26-4-7, 26-4-10)

TMF   01/04.05   Removing    Executioners from the Execution Area

                 A.




TMF   01/04.06   Site   Clean-Up
                 A.     The injection team shall      (if execution       was    by
                        lethal injection):

                        1.    use   universal   precautions and protective
                              equipment to protect     for blood or other
                              potentially infectious     materials;




                        5.

                        The Tie-Down Team shall be      responsible       for:

                        1.    using universal precautions and
                              protective equipment to protect against
                              blood and other potentially infectious
                              material; and



REVISED   06/10/10                                    TMF     01/04   -




                                                                          pg.43



                                                                                 GLOSSIP000134
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 263 of 465



                      After the certification of death by the
                      physician, the curtains shall be closed by
                      the Warden and DIO Director/designee and the
                      witnesses shall be escorted from the witness
                      viewing   rooms


                      L.

                      2.




                      5.

                      The news media shall be escorted to an
                      alternate Location in the execution building
                      until they can be returned for the filming
                      opportunity after the execution chamber has
                      been cleaned up.

                      The condemned inmate's witnesses, government
                      witnesses, and the victim’s witnesses shall
                      be escorted to waiting transportation
                      vehicles




TMF   01/04.04   Removal of Executed Inmate

                 A.   After the witnesses have been removed:

                      1.   if the execution is by lethal injection,
                           the IV should be cut by the executioners
                           in order for the catheters to remain in
                           ime executed inmate's pody; and




                      The State Medical  Examiner/designee      shall be
                      escorted into the death chamber




                           The State Medical Examiner has
                           jurisdiction over all deaths that occur
                           at the Utah State Prison. -(UCA 26-4-7)


REVISED   06/10/10                                TMF   01/04      pg.42


                                                                       GLOSSIP000135
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 264 of 465


                      2.      cleaning    up the execution site,    using
                              universal    precautions   where   appropriate.
TMF   01/04.07   News Media    Re-Entry    to Execution Site

                 A.   After the site is restored and cleaned, the
                      news media witnesses and pool photographers
                      shall be escorted to the execution site.

                 B.   The    photographers    shall be permitted to
                      tape/photograph       the site and observation cell
                      (if    approved by    the Warden) as required in
                      TMF 01/08.




TMF   01/04.08   Returning    to Standard    Operation
                 A.




                      l.

                      2.

                 B.




TMF   01/04.09   Review of Execution

Refer to TMF 01/20.

TMF   01/04.10   Post-Execution Countdown Schedule

                 See Exhibit    04-1 for the    proposed   schedule for the
                 post-execution period.
                    (Sample for Lethal Injection)
                                Execution

REVISED   06/10/10                                   TMF   01/04     -




                                                                         pg.44


                                                                             GLOSSIP000136
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 265 of 465




                                 Date

0005 DIRECTOR/DESIGNEE GIVES WARDEN OK TO BEGIN EXECUTION
0005 TO 0006  CURTAINS PULLED
DANS
UUUSD TO 0008 LAST STATEMENT BY CONDEMNED
C008 SIGNAL BY WARDEN TO BEGIN EXECUTION
C023 SIGNAL BY EXECUTIONER THAT DRUGS HAVE BEEN ADMINISTERED
0024 DOCTOR BROUGHT INTO EXECUTION CHAMBER
0027 DOCTOR PRONOUNCES DEATH AND DEATH WARRANT SIGNED
0028 CURTAINS CLOSED
00235
0030
0031
C034 TIE DOWN TEAM/MEDICAL EXAMINER INTO DEATH CHAMBER TO REMOVE
               BRODY
          CN
©

     W
OM
     Om




0038 CLEAN UP CREW INTO DEATH CHAMBER
0039
0040

0040 WARDEN GIVES DIRECTIVE FOR MEDIA TO RETURN TO EXECUTION
     CHAMBER
0100 MEDIA RETURNED TO STAGING AREA




REVISED            06/10/10                      TMF   01/04   -




                                                                   pg.45



                                                                       GLOSSIP000137
 Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 266 of 465



                      (Sample   for   Firing Squad)
                         Execution Time Line


                                  Date

0005   DIRECTOR/DESIGNEE GIVES WARDEN OK TO BEGIN EXECUTION
0005   TO 0006 CURTAINS PULLED
0006   TO 0008 LAST STATEMENT BY CONDEMNED
0008   SIGNAL BY DIRECTOR/DESIGNESS TO BEGIN EXECUTION
OO11   DOCTOR BROUGHT INTO EXECUTION CHAMBER
0014   DOCTOR PRONOUNCES DEATH AND DEATH WARRANT SIGNED
       CURTAINS CLOSED
0017
0018
0019
0021 TIE DOWN TEAM/MEDICAL EXAMINER INTO DEATH CHAMBER TO REMOVE
       RONY
0023
0025

0026 CLEAN UP CREW INTO DEATH CHAMBER
0031 WARDEN GIVES DIRECTIVE FOR MEDIA TO RETURN TO EXECUTION
       CHAMBER
0050 MEDIA RETURNED TO STAGING AREA




REVISED   06/10/10                                    TMF   01/04   -




                                                                        pg.46


                                                                            GLOSSIP000138
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 267 of 465


TMF   01/05.00   EXECUTION PROCEDURES

TMF   01/05.01   General Provisions
TMF   01/05.02   Death Warrant
TMF   01/05.03   Selection of Executioners by Lethal     Injection
TMF   01/05.04   Selection of Executioners by  Firing Squad
TMF   01/05.05   Designation  of Persons Required, Permitted or
                 Prohibited from  Witnessing the Execution
TMF   01/05.06   Disposition  of Condemned Inmate's Property
TMF   01/05.07   Disposition  of Money in Inmate Account
TMF   G1/05.08   Disposition  of the Body of the Condemned:
TME   01/05.09   Equipment Check/Inventory:  Lethal Injection
TMP   01/05.1    Equipment Check/Tnventory: Firing Squad
TMF   01/05.1    Acquisition and Storage of Drugs for Lethal
                 Injection
TMF   01/05.12   Observation Period and Related Activities
TMF              Tie-Down Procedures: Lethal Injection
TMF   01/05.14   Tie-Down Procedures: Firing Squad
TMF   01/05.15   Execution by Lethal Injection
TMF   01/05.16   Execution by Firing Squad
TMF   01/05.17   Pre-BExecution Rehearsals and Practices
TMF              Support Services Functions




REVISED   06/10/10                                TMF   01/05   -




                                                                     GLOSSIP000139
 Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 268 of 465



TMF   01/05.00       EXECUTION PROCEDURES

TMF   O1/05.01       General Provisions

                     A.   Purpose    of    Chapter
                          1.   This chapter provides the procedures
                               which are used when the Department
                               exercises its statutory responsibility
                               to carry out an execution.

                               The topics include those                    procedures
                               which are employed:

                               a.         immediately prior           to    receiving    the
                                       death warrant;

                               b.      from receiving the death warrant to
                                       and during the execution;

                               c.      immediately following                 the
                                       execution; and

                               d.      during     the debriefing and audit
                                       phases     of the execution.

                          Policies

                          1.   It is      the   policy     of the     Department
                                                                               that
                               the    procedures employed           in preparing for
                               and    carrying     out     an   execution be
                               comprehensive         and    clearly        defined.

                               The    procedures      shall be        developed
                               consistent with state and federal law.


TMF   01/05.02   Death Warrant

                 A.       Judgement    of Death

                          1.   When    judgment of death is rendered, a
                               warrant    signed by the judge and attested
                               by the clerk under the seal of the
                               court, shall be drawn and delivered to
                               the sheriff of the county where the
                               conviction is made.          UCA

                               The Sheriff shall deliver the warrant
                               and a certified copy of the judgment to
                               the UDC Executive           Director/designee
                                                                   at

REVISED   06/10/10                                              TMF    01/05       -



                                                                                       pg.48


                                                                                           GLOSSIP000140
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 269 of 465



                            the time of delivering the defendant to
                            the custody of the Department.  77-19-6
                            UCA

                      3.    The warrant states the conviction and
                            judgment, the method of execution, and
                            the appointed day the              judgement
                                                            is to be
                            executed.  The Department of Corrections                                           |
                            shall determine the hour, within the
                            appointed day, at which the            is        judgement
                            to be executed.

                 B.   Return     Upon   Death Warrant

                      1.    After the                UDC Executive
                                           execution, the
                            Director/designee shall make a return

                            upon the death warrant showing the time,
                            place and manner in which it was
                            executed.  77-19-12 UCA

                            a.      The   "Certificate of Execution”:

                                    (1)    shall be      signed by           the Warden
                                           and the      physician;           and

                                    (2)    shall include the full names
                                           and official titles of the
                                           official witnesses.
                                                   .




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                                                                        to
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                                                                                      ae)
                                               D




                                                                                 fe
                            or




                                                   fe




                                           woe




                                    shall be submitted for review to
                                    the Executive Director/designee.

                            c.      Following review by the Executive
                                    Director/designee, the "Certificate
                                    of Execution”        shall be returned to
                                    the Warden.

                                                             ail
                      2.    The "Certificate of Execution"   ait  Ve


                            directed by registered mail to the clerk
                            of the court of the county from which
                            the individual executed was sentenced.

                      3.    A return    receipt        shall be          requested           from
                            the    recipient.
                      4A,   A    copy of the certificate shall be
                            placed      in the deceased inmate's file.


TMF   01/05.03   Selection of Lethal       Injection      ExecutionTeam

REVISED   06/10/10                                            TMF       01/05               pg.49



                                                                                               GLOSSIP000141
   Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 270 of 465




                 A.   Statutory Requirements
                      1.   The Executive         Director/designee
                                                           shall
                           ensure that the method of judgment of
                           death specified in the warrant is
                           carried out at        a   secure   correctional
                           facility operated by the department at
                           an hour determined by the department on
                           the date specified in the warrant.  77-
                           19-10    (1)    UCA

                           When the       judgment of death is to be
                           carried out       by lethal intravenous
                           injection, the executive director of the
                           department or his designee shall select
                           two or more persons trained in
                           accordance with accepted medical
                           practices       to administer intravenous
                           injections,       who shall each administer       a
                           continuous intravenous injection, one of
                           which shall be a lethal quantity of
                           sodium thiopental or other equally or
                           more effective substance sufficient to
                           cause death.   77-19-10 (2) UCA

                 B.   Selection of Execution Team

                      1.   If the judgment of death is to be
                           carried out by intravenous lethal
                           injection, a minimum of two persons,
                           each trained to administer intravenous
                           injections shall be selected for the IV
                           team.




                           Method of Selection

                           a.      The DIO    Director/designee
                                                              and the
                                   Warden of the Utah State Prison,
                                   Draper site, shall be members of
                                   the execution team by virtue of
                                   their official position.

                           b.      The Executive     Director/designee,
                                   DIO    Director/designee and the
REVISED   06/10/10                                      TMF   01/05     pg.50

                                                                                 GLOSSIP000142
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 271 of 465



                                 Warden shall select a minimum of
                                 four (4) additional members, other
                                 than the DIO         Director/designee
                                                                  and
                                 Warden, for  the execution team.

                                 1.   Of the four  (4) additional
                                      members,   minimum
                                                  a       of two (2)
                                      execution team members will be
                                      on    the IV team.

                                 2.   No member of the execution team,
                                      other than the DIO
                                      Director/designee        and Warden,
                                      shall be required        to serve as       a
                                      member of the execution team
                                      without consent.

                                 3.   The Executive Director/designee,
                                      DIO Director/designee, and
                                      Warden will designate one
                                      execution team member           as   the
                                      execution team leader.

                                      a.   The execution team leader
                                           shall not be the DIO
                                           Director/designee or the
                                           Warden; and

                                      b. The execution team leader
                                         Shali not be a member of the
                                         IV team.

                                 4,   The Executive    Director/designee,
                                      DIO   Director/designee,and
                                      Warden shall review the
                                      qualifications of the IV team
                                      members  accordingto
                                      requirements outlined in
                                      subsection (3) (a through d) and
                                      other  relevant information as to

                                      appropriate training  and skills
                                      in administering intravenous
                                      injections. One IV team member
                                      will be designated as the IV
                                      team leader.


                                 Following the examination and
                                 evaluation of candidates, the
                                 Executive Director/designee, DIO
                                 Director/designee         and Warden,      shall



REVISSD   06/10/10                                      TMF   01/05         pg.51


                                                                                 GLOSSIP000143
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 272 of 465




                                  select the execution team members.

                           d.    All execution team members shall
                                 read and understand the execution
                                 procedures. The Warden shall
                                 conduct a review of the execution
                                 procedures annually.
                     3.    IV Team    Qualifications

                           a.    At least two (2) members of the
                                 execution team shall be designated
                                 as the IV team for an execution by
                                 lethal injection.

                           b.    Bach member of the IV team shall be
                                 a:


                                 Le     Phlebotomist;

                                 2.    Emergency     Medical Technician;

                                 3.     Paramedic;    or


                                 4,    Military Corpsman.
                            c.   Each member of the IV team shall:

                                 1.    Have at    least     one   (1) year of
                                       professional experience           in his
                                       specialty;
                                 2.    Remain certified in his
                                        specialty    or    profession;   and

                                 3,    Fulfill all continuing
                                       education requirements in his
                                       specialty     or    profession.
                            d.   Prior to     participating
                                                         in an
                                 execution, the members of the IV
                                 team shall have participated in at
                                 least three (3) complete execution
                                 practices.




REVISED   06/10/10                                   TMF    01/05        pg.52

                                                                               GLOSSIP000144
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 273 of 465




                           Securing     Services

                             a.    The Warden/designee shall contact
                                   those chosen for the execution team
                                   to notify them of their selection
                                   and verify their willingness and
                                   availability to perform the duties
                                   of execution by lethal injection.

                                   1.    If   any person declines
                                        participation, the Executive
                                        Director/designee, DIO
                                        Director/designee and Warden
                                        will select a replacement
                                        according to the processes
                                        outlined in this section.

                                   2.   If all of the execution team
                                        members agree to participate,
                                        their individual roles as
                                        execution team members shall
                                        be explained to them.




TMF   01/05.04   Selection of Executioners      by Firing Squad

                 A.   Statutory Requirements
                      1.   "The Executive Director of Corrections/
                           designee shail ensure that the method of
                           judgment of death specified in the
                           warrant is carried out at a secure
                           correctional facility operated by the
                           Department of Corrections." 77-19-10(1)
                           UCA

                           "If the judgment of death is to be
                           carried out by firing squad, the
                           Executive Director of Corrections or his
                           designee shall select a five~-person
                           firing squad of peace officers."77-19-10
                           (3)    UCA


REVISED   06/10/10                                   TMF   01/05    -




                                                                        pg.53


                                                                            GLOSSIP000145
 Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 274 of 465



                 B.   Selection of Executioners

                      1.    A five-person execution team, plus
                            twoalternates and a team leader shall be
                            chosen for the firing squad.

                      2.    The alternate(s)        shall be selected to
                            replace any member(s) of the firing
                            squad who are unable to discharge their
                            required functions.
                      3.    Persons selected for the           firing
                                                            squad
                            shall be POST certified peace officers.

                      4,    Selected peace officers will be required
                            to demonstrate proficiency with weapons
                            designated to carry out the execution.
                            a.   Under conditions substantially
                                 Similar to those of the execution
                                 chamber,        proficiency
                                                      shall be
                                 exhibited        by:
                                 1.    Firing       each weapon.

                                 2.    At   minimum of 21 feet,
                                             a

                                       accurately hitting the target
                                       of the same dimension as that
                                       which will be attached to the
                                       condemned.

                           b.    During     the    proficiency test,
                                 failure to        accurately hit the
                                 specified target with one round
                                 from each weapon fired shall
                                 disqualify the officer.
                      5.




                      Method of Selection

                      1.   The Executive         Director/designee,     DIO
                           Director and Warden shall be            responsible
                           for the selection process.




REVISED   06/10/10                                      TMF   01/05     -




                                                                              GLOSSIP000146
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 275 of 465




                      3.   The final choice of firing squad members
                           shall be the responsibility of the
                           Executive Director/designee, DIO
                           Director and Warden.

                      4,   The Executive  Director/desigqnee, DIO
                           Director/designee and Warden shall
                           review the qualifications of the firing
                           squad, including required proficiency as
                           outlined in section (B4)     and other
                           relevant information.

                 D.   Securing    Services

                      1.   The Executive Director and/orWarden
                           shall contact those chosen for the
                           firing squad, alternates and team leader
                           to notify them of their selection and to
                           verify their willingness and
                           availability to perform the execution
                           duties.

                           a.      Tf any person rescinds his    original
                                   offer to participate, the selection
                                   team shall meet to select a
                                   replacement.
                           b.      If all of the selectees agree,
                                   their individual roles shall be
                                   explained to them.




TMF   01/05.05   Designation    of Persons Required, Permitted   or
                 Prohibited from    Witnessing the Execution
                 A.   The Utah Code limits and identifies those
                      persons who may attend and witness the
                      execution.  (See TMF 01/07.03.)

REVISED   06/10/10                                TMF   01/05       pg.55



                                                                        GLOSSIP000147
 Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 276 of 465




                      The Warden shall           designate       the    required
                      personnel      to    carry      out the    statutory
                      requirements         of   an    execution.        Staff should
                      include:

                      1.              Deputy         Warden;

                      2.     Observation         Officers



                      3.           “Tie-down         Officers,

                      4,     one   Team     Foreman      for the       escort/Tie-Down
                             Team;

                      5.     executioners            (reference TMF 01/05.03         &



                      6.     Clean-up Officers (number to be
                             determined by the            Warden/designee),
                             assigned to clean up the execution
                             chamber immediately following the
                             execution;

                      7.     Guide Officers            (number to be determined
                             by the       Warden/designee)
                                                        ;




                      The Warden/designee shall designate the
                      appropriate resources necessary to carry out
                      the requirements of an execution.  The
                      designated individuals shall be responsible
                      for:

                      1.     advising      the Warden concerning any
                             medical      supplies, etc.;

                      2.     the preparation and supervision of meals
                             prepared during the observation period,
                             and for the condemned inmate's last
                             meal;


REVISED   06/10/10                                             TMF   01/05         pg.56

                                                                                         GLOSSIP000148
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 277 of 465



                            ordering, verifying, picking-up the
                            drugs, equipment, etc., necessary to
                            carry out an execution by lethal
                            injection;     and

                            pronouncing     the death of the condemned
                            inmate.


TMF   01/05.06   ‘Disposition   of Condemned Inmate's         Property
                 A


                      1.    At least 30 days prior to the scheduled
                            execution the condemned inmate should be
                            contacted to discuss arrangements for
                            disposing of his property.
                            At least 14 days prior to the execution
                            property-disposition arrangements should
                            be finalized.

                            At least seven days prior to the
                            execution all paperwork required for
                            final disposition should be completed.

                            Tf the condemned is uncooperative,
                            doesn't wish to make specific property-—                         |
                            disposition     arrangements,
                                                       or for any
                            other reason has not made arrangements
                            for disposition, he shall be notified
                            the property will be disposed of as
                            required under           (1) UCA.

                      Options    for   Disposing   of   Property
                       1.   Property may be relea    to a
                            authorized visitor (family, fr
                            attorney). The rele      oO
                            normal property release procedu

                            Property may be mailed through the U.S.
                            Postal Service.  The prison's Mail Unit
                            shall process the mailing consistent
                            with standard mail procedures.  Indigent
                            status does not cover property-release
                            postage.
                            Property may     be donated to      a   charitable
                            organization.

REVISED   06/10/10                                      TMF   01/05      -




                                                                             GLOSSIP000149
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 278 of 465




                              If the condemned fails   designate  to                   a

                             property-disposition option:
                                        "if   property
                                                     is not claimed within
                                        one year of death...it becomes

                                        property of the state and may be
                                        used for correctional purposes or
                                        donated to a charity within the
                                        state."  64-13-15 (1) UCA

                 Cc.   Release Procedure

                       1.     Following         a   decision to release the
                             condemned's            property,    the    property     shall
                             be:

                              a.        inventoried      by             staff;   and

                             b.         transferred to the            property   room.


                             The release will then follow according
                             to the appropriate release procedures.
                             Refer to         “Inmate Property” and
                             FDr03,  “Inmate Mail.”

TMF   01/05.07   Disposition       of   Money       in Inmate Account

                 A.    Contact with Condemned Inmate

                       Follow the time-table for contact with the
                       condemned outlined for property under
                       TMF   01/05.06.

                       Options      for   Disposing       of Inmate Accounts

                       1.     The condemned shall be          to  required
                              complete money
                                       a       transfer form                   releasing
                              the money in his account to his next of
                              kin or other person or              organization
                                                                  of
                              his choice.

                              If the condemned refuses or otherwise
                             fails to         complete
                                                 the necessary forms,
                              the funds shall be           of disposed
                              consistent with state law.

TMF   01/05.08   Disposition       of the     Body     of the Condemned

                 A.    Release to Medical Examiner




REVISED   06/10/10                                              TMF    01/05     -




                                                                                     pg.58

                                                                                           GLOSSIP000150
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 279 of 465



                           After the executed inmate is pronounced
                           dead, the body shall be released from
                           the restraints and removed from the
                           execution chamber.

                           The body shall be    immediately
                           surrendered to the    State   Medical
                           Examiner/designee.




REVISED   06/10/10                                TMF    01/05   -




                                                                     pg. 59




                                                                          GLOSSIP000151
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 280 of 465


TMF   01/05.09   Equipment Check/Inventory:        Lethal   Injection
                 A,    Responsibility
                       1.   The IV team shall conduct a check of
                            equipment and materials necessary to
                            conduct the execution.

                       2.



                 B.    Inventory
                       1.




                       2.




                       3.


                            a.




                            b.




                       4,




                 Cc.   Bloodborne     Pathogen   Precaution

                       1.   As   a   precaution, all persons who may
                            come     in contact with the condemned’s
                            body     fluids shall be issued rubber

REVISED   06/10/10                                    TMF   01/05       pg. 60



                                                                             GLOSSIP000152
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 281 of 465




                                  gloves and bloodborne pathogen
                                  protection supplies and equipmen


TMF   01/05.10          Equipment Check/Inventory: Firing Squad
                       A.    The Warden shall           ensurean      equipment             check of
                             appliances necessary           to   carry       out       an
                             execution.




                       Cc.   The execution team leader shall be
                             responsible to arrange for:
                             1.           .30-caliber
                                                 maltdhar
                                                            CLGCLEeS;
                                                                 flac:




                             2,             iv
                                                                Fh




                                                                       riiunibtiLon;
                                                   Ky




                                                                Cc


                                                                      Qu




                             3.       blank rounds of ammunition;

                             4,   practice       sessions and          dry       fire;

                             5,   ensuring equipment             is clean and
                                  operable;       and

                             6.   back-up equipment             for items          1, 2, 3,
                                  above.

                       D.                               prior    to    the execution:

                             1,   the executioners shall be escorted into
                                  the execution chamber by the DIO
                                  Director/designee; and

             NE/1N/4                                                                                    [XA
RREVUTCRNA                                                           maam

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                                                                                  UL
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                                                                                                        Wel




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Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 282 of 465




                      Bloodborne        Pathogens    Precaution

                      As a precaution,  all persons who may come in
                      contact with the condemned's body fluids
                      shall be issued rubber gloves and bloodborne
                      pathogen protection supplies and equipment.

TMF   01/05.11   Procurement,     Storage    and    Accountability       of
                 Chemicals for Lethal        Injection
                 A.   Purchase

                      1.                                    .




                                             the Warden shail       provide          to
                           tne     pharmacist for his official                records
                           a     memorandum specifying:

                           a.       The    drugs    which must be obtained;

                           b.       A    copy of the    judgment    of    death;
                                    and

                           om       A copy of the       state statute.
                                    19-10(2) UCA

                      2.                                                        the
                           pharmacist        shall order the       drugs       from
                           the vendor.  Upon receiving the                    drugs,
                           the pharmacist shall:

                           a.




                           b.       Immediately notify the Warden                that
                                    thedrugs have been received;
                           Cc.




                           d.




REVISED   06/10/10                                       TMF    01/05          pg.   62



                                                                                          GLOSSIP000154
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 283 of 465




                                       2.




                                       3.




                                       4,




                             3.   Storage   and   Handling    of   Drugs
                                  a.




                                  b.   See the next two pages for the
                                       Equipment and Materials Checklist.


                        UTAH STATE DEPARTMENT OF CORRECTIONS
    Equipment          and Materials Checklist: Execution by            Injection

     mm    ne   am     am                                    ate   ce   ed
                                                                                    INey
                                                             Lig   Uls Us           UI
                                                                             ~


WovVvuiL   UUyY LUyY   LY




                                                                                           GLOSSIP000155
     Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 284 of 465




|Quantity        Item
                 Sodium   Thiopental           (Pentathal), 500 mgm.,
                                                                                           Code
                                                                                           A
|                w/diluent
                Pancuronium Bromide (Paravulon), 50 mgm. Ampules                           A
                Potassium Chloride, 240 miliequiv. Ampules                                 A
                Valium injection, 10 mgm                                                   A

                 Syringe,    60    cc    Lur Lock


                 Syringe,    10    cc    Lur Lock
IL
                Syringe,     5    cc    Lur Lock

                Needle,     18 Ga.,       1 %

                Needle, 25 Ga.,           1 %

                Angiocath,        14 Ga.,       2

                Angiocath,        18 Ga.,       1 ”

                Angiocath,        16 Ga.,       1 ”

                Normal saline,           IV    bad, 1000C
                Lidocaine HCL,          2%     w/Epinephrine
                Lidocaine HCL,          2%     w/o Epinephrine        2

                Solution     injection set,             70”   long   with

                Y-injection       site:         Travenol Code:        #2C0005S

                Extension set,          35”     long;    Travenol Code #2C0066

                Stethoscopes
                Boxes of alcohol              preps
                Rolls of     Kling
                Adhesive     tape,      1%

                Adhesive     tape,      2”

                ‘Scissors,   bandage,           Pr.

                Tourniquet
                Hemostat, sterile
                Flashlight, w/batteries                                                    A
                Batteries, flashlight,                (spares)                             A
                Ace wraps 3”

                Needle holders

                10 packs sterile              gauze
                Sharp containers
     REVISED   06/10/10                                                   TMF   01/05   pg. 64
                                                                                                 GLOSSIP000156
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 285 of 465




                              bags
          BIO-Hazardous t trash
          Extra large impervious gowns
          IV hangars
          Mayo stand
          Terry    cloth towels

          Goose neck       light
          Blood    spill    kits

          Trash containers
          Electronic Heart Monitor         (EKG)

TME               Observation Period and Related Activities

                  A    Access

                       1.




                       2.




                       3.




                  B.   Preparation    of the Observation Cell

                       1.

                               a.




                               b.




                               c.




                       2.      Stocking   the Cell




                                                                     GLOSSIP000157
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 286 of 465



                                The observation cell shall be
                                outfitted with the following items:

                                 (1)    mattress          (1);

                                 (2)    pillow        (1);

                                 (3)    pillow       case     (1);

                                 (4)    sheets        (2);

                                 (5)    blankets          (2);

                                 (6)    towel        (1);

                                 (7)    soap,        small    (1);

                                 (8)    toilet paper,             roll    (1);

                                 (9)    Jump suit (color to be
                                        determined by the Warden)                         (1);

                                 (10)   socks        (1   pr.);
                                 (11)   shower        thongs      (1    pr.);      and

                                 (12)   pocket comb,             no    metal       (1).

                                Tf requested, the cell will also
                                have the following items purchased
                                new




                                 (1)    Bible        (1);

                                 (2)    magazine
                                 (3)    newspaper
                                                7;    and

                                 (4)    photographs

                                The     following         items may be             given    on

                                request,     as       needed,



                                 (1)    toothbrush           (1);


REVISED   06/10/10                                           TF 01/05          -




                                                                                    pg. 66


                                                                                            GLOSSIP000158
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 287 of 465



                                  (2)   toothpaste


                                  (3)


                           d.     If the condemned inmate receives
                                  mail the officer shall allow the
                                  condemned inmate adequate time to
                                  read the mail


                           £.




                           g.     Additional    property shall be
                                  approved by    the warden.




                     3,    Test   Equipment
                           a.




                           b.




REVISED   06/10/10                                   TMF   01/05   -




                                                                       pg. 67



                                                                                GLOSSIP000159
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 288 of 465




                 D.   Securing   Condemned Inmate's   Property/Cell
                      1.




REVISED   06/10/10                                TMF   01/05   -




                                                                    pg, 68


                                                                         GLOSSIP000160
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 289 of 465




                           Personal property shall be separated
                           from prison property, and the personal
                           property put into a suitable container
                           and sealed.   Each search team member
                           =     aan
                           shall initial  tne seal.

                               designated peoperty officer shail
                     qa




                           The
                           sign for and assume responsibility for
                           the inventoried   property.




REVISED   06/10/10                                TMF    01/05   -




                                                                     pg. 69



                                                                          GLOSSIP000161
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 290 of 465




                      8.   The personal property shall be taken to
                           the DIO property room for storage.




                 E.   Observation Function

                      1,




REVISED   06/10/10                               TMF   01/05   -




                                                                   pg. 70


                                                                            GLOSSIP000162
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 291 of 465




                      Activities    During   the Observation Period

                      1.




                      2.   Unless previously served, meal        service,
                           including the last meal, shall        be served
                           during the observation period.
                      3.




REVISED   06/10/10                                  TF   01/05     pg. 71


                                                                        GLOSSIP000163
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 292 of 465




REVISED   06/10/10                               TMF   01/05   -




                                                                   pg. 72




                                                                        GLOSSIP000164
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 293 of 465



TMF   01/05.13    Tie-Down Procedures:    Lethal   Injection
                  A.   Transfer of Condemned Inmate to Execution
                       Site

                       1.     The condemned inmate shall be escorted
                              from the observation cell to the
                              execution chamber by the Tie-Down Team.




                       2.



                              a.




                              d.


                 B     Positioning    of Tie-down Team

                       1.




                       2.




                       3.




                       4,



                       5.




                 Cc.   Securing    Inmate to   Gurney
REVISED   06/10/10                                      TMF   01/05   pg. 73



                                                                           GLOSSIP000165
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 294 of 465




                     2.


                           a.




                           b.




                           Cc.




                           d.




                           e.




                           f.




                           g.-



                     3.




REVISED   06/10/10                                TMF   01/05   pg. 74


                                                                     GLOSSIP000166
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 295 of 465




                          5.   Upon completion        of the execution and        as
                               directed   by    the   Warden, the Tie-Down
                               Team shail enter the execution chamber
                               and remove the straps in the reverse
                               order as outlined above.



      01/05.14                                 Firing      Squad
                 el




TMF                    e-Down Procedures:




                                                      KO
                         Bringing
                 ar)




                                    Condemned Inmate to Execution
                         Chamber

                         The condemned inmate should be escorted from
                         the observation cell to the execution chamber
                         by the Tie-Down Team

                         Positioning   the Tie-Down Team

                         1.




                         Securing   the Inmate to the Chair




REVISED   06/10/10                                           TMF   01/05   pg.   75




                                                                                      GLOSSIP000167
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 296 of 465




                              b,




                      3.




                      4,




                      5.      Upon completion of the execution and as
                              directed by the Warden, the Tie-Down
                              Team shall re-enter the execution
                              chamber and remove the straps in reverse
                              order as outlined above.


TMF   01/05.15   Lethal    Injection   Protocol

                 A.




REVISED   06/10/10                                TMF   01/05   -




                                                                    pg. 76


                                                                             GLOSSIP000168
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 297 of 465


                 B.   Preparation    of    Syringes
                      1.




                           a.




                           b.


                           c.




                      2.   The execution team leader shall
                           providethe drug box to the IV team
                           leader.
                           a.   The IV team leader shall prepare
                                each chemical in accordance with
                                the manufacturer’s instructions and
                                draw them into the two (2) sets of
                                syringes.                                                          |
                                The second member of the IV team                                       .




                                and the execution team leader shall
                                observe
                                preparation of the chemicals and
                                verify that the instructions and
                                procedures have been carried out
                                correctly.




                      3.   The syringes containing the chemicals
                           shall be prepared and loaded in the
                           following order:
                           a.   Two 60-cc syringes, each containing
                                240 milliequivalents of Potassium
                                Chloride in 50-cc and label
                                syringes “Syringe          #3.

                                Two       60-cc    syringes, each containing
                                fifty       (50)    milligrams of
                                Pancuronium Bromide in 50-cc and

REVISED   06/10/10                                      TMF   01/05   -




                                                                          pg. 77



                                                                                   GLOSSIP000169
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 298 of 465



                                  label    syringes “Syringe            #2”.

                            Cc.   Two 60-cc syringes, each containing
                                  three (3) gm of Sodium Thiopental
                                  in 50-cc and label syringes
                                  “Syringe    #1”.

                            d.    The secondary syringes containing
                                  each of the three chemicals are to
                                  serve the following purposes.


                                  1.      Secondary syringe of Sodium
                                          Thiopental is prepared in the
                                          event the condemned
                                          has not lost consciousness.
                                          sixty (60) seconds after the
                                          first administration of the
                                          chemical.

                                  2,      Secondary syringes containing
                                          Potassium Chloride and
                                          Pancuronium Bromide are
                                          prepared in the event the
                                          condemned has not been
                                          pronounced dead after the
                                          first administration of the
                                          chemicals.

                           Any syringes      that are loaded with lethal
                           injection      chemicals that are not used
                           during      the execution shall:

                           a.     Be returned to the Warden              by     the
                                  execution team leader;

                          b.      Be destroved       by   the Warden,




                          Any  unused chemicals that were not mixed
                           in preparation of the lethal injection
                           shall:

                          a.      Be returned to the Warden              by    the IV
                                  team leader;

                                  Be   destroyed by       the   Warden,

REVISED   06/10/10                                        TMF   01/05    -




                                                                               pg. 78


                                                                                        GLOSSIP000170
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 299 of 465




                     The IV team leader:

                     1.     Shall,     along with the second IV team
                            member,     verify two (2) labeled sets of
                            each of the three  (3) chemicals are
                            present, filled, and  clearly labeled;
                            Provide the two (2) labeled sets of each                             |




                            of the three (3) chemicals contained in                              |




                            the drug box to the execution team
                            leader who will verify, along with
                            another execution team member, selected

                             appropriate number of syringes have been
                             surrendered and are clearly labeled; and

                     3.      Prepare    the IV    set-up.
                     IV    Set-up   Procedure     by    IV Team
                      fe




                             The    connec             Aaministr
                             (McGaw V1417    or    equivalent
                             inserted into the          bag   of N
                             IV solution.

                             The Flo Trol clamp located above the “Y”
                             site shall control the flow of solution.

                             A 35-inch Extension Set            (Travenol 2C0066
                             or equivalent)       shall be connected to the
                             needle adapter       of the Administration
                             set.




REVISED   06/10/10                                        TMF   01/05   ~



                                                                            pg. 79



                                                                                 GLOSSIP000171
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 300 of 465



                           The    set-up
                                      for administration into the
                           back-up    site may require additional
                                      IV
                           Extension Sets due to the potential of
                           additional distance.

                           All connections should then be              taped    to
                           ensure they do not come apart
                                                                      during    the
                           procedure.



                      n
                           The  tubing shall be cleared of air by
                           removing the protector from the needle
                           adapter and opening the Flo Trol clamp
                           letting the tube fill with solution.
                           The Flo Trol clamp shall then be closed
                           and the protective cap over the needle
                           adapter replaced.
                           Steps 1 through 7 shall be           repeated       for
                           the second set-up.

                 G.   Injection    Procedure   by   IV Team

                           The Warden shall order the condemned
                           person escorted to the execution chamber
                           and strapped to the gurney.

                           The IV team shall run the IV lines to
                           the condemned person by the              following:
                           a.      Site and insert    one     (1)   primary     IV
                                   line; and

                          b.       Site and insert    one     (1)   back-up     IV
                                   line.

                           The IV team members shall determine the
                           location of the IV sites on the body of
                           the condemned person.




REVISED   06/10/10



                                                                                 GLOSSIP000172
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 301 of 465



                      IV Placement        Process     by   IV Team

                      1.   The angiocath shall be inserted into the
                           vein of the primary IV site.




                      tO
                                                 needle is inserted
                                                           a

                           properly into   vein, the IV team
                                                  a
                           members shall look for the presence of
                           blood in the valve of the sited needle.

                           The inner needle is then withdrawn and
                           the needle adapter is placed on the
                           angiocath.
                           a.




                           The flow of normal saline shall be
                           started and administered at a slow rate
                           to    keep     open.

                           Step       1 through       3 shall be     repeated   for
                           the       back-up IV       site.

                           The Administration Sets shall be running
                           at a slow rate of flow, to keep open and
                           ready for the insertion of syringes
                           containing the injection chemicals.
                           Both set-ups shall be observed by the IV
                                members to ensure they are both
                               eam

                           patent and functioning properly.
                           No    further action is necessary at this
                           time.

                      Lethal    Injection     Procedure

                      1.   The execution team shall:




REVISED   06/10/10                                          TMF   01/05   -




                                                                              pg. 81



                                                                                      GLOSSIP000173
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 302 of 465




                                 Securelyconnect the electrodes of
                                the cardiac monitor to the
                                condemned person; and




                           oO
                                Ensure the       equipment    is   functioning
                                properly.
                           At the    designated hour mandated for the
                           execution,    when everything is ready:

                           a.   The DIO       Director/designee
                                                          and
                                Warden shall pull open the curtains
                                covering the witness room windows.
                                The Warden shall ask the condemned
                                inmate if he has any last words or
                                wishes to make a statement.

                                1.      The statement should not
                                        exceed two minutes.

                                2,      If the inmate uses foul
                                        language, the Warden should
                                        immediately proceed with the
                                        next step in the execution.

                                3.      If the statement exceeds two
                                        minutes, the execution shall
                                        proceed without       waiting
                                                                for
                                        the conclusion of his remarks.

                                        The   Department,
                                                        for the
                                        purpose of recording the
                                        condemned inmate’s last words,
                                        May   use   audio   recording
                                        equipment.
                                        a.     The Department shall
                                               permanently destroy the
                                               recording made under this
                                               subsection not later than
                                               24 hours after the
                                               completion of the
                                               execution.

                                        b.     No form of duplication of
                                               the audio shali be
                                               permitted.
                                        c      The Warden,    witnessed    by
                                               the DIO
                                               Director/designee,       shall
         OY

              fod


                    on)




                                                                            GLOSSIP000174
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 303 of 465



                                                 destroy any        audio
                                                 recording.
                         on          At   the conclusion of tne remarks,
                                     or   when the Warden determines it is
                                     time to   proceed,      a   prearranged
                                     signal shall then be given             by   the
                                     Warden to the Executive
                                     Director/designee.
                         d.          The Executive      Director/designee
                                      shall order the execution team
                                     ‘leader to begin the administration
                                      of the chemicals       providing:
                                     1.     The earliest legal execution
                                            time has been verified and has
                                            passed;    and



                                     2.     No instruction to halt has
                                            been received from the
                                            Attorney    General’s Office.

                                     Following the instruction from the
                                     Executive Director/designee to
                                     execute the condemned inmate, the
                                     execution team leader shall
                                     immediately proceed with the
                                     execution.




                              Upon the Executive Director/designee’s
                              order to     proceed,
                                                the execution team
                              leader shall       the following
                                               begin
REVISED   06/10/10                                                01/05   ~




                                                                              pg. 83



                                                                                       GLOSSIP000175
 Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 304 of 465



                            sequence:

                            a.   The flow of the normal saline into
                                 the arm shall be cut off       the   using
                                 Flo Trol clamp.

                                 The    clamp  should be moved as close
                                 to the     “Y” site as possible.

                                 The 18 ga needle of Syringe #1
                                 (three (3) gm of Sodium Thiopental)
                                 shall be inserted into the “Y” site
                                 and the injection shall commence.

                                 1,     A   steady,     flow of the
                                                       even

                                        injection shall be maintained
                                        with only a minimum amount of
                                        force applied to the syringe
                                        plunger.
                                 2.     When the entire contents of
                                        the      syringe
                                                    have been
                                        injected, syringe #1 shall              be
                                        removed from the “Y” site.

                                 The Flo Trol        clamp    should then be
                                 opened fully        and allowed to    run for
                                 15 seconds.

                                 The Flo Trol        clamps   shall then be
                                 closed.

                                 A period of sixty (60) seconds
                                 shall pass after the administration
                                 of the Sodium Thiopental and
                                 Closure of the Flo Trol clamp.

                                 1.     After the passage of          sixty
                                        {60} seconds:

                                            a.   If it appears to the
                                                 Warden based on his
                                                 visual inspection that
                                                 the condemned person is
                                                 not unconscious:

                                                      The Warden shall
                                                      notify the Executive
                                                      Director/desigqnee;
                                            il.       The Executive
                                                      Director/designee
REVISED   06/10/10                                     TMF    01/05   -




                                                                          pg.   84




                                                                                     GLOSSIP000176
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 305 of 465


                                                          will order the
                                                          execution team to
                                                          Switch to the back-
                                                          up       IV   site;

                                                                    Executive




                                                          is
                                                          3

                                                          iD
                                                jo
                                           jH
                                                           le




                                                          Director/designee
                                                          shall order that the
                                                          back-up IV site be
                                                          used with a new flow




                                                          (secondary            sy
                                                          labeled
                                                               2
                                                                          Syrin

                                           iv.            The Executive
                                                          Director/designee
                                                          shall order the
                                                          remaining         sequence
                                                          of chemicals to be
                                                          injected through the
                                                          back-up IV site.
                                 2.    Tf it appears to the Warden
                                       based on his visual inspection
                                       that the condemned person is
                                       unconscious after the first
                                       injection of Sodium
                                       Thiopental, the Warden snali
                                       notify the Executive
                                       Director/designee who will
                                       then order the execution team
                                       to continue to the next step
                                       in the sequence.

                                 The   18 ga needle of         Syringe               #2
                                 (fifty    (50)       milligrams of
                                 Pancuronium Bromide) shall be
                                 inserted into the “Y” site and the
                                 injection           shall commence;

                                 1.    A   steady,    flow of the
                                                          even

                                       injection shall be maintained
                                       with only the minimum amount
                                       of force applied to the
                                       syringe plunger.
                                       When the entire contents of
                                       the syringe have been
                                       injected,          Syringe
                                                         #2 shall be

REVISED   06/10/10                                        TMF       01/05       -




                                                                                     pg. 85




                                                                                          GLOSSIP000177
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 306 of 465



                                       removed from the “Y” site.

                                 After syringe #2 has been given,
                                 the Flo Trol clamp should be
                                                              opened
                                 fully for 15 seconds.
                                 The Flo Trol   clamp      shall then be
                                 closed.

                                 The 18 ga needle of Syringe #3 (240
                                 milliequivalents of Potassium
                                 Chloride) shall be inserted into
                                 the “Y” site and the injection
                                 shall commence;

                                      A   steady,    flow of the
                                                    even

                                      injection shall be maintained
                                      with only the minimum amount
                                      of force applied to the
                                      syringe plunger.
                                 2.   When the entire contents of
                                      the syringe have been
                                      injected, Syringe #3 shall           be
                                      removed from the “¥” site.

                                The Flo Trol    clamp shall then be
                                opened fully    and allowed to run for
                                15 seconds.
                         be




                                The Flo Trol    clamp     shall then be
                                closed.

                                An execution team member
                                                                   designated
                                by the execution team leader shall
                                start a stopwatch once the lethal
                                injections    are   complete.
                                The execution team leader shall:

                                1,    Observe the heart       monitor;     and

                                2,    Advise the attending physician
                                      electrical activity of the
                                      heart has ceased as indicated
                                      by a flat line on the heart
                                      monitor.

                                The Warden shall notify the
                                Executive Director/designee if it
                                appears an additional set of lethal
                                chemicals needs to be administered
REVISED   06/10/10                                  TMF    01/05   -




                                                                       pg. 86



                                                                                GLOSSIP000178
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 307 of 465


                                  due to the       following         conditions:

                                  1.      Heart monitor does not
                                          indicate a flat line after ten
                                            10)
                                           (10) minutes; or

                                          The attending          physician
                                                                    is not
                                          able to declare the  time  of
                                          death after ten (10)   minutes.

                                   In the   event death has not
                                  occurred;

                                        1. The Executive
                                          Director/designee             will order
                                          the process established in
                                          subsection         of this
                                          section and subsequent
                                          sections to continue with the
                                          secondary set of             syringes
                                          until death has occurred.

                                   During  the execution by lethal
                                   injection, the DIO
                                   Director/designee and Warden shall:
                                   1.     Watch the        primary      IV site for
                                          failure,     leakage,         the catheter
                                          coming    out of       a    vein,   or   any
                                          other    problem.
                                          In the    event that an IV fails,
                                          leaks,    if the catheter comes
                                          out    of the vein, or any other
                                          problem     arises, the execution
                                          team shall be ordered to
                                          switch to the back-up IV.

                                           In the event the execution
                                           team is ordered to switch to
                                           the back-up IV, the DIO
                                           Director/Warden shall watch
                                           the back-up IV site for
                                           failure, leakage, the catheter
                                           coming    out    of   a    vein,   or   any
                                           other    problem.
                  J.   Post   Lethal    Injection Steps
                       1.     When the    physician declares death,                the
                              Executive    Director/designee, DIO

 REVISED   06/10/10                                        TMF       01/05    ~




                                                                                  pg. 87




                                                                                         GLOSSIP000179
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 308 of 465



                             Director/designee      and Warden shall be
                             informed.

                             The DIO Director and Warden shall close
                             the viewing room curtains.

                             The Executive      Director/designee
                                                             shall
                             make appropriate contact with the
                             Governor and Attorney General          informing
                             them of the completion of the execution.

                 K.   Disposal      of BIO-Hazardous Contaminated Items

                      1.     The execution team leader shall place
                             items that have been contaminated with
                             blood or other potentially infectious
                             materials (OPIM) that have the potential
                             to puncture into a puncture proof
                             container      (sharps container).
                             The execution team leader shall place
                             other types of blood or other
                             potentially infectious materials in
                             trash containers lined with a red BIO-
                             Hazardous waste bag.


                             The Correctional Medical Administrator
                             shall ensure that the contaminated waste
                             is disposed of in the proper Dumpster.

TMF   01/05.16   Execution   by    Firing   Squad
                 A.




                             Refer to TMF 01/05.10.

                             The team leader shall load the weapons
                             and prepare to issue them to the members
                             of the firing squad.

                             Two   rounds shall be loaded in each
                             weapon.

                             Care shall be      taken to preclude any
                             knowledge by      the members of the firing

REVISED   06/10/10                                    TMF   01/05    -




                                                                         pg. 88


                                                                              GLOSSIP000180
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 309 of 465


                               squad      of who is   issued the weapon. with
                               two blank      cartridges.
                 Cc.   The        shall di                   that an aiming         point
                       or     verses
                                 be placed
                             target
                                                 rect over    the condemned
                       inmate's heart.

                 D.    Upon completion         of "C",       above, the Warden
                       shall direct the person who               placed      the    target
                       to exit the execution chamber.

                 E.    After the target is in place and all
                       witnesses are secured, the Warden shall                                           |
                       direct that the viewing room curtains be
                       onenendn
                       Vyeiicu.


                 F.    After all         preliminaries
                                               are completed, the                                        |
                       Warden,    the
                                    atconclusion of the condemned                                            |




                       inmate's last words (which shall not exceed
                       two minutes and cease at any point should the
                       condemned use foul language), shall place the
                       hood over the condemned's head.

                       (1)    Audio recording equipment may be used                      by
                              the Department for the purpose of
                              recording the defendant’s last words.
                       (2)    The            shall permanently destroy
                                     Department
                              the recording made under this subsection
                              not later than 24 hours after the
                              completion of the execution.
                       (3)    No  form of duplication of the audio
                               shall be permitted.

                       (4)    The    Warden, witnessed          by   the DIO
                               Director/designee,            shall   destroy       any
                               audio recording.
                 G.    The DIO      Director/designee,
                                                  Warden, and any
                       other observers shall exit the execution
                       chamber,

                       When the Warden enters the executioners’ room
                       and secures the door, if no stay or delay in
                       the execution has been ordered, the Executive
                       Director/designee shall immediately order the
                       firing squad team leader to begin the cadence
                       for the executioners to fire.




REVISED   06/10/10                                            TMF    01/05    -




                                                                                   pg. 89




                                                                                         GLOSSIP000181
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 310 of 465


                      A    designated execution            team member shall
                      Start    a stopwatch once            the first   volley   has
                      been    fired.
                      If the condemned inmate appears to be
                      unconscious, upon the order of the Executive
                      Director, the Warden and DIO Director shall
                      re-enter the execution chamber after the
                      first       volley.
                      1.      The Warden shall wait   maximum of three
                                                              a
                              minutes after the first volley and then
                              call for the physician to check the
                              vital signs of the condemned.

                              a.      If there     signs of life, the
                                                     are

                                      physician shall wait beside the
                                      condemned and check the vital             signs
                                      every 60 seconds.
                             b.       When no vital signs are detected,
                                      the physician shall certify death
                                      in keeping with standard medical
                                      practices,
                              Cc.    After death is certified, the
                                     Warden shall direct that the
                                     viewing room curtains be closed.
                             If, after   maximum of ten minutes from
                                                 a
                             the first volley, the inmate is
                             unconscious but alive, the Warden shall
                             direct the physician to make a final
                             check of the condemned’s vital signs.

                             a.      If    final check, vital signs are
                                            on

                                     detected, the Warden shall order
                                     the physician to exit the execution
                                     chamber.

                             b.      The Warden and DIO Director shall
                                     re-enter the executioner’s room.

                             d.      The Executive         Director/designee
                                     shall order the firing squad team
                                     leader to make the weapons ready to
                                     fire.
                             e.      The Executive       Director/designee
                                     shall       immediately
                                                       order the        firing
                                     squad team leader to begin the

REVISED   06/10/10                                          TMF   01/05   -




                                                                              pg. 90



                                                                                       GLOSSIP000182
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 311 of 465


                                  cadence for the firing         squad   to
                                  fire a second volley.

                                  After the firing of the second
                                  volley, the Warden and DIO Director
                                  shall re-enter the execution
                                  chamber and         with paragraph
                                                 proceed
                                  “J,1", above.

                K.    If, after the first    volley is fired, the
                      condemned is    obviously conscious, the
                      Executive Director/designee shall instruct
                      the firing squad team leader to immediately
                      prepare the weapons to fire again.

                      1.   The firing squad team leader shall ready
                           the weapons in a controlled and safe
                           manner.


                           The    firing squad team leader shall
                           ensure    the executioners do not see which
                           weapon    contains the blank cartridges.

                           When the         are ready,
                                       weapons         if the
                           condemned is still obviously conscious,
                           the Warden shall ensure no staff members
                           are in the execution chamber.


                           Upon notice from the Warden that the
                           execution chamber is clear, the
                            xecutive Director shall immediately
                           order the firing squad team leader to
                           begin the cadence for the executioners
                           to fire a second volley.

                           After the second      volley,   continue with
                           “J”, above.

                      The Executive Director shall make
                 i




                      notitication of the condemned’s death              to   the
                      Governor and the    Attorney    General.




TMF              Pre-Execution    Rehearsals   and   Practices

                 A.   A minimum of three       rehearsals and     practices
                      shall be conducted to carry out an execution
                      in a timely fashion maintaining the necessary

REVISED   06/10/10                                         01/05    -




                                                                         pg. 91




                                                                               GLOSSIP000183
 Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 312 of 465



                      security.     Practice/rehearsal shall be
                      provided    for but will not be limited to:

                      1.    briefing;
                      2.    removing the condemned inmate from the
                            observation cell;

                      3.



                      4.    escort to execution        chamber;
                      5.    tie-down      procedures completed;
                      6.    approximate time for        IV    injection
                            procedure (execution        time    approximate);
                      7.    clearing      and   escorting    witnesses to/from
                            execution site;

                      8.    security      curtains   opened    and    closed;
                      9,    condemned inmate's body removed from
                            execution table/chair;

                      10.



                      li.   clean-up;
                      12.   debriefing     outlined;

                      13.   firing   of   weapons; and
                      14.   ensure   sufficient precautions are taken
                            to minimize   the risk of bio-hazardous
                            exposure.

                 B.   Planning backward from the execution shall be
                      used to develop realistic time lines for each
                      function involved in the execution.




                            Discrepancies,       concerns or proposed
                            modifications due to       system problems
REVISED   06/10/10                                     TMF    01/05    -




                                                                           pg.   92



                                                                                      GLOSSIP000184
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 313 of 465


                             shall be    immediately reported        to       the
                             Warden.




                      ho
TMF   01/05.18   Support    Services Functions

                 A.   Food Services

                      1.     Observation Period Meal Service

                              a.




                              b.    The Food Services Director/designee
                                    shall confirm the condemned’s
                                    choice of a last meal.  The
                                    confirmation should be made 48-24
                                    hours prior to the execution.

                              Cc.




                              d.




                              e.    Alcoholic       beverages   shall not be
                                    served    nor    used for   cooking.
                       2.     Beverage   and Food Service for Staff

                              a.    Because of the length of time many
                                    persons will be       required
                                                             to remain
                                    on site without being able  to
                                    leave, it may be necessary to serve
                                    food and beverages to those
                                    assigned to the execution.

 REVISED   06/10/10                                      TMF    01/05     -




                                                                               pg. 93



                                                                                    GLOSSIP000185
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 314 of 465




                                Food and     beverage    services may be
                                provided     to:

                                 (1)     the command    post;
                                 (2)     the Information Center;

                                (3)      the food preparation area of
                                         the building in which the
                                         execution will occur;

                                (4)      to the Draper site Security
                                         Deputy Warden for      delivery
                                                                     to
                                         perimeter posts; and
                                (5)      other sites    as   needed.

                           d.




                 B.   Medical Staff

                      1.   Receipt     of Death Warrant

                           Upon receipt of the death warrant the
                           Correctional Medical Administrator
                           shall:

                           a.   review the medical procedures, post
                                orders and equipment checklist and
                                make recommendations in writing to
                                the Warden concerning any back-up
                                or duplication of any medical



REVISED   06/10/10                                 TMF       01/05   -




                                                                         pg. 94



                                                                                  GLOSSIP000186
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 315 of 465


                                 paraphernalia             that may be necessary
                                 to     carry      out   an  execution; and

                                 shall confer with the Chief
                                 Physician and assign all execution-
                                 related tasks to be completed.

                           Thirteen to Seven              Days
                           a.    At least thirteen                  days prior    to   the
                                 execution the Warden shall provide
                                 to the pharmacist, for his official
                                 record, authorization to purchase
                                 drugs. Authorization shall be in
                                 the form of a memorandum including:

                                 (1)      the names of the drugs which
                                          shall be obtained;

                                 (2)      a   copy of the            judgement    of
                                          death;         and

                                 (3)      a copy of the state                statute
                                          (77-19-10 (2) UCA).

                                                            days prior to the
                            or




                                 At     least      seven
                                 execution the             pharmacist shall
                                 order the          drugs from the vendor
                                 (refer       to    chapter TMF 01/05.11).
                                                       atA fa nrim
                                 (1)      ff tha
                                              Cile os tate’s  prime v €
                                          cannot deliver the drugs, tne
                                          pharmacists      shall make
                                          arrangements with other
                                          vendors or hospitals to obtain
                                          the drugs.

                                 (2)      If the         drugs      cannot be
                                          delivered         prison by the
                                                               to   the
                                          primary vendor or  their
                                          delivery service  to  the
                                          prison, the pharmacist shall
                                          notify the Correctional
                                          Medical Administrator.

                                  (2)     The Correctional Medical
                                          Administrator shall make
                                          arrangements witn the Draper
                                          site Security  Deputy Warden to
                                          have an officer accompany them


     SE   )   06/10/10                                         TMF   01/05   -




                                                                                 pg.95



                                                                                         GLOSSIP000187
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 316 of 465



                                       to the location where the
                                       other drugs may be obtained.

                           Cc.




                     3.




                     4,




                     5.

                           a.




                           b.




                     6.

                           a.



                                 (1)   the sodium pentothal syringes
                                       shall be prepared by the
                                       pharmacist at the direction of
                                       the Warden when it appears the
                                       execution shall be carried
                                       out;


REVISED 06/10/10                                 TMF   01/05   -




                                                                      GLOSSIP000188
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 317 of 465


                                  (2)     a medical-response team shall
                                          be on standby to provide       any
                                          medical attention which may be
                                           eeded during the time of the
                                          scheduled execution;

                                          a USP emergency      equipment
                                                                     kit
                                          and a back-up kit shall be
                                          made available at the
                                          execution site; and

                                          the Correctional Medical
                                          Administrator (CMA)    /designee
                                          and a USP Medical staff with
                                          skills in intravenous
                                          injections,   I.V.   set-up,
                                          cut-down, etc., shall be
                                          available at the execution
                                          site to provide medical
                                          assistance in the execution
                                          chamber, if necessary.

                                 Equipment and lethal drugs shall              be
                                 gathered up by the CMA/designee
                                 following the execution.
                                 (1)      The CMA/designee shall be
                                          responsible for the disposal
                                          of the medical equipment used
                                          for lethal injection in
                                                      ra             16
                                          accordance with
                                                 nos        AG
                                                          TMF  01/05.15.




                      Maintenance Staff

                      1,   Receipt      of Death Warrant

                           a.    Upon receipt of the death           warrant
                                 the Deputy Warden Support           Services
                                  shall:

                                 (1)     review the maintenance
                                         procedures and the equipment
                                         checklist and make recom—
                                         mendations in writing for
                                         changes, additional equipment,
                                         etc. as is viewed essential

REVISED   06/10/10                                     TMF   01/05    pg.97



                                                                               GLOSSIP000189
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 318 of 465



                                       and    provide   such
                                       recommendations to the Warden
                                               prior to the scheduled
                                       execution date; and

                                       confer with the Maintenance
                                       Director and      assign all
                                       execution related tasks to be
                                       completed.
                                The Maintenance Director shall then
                                prepare a task completion calendar

                                which shall be presented to the
                                Deputy Warden Support Services for
                                approval, including:
                                 (1)   a review of the maintenance
                                       procedure and the equipment
                                       checklist;

                                       recommendations to the Warden
                                       in writing of changes,
                                       additional equipment, etc. as
                                       is viewed essential
                                       prior to the schedureu
                                       execution date;

                                       identification of strategies
                                       to ensure that all systems,

                                       equipment, and mechanisms
                                       associated with the execution
                                       facility are functional and
                                       are    readily repairable given
                                       an    unexpected malfunction;
                                       identification of emergency
                                       equipment, materials, and
                                       substances necessary to ensure
                                       that system, equipment, and/or
                                       mechanism malfunctions are
                                       expeditiously       remedied;

                                       establishment of inspection
                                       checklist and time frames for:

                                       (a)     the facility designated
                                               for the execution;

                                       (b)     the observation     cell; and

                                       (c)     emergency   backup systems;
REVISED   06/10/10                                  TMF    01/05       pg.98


                                                                               GLOSSIP000190
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 319 of 465




                                  (6)   ensuring that all maintenance
                                        service/repair trucks are in
                                        good operational condition and
                                        supplied with equipment,
                                        tools, and supplies necessary
                                        to correct all        execution
                                        related     emergencies;       and

                                  (7)   identification of maintenance
                                        personnel      necessary     to address
                                        all execution        day   maintenance
                                        emergencies.
                      PO




                           The Maintenance Director shall:

                           a.     complete    a   pre-inventory      check of
                                  the necessary      equipment;      and

                                  complete    a written report to the
                                  Deputy    Warden Support Services of
                                  equipment, etc. requiring repair,
                                  replacement or duplications,
                                  including recommendations to
                                  correct problems and time frame
                                  necessary       to make   necessary
                                  corrections.

                      3.

                           The Deputy Warden Support Services shall
                           direct the Maintenance Director to:

                           a.




                            Cc.   conduct    inspection
                                             an                    of the
                                  following equipment:
                                  (1)   execution chamber;

                                  (2)   observation cell; and

                                  (3)   emergency      back-up systems        and
                                        equipment.
                      4,


REVISED   06/10/10                                     TMF   01/05    -




                                                                          pg. 99




                                                                                   GLOSSIP000191
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 320 of 465




                           b.   A  pre-inventory check shall be
                                 completed to ensure equipment is
                                 operational and in proper working
                                 order.




                                 (3)     emergency    back-up systems    and
                                         equipment.
                           b.    Emergency equipment       shall be
                                 checked to    ensure    readiness for the
                                 execution.



                           a.    Complete    the   procedures   as   outlined
                                 in 5,    above.




REVISED   06/10/10                                    TMF   01/05    pg. 100




                                                                           GLOSSIP000192
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 321 of 465




                                                                     GLOSSIP000193
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 322 of 465




REVISED   06/10/10                               TMF   01/05




                                                                     GLOSSIP000194
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 323 of 465




                                                                     GLOSSIP000195
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 324 of 465


TME   01/07. 00     WITNESSES

      01/07. OL     General Provisions
TMF   01/07. 02     News Media Witnesses
TMF   01/07 .03     Designation of Persons   Required,    Permitted   or
                    Prohibited from Witnessing
TME   01/07. 04     Witness Agreement




REVISED   06/10/1                                   TME   01/07       pg. 107




                                                                                GLOSSIP000196
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 325 of 465


TMF   01/07.00   WITNESSES

TMF   01/07.01   General Provisions

                 A.   Purpose         of   Chapter
                      The    purpose of this chapter is                              to:


                      1.      identify           and number of
                                                    the            types
                              witnesses permitted to attend the
                              execution; and

                      2.      to      provide legal requirements concerning
                                the    witnessing of the execution.
                 B.   Policy
                      It    is the         policy           of the          Department      that:

                      1.      procedures   for selecting witnesses to
                                the execution shall conform with 77-19-
                                11 UCA;

                      2.        witnesses shall enter into written
                                agreements               before            being approved         for
                                attendance;               and

                      3.        witnesses shall be subject to search
                                prior to being admitted.

TMF   01/07.02   News Media Witnesses

                 A.   Members of the news media shall be                                     permitted
                      to witness the execution.

                 B.   Selection shall be at the discretion of the
                      Executive Director/designee.

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                      procedures.

TMF   01/07.03   Designation       of Persons      Required,                       Permitted      or

                 Prohibited from            Witnessing
                 A.   The Utah Code limits and identifies those
                      persons who may attend and witness the
                      execution.




 REVISED                                                                     TMF    01/07     -




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Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 326 of 465



                           The Executive Director of Corrections                or
                           his designee shall:

                           a.    cause    a    physician     to   attend the
                                 execution, 77-19-10 (5) UCA;             and

                                 permit the attendance at the
                                 execution of members of the press
                                 and broadcast news media named by
                                 the Executive Director of the
                                 Department/or his designee,
                                 77-19-11 (4) UCA.

                           At  the discretion of the Executive
                           Director of the Department of
                           Corrections/designee, the following may
                           attend the execution:

                           a.    the prosecuting attorney, or his
                                 designated deputy, of the county               in
                                 which the defendant committed the
                                 offense for which he is being
                                 executed, 77-19-11 (2) (a) UCA;
                                 no more than two law enforcement
                                 officials from the county in which
                                 the defendant committed the offense
                                 for which he is being executed,
                                 77-19-11 (2) (b) UCA;

                           Cc.   the   Attorney     General or his
                                 designee,       77-19-11 (2) (c) UCA;

                           d.    religious representatives, friends,
                                 or  relatives designated by the
                                 defendant, not exceeding a total of
                                 five persons,                      (2) (d) UCA;
                                 and

                                 unless       approved by
                                                     the Executive
                           oy)




                                 Director,      no  than
                                                     morefive close
                                 relatives of the deceased victim,
                                 as selected by the Executive

                                 Director, but giving priority in
                                 the order listed in TMF 01/01.04.

                          The persons enumerated in Subsection (2)
                          may not be required to attend, nor may
                          any of them attend as a matter of right,
                          77-19-11 (3) UCA.



REVISED   06/10/10                                     TME    01/07     pg, 109



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Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 327 of 465


                       4.   The following persons may also attend
                            the execution:

                            a.     staff as determined necessary for
                                   the execution by the Executive
                                   Director of the Department of
                                   Corrections/designee; and
                            b.     no    more    than three   correctional
                                   officials from other states that
                                   are    preparing
                                                 for executions, but
                                   no      than two correctional
                                         more
                                   officials may be from any one
                                   state, as designated by the
                                   Executive Director of the
                                   Department of Corrections or his
                                   designee, 77-19-11 (7)       (a)
                                                             UCA.


                       5.   Other necessary staff designated by the
                            Executive Director of the Department of
                            Corrections/designee shall be permitted
                            to the execution.

                            a.     The "necessary staff" shall include
                                   those persons identified in the
                                   post orders and procedures in
                                   TMF Ol.

                            b.      "Necessary staff" shall not be
                                    limited to members of the Utah
                                    Department of Corrections but may
                                    include members of allied agencies
                                    assisting with the execution.
                       6.   The Department is empowered and directed
                            by 77-19-11  (8) UCA to adopt rules
                            governing
                            hha
                                      the  attendance of persons at
                                    warmikbann
                            che    execution.


                       7    No    person under the age of 16 may attend
                            the execution

                  B.   For those persons who shall carry out the
                       execution or serve in support roles in the
                       execution area, refer to TMF 01/05.05 B, C.
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 REVISED   06/10/10                                     TME           -




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Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 328 of 465




TMF    01/07.04        Witness       Agreement
                       (See    following      page for Witness        Agreement.)
          Rules of Conduct for Witnesses Observing                     an   Execution
                                at the
                           Utah State Prison

1.                    bring onto prison property anything
       That you will not
constituting legal    illegal contraband under any applicable
                              or

statute, rule, or policy including any firearm, dangerous weapon,
implement of escape, explosive, spirituous of fermented liquor,
medicine, poison, or any other item creating a threat to the
safety, security, or management of the prison;
2.  That you      agree
                   to submit to a reasonable search for
contraband and other searches as considered necessary by the
Department for entry to Department prison and         area           staging
property;
3.     That you conduct            yourself   in   a   lawful and    orderly   manner;

4.  That you comply with all lawful directives of correctional
personnel while on Department property;
9.     That you will not      bring to the execution                site any
photographic      or    recording equipment; and
6.      That you understand that the Department of Corrections will
not    provide mental health services to witnesses.

7,     That you understand the Department of Corrections is required
to    record/report the names of all witnesses in attendance as well
as    provide the information to media representatives.

I have read the above rules and agree to abide by them.  I
understand that my failure to comply with the rules will result
in my immediate removal from Department of Corrections
                                                                               property
and that I may be subject to criminal
                                                         prosecution.


        Signature      of Witness                                            Date



UDC   Representative                                                         Date




REVISED   06/10/10                                              TMF    01/07    -




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Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 329 of 465


      01/08. 00      NEWS MEDIA PROCEDURES

TME   01/08          General Provisions
TME            02    News Media Selection
TME   01/08.   QO3   Alternate    Coverage/Accommodations
TME   01/08.   04    News Media Attendance at the Execution
TME   01/08.   05    Limitations    on   Coverage
TME   01/08.   06    News Media    Briefing
TME   01/08.   07    News Media    Support    Equipment
                                              and
TME   01/08.   08    Media   Representative Agreement




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Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 330 of 465




TMF   01/08.00   NEWS MEDIA PROCEDURES

TMF   01/08.01   General Provisions

                 A.   Purpose    of    Chapter
                      The purpose of this               chapter     is:

                           to provide the policies, procedures and
                           requirements for providing access to the
                           execution and information relating to
                           the execution to the                 news      media;

                                 provide                procedure
                      NO



                           to                    the                   for:

                           a.         releasing background                information;

                           b.         releasing         information        during   the
                                      execution;

                           Cc.        coverage of the execution; and

                           to    provide requirements for safeguarding
                           the institution and    protected
                           information.

                      Policy
                      1.   It    shall be the            policy
                                                  of the Department
                           to permit press        to the execution
                                                         access
                           and information               concerning
                                                      the execution
                           consistent with the               requirements
                                                            of the
                           constitutions and laws of the United
                           States and state of Utah.

                           The    Department            is   generally required           to
                           provide          no   more    access     to the news
                           media,        inmates and facilities it
                                        to the
                           supervises and controls than that
                           available to the general public.

                           The    Department
                                          and the Utah Code
                           recognize the need for the public to be
                           informed concerning executions conducted
                           by the Department of Corrections.
                           a.         The Department          will participate and
                                      cooperate with          the news media to
                                      inform the         public concerning          the
                                      execution.

                                                                           provided
                           ty




                                      Information should be                           in       a

                                      timely     manner.


REVISED   06/10/10                                            TMF    01/08     -




                                                                                   pg.113
                                                                                            GLOSSIP000202
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 331 of 465

                            If the condemned is willing, the
                            Department may allow an opportunity
                            forthe condemned to speak with the news
                            media.  If allowed, the interview may:

                            a.    include those members of the news
                                  media selected to witness the
                                  execution;

                            b.    include additional members of the
                                  news media authorized by the

                                  Department, but not including more
                                  than one reporter from the same
                                   cram
                                  agency, and
                                         omure




                            on    be held at         a time and location
                                  determined         by the Department.

                            communication may be temporarily
                            suspended until the situation has been
                            stabilized.  Exigent circumstances shall
                            include, but          not be   limited to:

                            a.    riots;

                            b.    hostage         situations;

                                  fires      or    other disasters;      or



                            d.    other inmate disorders.

                            Refer to Chapter AGrO5,"Media Relations"
                            for general news media access to
                            information, inmates and facilities.

TMF              News Media Selection

                 A.   Number in Attendance

                      The   Departmentshall permit members of the
                      press and  broadcast news media to witness the

                      execution.




                      Authority   to   Select

                      The Executive      Director/designee shall              be
                      responsible for      selecting the members              of the



REVISED   06/10/10                                         TMF   01/08   -




                                                                                   GLOSSIP000203
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 332 of 465




                     news media who will be permitted to witness
                     the execution.  77-19-11(4) UCA

                     Selection Process

                     1.     After the court sets a date for the
                            execution of the death penalty, news
                            directors or editors may submit a
                            written List of news media witnesses
                             (one per organization) and other news
                            personnel needed at the execution, to
                            the attention of the Executive Director
                            at least 30 days prior to the execution.
                              When administrative convenience or
                            fairness to the news media dictates, the
                            Department in its discretion may extend
                            the request deadline.

                            Requests for consideration may             be
                            granted by the Executive
                            Director/designee provided they               contain
                            the   following:
                            a.    a    statementsetting forth facts
                                  showing  that  the requesting
                                  individual falls within the
                                  definition of "member of the press
                                  and broadcast news media" set forth
                                  in these regulations;

                            b.    an   agreement   to act    as   a   pool
                                  representative     as    described in
                                  these    regulations;
                                       agreementthat the media member
                            Q




                                  an
                                  will abide by all of the
                                  conditions, rules and regulations
                                  while in attendance at the
                                  execution; and

                            d.    agreement that they will conduct
                                  themselves consistent with existing
                                  press standards.

                            Upon receipt  of a news director’s or
                            editor’s request for permission for news
                            media witnesses to attend the execution,
                            the Executive      Director/designee
                                                             may take
                            such steps as he deems necessary to
                            verify the statements made in the
                            request. After verifying the
                            information in the requests, selection


REVISED   06/10/10                                   TMF    01/08     -




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                                                                                   GLOSSIP000204
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 333 of 465




                                  f witnesses shall be made           by     the




                             tO
                                   ecuth
                                  xe
                                               Director/designee.
                             The Executive Director/designee shall




                      ay
                             identify the media members who have been
                             selected to witness the execution.
                             Media members shall be selected on a
                             rotating basis from the following
                             organizations:
                             a.          Salt Lake    daily   newspapers;

                                                  n stati ons licensed
                                         elevission




                                         ct
                             b.                                      e             |




                                        broadcasting daily   in  the State of
                                        Utah;

                                         one   newspaper of    general
                             Q



                                         circulation in the         county    in which
                                         the crime occurred;

                             d.          one   radio station licensed and
                                         broadcasting   in the State of Utah;
                                         and

                             e.          the remainder from a pool of
                                         broadcast, print and wire services
                                         news media organizations operating
                                         in Utah.

                             In the event that           the Executive Director
                             is unable to name           a news media witness

                             from each of the above-described
                             organizations, he shall name other
                             gualifying media members to attend.

                             No      media witnesses other than those
                                       news
                             named to attend the execution as
                             described in this chapter shall be
                             permitted to witness the execution.



                      Pool   Photographers
                             Two photographers shall be appointed as
                             pool photographers to photograph/film
                             the execution chamber following clean
                             up.

                             The pool        photographers may be selected
                             from        agencies other than those
REVISED   06/10/10                                            TMF   01/08     -




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Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 334 of 465




                             represented among     those   witnessing     the
                             execution.

TMF              Alternate   Coverage/Accommodations
                 A.   Additional Media Selected

                      1.     The Executive Director may designate
                             additional members of the press and
                             broadcast news media who request and
                             receive permission to be allowed at a
                             location designated by the Executive
                             Director on prison property during the
                             execution.

                      2.     The additional média selected shall be
                             from both the print and broadcast media.

                 B.   Alternate Location

                      1.     The alternate location shall be         a   press
                             briefing   area.


                      2.     Media members must contact the
                             Department's Public Affairs Director at
                             least 14 days prior to the execution
                             date to make any special arrangements
                             for hook ups or other necessary
                             arrangements.      Any expense    incurred
                             shall be borne by the     specific news
                             media requiring     special equipment or
                             hook ups.

                      3.     No special access nor briefings will           be
                             provided to members of the press who           are
                             not selected as witnesses        nor   selected
                             for the alternate site.

                      4,     The alternate site shall be made
                             available to the selected members of the
                             news media at 1700 hours the day prior
                             to the scheduled execution date.

                 on   Briefing     Media at the Alternate Site

                      1.     The Public Affairs Director shall
                             arrange for:

                             a.    pre-execution briefings;
                             b.    distribution of media       briefing
                                   packages;

REVISED   06/10/10                                   TMF   01/08      pg.117
                                                                                GLOSSIP000206
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 335 of 465

                               c.      briefings throughout               the execution
                                       event;       and

                               d.      post-execution briefings by                  the
                                       news   media        who witnessed the
                                       execution

                        2.     The news media witnesses to the
                               execution shall be returned to the media
                               briefing       area    to    answer      questions    from
                               media members at the alternate site.

TMF    01/08.04    News Media Attendance            at the Execution

                   A.   The  Warden/designee shall                permit
                                                          the members
                            the press and broadcast news media,
                           thea
                        AF            aad h        +
                        of
                        selected by the Executive Director/designee
                        in accordance with these regulations, to
                        witness the execution.

                        Each news media witness attending the
                        execution shall be carefully searched prior
                        to admittance to the execution chamber.




                               a.      Electronic          or   mechanical      recording
                                       devices.include, but are not
                                       limited to, still, moving picture
                                       or   video cameras,             tape   recorders     or

                                       similar devices, broadcasting
                                       devices, or artistic paraphernalia,
                                       such    as    notebooks, and           drawing
                                       pencils       or pens, etc.


                               b.      Violation of this prohibition is                     a

                                       class B misdemeanor.

                               Cc.     Only a small notebook  (no larger
                                       than 4" x 6") and a pen or pencil
                                       issued by the Department shall be
                                       permitte
                        2.     Only the selected members of the news
                               media  (witnesses and two pool
                               photographers) shall be allowed to
                                                                 TMF    01/08       pg.118
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Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 336 of 465


                           attend the   pre-execution briefing.      The
                           group will be escorted into     a   briefing
                           room.


                           a.




                     4,    Persons requesting to witness the
                           execution shall be required to sign a
                           statement or release absolving the
                           institution or any of its staff from any

REVISED   06/10/10                               TMF   01/08     pg.119


                                                                          GLOSSIP000208
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 337 of 465

                                     legal recourse resulting from the
                                    exercise of search requirements or other
                                    provisions of the witness agreement.
                             The   Warden/designee
                                                 shall not exclude any
                             news media witness duly selected in
                             accordance with these regulations from
                             attendance at the execution except as
                             described in tnese regulations, nor may the
                             Warden/designee cause a selected news media
                             witness to be removed from the execution
                             chamber unless the media member:

                                                   submit L to a reaso
                                                                                      onable         search
                                                                  co
                             1.      refuses      to

                                     as    permitted in these reguula
                             2.      faints, becomes ill               or   requests to be
                                     allowed to leave            during      the execution;

                             3.      causes a disturbance within the
                                     execution chamber; or

                             4,      refuses     or        fails to abide        by     the
                                     conditions and            regulations            set forth           by
                                     the    Department.
                             The execution chamber shall be arranged so as
                             to         space for the attending news media
                                   provide
                             witnesses and the space arranged shall have a
                             view of the execution site, with the
                             exception of:
                             1.      a view of the members of the                           firing
                                     squad, if employed; or
                             2.          f lethal         is chosen, those
                                                       injection
                                     directly administering the method of
                                                 who shall be concealed from
                                     execution,
                                     the vi   Or
                                                  LWA
                                                  ene media. members so that                     4




                                     their identities will remain unknown.

                             The selected      media witnesses shall be
                       ir)




                                                  news

                             transported      group to the execution
                                                 as    a
                             location prior to the execution and shall be
                             allowed to remain there throughout the
                             proceeding.
                                     epartment shall            designate
                       my




                                                                                 a

                                    esentative     representatives to remain
                                                       or

                                     the media members  throughout the
                                     tion proceedings  for  the purpose of
                                         ising   and       escorting.
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Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 338 of 465


                      News media witnesses shall be admitted              to   the
                      execution area on the date set for the
                      execution only after:

                      1.   proof of identification           have been
                           presented to the Public           Affairs
                            Director/designee     at   the    staging    area;

                           receiving an orientation by the              Public
                           Affairs Director/designee; and
                           signing an agreement to abide by
                           conditions required of news media
                           witnesses to the execution.

                     After the execution has been completed and
                     the site has been restored to an orderly
                     condition, news media witnesses may be
                     permitted to return to the execution chamber
                     for purposes of filming, photographing and
                     recording the site.
                     1.    Re-entry to the site shall be permitted
                           only after the site has been restored to
                           an orderly condition,
                                                 including:
                           a.   removal of the      body     of the
                                condemned;

                                evacuation of those involved in
                                administering the execution; and
                           c.   clean up of the execution chamber.

                           Restoring the site to an "orderly
                           condition" prior to the filming
                           opportunity shall not unnecessaril
                           disturb the physical arrangements
                           the execution.

                           Media members permitted to return to the
                           execution chamber for the filming and
                           recording of the site shall include:
                           a.   the news media witnesses who were
                                selected to witness the execution;

                           b.   one    pool   television     camera    man;    and

                                one   pool newsprint photographer.

REVISED   06/10/10                                  TMF    01/08   -




                                                                                 GLOSSIP000210
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 339 of 465
                      4,      The    film/videotapeshall not be used in
                              any news or  other broadcast   until made
                              available to all agencies              participating
                              in the pool.   All           receiving the
                                                            agencies
                              film/videotape  will  be           permitted
                                                                  to
                              usethem in news coverage   and  to retain
                              the film/videotape for file footage.

                      News media         representatives         shall, after     being
                      returned from the              execution to the        staging
                      area,    act    pool representatives for other
                                        as

                      media    representatives covering the event.
                      1.      The    pool representatives shall meet at
                              the    designated media center and provide
                              an account of the execution and shall
                              freely answer all              questions
                                                          put to them
                                                         shall not be
                              by other media members and
                              permitted to report their coverage of
                              the execution back to their respective
                              news organizations until after the non-
                              attending media members have had the
                              benefit of the              pool representatives’
                              account of the execution.

                              a.        News media members attending the
                                        post-execution briefing shall agree
                                        to remain in the briefing room and
                                        not       nor communicate with
                                                  leave
                                        persons outside  the briefing room
                                        until the briefing is over.
                              b.        The briefing shall end when the
                                        attending news media members are
                                        through asking questions or after
                                        90 minutes,         whichever    comes    first.




TMF   01/08.05   Limitations       on   Coverage
                 A.   The Warden, with the concurrence of the
                      Executive Director, may alter these
                      regulations            to    impose   additional    conditions,
                      restrictions and limitations on media
                      coverage of the execution when such
                      requirements become necessary for the
                                                               TMF   01/08    -




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                                                                                       GLOSSIP000211
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 340 of 465


                      preservation          of    prison security, personal
                      safety      or    other legitimate        interests which
                      may be in         jeopardy.
                       Ifextraordinary circumstances develop, the
                      additional conditions and restrictions
                      shallbe no more restrictive than required to
                      meet    the      exigent     circumstances.

TMF   01/08.06   News Media    Briefing
                 A.   Pre-Execution          Briefing       Packets

                      1.      The Public Affairs Director shall
                              prepare a press briefing packet for
                              reporters approved to witness the
                              execution, or to cover the execution
                              from the news media staging area.

                      2.      The   briefing     packet should be
                                                    press
                              provided       tomedia representatives
                                                   news
                              as they arrive at the staging area.


                      3.     The contents of the press briefing
                             packet shall include, but not be limited
                             to, biographical information on the
                             condemned, the list of official
                             witnesses, pool reporters, family
                             witnesses, execution procedures,
                             sequence of events, and the                history        of
                             executions in Utah.

                             Updates        will   generally    be communicated
                             and/or distributed             to the press on an
                             hourly basis beginning about 1700                    hours
                             the day preceding the execution.
                             Briefing updates should include:
                             a.        a summary of activities related to
                                       the execution procedures and
                                       sequence of events; and

                             b.        a   summary   of the condemned           inmate's
                                       activities     during       his final 24
                                       hours.

                      Death Announcement

                      1.     The Public Affairs
                             Representative/designee               shall read      a

                             prepared       statement to the       press, prior
                             to the post-execution             press conference,
                             announcing          that the execution has been
                             completed.

                                                             TMF    01/08   -




                                                                                pg.123
                                                                                            GLOSSIP000212
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 341 of 465
                           The announcement shall        include, but        not
                           be limited to:

                           a.      the time of the execution;

                           b.      the time the condemned        was

                                   pronounced dead; and
                           Cc.     the condemned's final words.

                      Post-Execution Conference

                           The   post-execution       conference shall
                           begin immediately following the arrival
                           of the pool reporters from the execution
                           site.

                      2.   The Public Affairs Director shall
                           introduce the members of the press who
                           witnessed the execution and facilitate
                           the   post-execution
                                              conference.

                      3.   The Executive Director,            Deputy Director,
                           Institutional    Operations
                                                    Division
                           Director and/or Warden may appear and
                           answer    guestions   at    the    press
                           conference.

                      4,   The   post-execution
                                              conference shall
                           continue for    ninety
                                               minutes or              until   the
                           questioning of the reporters who
                           witnessed the execution has been
                           completed; whichever comes first.
                      Travel Routes

                      1.




                      Media Center

                            The Media Center shall be located in the
                            designated staging        area.



 REVISED   06/10/10                                    TMF    01/08    -




                                                                           pg.124




                                                                                GLOSSIP000213
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 342 of 465



                              The Public Affairs Director shall             assume
                              responsibility for routine press
                              briefings at the Media Center.


                              Press briefings and the post-execution
                              conference will be held at the Media
                              Center.

                              News media personnel may          not access    nor
                              occupy any other part of    the staging
                              area,     The media shall have access only
                              to the    designated      media center.

                              Members of the news media may not seek,
                              speak to or interview any official
                              visitor while at the staging area.




TMF   01/08.07   News Media    Support       and   Equipment
                 A.   Telephones
                      1.      The Public Affairs Director shall
                              coordinate all telephone needs with the
                              Deputy Warden Support Services at the
                              Utah State Prison,

                              Each      agency requiring dedicated
                                      news

                              telephone lines, shall submit in writing
                              its telephone needs to the Public
                              Affairs Director 14 days prior to the
                              scheduled execution.  Agencies
                              requesting dedicated phone lines will be
                              responsible for the cost of those lines.
                           The Department shall install a
                           reasonable number of telephones, for
                           local use and collect calls only, for
                           news media use at the Media Center.   If
                           the Department is unable to install
                           collect-call only telephones, personal
                           cellular phones may be used.

                      Electrical Outlets




REVISED   06/10/10                                       TMF   01/08   -




                                                                           pg.125


                                                                                GLOSSIP000214
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 343 of 465




                         Each news agency must communicate its needs
                         for electrical power to the Public Affairs
                         Director 14 days    prior
                                                to the scheduled



                         Refreshments

                         The Public Affairs Director may        inquire   about
                         having a private caterer at the        staging   area

                         for the media to    purchase
                                                   items.

                         News Media    Support   Vehicles

                         1.




TMF   01/08.08   Media    Representative Agreement
                 (See following       page for Media    Representative
                 agreement.)




REVISED   06/10/10                                      TMF   01/08   -




                                                                             GLOSSIP000215
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 344 of 465




Rules of Conduct for Media            Representatives Observing             an   Execution
                                           at the
                                   Utah State Prison



1.                    bring onto prison property anything
       That you will not
constituting legal    illegal contraband under any applicable
                           or
statute, rule, or policy including any firearm, dangerous weapon,
implement of escape, explosive, spirituous of fermented liguor,
                                                                                             |




medicine, poison, or any other item creating a threat to the
safety, security, or management of the prison;
2.  That you agree to submit to a reasonable search for
contraband and other searches as considered necessary by the
Department for entry to Department prison and staging area
property;
3.     That you conduct         yourself   in   a   lawful and    orderly   manner;

4.     That you comply with all lawful directives of correctional
personnel    while on Department property;

9.     That you will not      bring to the execution             site any
photographic       or   recording equipment;
6.     That you understand that the Department of Corrections will
not    provide mental health services to witnesses; and
7.     That you understand the Department of Corrections is
                                                                                 required
torecord/report    the names of all witnesses in attendance                      as   well
as    provide the information to media representatives.


I have read the above rules and agree to abide by them.  I
understand that my failure to comply with the rules will result
in my immediate removal from Department of Corrections
and that I may be subject to criminal prosecution.
                                                                             property


News   Organization


       Signature    of News Media Witness                               Date




       News   Agency Editor/Producer                                    Date




REVISED   06/10/10                                           TMF    01/08

                                                                                         GLOSSIP000216
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 345 of 465




                                                                     GLOSSIP000217
 Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 346 of 465




TMF   01/20         REVIEWAND DOCUMENTATION

      01/20         General Provisions
TME           no
      ULs2Z4U. Us   Review Assignment
      01/20. 03     Documentation of Execution
      01/20. 04     Retention and Safeguarding Documentation
TME   01/20. O05    UDC   Employee   Questionnaire




REVISED 06/10/10                                            TMF 01/20-     pg.   232
                                                                      GLOSSIP000218
 Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 347 of 465




TMF   01/20.00   REVIEW AND DOCUMENTATION

TMF   01/20.01   General Provisions

                 A.   Purpose     of   Chapter
                      The   purpose       chapter is to provide
                                        of this                           the
                      policies, procedures and requirements for
                      reviewingthe execution process.
                 B.   Policy
                       1.    Tt shall be the policy of the Department
                             that of the execution process shall be
                             performed as ordered by the Executive
                             Director.

                      2.     Auditors assigned to perform
                             thesereviewsshall beallowed access to
                             designated aspects of        the
                             executionpreparation.
                       3.    Auditors participating in the reviewof
                             the execution are not to be involved in
                             the execution preparationprocess, but
                             shall act as observers only and, at all
                             times, act in such a way that they
                             create the least disruption possible in
                             that process.

                       5.    Appropriate documentation of the
                             execution shall be created, collected,
                             safeguarded, and retained to provide an
                             adequate review trail and a proper
                             historical record.

                       6.    Documentation shall be protected in
                             accordance with 64-13-25(2) UCA.

TMF   01/20.02   ReviewAssignment
                 Authority   to Conduct     a    Review

                       1.    The Executive Director shall be
                             responsible for determining if a
                             reviewis to take place in each
                             execution.

                       2.    The Auditor(s) selected for the
                             execution review shall, upon direction




REVISED   06/10/10                                              TMF   01/20-    pg. 233
                                                                          GLOSSIP000219
 Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 348 of 465




                            from the Executive Director, prepare a
                            questionnaire to be completed by staff
                            involved in the execution process.   The
                            survey shall be approved by the
                            Executive Director and all responses
                            shall be confidential.  Only the
                            Executive Director may grant release of
                            the survey responses.



TMF   01/20.03   Documentation of Execution


                      Documentation to be Retained

                      Documentation which shall be retained shail
                      include:

                      1.    the warrant and all other         legal    papers;

                      2.    correspondence,      both official and
                           unofficial,       which is received by the
                            Department      of Corrections;

                      3.   minutes of       meetings held for purposes of
                           planning    or    disseminating information;
                      4,    inter-agency      written communication;

                      5.    intra-departmental      written
                           communication;

                      6.   logs, journals, chronological          notes,
                           etc., of key locations; and

                      7.   a    newspaper file.

TMF   01/20.04   Retention and    Safeguarding    Documentation

                 A.   Execution File

                      1.   An execution file shall be established
                           for each condemned person.  The file
                           shall be organized into sections which
                           should include:


                           a.      legal    documents;

                           b.      official    correspondence;


REVISED   06/10/10                                               TMF   01/20-    pg. 234
                                                                            GLOSSIP000220
 Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 349 of 465




                             Cc.     unofficial   correspondence;
                             d.      intra-departmental    written
                                     communication;

                             e.      chronological    notes,   logs,    etc.;
                                     and

                             f.      meeting   minutes.

                             Fach section of the execution file shall
                             have material filed in chronological
                             order.

                             All working documents which cannot be
                             filed during the execution process or
                             immediately after, shall be copied and               a

                             copy shall be placed in the execution
                             file.

                             All intra-departmental communication
                             shall have a courtesy copy to the
                             execution file.

                      Execution File Maintenance




                      Access to Execution File


                      Only those individuals authorized by the
                      Executive Director of Corrections, DIO
                      Director, or Warden, shall have access to the
                      execution file.

                      Long-Term Storage
                      To        that all documents concerning an
                           ensure
                      execution shall be retained to provide a
                      reviewtrail and an adequate historical
                      record, the execution file shall be stored in
                      accordance with the archive's plan of the
                      Department.


REVISED   06/10/10                                                TMF   01/20- pg. 235
                                                                                GLOSSIP000221
            Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 350 of 465




TMF   01/20.05        UDC   EMPLOYEE QUESTIONNAIRE


                                           Name of the Condemned

INSTRUCTIONS:

Please complete this questionnaire as soon after the execution                        as   possible.    Answer
each question completely and accurately.  Add as many pages as                        necessary if      answers
need more space.

Complete     and return this questionnaire to the AuditBureau at Utah                      Department    of
Corrections,     14717 S. Minuteman Drive, Draper, 84020, by

Thank you.



FULL NAME:
TITLE:
LOCATION:
FUNCTION DURING THE
EXECUTION:


1.    Were   you   provided adequate      direction for your       area   of    responsibility?
      If you answered “No,”       please explain     what direction would havebeen
      beneficial to you.




2.    Were   you   adequately   trained   or   briefed in your     area    of     responsibility?
      Yes     No

      If you answered “No,” please         explain   what   training      or    briefing   would have
      been beneficial to you.




3.     Did you observe      anything   that you    thought   was    not   adequately       addressed?

       Yes      No

       If    you answered “Yes,”    please explain.




REVISED      U6/LO/                                                             TMF   01/20-
                                                                                                  GLOSSIP000222
      Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 351 of 465




4,   Please make any additional comments   or   suggestions.




                                      THANK You!




REVISED   06/10/10                                             TMF   01/20-   pg. 237
                                                                                GLOSSIP000223
  Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 352 of 465




TMF   01/21.00      TRAINING AND BRIEFING

TMF   O1/21.01      General Provisions
TMF   01/21.02      Training and Briefing   Components




REVISED   06/10 / 1 Q                              TMF   01/21   ~




                                                                     pg. 238
                                                                           GLOSSIP000224
 Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 353 of 465




TMF   01/21.00   TRAINING AND BRIEFING

TMF   01/21.01   General Provisions

                 A.   Purpose      of   Chapter
                      The   purpose of thischapter is to provide the
                      policy and  procedure concerning briefing and
                      training of  staff, members of allied agencies
                      and others involved in an execution.

                 B.   Policy
                      It is the policy of the Department that staff
                      and others involved in carrying out an
                      execution:

                      1.     receive comprehensive briefings
                             covering:
                             a.         their duties and          responsibilities;
                                        the specifics of post orders
                                        covering assigned positions;
                             on         communication and chain of command;

                             d.         overview of functions and
                                        activities during the execution;

                      2.     are provided copies of post orders
                             outlining the duties and
                             responsibilities of assigned positions;
                      3.     receive the level of briefing and
                             training necessary based on the
                             requirements         of   assigned        duties;

                      4,     rehearse and         practice         functions which
                             involve:

                             a.         difficult      timing;
                             b.         a   high degree      of skill;


                             Cc.        procedures      of   a    highly      critical
                                        nature;   and/or

                             d.         moderately      difficult        or    complex
                                        interaction with others; and

REVISED   06/10/10                                               TMF   01/21    -




                                                                                         GLOSSIP000225
  Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 354 of 465




                             receive instructions         concerning back-up
                             systems     to   provide:
                             a.     problem-resolution assistance;
                             b.     policy     decisions;

                                    crisis    management assistance;               and

                             d.     information     requests.
TMF   01/21.02   Training   and   Briefing Components
                 A.    General

                       Training and briefing shall             include,         but not
                       be limited to:

                       1.   issuing all members          or other

                            participants a post          order for their
                            assigned positions;
                            providing an orientation             or    briefing
                            covering assigned duties             and    general
                            operational information;
                            if necessary,       detailed       training covering
                            legal, operational or           technical           aspects
                            of assigned position;

                            if    necessary, rehearsal         of     job
                            functions; and
                      cn




                      Post Orders

                            Bach member or other participant shall
                            be issued the post order or instructions
                            for his assigned position.

                            The   post   order shall      include, but           not be
                            limited to:

                            a.     the   position    title;

                            b.     location(s)      of   assignment;
                            c.     title of     supervisor;
REVISED   06/10/10                                       TMF   01/21        -




                                                                                pg. 240

                                                                                     GLOSSIP000226
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 355 of 465




                           d.     supervisory       role, if any;

                           e.     duties and responsibilities--~
                                  general and specific; and
                           £.     emergency role.

                           When appropriate, one or more chapters
                           of TMF 01 may be issued with a post
                           order.

                           All post orders (and any accompanying
                           manual material) shall be returned at
                           the completion of the execution event.

                     Briefing/Orientation
                     1.    Most assignments will be very
                           specialized, involving a narrow                 range of
                           duties.   For such positions,
                           briefing/orientation sessions will be
                           all the training required in addition to
                           the general training skills and
                           experience      of the    persons   assigned.
                           Orientation sessions shall include but
                           not be limited to:

                           a.     an   overview of the execution
                                  process and       operational components;
                           b.     location of       assigned post;
                           Cc.    chain of command and         organizational
                                  information;

                           d.     an overview of the countdown of
                                  activities and procedures leading
                                  to the    execution;

                           e.     an   explanation     of    support and
                                  crisis intervention          systems;
                           f.     interaction with the          news   media;

                           g-     a  review of the specific post order
                                  requirements, duties and other
                                  elements; and



REVISED   06/10/10                                     TMF    01/21    -




                                                                           pg. 241

                                                                                GLOSSIP000227
 Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 356 of 465




                           h.    a   question-and-answer period.
                      Training/Rehearsal
                      1.
                           or complex functions, critical timing          or
                           interaction elements, or duties of a
                           particularly difficult nature, more
                           comprehensive training shall be
                           required.
                           Team leaders shall be    responsible
                                                              for
                           training and    scheduling
                                                    rehearsals as
                           needed for team members.




REVISED   06/10/10                                TMF   01/21   -




                                                                    pg. 242
                                                                         GLOSSIP000228
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 357 of 465




                                                                     GLOSSIP000229
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 358 of 465




                         APPENDIX C
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 359 of 465




         ARMY REGULATIONS!
                                                                    £.AR
                                                          HEADQUARTERS,
                                                                          \..._,_.­
                                                                                       633-15

                                                   DEPARTMENT OF THE ARMY
         No. 633-15                               WASHINGTON 25, D. C., 7 April 1959

                      PROCEDURE FOR MILITARY EXECUTIONS .                                   ~~r-
                                                                               Paragraph   Pair"
         SECTION      I.   GENERAL
                           Definitions __________________________________              1      2
                           Manner of execution __________________________              2      2
                           \Vitnesses-----------------------------------               3      2
                           Multiple executions --------------------------              4      2
                           Escort______________________________________                5      3
                           Chaplain____________________________________                6      3
                           Medical officer _______________________________             7      3
                           Interpreter__________________________________               8      3
                           Miscellaneous________________________________               9      3
                    II.    EXECUTION BY MUSKETRY
                           Officer charged with carrying out execution_____.          10      4
                           Assembly of escort.___________________________             11      5
                           Execution___________________________________               12      5
                   III.    EXECUTION BY HANGING
                           Officer charged with carrying out execution_____.          13      6
                           Executioner_________________________________               14      7
                           AssemblY-----------------------------------·               15      7
                           Execution___________________________________               16      8
                    IV.    EXECUTION BY ELECTROCUTION
                           General_____________________________________               17      8
                           Officer charged with carrying out execution_____.          18      8
                           Executioner_________________________________               19      8
                           Execution___________________________________               20      8
                    v.     PROCEEDINGS AFTER EXECUTION
                           Disposition of remains________________________             21      9
                           Disposition of effects-------------------------·           22      9
                           Notification and reports _______________________           23      9
                   VI.     MODIFICATION OF PROCEDURES
                           Limited Facilities____________________________             24     10
                           In time of war_______________________________              25     10
                   VII.    STRUCTURES
                           Permanent scaffold___________________________              26     10
                           Semipermanent scaffold_______________________              27     10
                           Emergency structures________________________               28     10
               VIII.       EQUIPMENT
                           Hood_______________________________________
                                                                                      29     11
                           Collapse board and binding strap_______________            30     11
                           Rope________________________________________
                           Post________________________________________               31     11
                                                                                      32     11
                           Electrocution________________________________
                                                                                      33     11
           •These regulations supersede DA Pam 27-4, 9 Dec 1947, including C 1,
         24 June 1953.
         TAGO 6167B-Apr
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 360 of 465




         AR 633-15                         2
                                      SECTION   I
                                      GENERAL
            I. Definitions. For the purpose of these regulations only the
         following definitions apply:
            a. Confirming authority. The competent authority of the agency
         through which military jurisdiction is exercised ordering the exe­
         cution of a sentence of death.
            b. Officer designated to execute the approved sentence. The offi­
         cer designated by the confirming authority (a above) to execute
         the approved sentence of death.
            c. Officer charged with carrying out the execution. The sub­
         ordinate officer duly and officially named by an order of the officer
         designated to execute the sentence (b above) and directed therein
         to carry out the execution.
            2. l\lanner of execution. Military executions will be in the
        , manner designated by the confirming authority or by shooting,
          hanging, or electrocution.
            3. Witnesses. The officer designated by the confirming authority
         to execute the approved sentence will prescribe whether the execu­
         tion will be public or private, rules of secrecy as to time, place, and
         the presence of witnesses, military or civilian, including members
         of the press if the presence of the latter is deemed proper. In the
         case of the execution of a foreign national, the officer designatd to
         execute the sentence will prescribe whether persons of the same
         nationality as the condemned may be present. Neither photographs
         nor motion pictures of the actual execution will be permitted ex­
         cept for official purposes. The environs of the place of execution
         will be closely and securely guarded to prevent the intrusion of un­
         authorized persons. All persons in attendance will be cautioned
         that no demonstrations or unseemly conduct will be tolerated.
             4. l\lultiple executions. In multiple executions by electrocution
          in the continental United States the prisoners will be executed in
          succession and the same electric chair will be used for each execu­
         tion. In multiple executions by musketry or hanging, the prisoners
          may be executed either simultaneously or in succession. Where two
         or more prisoners are to be executed in succession by musketry or
         hanging, the same execution party or gallows may be used for each
         execution. Where two or more prisoners are to be executed simul­
         taneously by musketry, a separate execution party will be provided
         ·.for each of the prisoners. The latter will be placed in line at an
         interval of ten paces. Where two or more prisoners are to be exe­
         cuted simultaneously by hanging, the officer designated to execute
                                                                       AGO 1il67B
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 361 of 465




                                            3                       AR 633-15
         the sentence will prescribe the number of gallows to be erected,
         and the prisoners will be hanged from the gallows simultaneously
         or by groups.
           5. Escort, The escort for execution by musketry or hanging
         may be dismounted or motorized, but upon arrival at the scene of
         execution, motorized escorts will form in the manner prescribed
         for dismounted escorts. The minimum escort will consist of com­
         ponents as prescribed in paragraphs lla and 15a. Where the pris­
         oner is to be executed by electrocution, the strength, formation,
         and duties of the guard escort will be as prescribed by the officer
         charged with carrying out the execution.
            6. Chaplain. In all executions, a chaplain of the prisoner's
         ,choice will be provided if practicable. If no chaplain of the pris­
         oner's choice or of his particular faith and/or race is available, the
         officer charged with the execution of the sentence will take all rea­
         sonable measures to provide a civilian clergyman of that faith
         and/or race. The chaplain should be available at all times after
         the prisoner is notified of- the time of execution.
            7. l\lcdical officer. A medical officer will be officially designated
         to be in attendance upon the execution. It will be his duty to de­
         termine the extinction of life in the prisoner and to make pro­
         nouncement thereof. He will furnish a death certificate to accom­
         pany the report of execution.
            8. Interpreter. In the event the prisoner does not speak English,
         an interpreter will be officially designated to be in attendance at
         the notification of the prisoner (par. 9a) and the execution. It is
         his duty to interpret the charge, finding, sentence orders, and any
         last statement made by the prisoner. Before entering upon his
         duties, the interpreter will take the oath or affirmation required
         of an interpreter for a court-martial.
            9. l\liscellaneous. a. The prisoner will be notified of the time
         of execution no less than 24 hours prior thereto if practicable, at
         which time the charge, finding, sentence, and order directing the
         execution will be read to him by the officer charged with carrying
         out the execution. The chaplain should be present.
            b. Unless the exigencies of the situation preclude such action, .
         due notice of the time and place of execution will be given to the
         next of kip of the prisoner and ·an opportunity provided for the
         claiming of the body following the execution.
           c. Items of clothing and alterations thereto to be worn by a
         prisoner to be executed by hanging or electrocution will be as pre­
         scribed by the officer charged with carrying out the execution, in
         AGO 6167B
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 362 of 465




         AR 633-15                         4
          accordance with the technical instructions of the executioner. A
         prisoner in the Armed Forces of the United States will be dressed
         in regulation uniform from which all decorations, insignia, or
          other evidence of membership therein have been removed. Like­
         wise, no such evidences will appear on any clothing used in burial.
         Similar procedures may be dispensed with, at the discretion of the
         officer charged with carrying out the execution (or higher au­
         thority) in the case of a prisoner in the armed forces of another
         nation. A prisoner not within the foregoing categories may be
         dressed in any clothing available.
            d. After the prisoner is notified of the time of execution (a
         above), the commanding officer of the place of confinement will,
         where practicable, approve any reasonable special request of the
         prisoner, including special request for food, and permission to
         have in his possession a Bible, Rosary, or similar religious articles
         during the execution. Sufficient writing paper and envelopes should
         ;be furnished and no limit placed on the number of letters which
         may be written. All letters are subject to censorship and may or
         may not be forwarded.

                                     SECTION   II
                          EXECUTION BY MUSKETRY
             10. Officer charged with carrying out execution. The officer
         charged with carrying out the execution will command the escort
         and make the necessary arrangements for the conduct of the exe­
         cution. He will_:
            a. Instruct and rehearse the escort and the execution party in
         their duties, insuring that all members of the execution party are
         qualified in the weapon to be used.
            b. Arrange for the receipt of the prisoner by the prisoner guard.
            c. Arrange for an execution party of eight men and one ser­
         geant.
          · d. Arrange for a chaplain to accompany the prisoner.
            e. Arrange for the presence of a medical officer at the scene of
         the execution.
            f. Cause a post with proper rings placed therein for securing
         the prisoner in an upright position to be erected at the place of
         execution.
            g. Cause eight rifles to be loaded in his presence. At least one ·
         but no more than three will be loaded with blank ammunition. He
         will place the rifles at random in the rack provided for that pur­
         1


         pose.
            h. Provide a black hood to cover the head of the prisoner.
                                                                     AGO 11167B
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 363 of 465




                                           5                      AR 633-15
           i. Provide a 4-inch round target, white or black as appropriate;
         a black target will be used when light colored clothing is worn.
            j. Cause the prisoner's wrists to be secured either behind his
         back or in front at the waist (fig. 1), before or immediately after
         his receipt by the prisoner guard.
            k. Provide straps to secure the prisoner to the post at waist and
         ankles.
            II. Assembly of escort. a. The prisoner guard will consist of
          four men armed with rifles, under the command of a sergeant
         \armed with a pistol. At the proper time, the prisoner guard will
         'proceed to the place of confinement to receive the prisoner.
            b. The execution party will be formed unarmed and proceed to
         a previously prepared rack of rifles, secure arms, and move to the
         scene of the execution, halting 15 paces from and facing the po­
         sition to be taken by the prisoner. The sergeant of the execution
         party will be armed with a pistol. At close interval, at order arms,
         and at parade rest the execution party will await the arrival of the
         prisoner and escort.
            c. Witnesses, if any, will take position facing the scene of the
         execution, 15 paces to the right and 5 paces to the front of the exe­
         cution party.
           d. At the designated time, the prisoner, with his wrists bound
         securely behind his back or in front at the waist (fig. 1), accom­
         panied by the chaplain, will be received by the prisoner guard. The
         escort will then proceed to the scene of the execution.
           e. The prisoner guard, prisoner, and chaplain will proceed di­
         rectly to the prisoner's post, halt, and face the execution party.
            12. Execution. a. The officer charged with carrying out the
         execution will take position in front of the execution party and
         face the prisoner. He will notify the prisoner and the chaplain that
         a brief time will be allowed the prisoner for any last statement.
         After a reasonable time, he will order the sergeant of the execu­
         tion party and the sergeant of the prisoner guard to secure the
         prisoner to the post and to place the hood over his head. The med­
         ical officer then will place the target over the prisoner's heart. The
         prisoner prepared, the officer charged with carrying out the exe­
         cution will order the prisoner guard to move to a position five
         paces behind the execution party. The chaplain and medical officer
         will take positions five paces to the left of and five paces to the
         front of the execution party. The officer charged with carrying out
         the execution will take position five paces to the right of and five
         paces to the front of the execution party.
          AGO 6167B
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 364 of 465




        AR 633-15                         6

           b. Commands for the execution will be given orally as pre­
        scribed below:
              (1) At the command READY, the execution party will take
                   that position and unlock rifles.
              (2) At the command AIM, the execution party will take that
                    position with rifles aimed at target on the prisoner's
                   body.
               (3) At the command FIRE, the execution party will fire si­
                    multaneously.
               (4) The officer charged with carrying out the execution will
                    then bring the execution party to "Order Arms."
           c. The officer charged with carrying out the execution will join
        the medical officer who will examine the prisoner and, if necessary,
        direct that the "coup de grace" be administered. Should the med­
        'ical officer so decide, the sergeant of the execution party will ad­
        minister the "coup de grace," with a hand weapon, holding the
        muzzle just above the ear and one foot from the head.
           d. Upon pronouncement of the death of the prisoner by the med­
        ical officer, the execution party will proceed to the rack from which
        the rifles were originally obtained, and replace the rifles in the rack
        at random. The execution party will then be dismissed.
           e. The prisoner guard will return to the area of their quarters
        and be dismissed.

                                    SECTION   III
                           EXECUTION BY HANGING
              13. Officer charged with carrying out execution. The officer
         charged with carrying out the execution will command the escort
         and make the necessary arrangements for the conduct of the exe­
         cution. He will-
             a. Instruct components of the escort in their duties.
             b. Arrange for the receipt of the prisoner by the prisoner guard.
             c. Arrange for a chaplain to accompany the prisoner.
             d. Arrange for the presence of a medical officer at the scene of
         the execution.
             e. Provide a proper gallows.
             f. Provide a black hood to cover the head of the prisoner.
             g. Provide a collapse board for use if necessary.
             h. Cause the prisoner's wrists to be secured before or immedi­
         ately upon his receipt' by the prisoner guard. The wrists may be
         secured either behind the back or in front, fastened to the belt
          (fig. 1).
                                                                      AGO 5167B
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 365 of 465




                                                     7                           AR 633-15
            i. Determine the proper amount of drop of the prisoner through
          the trapdoor. A standard drop chart for normal men of given
          weights is given below. Variation of the drop because of physical
          condition may be necessary. A medical officer will be consulted to
          determine whether any factors, such as age, health, or muscular
          condition will affect the amount of drop necessary for a proper
          execution.
          120   lbs   or less ____________8' 1"          170 lbs ___________________6' O"
          125   lbs   ------------------- 7' 10"         175 lbs ___________________ 5• 11"
          130   lbs   ___________________ 7• 7"          180 lbs ___________________ 5• 9"
          135   lbs    _____________________ 7• 4"       185 lbs -------------------5'7H
          140   lbs   ___________________ 7'1"           190 lbs ___________________ 5• 6"
          145   lbs   ____________________6' 9"          195 lbs ___________________ 5• 5"
          150   lbs   ___________________6'7"            200   lbs   -------------------5' 4"
          155   lbs    ___________________6' 6"          205   lbs   ___________________ 5• 2"
          160 lbs -------------------- 6' 4"             210   lbs   ___________________ 5• 1"
          165 lbs --------------------6' 2"              220   lbs   and over __________ 5• O"

            J°. Rehearse the execution within 24 hours prior to the scheduled
          time for the execution. A sandbag or similar object approximating
          the prisoner's weight may be used to insure proper functioning of
          the gallows, trapdoor, and hangman's noose.
             14. Executioner. An official experienced executioner will be ap­
          pointed by the officer charged with carrying out the execution. If
          one is not available to the command, a professional civilian execu­
          tioner may be obtained and appointed. In the event a professional
          executioner is not available, a suitable emotionally stable member
          of the command will be selected and appointed executioner.
             15. Assembly. a. The prisoner guard will consist of 10 men
          armed with rifles, two corporals armed with pistols, under the
          command of a sergeant armed with a pistol. The prisoner guard
          will form in double ranks and at the proper time will proceed to
          the door of the place of confinement to receive the prisoner.
             b. Witnesses, if any, will assemble at the scene of the execution
          in positions designated by the officer charged with carrying out
          the execution.
            c. At the designated time the prisoner, with his wrists bound
          securely, accompanied by the chaplain, will be received by the pris­
          oner guard and placed between the ranks. The escourt will then
          proceed to the scene of the execution.
            d. Upon the arrival of the escort at the scene of the execution,
          the corporals and the sergeant of the prisoner guard will conduct
          the prisoner to the platform of the gallows, the officer charged with
          carrying out the execution and the chaplain preceding the pris­
          oner.
           AGO 6167B
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 366 of 465




        AR 633-15                        8
           16. Execution. a.• The officer charged with carrying out the
        execution will notify the chaplain and the prisoner that a brief
        time will be allowed the prisoner for any last statement. After a
        reasonable time, he will have the executioner place the hood over
        the prisoner's head, bind the prisoner's ankles, adjust the noose
        around the prisoner's neck, and then take position at the trigger.
        Upon signal from the officer charged with carrying out the exe­
        cution, the executioner will spring the trap. The medical officer
        will then examine the body for time of death and report to the
        officer charged with carrying out the execution.
           b. Upon the pronouncement of the death of the prisoner, the es­
        cort will return to the area of their quarters and be dismissed.

                                    SECTION   IV
                     EXECUTION BY ELECTROCUTION
           17. General. Execution by electrocution may be effected only
        at the confinement facility designated by Headquarters, Depart­
        ment of the Army. Procedures for execution by electrocution will
        necessarily vary from those prescribed for execution by musketry
        or hanging.
           18. Officer charged with carrying out execution. The officer
        charged with carrying out the execution will make the necessary
        arrangements for the conduct of the execution. He will-
          a. Select and appoint such personnel, including guards, as may
        be required to carry out the execution.
           b. Instruct all components of the execution party in their duties.
          c. Arrange for a chaplain to accompany the prisoner.
          d. Arrange for the presence of a medical officer at the scene of
        the execution.
           e. Provide the mechanical facilities and items of equipment and
        clothing required to carry out the execution.
           19. Executioner. The officer charged with carrying out the
        execution will obtain and appoint a professional civilian execu­
        tioner to perform the execution. Execution by electrocution may
        not be performed by other than a professional civilian executioner.
           20. Execution. a. On the day of execution, the prisoner will
        be clothed and otherwise prepared in accordance with instructions
        of the executioner.
           b. At the designated time, the prisoner, accompanied by the
        chaplain, will proceed under guard from the prisoner's cell into the
        execution chamber. The officer charged with carrying out the exe-
                                                                    AGO 5167B
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 367 of 465




                                            9                       Alt   <~13-15

          cution will notify the chaplain and the prisoner that a brief time
          will be allowed the prisoner for any last st.'l.tement. After a reason­
          able time, he will order the guards to place the prisoner in the
          electric chair according to the instructions of the executioner. Fol­
          lowing the placing of the prisoner in the electric chair, the o!licer
          charged with carrying out the execution, the guards, the chaplain,
          and the medical officer will move to designated positions in the
          execution chamber. The executioner will then perform final prepa­
          rations. Upon signal from the executioner that all final prepara­
          tions have been completed and he is ready to proceed, the officer
          charged with carrying out the execution will signal the execu­
          tioner to perform the execution.
             c. Upon notification from the executioner that he may proceed,
          the medical officer will then examine the body, note the time of
          death, and report to the oflicer charged with carrying out the exe­
          cution.
             d. Upon pronouncement of the death of the prisoner, the officer
          charged with carrying out the execution will dismiss the execution
          party.

                                       SECTION   V
                       PROCEEDINGS AFTER EXECUTION
             21. Dispmlition of remains. The officer charged with carrying
          out the execution will arrange in advance for an ambulance or
          other conveyance with sufficient personnel to be in attendance
          upon the execution to receive and care for the hody. If the next of
          kin or other relatives of the deceased desire the body, the officer
          charged with carrying out the execution will, if practicable, per­
          mit its delivery to them for burial. If no such claim is made, he will
          cause it to be buried in a post or civilian cemetery or at the ymce
          of death, whichever may be deemed proper and is authorized by
          pertinent regulations. Disposition of remains of such personnel of
          the Armed Forces of the United States is governed by Army Heg­
          ulations of the 638-series or comparable regulations of the United
          States Navy or United States Air Force as appropriate. All burials
          in post cemeteries are governed by AR 210-190.
            22. Disposition of effects. See 10 USC 4712 et seq. and AR
          643-50 or AR 643-55 as applicable. War criminals and civilan res­
          ident criminals convicted by a Military Tribunal and executed by
          military authorities are considered as subject to military law for
          the purpose of disposition of effects.
            23. Notification aml reports. The oflicer designated to execute
          the approved sentence will notify The Adjutant General immedi-
          AGO 6167B
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 368 of 465




         AR 633-15                        10
         ately following the execution, by fastest available method of com­
         munication, of the carrying out of the sentence of death, the time,
         place and any unusual circumstances attendant thereon. He will
         likewise, in addition, furnish other notifications as may be re­
         quired by AR 600-65 and AR 600-66 or AR 600-67. The quarter­
         master or other officer in charge of burial will furnish the report
         of burial as required in the regulations cited in paragraph 21.

                                    SECTION    VI
                      MODIFICATION OF PROCEDURES

           24. Limited facilities. If the facilities are not available for the
        carrying out of each of the provisions of this regulation or if the
        exigencies of the situation require it, the officer designated to exe­
        cute the approved sentence may make the necessary modification
        of the provisions herein contained, except that he may not change
        the mode of execution. Any modification will be reported in writ­
        ing to the confirming authority.
            25. In time of war. In time of war, only the minimum number
         of troops necessary to accomplish the execution need be employed.

                                    SECTION    VII
                                  STRUCTURES

            26. Permanent scaffold. A permanent type, demountable scaf­
        fold, with a metal trigger mechanism, will be erected when the
        need for such a structure is determined by the commanding officer
         (fig. 2). Where available, troops belonging to the Corps of Engi­
        neers will be employeq in the constructing of the scaffold, but
        where not available, or where it is more practicable, other troops
        or civilans may be employed. Preliminary tests will be made to in­
        sure the strength of the rope and the stability of the scaffold's con­
        struction. If facilities are limited, a trapdoor on the second floor
        of the building may be constructed to effect the execution, or a
        similar improvisation employed.
          27. Semipermanent scaffold. A semipermanent scaffold which
        requires no special metal fittings may be used in executions by
        hanging when deemed expedient by the officer charged with
        carrying out the execution (fig. 3). ·
          28. Emergency structures. When the exigencies of the field so
        dictate, emergency type gallows may be used (fig. 4).
                                                                     AGO 5167B
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 369 of 465




                                            11                       AR 633-15
                                     SECTION     VIII
                                     EQUIPMENT
            29. Hood. The hood will be black, the outer surface of rough
          materials, split at the open end so that it will come well down
          on the prisoner's chest and back.
            30. Collapse board and binding strap. A collapse board will
          be provided for use in case of the collapse of the prisoner (fig. 5).
              31. Rope. The rope will be of manila hemp, at least % inch
           and not more than 1%, inches in diameter and approximately 30
           feet in length. The rope will be boiled and then stretched while
           drying to eliminate any spring, stiffness, or tendency to coil.
           The hangman's knot (fig. 7) will be used in the preparation of
           the noose. That portion of the noose which slides through the
           knot will be treated with wax, soap, or grease to insure a smooth
           sliding action through the knot. The noose will be placed snugly
           around the prisoner's neck in such a manner that the hangman's
           knot is directly behind his left ear.
            32. Post. Design for post used in execution by musketry as
           mentioned in paragraph 12a, is shown in figure 6.
              33. Electrocution. Facilities and equipment for effecting execu­
           tion by means of electrocution will be in accordance with Head­
           quarters, Department of the Army instructions.




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                                                        A= Body Strop
                                                        B = Arm Straps 1"u91l
                                                                         ,.
                                  Figure 1. Binding strap.




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Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 370 of 465




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                       PLATFORM AND STAIR PLAN AT SECTION A·A                                   SCALE   W'.   I'
                                               Figure 2 (!). Permanent scaffold.


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Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 371 of 465




                                                        13                                    AR 633-15


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                                               FRONT ELEVATION SCALE           W' = I'
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                                                       Figure 2 ©. Permanent scaffold, bell crank.                                                                                            r
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"'...,                                                Figure 8 (!). Semipermanent scaffold•
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Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 375 of 465




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                  6"x6" To Form Plote or Ribbon
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                                                  Figure 9 ®· Semipermanent scaffold, details.

          AGO 5167B
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 376 of 465




        AR 633-15                                                               18




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                               Hinged To Stand with I-Inch Bow At Center



                                                                     MATERIALS
                                           11
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                                                   -                            Gallows     Posts
                          4        6"•6"- 12'                                   Platform Posts
                          2        2"x10•- 16'                                  Step Stringers
                                                                                Cross Bar- Be om
                                               1
                          4        2"xl0   10'  '-

                          3        2"xe" - 14'                                  Joist- Extend for stair landing
                                        11
                          I        2"18 •  12'                                  Joist - Short
                          7        2"18''· 10'                                  Joists- Regular
                          8        2"16·- 14'                                   x Broees
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                          4        2·.10"- 14'                                   Cut into 3' 6" lengths Step Tread
                          I        4"x4"- 10'                                    Trigger

                 Figure 9 @. Semipermanent scaffold, details-Continued.




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Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 377 of 465




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                       Figure 4. Emergency gallows, post type and tripod type.

          AGO 6167B
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 378 of 465




        AR 633-15                         20



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                                Figure 5. Collapse board.




                                                       RING ANO BOLTS
                                                       ON TWO OPPOSITE
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Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 379 of 465




                                              21                        AR 633-15




          Length of loops: from A to B should be approximately 18 inches, and from C
            to Running End should be approximately 35 inches to 108 inches depending
            upon diameter of the rope. Wrap Running End around for six turns. No
            extra rope should remain.
                              Figure 7 CD and®· Hangman's knot.




          Tighten loops by pulling at Running End. Lock loops and form knot by pulling
            down at point D. Slide knot up or down on Standing Part to adjust size
            of loop.
                                       Figure 7 ® and ©.
          AGO 6167B
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 380 of 465




        AR 633-15                         22
          [AG 250 (16 Mar 59) PMGK]
                By Order of Wilber M. Brucker, Secretary of the Army:

                                           MAXWELL D. TAYLOR,
                                          General, United States Army,
        Official:                                Chief of Staff.
                   R. V. LEE,
        Major General, United States Army,
              The Adjutant General:

        Distribution:
            Active Army: D.
               To be distributed as needed to Headquarters of Department of the
            Army Staff Agencies, Headquarters Army Audit Agency and field
            offices, Headquarters of Major Commands.
            NG: State AG (3).
            USAR: None.




                                                                      . '




                                         tr U.S.   Government Printing Office: 1959-480522

                                                                               AGO 6167B
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 381 of 465




                         APPENDIX D
Case
  Case
     2:22-cv-00860-MTL--JZB
       2:20-cv-00623-JAT-JZB Document
                              Document1-2
                                       168 Filed
                                            Filed05/19/22
                                                  11/10/21 Page
                                                            Page382
                                                                 1 ofof64
                                                                        465
                                                                              1




                     UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF ARIZONA

                             _________________


Frank Jarvis Atwood,               )
                                   )             2:20-cv-00623-PHX-JAT
         Plaintiff,                )
                                   )
         vs.                       )             Phoenix, Arizona
                                   )             October 29, 2021
Unknown Arnold, Violetray          )             9:12 a.m.
Arnold, Panann Days, Unknown       )
Lopez, Unknown Scott, David        )
Shinn, Centurion, Pamela           )
Olmstead, Orin Romney,             )
Charles L. Ryan, Unknown           )
Wallis,                            )
                                   )
         Defendants.               )
__________________________________ )




         BEFORE:    THE HONORABLE JAMES. A. TEILBORG, JUDGE


            REPORTER'S PARTIAL TRANSCRIPT OF PROCEEDINGS


PRELIMINARY INJUNCTION - TESTIMONY OF PHILIP A. DAVIDSON, M.D.




Official Court Reporter:
Hilda E. Lopez, RMR, FCRR
Sandra Day O'Connor U.S. Courthouse, Suite 312
401 West Washington Street, Spc 30
Phoenix, Arizona 85003-2151
(602) 322-7256

Proceedings Reported by Stenographic Court Reporter
Transcript Prepared by Computer-Aided Transcription


                     UNITED STATES DISTRICT COURT
     Case
       Case
          2:22-cv-00860-MTL--JZB
            2:20-cv-00623-JAT-JZB Document
                                   Document1-2
                                            168 Filed
                                                 Filed05/19/22
                                                       11/10/21 Page
                                                                 Page383
                                                                      2 ofof64
                                                                             465
                                                                                   2


 1

 2                             A P P E A R A N C E S

 3
     For the Plaintiff:
 4       KILLMER, LANE & NEWMAN, LLP
         By: David A. Lane, Esq.
 5       and Reid Robertson Allison, Esq.
         1543 Champa Street, Suite 400
 6       Denver, Colorado 80202

 7   For the Defendant:
         BROENING OBERG WOODS & WILSON, P.C.
 8       By: Sarah Lynn Barnes, Esq.
         and Danielle Nicole Chronister, Esq.
 9       1122 E. Jefferson
         Phoenix, Arizona 85034
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                          UNITED STATES DISTRICT COURT
     Case
       Case
          2:22-cv-00860-MTL--JZB
            2:20-cv-00623-JAT-JZB Document
                                   Document1-2
                                            168 Filed
                                                 Filed05/19/22
                                                       11/10/21 Page
                                                                 Page384
                                                                      3 ofof64
                                                                             465
                                                                                      3


 1

 2                                       I N D E X

 3   PLAINTIFF WITNESS:                    DIRECT        CROSS        BY THE COURT

 4   Philip A. Davidson, M.D.              15            31                55
     Frank Jarvis Atwood                   106           122               133
 5

 6

 7   DEFENSE WITNESS:               DIRECT       CROSS                BY THE COURT

 8   Thomas Fowlkes , M.D.          63           76                        98

 9   REDIRECT
     102
10
     Pamela Olmstead, N.P.          135          155                       190, 198
11
     REDIRECT
12
     194
13

14                               INDEX OF EXHIBITS

15   EXHIBIT                                                     ADMITTED

16   NO.         DESCRIPTION

17   54          Valleywise Health record dated 7-30-21               43
                 Neurosurgeon's summary of findings
18
     52          Consultation Request dated 6-30-2021                 146
19
     53          Health Services Encounter dated 7-16-21 148
20
     55          Consultation Request dated 8-3-21                    148
21
     56          Consultation Request for epidural                    150
22               steroid injections dated 8-2-21

23

24

25


                          UNITED STATES DISTRICT COURT
     Case
       Case
          2:22-cv-00860-MTL--JZB
            2:20-cv-00623-JAT-JZB Document
                                   Document1-2
                                            168 Filed
                                                 Filed05/19/22
                                                       11/10/21 Page
                                                                 Page385
                                                                      4 ofof64
                                                                             465
                                                                                   4


 1                            P R O C E E D I N G S

 2   ***** PARTIAL TRANSCRIPT BEGINS

 3               THE COURT:    Thank you.     Please be seated.       I will ask

 4   the clerk to call the next matter, please.

 5               COURTROOM DEPUTY:      This is Case No. CV 20-0623, Atwood

 6   vs. Days, et al, before the Court for a preliminary injunction

 7   hearing.

 8               Counsel, if you please announce your presence for the

 9   record.

10               MR. LANE:    Good morning, Your Honor, David Lane and

11   Reid Allison, from Denver, Colorado, pro hac vice for the

12   plaintiff.

13               THE COURT:    Good morning, and welcome.

14               MS. CHRONISTER:      Good morning, Your Honor,

15   Dani Chronister and Sarah Barnes on behalf of the defendant,

16   and we also have Defendant N.P. Olmstead here with us as well.

17               THE COURT:    So we have -- and I am going to get this

18   to business of trying to speak through a mask momentarily, but

19   I couldn't really hear a word you were saying.              So you're

20   Ms. Chronister?

21               MS. CHRONISTER:      I am.

22               THE COURT:    And Ms. Barnes.

23               MS. BARNES:     Hello, Your Honor.

24               THE COURT:    And nurse --

25               MS. BARNES:     We have Defendant Pamela Olmstead here as


                          UNITED STATES DISTRICT COURT
     Case
       Case
          2:22-cv-00860-MTL--JZB
            2:20-cv-00623-JAT-JZB Document
                                   Document1-2
                                            168 Filed
                                                 Filed05/19/22
                                                       11/10/21 Page
                                                                 Page386
                                                                      5 ofof64
                                                                             465
                                                                                   5


 1   well.

 2               THE COURT:    Good morning to all of you.

 3               MS. BARNES:     Good morning.

 4               THE COURT:    We're required to wear masks except when

 5   necessary to pull it down to speak, and I want to give each of

 6   you permission to pull it down to speak, but I want to make, be

 7   careful that if somebody feels that they don't dare pull it

 8   down because of their own health concerns, then for heaven's

 9   sake don't pull it down.        But in either event, these

10   microphones are meant for directional use and, of course,

11   pulling the mask down and talking in the microphone is a

12   perfect solution, but if you're not going to pull it down, why,

13   be sure to speak into that microphone.

14               Now, typically anyone speaking will typically use the

15   podium.    And with regard to the podium, you got -- I guess this

16   podium has the way -- this is not my regular courtroom, so I'm

17   kind of getting reoriented to how it's set up, but there is a

18   microphone at the main podium.          Just make sure you speak into

19   that.    In my courtroom I got two microphones and people feel

20   like if they speak between the two that's better, but that's

21   actually worse because neither one of them is picking it up.

22   So that's it on masks.

23               Now, on the subject of the -- and I now see Mr. Atwood

24   is appearing by -- he's hearing us now; is that right?               Okay.

25   I see Mr. Atwood moving.


                          UNITED STATES DISTRICT COURT
     Case
       Case
          2:22-cv-00860-MTL--JZB
            2:20-cv-00623-JAT-JZB Document
                                   Document1-2
                                            168 Filed
                                                 Filed05/19/22
                                                       11/10/21 Page
                                                                 Page387
                                                                      6 ofof64
                                                                             465
                                                                                   6


 1               Good morning, Mr. Atwood.        I'm sorry I didn't include

 2   you in my greeting.

 3               The subject of exhibits has already come up, and I

 4   don't know what protocol you're going to use to offer them, but

 5   I will say this at the beginning, and that is, in fact, if

 6   there's some thought that you're just going to stipulate and

 7   put all exhibits in evidence, I guess you're welcome.               Maybe

 8   you're welcome to do that, but my stipulation is anything you

 9   put in evidence you're going to tell me specifically what it's

10   being offered for.       And before you leave at the end of the day,

11   you're going to take a highlighter and go through the actual

12   exhibit and circle it or do something to show me what it is I

13   ought to look at, because if you had some thoughts that I am

14   going to spend the next two or three weekends thumbing through

15   exhibits looking for something without some guidance, I am not

16   going to do that.       So make sure we got that plan in place.           I

17   wanted to let you know that at the beginning.             But before you

18   leave I expect that any exhibits that have been received in

19   evidence, that you make sure that you have highlighted on the

20   actual exhibit what it is you think I need to look at.

21               Also, at the conclusion of the case I will order the

22   plaintiffs to propose a form of order, a form of injunction,

23   and -- and that's a task I don't envy, let me be clear, because

24   though it probably doesn't come as a surprise to you, I'm not a

25   doctor, and any order I issue will not, not pretend to be an


                          UNITED STATES DISTRICT COURT
     Case
       Case
          2:22-cv-00860-MTL--JZB
            2:20-cv-00623-JAT-JZB Document
                                   Document1-2
                                            168 Filed
                                                 Filed05/19/22
                                                       11/10/21 Page
                                                                 Page388
                                                                      7 ofof64
                                                                             465
                                                                                   7


 1   order of a doctor.       In order for that order to be followed, if

 2   there is an order to the defendant, it's got to have

 3   specificity in it or it's difficult to carry it out, on one

 4   hand.

 5               On the other hand, and this is a problem with

 6   mandatory injunctions, on the other hand, the more specific it

 7   is the prison people still have to exercise medical judgement

 8   and medical people have to exercise medical judgement and

 9   things change.      And what are they supposed to do, come back to

10   me every time?      When they come back to me that brings you here

11   again.    I don't have an off-the-top-of-my-head solution to that

12   conundrum, which -- which probably says a lot for the value of

13   you all being able to come up with something that doesn't

14   require my intervention, but that's where we are now and that's

15   where I am.

16               And let me say in this context just share some

17   preliminary and random thoughts, and believe me I have not any

18   predisposition in here, but based on the filings that I have

19   seen, it seems to me the plaintiff has made a rather powerful

20   case for his suffering and the magnitude of his suffering, and

21   the, say, consistency of his suffering, and I don't -- I'm not

22   immediately understanding what the defendants are going to

23   rebut that with to say, well, no, he didn't suffer and here's

24   somebody that's watched him on a daily basis and can testify he

25   is not suffering.       And by the way, I'm going to give each of


                          UNITED STATES DISTRICT COURT
     Case
       Case
          2:22-cv-00860-MTL--JZB
            2:20-cv-00623-JAT-JZB Document
                                   Document1-2
                                            168 Filed
                                                 Filed05/19/22
                                                       11/10/21 Page
                                                                 Page389
                                                                      8 ofof64
                                                                             465
                                                                                   8


 1   you a chance to make some kind of opening statement or opening

 2   comments, and maybe after hearing my random comments you'll

 3   want to weigh in on that in terms of what you're going to show,

 4   either side, in terms of the evidence, but that's one point.

 5               And the defendant's filings seem to suggest that

 6   they've -- in fact, I think it sounds to me like the evidence

 7   is pretty much uncontradicted that Mr. Atwood had Tramadol for

 8   several years and suddenly he's being, suddenly, and I'm not

 9   quite sure I understand from what I've read anyway what the

10   suddenly was, what the suddenly precipitating thing was that he

11   was going to be weaned off of it immediately.             I guess I could

12   read between the lines that it seems like they didn't want him

13   to become addicted or something like that, and that there have

14   been some other modalities used, and it sounds to me like the

15   defendants are taking the position that, well, at least that

16   it's appropriate, appropriate therapy.            Though I am not sure

17   they have gone so far, although I can point to a couple of

18   places where, I think in August and September this year he had

19   some physical therapy and seemed not to be complaining of pain

20   there, but other than that I haven't seen something that

21   suggests that this new appropriate treatment has now solved

22   this significant and regular pain.           Maybe -- I am not sure who,

23   looking at the people that are scheduled to testify, I'm not

24   sure who is prepared to say that, but certainly I'm raising

25   these questions hoping that that will at least zero you in on


                          UNITED STATES DISTRICT COURT
     Case
       Case
          2:22-cv-00860-MTL--JZB
            2:20-cv-00623-JAT-JZB Document
                                   Document1-2
                                            168 Filed
                                                 Filed05/19/22
                                                       11/10/21 Page
                                                                 Page390
                                                                      9 ofof64
                                                                             465
                                                                                   9


 1   the issue.

 2               I guess those are my random comments for purposes of

 3   giving you some preliminary thoughts.

 4               So that brings us to the point -- I don't need a

 5   full-blown opening statement, but you may be able to zero me in

 6   on what you think you're going to prove and what I should be

 7   listening for.      So you may proceed.

 8               MR. LANE:    Thank you very much, Your Honor.          You've

 9   pretty much hit it right on the head, I think.              For years

10   Mr. Atwood has been on Tramadol.          It's worked.      He has been

11   given multiple other pain relievers that have not worked.

12   Tramadol works.      He's not a constant complainer.          The problem

13   is he is in extremely ill health, not just with bone pain but

14   with all host of other illnesses.           And as a result, he gets

15   sent to the infirmary, which is different than Brownings death

16   row.    At the infirmary he's given Tramadol and they work with

17   him.    He's also in an assisted living kind of an environment in

18   the Tucson infirmary where he has, for example, handrails on

19   his bed or handles that he can use to get into his wheelchair.

20   If he needs assistance.        He is in a dorm kind of environment.

21   People can help him.

22               The problem here is right now he's on Tramadol 'cause

23   he is in the infirmary for an infection, and his pain is

24   reduced.     It works for him.      The problem is once he's cleared

25   the infection they send him back to Browning and Ms. Olmstead


                          UNITED STATES DISTRICT COURT
     Case
      Case2:22-cv-00860-MTL--JZB
            2:20-cv-00623-JAT-JZB Document
                                  Document 1-2
                                           168 Filed
                                                Filed05/19/22
                                                      11/10/21 Page
                                                                Page391
                                                                     10 of
                                                                        of 64
                                                                           465
                                                                                 10


 1   cuts him off.     And he, again, has excruciating pain.          He has a

 2   lack of mobility.      He has no assistance in the context of

 3   getting in and out of his bed into his wheelchair.             He has to

 4   literally crawl from his bed to the door, and the only way --

 5              THE COURT:     Sorry for interrupting, I thought I saw

 6   something that he's now getting a wheelchair porter.

 7              MR. LANE:    Well, I am going to let Mr. Atwood talk

 8   about that.     What has happened is he's had to crawl and he

 9   misses meals, he misses meds, because he can't make it.              So

10   really what we're looking at here is there is no legitimate

11   medical reason to be cut off of Tramadol.           There is an

12   extremely acrimonious relationship between Mr. Atwood and

13   Ms. Olmstead.     Mr. Atwood, rightly or wrongly, feels that that

14   is in part the reason he's cut off the Tramadol because there's

15   no really compelling medical reason to cut him off, and he is

16   hoping that he can get the Tramadol 'cause it's the only thing

17   that works for him and has for years and years and years, and

18   get some -- get into an assisted living thing like the

19   infirmary that they can actually -- so he doesn't have to

20   crawl, so he has physical therapy, so he can, you know, have

21   the benefits of trying to relieve his pain consistently, and

22   that's all we're asking for here, and we're going to have

23   testimony essentially outlining all those things, Your Honor.

24              THE COURT:     Thank you.

25              MR. LANE:    Thank you.


                         UNITED STATES DISTRICT COURT
     Case
      Case2:22-cv-00860-MTL--JZB
            2:20-cv-00623-JAT-JZB Document
                                  Document 1-2
                                           168 Filed
                                                Filed05/19/22
                                                      11/10/21 Page
                                                                Page392
                                                                     11 of
                                                                        of 64
                                                                           465
                                                                                 11


 1              THE COURT:     From the defense.

 2              MS. CHRONISTER:      Good morning, Your Honor.       Just --

 3              THE COURT:     You're going to need to, number one, get

 4   that microphone.      It will move, I think.

 5              MS. CHRONISTER:      Is that better?

 6              THE COURT:     It's very directional.

 7              MS. CHRONISTER:      This Court has already ruled on

 8   Mr. Atwood's first request to receive an, essentially an

 9   indefinite --

10              THE COURT:     Hold on just a second.      Could you hand me

11   one of those headsets down there?         Sometimes I am not able to

12   hear through a mask.       Is there hand cleaner down there?         I see

13   a squirt bottle, but is that the -- that's what I need.

14              I discovered some time ago -- you can take your mask

15   off -- I discovered some time ago that these things will allow

16   one to hear without the muffling effect of a mask, and I have

17   no idea how that's technologically even feasible, but I'm going

18   to use them.

19              Now you may proceed.

20              MS. CHRONISTER:      Okay.

21              THE COURT:     You're comfortable having your mask down?

22              MS. CHRONISTER:      I am.   Does that make it easier to

23   hear me?    Okay.

24              Your Honor, this Court has already once in this

25   litigation ruled that Mr. Atwood did not succeed on


                         UNITED STATES DISTRICT COURT
     Case
      Case2:22-cv-00860-MTL--JZB
            2:20-cv-00623-JAT-JZB Document
                                  Document 1-2
                                           168 Filed
                                                Filed05/19/22
                                                      11/10/21 Page
                                                                Page393
                                                                     12 of
                                                                        of 64
                                                                           465
                                                                                 12


 1   establishing his chance of success on the merits on a

 2   deliberate indifference claim for this exact same request he's

 3   making.    As plaintiff's counsel just notified the Court,

 4   Mr. Atwood is currently receiving a short course Tramadol

 5   prescription for an unrelated infection to his back pain, which

 6   was the subject of the original motion.           And so to the extent

 7   that that's what they are requesting here today, that request

 8   is moot.    He did receive a Tramadol dosage.         I believe last

 9   night was the last one, and I am sure he'll testify today about

10   the dosage of that medication he is currently receiving.

11              To the extent he is asking this Court to order medical

12   providers to prescribe him with an indefinite prescription for

13   an opioid, our medical provider and our medical expert will

14   both testify that that is not medically indicated by his

15   current status.

16              THE COURT:     Excuse me, but they are going to testify

17   it's not medically indicated, but how are they going to explain

18   that 10 years, I think it's ten years, a long period of time he

19   had it before, what is the difference?

20              MS. CHRONISTER:      Sure, Your Honor, I think --

21              THE COURT:     I think logically he is probably worse

22   today than he was then.       Why was it medically necessary or

23   appropriate then and not now?

24              MS. CHRONISTER:      And I think you'll hear from both of

25   our witnesses that as patients who have chronic pain, their


                         UNITED STATES DISTRICT COURT
     Case
      Case2:22-cv-00860-MTL--JZB
            2:20-cv-00623-JAT-JZB Document
                                  Document 1-2
                                           168 Filed
                                                Filed05/19/22
                                                      11/10/21 Page
                                                                Page394
                                                                     13 of
                                                                        of 64
                                                                           465
                                                                                 13


 1   prescriptions, especially when they are dealing with an opioid

 2   prescription, the medical necessity changes as the patient's

 3   status changes.      So you'll hear Nurse Practitioner Olmstead

 4   explain her reasoning for deciding to discontinue his Tramadol

 5   based on his other, his co-morbidities, the other medications

 6   he was taking, an uptick in the number of falls he was taking,

 7   his aging.     There is several factors that she took into

 8   consideration for that decision.

 9              She'll testify also about all the other alternative

10   pain management, both medications and therapies that she's

11   worked with Mr. Atwood to try to get him placed to try to make

12   him feel more comfortable.

13              And to the extent that plaintiffs or plaintiff is now

14   requesting for an indefinite stay in the infirmary, first of

15   all, that request was not briefed in the original motion, and

16   our witnesses will support the, again, that that is not

17   medically indicated; that he's in the infirmary for a brief

18   time due to an unrelated infection, and that chronic back pain

19   patient is not medically indicated for a permanent infirmary

20   stay.

21              THE COURT:     All right.    Thank you.

22              MS. CHRONISTER:      Thank you.

23              THE COURT:     Ms. Barnes, do you have anything to add?

24              MS. BARNES:     Thank you, Your Honor, for the

25   opportunity.     I guess the only thing I would say --


                         UNITED STATES DISTRICT COURT
     Case
      Case2:22-cv-00860-MTL--JZB
            2:20-cv-00623-JAT-JZB Document
                                  Document 1-2
                                           168 Filed
                                                Filed05/19/22
                                                      11/10/21 Page
                                                                Page395
                                                                     14 of
                                                                        of 64
                                                                           465
                                                                                 14


 1              THE COURT:     Why don't you come up to the podium.

 2              MS. BARNES:     -- at the outset is that because there is

 3   no dispute that Mr. Atwood is currently on Tramadol, this is a

 4   Motion for a Preliminary Injunction to get him back on a

 5   medication that he's currently on, the matter is moot.

 6              The request for permanent stay in the infirmary is not

 7   briefed and it should not be considered here today, nor is it

 8   medically necessary or indicated, but it should not even be

 9   considered here today as it was not raised appropriately.

10              The plaintiffs have acknowledged that that is the

11   case.    And while the current prescription is only for a short

12   course, there's no indication of what's going to happen next,

13   how long he is going to be in the infirmary, what might

14   transpire over the next ten days, et cetera.            The fact that he

15   is currently on it should moot this proceeding and have the

16   motion be dismissed without prejudice, as they often are, and

17   they can bring the motion again if at some point he's taken off

18   it again and they feel it's medically indicated.

19              So that would be my only other position that

20   Ms. Chronister didn't present to you, Your Honor.

21              THE COURT:     All right.    Thank you.

22              Mr. Lane, you may call your first witness.

23              MR. LANE:    Thank you.

24              MR. ALLISON:     Your Honor, plaintiff calls

25   Dr. Philip Davidson.


                         UNITED STATES DISTRICT COURT
     Case
      Case2:22-cv-00860-MTL--JZB
            2:20-cv-00623-JAT-JZB Document
                                  Document 1-2
                                           168 Filed
                                                Filed05/19/22
                                                      11/10/21 Page
                                                                Page396
                                                                     15 of
                                                                        of 64
                                                                           465
                     Direct Examination - Philip A. Davidson, M.D.                15


 1                MR. ALLISON:    Good morning, Dr. Davidson.

 2   BY MR. ALLISON

 3   Q.   Can you spell your name for the record?

 4                THE COURT:   Would you like to have him sworn?

 5                MR. ALLISON:    Oh, yes.    Sorry, Your Honor.

 6                THE COURT:   I guess whether or not you would like to,

 7   we would.

 8                MR. ALLISON:    Yes, we all would.

 9                COURTROOM DEPUTY:     Raise your right hand.

10

11                           PHILIP A. DAVIDSON, M.D.,

12   being first duly sworn, was examined and testified as follows:

13

14                               DIRECT EXAMINATION

15   BY MR. ALLISON:

16   Q.   All right.     Now, Dr. Davidson, can you spell your name for

17   the record, please?

18   A.   Philip, P-H-I-L-I-P, Davidson, D-A-V-I-D-S-O-N, M.D.

19   Q.   Thank you.     Can you briefly describe your educational

20   background for us?

21   A.   Sure.    So I graduated magna cum laude from Harvard

22   University in 1983.       I graduated from Cornell University

23   medical college with honors in research in 1987.                I took

24   orthopedic surgical residency training and internship at the

25   Baylor College of Medicine, and completed that in 1992.                  And in


                          UNITED STATES DISTRICT COURT
     Case
      Case2:22-cv-00860-MTL--JZB
            2:20-cv-00623-JAT-JZB Document
                                  Document 1-2
                                           168 Filed
                                                Filed05/19/22
                                                      11/10/21 Page
                                                                Page397
                                                                     16 of
                                                                        of 64
                                                                           465
                     Direct Examination - Philip A. Davidson, M.D.               16


 1   1993 I completed a fellowship in orthopedic sports medicine and

 2   surgical treatments.

 3                THE COURT:   Let's just take a moment there.         Doctor,

 4   good morning.      You're coming in rather weak, and I don't mean

 5   you're weak, but the sound is weak.          I want to experiment here

 6   to see if we can get it -- are you speaking into a microphone

 7   that's visible or is it just --

 8                THE WITNESS:    I'm speaking into my laptop.         I guess I

 9   can speak louder, if need be.         Is that better?

10                THE COURT:   That is better.     We were trying to figure

11   out if we had any ability hear to make it loud, but that is the

12   most successful so far.

13                THE WITNESS:    Okay.   I will try to project my voice.

14                THE COURT:   Thank you, sir.

15   BY MR. ALLISON:

16   Q.   Thank you for your educational background.           Where do you

17   currently work?

18   A.   I'm a practicing orthopedic surgeon in Salt Lake City,

19   Utah.

20   Q.   And you have an active medical license?

21   A.   I do.

22   Q.   Do you have any certifications?

23   A.   I'm a Board certified orthopedic surgeon.           I have

24   certifications to do clinical research, and I'm the member of

25   multiple medical societies, including the American Academy of


                          UNITED STATES DISTRICT COURT
     Case
      Case2:22-cv-00860-MTL--JZB
            2:20-cv-00623-JAT-JZB Document
                                  Document 1-2
                                           168 Filed
                                                Filed05/19/22
                                                      11/10/21 Page
                                                                Page398
                                                                     17 of
                                                                        of 64
                                                                           465
                    Direct Examination - Philip A. Davidson, M.D.                17


 1   Orthopedic Surgeons, the Arthroscopy Association of North

 2   America, the Patellofemoral Society, the International

 3   Cartilage Repair Society, and I'm probably missing some others.

 4   I am in a bunch of other medical societies.

 5   Q.   That's fair.     During your career as an orthopedist, have

 6   you cared for patients with similar conditions to the one we're

 7   discussing here today, spinal stenosis and various other

 8   things?

 9   A.   I have.    One of my roles is to serve as the medical

10   director of a clinic where we engage a number of neurosurgeons

11   and orthopedic spine surgeons that work under my direction.

12   Q.   How many patients with similar conditions would you say

13   you've treated in your career, very much ballpark?

14   A.   Thousands.

15               MR. ALLISON:    At this point, Your Honor, we move to

16   certify Dr. Philip Davidson as an expert in orthopedic

17   medicine.

18               THE COURT:    You know, that's a customary request

19   you're making here made from time to time in, across the

20   country, but I have never, never determined that that's a

21   motion that needs to be made or one that I need to decide.

22   Obviously if an expert is requested of an opinion by the

23   presenter, and the other side objects on grounds that he's not

24   an expert in that area, it's outside the area of expertise,

25   then that particular objection would tee up the discussion.


                         UNITED STATES DISTRICT COURT
     Case
      Case2:22-cv-00860-MTL--JZB
            2:20-cv-00623-JAT-JZB Document
                                  Document 1-2
                                           168 Filed
                                                Filed05/19/22
                                                      11/10/21 Page
                                                                Page399
                                                                     18 of
                                                                        of 64
                                                                           465
                     Direct Examination - Philip A. Davidson, M.D.               18


 1   Anyway, so no need to do that.

 2                MR. ALLISON:    Thank you, Your Honor.

 3   BY MR. ALLISON:

 4   Q.   Dr. Davidson, do you know the plaintiff in this case,

 5   Frank Atwood?

 6   A.   I do.

 7   Q.   Have you spoken with him before?

 8   A.   I have.

 9   Q.   Have you reviewed medical records for him?

10   A.   Yes.

11   Q.   Have you seen, I guess before today on Zoom, have you seen

12   Mr. Atwood in person?

13   A.   We did a telemedicine visit.         We had some difficulties with

14   connectivity, so most of the time I spent with Mr. Atwood was

15   by telephone, but I have seen him on a tele-med connection in

16   addition to speaking to him by phone more than once.

17   Q.   What is your understanding from speaking with him and

18   reviewing his medical records of Mr. Atwood's orthopedic

19   condition?

20   A.   Do you want me to speak broadly or go into detail?

21   Q.   Well, I can ask, you know, for example, what is spinal

22   stenosis in a broad and hopefully kind of lay sense for us here

23   in the courtroom?

24   A.   Spinal stenosis is -- is compression of the neurologic

25   structures within the spinal cord.          Using lay terminology, bone


                          UNITED STATES DISTRICT COURT
     Case
      Case2:22-cv-00860-MTL--JZB
            2:20-cv-00623-JAT-JZB Document
                                  Document 1-2
                                           168 Filed
                                                Filed05/19/22
                                                      11/10/21 Page
                                                                Page400
                                                                     19 of
                                                                        of 64
                                                                           465
                    Direct Examination - Philip A. Davidson, M.D.                19


 1   spurs press the spinal cord and the nerves, but I think the

 2   term "spinal stenosis" underestimates and understates Mr.

 3   Atwood's condition.       He has both disease of the cervical spine

 4   and the lumbar spine.       The cervical spine being the neck.

 5               Again, I want to start with lay terminology and I will

 6   use medical terminology for the record.           The lay terminology in

 7   his neck is that he has what I would opine as severe

 8   compression of the cord, and what is called adjacent segment

 9   disease, meaning that he had a spinal fusion in the middle of

10   the cervical spine which has transmitted the forces to the

11   adjacent parts of the spine accelerating that degeneration.

12               So he has, and I differ with some of the reports I've

13   read, he has what I would describe as a progressively and

14   advanced degenerative condition of the spine, not just spinal

15   stenosis because the spinal cord has something -- in the

16   radiologist's report there was a very important term called

17   myelomalacia, meaning essentially his spinal cord is

18   degenerating and wearing away, winding of it is wearing, and

19   this is really an advanced condition.          So it's more than spinal

20   stenosis.

21               In the lumbar spine I was very interested to read, and

22   not only did he have degenerative spondylosis, which is

23   arthritis of the spine, but MRI imaging shows that it's

24   progressive over interval MRI scans.          And now the degenerative

25   changes in the lumbar spine that progressed to the point where


                         UNITED STATES DISTRICT COURT
     Case
      Case2:22-cv-00860-MTL--JZB
            2:20-cv-00623-JAT-JZB Document
                                  Document 1-2
                                           168 Filed
                                                Filed05/19/22
                                                      11/10/21 Page
                                                                Page401
                                                                     20 of
                                                                        of 64
                                                                           465
                    Direct Examination - Philip A. Davidson, M.D.                20


 1   acute intervention in the past few months has been recommended.

 2   And again, I don't think this is just simple spinal stenosis.

 3   This patient has advanced, what appears to be progressive

 4   problems in both the neck and back.

 5   Q.   Thank you for clearing that up for me.          You may have heard

 6   the judge earlier say something in general about this condition

 7   gets worse over time and has gotten worse over time; right?

 8   A.   I concur with that.      I mean, that's both the general nature

 9   of the condition, as well as what we're seeing in Mr. Atwood's

10   case.

11   Q.   How do these conditions impact Mr. Atwood's daily life?

12   A.   Well, I --

13               MS. BARNES:    Objection, Your Honor, foundation, form.

14   It calls -- it calls for speculation.          He has no personal

15   knowledge and has never examined this individual.

16               THE WITNESS:    Should I answer?

17               THE COURT:    Was foundation one of your objections?

18               MS. BARNES:    It was.

19               THE COURT:    Foundation would be sustained.        You can

20   lay some more foundation, if you can.

21   BY MR. ALLISON:

22   Q.   So you said you did a telemedicine consult, or multiple,

23   actually, I believe, with Mr. Atwood; correct?

24   A.   Yes.

25   Q.   In modern medicine, is that a well regarded way of getting


                         UNITED STATES DISTRICT COURT
     Case
      Case2:22-cv-00860-MTL--JZB
            2:20-cv-00623-JAT-JZB Document
                                  Document 1-2
                                           168 Filed
                                                Filed05/19/22
                                                      11/10/21 Page
                                                                Page402
                                                                     21 of
                                                                        of 64
                                                                           465
                     Direct Examination - Philip A. Davidson, M.D.               21


 1   a feel for a patient and being able to diagnose that type of

 2   thing?

 3   A.   Yeah.    Telemedicine, by virtue of technology, was

 4   increasing in our clinical use.         I say "we" meaning both in my

 5   clinic and in the medical community of practitioners was

 6   increasing before the pandemic.         And then once the pandemic

 7   began, our utilization increased a lot because we had

 8   physicians and patients that really couldn't or wouldn't leave

 9   home, and I think it's really been an important advent.              It's

10   been recognized both by the government and medical payers that

11   are now reimbursing for it whereas they hadn't in the past.                 So

12   I think both its utilization and acceptance have rapidly

13   increased in recent years, and I use it routinely.

14   Q.   And in addition to your telemedicine consults with

15   Mr. Atwood, you have also reviewed medical records for him?

16   A.   Yes.

17   Q.   And did those two sets of data inputs coalesce for you,

18   were they consistent with each other?

19   A.   Very much so.

20   Q.   So does Mr. Atwood's condition cause him pain?

21                MS. BARNES:   Objection, Your Honor --

22                THE COURT:    Just a second.    There is an objection.

23                MS. BARNES:   -- again, calls for speculation.         Also,

24   foundation.      This witness cannot testify to whether or not this

25   plaintiff suffers significant pain.          And more importantly, it


                          UNITED STATES DISTRICT COURT
     Case
      Case2:22-cv-00860-MTL--JZB
            2:20-cv-00623-JAT-JZB Document
                                  Document 1-2
                                           168 Filed
                                                Filed05/19/22
                                                      11/10/21 Page
                                                                Page403
                                                                     22 of
                                                                        of 64
                                                                           465
                    Direct Examination - Philip A. Davidson, M.D.                22


 1   was never disclosed that he had these alleged telemedicine

 2   visits.    It was disclosed that he had two telephonic

 3   consultations.

 4               THE COURT:    I am sorry, but your legal objection is

 5   what?

 6               MS. BARNES:    Foundation.    He does not have personal

 7   knowledge to answer that question, and it calls for

 8   speculation, and there is no proof that he -- the testimony

 9   that he's given is accurate with respect to the telemedicine

10   visit that he had was mostly conducted on the phone.

11               THE COURT:    Now, the objection will be sustained.

12   Counsel, it seems to me you're asking an impossible question

13   because the particular conditions are indeed obviously

14   medically describable and determinable, and I doubt that

15   Mr. Atwood can relate his pain to a particular spinal stenosis

16   or whatever else.      It seems to me you're entitled to ask him by

17   way of history what the patient has told him about his -- the

18   effect of his pain.       I think he took a history by -- by the

19   tele-med conversation.

20               MR. ALLISON:    Thank you, Your Honor.

21   BY MR. ALLISON:

22   Q.   Has Mr. Atwood told you that his back, he suffers pain in

23   his back?

24   A.   Explicitly, and that formed the basis of our tele-med

25   consult.    I guess I would clarify that the standard of care now


                         UNITED STATES DISTRICT COURT
     Case
      Case2:22-cv-00860-MTL--JZB
            2:20-cv-00623-JAT-JZB Document
                                  Document 1-2
                                           168 Filed
                                                Filed05/19/22
                                                      11/10/21 Page
                                                                Page404
                                                                     23 of
                                                                        of 64
                                                                           465
                    Direct Examination - Philip A. Davidson, M.D.                23


 1   in orthopedic medicine is that the practitioner, in this case

 2   me, speaks with the patient, puts it in the context of imaging,

 3   puts it in the context of written records, and then asks

 4   leading questions to the patient, leading in terms of, you

 5   know, the nature of the discomfort, the location of the

 6   discomfort, trying to use validated outcome measures such as

 7   VAS pain scores about the pain.

 8              The idea is that we as clinicians formulate an opinion

 9   about is this person describing something that's consistent

10   with the pathology seen on the imaging?           Is this story

11   consistent, or does it seem like it's consistent or

12   problematic?     And in my conversation with Mr. Atwood, as well

13   as in my review of the records and review of the data I had, it

14   seems very consistent.       The pain patterns that he describes are

15   consistent with the pathology seen on the radiographs and the

16   imaging.

17              The way he describes his suffering to me appears to be

18   very consistent with the many, many hundreds and perhaps

19   thousands of patients that I have interviewed and examined and

20   treated and overseen their care historically.            So to me this is

21   very straightforward.       I am not a legal expert.       I can't

22   comment on the legal conversation in the courtroom, but

23   medically this man is suffering.         This is a guy who described

24   to me in interviews that he would have to crawl from his bed to

25   doorway to obtain food or medication.          I mean, this plight is


                         UNITED STATES DISTRICT COURT
     Case
      Case2:22-cv-00860-MTL--JZB
            2:20-cv-00623-JAT-JZB Document
                                  Document 1-2
                                           168 Filed
                                                Filed05/19/22
                                                      11/10/21 Page
                                                                Page405
                                                                     24 of
                                                                        of 64
                                                                           465
                     Direct Examination - Philip A. Davidson, M.D.               24


 1   so to me compelling with no -- no evidence of inconsistencies

 2   nor exaggerations.

 3                MS. BARNES:    Your Honor, move to strike the better

 4   part of that speech as nonresponsive.           The question was:     Has

 5   he communicated to you that his back hurts him, or his back is

 6   causing him pain, and the better part of what Mr. Davidson just

 7   provided to you by way of testimony went far beyond just

 8   answering the question of whether or not the communication

 9   occurred.

10                THE COURT:    Sustained.    We need to proceed -- we do

11   need to proceed on a question-by-question basis and not get

12   tempted and be unable to resist the temptation to lapse into a

13   narrative.

14                MR. ALLISON:    Thank you, Your Honor.

15   BY MR. ALLISON:

16   Q.   Has Mr. Atwood described his pain as constant or

17   intermittent?

18   A.   Both.

19   Q.   How has he described the severity of the pain?

20   A.   Very severe insofar as he said that the pain was so severe

21   that he felt as though if it couldn't be treated he would

22   rather end his life, he told me.

23   Q.   Has he told you that there are particular positions or

24   placing of his body that cause him particular pain?

25   A.   Multiple positions, including the fact that he was unable


                          UNITED STATES DISTRICT COURT
     Case
      Case2:22-cv-00860-MTL--JZB
            2:20-cv-00623-JAT-JZB Document
                                  Document 1-2
                                           168 Filed
                                                Filed05/19/22
                                                      11/10/21 Page
                                                                Page406
                                                                     25 of
                                                                        of 64
                                                                           465
                    Direct Examination - Philip A. Davidson, M.D.                25


 1   to find a comfortable position to sleep in such as a person

 2   might normally sleep.       He was having problems in regular

 3   positions to lessen the spinal pain, both in his neck and his

 4   back that he was experiencing.         He had pain with almost every

 5   activity.

 6   Q.   Did that include laying essentially supine flat on his

 7   back?

 8   A.   Yes.

 9   Q.   Are these symptoms consistent with other patients you have

10   treated?

11   A.   Yes.

12   Q.   What is Tramadol?

13   A.   Tramadol is a synthetic pain relieving medication that

14   works essentially in the brain and was several years ago

15   reclassified as a narcotic or an opioid.           It's not a

16   traditional opioid.       Traditional opioids are a derivation of

17   poppy; for example, morphine, heroin, codeine, these are

18   traditional opioids, so it's a nontraditional medication

19   working in the brain that has in recent years been classified

20   as an opioid.

21   Q.   Have you prescribed Tramadol to patients with similar

22   conditions to Mr. Atwood?

23   A.   Yes.

24   Q.   What are the downsides or side effects of Tramadol?

25   A.   Well, the side effects would include habituation,


                         UNITED STATES DISTRICT COURT
     Case
      Case2:22-cv-00860-MTL--JZB
            2:20-cv-00623-JAT-JZB Document
                                  Document 1-2
                                           168 Filed
                                                Filed05/19/22
                                                      11/10/21 Page
                                                                Page407
                                                                     26 of
                                                                        of 64
                                                                           465
                    Direct Examination - Philip A. Davidson, M.D.                26


 1   constipation, and then with any centrally active medication

 2   like this, it can impair, for example, coordination, balance,

 3   judgement, critical thinking.         It's a central system nervous

 4   system depressant, but in the context of other medications its

 5   side effect profile and those negative effects I just listed

 6   are less than other alternatives.

 7   Q.   Have you seen from the records and your calls with

 8   Mr. Atwood that he was previously prescribed Tramadol?

 9   A.   Yes.

10   Q.   Do you have an understanding from those records and/or

11   calls about how long Mr. Atwood was prescribed Tramadol?

12   A.   Many years.

13   Q.   According to him and his records, was Tramadol effective in

14   managing his pain?

15   A.   Yes.

16   Q.   Do you know that his Tramadol prescription was discontinued

17   last year in, I believe, September?

18   A.   That is my understanding, yes.

19   Q.   What did he tell you that this change in medication did to

20   his pain?

21   A.   That the Tramadol had been effective and the absence of

22   Tramadol left him in, you know, he described, his word was

23   excruciating pain.

24   Q.   Did he tell you that there were other painkillers that he

25   had been prescribed that were effective in managing his pain?


                         UNITED STATES DISTRICT COURT
     Case
      Case2:22-cv-00860-MTL--JZB
            2:20-cv-00623-JAT-JZB Document
                                  Document 1-2
                                           168 Filed
                                                Filed05/19/22
                                                      11/10/21 Page
                                                                Page408
                                                                     27 of
                                                                        of 64
                                                                           465
                    Direct Examination - Philip A. Davidson, M.D.                27


 1   A.   We discussed, and his records discussed many other

 2   medications for a variety of reasons that I guess we could

 3   potentially get into were not effective in managing his pain.

 4   Q.   In your experience, when prescribing a painkilling regimen,

 5   if one medication doesn't work for a patient, what's your next

 6   step?

 7   A.   Fortunately we have many alternatives, many families of

 8   medications and classes of medications that can be used to try

 9   to lessen pain, each as you've already indicated can carry side

10   effects, but in summary, the typical medications that would be

11   used and the different families of medications he was either

12   allergic, intolerant or they are contraindicated.              So the fact

13   that Tramadol was effective and safe for him makes it a

14   uniquely good choice.

15   Q.   Did Mr. Atwood tell you that he was in the infirmary

16   earlier this year?

17   A.   Yes.

18   Q.   Did he tell you that his Tramadol prescription, he received

19   Tramadol in the infirmary?

20   A.   I don't recall the sequence exactly of events when he

21   received which medication and what time, but I am aware that he

22   is in the infirmary and has received Tramadol periodically.

23   Q.   As described to you by Mr. Atwood, does his pain affect his

24   daily activities?

25   A.   Yes.


                         UNITED STATES DISTRICT COURT
     Case
      Case2:22-cv-00860-MTL--JZB
            2:20-cv-00623-JAT-JZB Document
                                  Document 1-2
                                           168 Filed
                                                Filed05/19/22
                                                      11/10/21 Page
                                                                Page409
                                                                     28 of
                                                                        of 64
                                                                           465
                    Direct Examination - Philip A. Davidson, M.D.                28


 1   Q.   In what ways?

 2   A.   I think in almost every way where there would be motion

 3   imparted to the spine.       So I think the daily activities such

 4   as, for example, I see right now he's writing, that would

 5   probably not cause pain, but he could have difficulty with that

 6   because of the cervical myelomalacia and the effect on the

 7   nerves, but I think almost every activity to include basic

 8   things like dressing, toileting, transferring, I think

 9   everything is affected by pain given the multitude of the

10   conditions, particularly include the spinal disease.

11   Q.   Has he told you that his motor functioning is impaired by

12   his condition?

13   A.   He described weakness and radiating pain into his

14   extremities, and that deleteriously affects motor function and

15   manifests particularly in his inability or difficulty with

16   transfers and ambulation.

17   Q.   In your experience, does unmanaged pain also impact a

18   patient's strength or motor functioning or range of motion?

19   A.   Yes.

20   Q.   In Mr. Atwood's condition, is wheelchair transferring

21   risky?

22   A.   Yes.

23   Q.   What are the risks?

24   A.   Obviously falling.

25   Q.   Do you know if Mr. Atwood has a history of falls while


                         UNITED STATES DISTRICT COURT
     Case
      Case2:22-cv-00860-MTL--JZB
            2:20-cv-00623-JAT-JZB Document
                                  Document 1-2
                                           168 Filed
                                                Filed05/19/22
                                                      11/10/21 Page
                                                                Page410
                                                                     29 of
                                                                        of 64
                                                                           465
                    Direct Examination - Philip A. Davidson, M.D.                29


 1   transferring?

 2   A.   I read about multiple falls.        I don't know about of course

 3   all of his falls, but I read about multiple falls, and I think

 4   it's the fear of falling that, for example, causes him to crawl

 5   around in his cell.

 6   Q.   Does wheelchair transferring, in your experience, lessen

 7   the risk of a fall?

 8   A.   That question confuses me.        Could you re-ask it in a

 9   different way?

10   Q.   In your experience as an orthopedist, does the availability

11   of wheelchair transfer assistance lessen the risk of a patient

12   falling?

13   A.   Oh, "assistance," I missed that word.          So yes, yes, I think

14   that's pretty obvious.       I agree with that.

15   Q.   What are some examples of what patients transfer from their

16   wheelchair to do, as in where do patients transfer from their

17   wheelchair to just --

18              MS. BARNES:     Objection, Your Honor.       I think, again,

19   this calls for speculation.        It's vague.     And in this case

20   foundation as well because this doctor has not indicated he has

21   any experience in a correctional setting or any experience with

22   patients in a correctional setting.

23              THE COURT:     Your response.

24              MR. ALLISON:     I'm asking about his experience with

25   orthopedic patients outside of the correctional setting.              They


                         UNITED STATES DISTRICT COURT
     Case
      Case2:22-cv-00860-MTL--JZB
            2:20-cv-00623-JAT-JZB Document
                                  Document 1-2
                                           168 Filed
                                                Filed05/19/22
                                                      11/10/21 Page
                                                                Page411
                                                                     30 of
                                                                        of 64
                                                                           465
                    Direct Examination - Philip A. Davidson, M.D.                30


 1   also are in wheelchairs and need to transfer out and to and

 2   from wheelchairs.

 3              THE COURT:     Sustained.

 4              THE WITNESS:     So typically say a wheelchair --

 5              THE COURT:     The objection is sustained.          He will go on

 6   to the next question.

 7              MR. ALLISON:     Yes.

 8              THE WITNESS:     Sorry.

 9   BY MR. ALLISON:

10   Q.   Are there side effects to Tramadol that would keep you from

11   prescribing it to a patient if you knew other painkilling

12   medications were not effective?

13   A.   We as physicians prescribe medications with knowledge of

14   the side effects profile.        We talked earlier today about the

15   side effects that Tramadol can have.          It's not always -- the

16   side effects do not always manifest, but the side effect

17   profile of Tramadol in my mind would be outweighed by the

18   benefit of the pain relief in this particular patient's case.

19              MR. ALLISON:     That's all I have for you at the moment,

20   Dr. Davidson.     Thank you.

21              THE WITNESS:     You're welcome.

22              THE COURT:     All right.    Defense.    Ms. Barnes, you were

23   doing the objecting, so I assume that means you're first up on

24   cross-examination.

25              MS. BARNES:     Ms. Chronister is prepared to do the


                         UNITED STATES DISTRICT COURT
     Case
      Case2:22-cv-00860-MTL--JZB
            2:20-cv-00623-JAT-JZB Document
                                  Document 1-2
                                           168 Filed
                                                Filed05/19/22
                                                      11/10/21 Page
                                                                Page412
                                                                     31 of
                                                                        of 64
                                                                           465
                    Cross-Examination - Philip A. Davidson, M.D.                 31


 1   cross-examination.

 2              THE COURT:     I'm sorry.

 3              MS. BARNES:     Ms. Chronister is prepared to do the

 4   cross-examination.

 5              THE COURT:     Why were you doing the objecting?

 6              MS. BARNES:     Well, we are both here --

 7              THE COURT:     Are you planning to cross-examine too?

 8              MS. BARNES:     There is a good chance that I will as

 9   well.    Ms. Chronister has prepared for this hearing and I am

10   here to oversee and to assist, and I will ask additional

11   questions when she is done.

12              THE COURT:     Very well.    Ms. Chronister.

13              MS. CHRONISTER:      Thank you, Your Honor.

14                              CROSS-EXAMINATION

15   BY MS. CHRONISTER:

16   Q.   Good morning, Dr. Davidson.        My name is Dani Chronister,

17   and I am here on behalf of the defendants.           You've never

18   provided medical care to a patient in a correctional setting;

19   is that correct?

20   A.   No.

21   Q.   Tell me when you've provided medical care to a patient in a

22   correctional setting.

23   A.   For the first approximately 15 years of my career I worked

24   in Pinellas County, Florida and prisoners were brought to our

25   clinic for medical treatment.         I also treated prisoners in the


                         UNITED STATES DISTRICT COURT
     Case
      Case2:22-cv-00860-MTL--JZB
            2:20-cv-00623-JAT-JZB Document
                                  Document 1-2
                                           168 Filed
                                                Filed05/19/22
                                                      11/10/21 Page
                                                                Page413
                                                                     32 of
                                                                        of 64
                                                                           465
                    Cross-Examination - Philip A. Davidson, M.D.                 32


 1   emergency room but not in the correctional facility.

 2   Q.   Okay.    So you've treated inmates who come off site out of

 3   the prison, but not inmates who are in the prison currently, is

 4   that fair to say?

 5   A.   That is correct.

 6   Q.   Okay.    And when did you say that the last time -- when

 7   would you say the last time you saw a patient from a prison

 8   would be aside from your conversations with Mr. Atwood in this

 9   case?

10   A.   Probably maybe 2016 approximately.

11   Q.   Have you ever been an expert in a correctional medicine

12   case before?

13   A.   No.

14   Q.   Have you ever been an expert before in a noncorrectional

15   case?

16   A.   Yes.

17   Q.   Approximately how many times have you been retained as an

18   expert in a noncorrectional case?

19   A.   Over the course of my whole career?

20   Q.   Yes.

21   A.   Maybe 50.

22   Q.   50.    And of those 50 times, approximately how many times

23   have you represented the plaintiff versus the defendant?

24   A.   I would say the plaintiff the majority, but sometimes I

25   don't know insofar as there's agencies that hire orthopedic


                         UNITED STATES DISTRICT COURT
     Case
      Case2:22-cv-00860-MTL--JZB
            2:20-cv-00623-JAT-JZB Document
                                  Document 1-2
                                           168 Filed
                                                Filed05/19/22
                                                      11/10/21 Page
                                                                Page414
                                                                     33 of
                                                                        of 64
                                                                           465
                    Cross-Examination - Philip A. Davidson, M.D.                 33


 1   surgeons, and we would accept or I would accept a case not

 2   knowing whether it was plaintiff or defense that was hiring me.

 3   Q.   And I believe you just testified that you've never actually

 4   physically examined Mr. Atwood, is that fair to say?

 5   A.   That is correct.

 6   Q.   And the only medical records you've reviewed in this case

 7   were the ones that were provided to you by the plaintiff, is

 8   that fair?

 9   A.   That is correct.

10   Q.   Now, have you reviewed any updated records after you

11   submitted your initial written opinions in this case on June

12   21st of 2021?

13   A.   Yes.

14   Q.   Did you review records from the neurologist Dr. Feiz-Erfan?

15   A.   Secondary reference.       I don't have his original documents.

16   Q.   What do you mean by secondary reference?

17   A.   I was sent some documents in the past 24 hours basically

18   summarizing his visits by Dr. Fowlkes, I believe, as well as

19   Nurse Practitioner Olmstead, so, but I don't have the original

20   documents, no.

21   Q.   Okay.    So you have not reviewed the actual medical records

22   of Mr. Atwood's neurosurgery visits since June 21st of 2021?

23   A.   Correct, only the secondary documents that I just

24   mentioned.

25   Q.   Okay.    Now, since you've prepared your opinions in this


                         UNITED STATES DISTRICT COURT
     Case
      Case2:22-cv-00860-MTL--JZB
            2:20-cv-00623-JAT-JZB Document
                                  Document 1-2
                                           168 Filed
                                                Filed05/19/22
                                                      11/10/21 Page
                                                                Page415
                                                                     34 of
                                                                        of 64
                                                                           465
                    Cross-Examination - Philip A. Davidson, M.D.                 34


 1   case, are you aware that Mr. Atwood has been evaluated by a

 2   neurosurgeon and is scheduled to undergo epidural steroid

 3   injections in the near future?

 4   A.   Yes, I read that.

 5   Q.   Isn't that what you recommended in this case that may be

 6   effective to help Mr. Atwood's pain?

 7   A.   Yes, and I find that very gratifying.

 8   Q.   Now, isn't it true that you primarily relied on

 9   Mr. Atwood's own subjective history in reporting regarding his

10   past medical treatment to prepare your opinions in this case?

11   A.   Let's see, I reviewed medical records that were provided to

12   me as well as spoke with Mr. Atwood.

13   Q.   Okay.    And would you be surprised to hear that the

14   neurosurgeon considers Mr. Atwood's spinal stenosis to be a

15   mild case?

16   A.   Yes.    No, I am not surprised.      I read that.     Again, it was

17   secondarily quoted.       I only received this secondary information

18   in the past 24 hours, but I saw that Dr. Fowlkes, I don't know

19   if I am pronouncing that right, but Dr. Fowlkes referenced that

20   report that I haven't seen whereby the surgeon described that

21   as mild stenosis.

22   Q.   And the neurosurgeon also made no additional

23   recommendations for Tramadol or other opioid medications, is

24   that something you're aware of?

25   A.   Again, I don't have those original records, but whether he


                         UNITED STATES DISTRICT COURT
     Case
      Case2:22-cv-00860-MTL--JZB
            2:20-cv-00623-JAT-JZB Document
                                  Document 1-2
                                           168 Filed
                                                Filed05/19/22
                                                      11/10/21 Page
                                                                Page416
                                                                     35 of
                                                                        of 64
                                                                           465
                    Cross-Examination - Philip A. Davidson, M.D.                 35


 1   recommended it or not, I am not exactly sure.

 2   Q.     And you're not a neurosurgeon, is that fair to say,

 3   Dr. Davidson?

 4   A.     That is correct.

 5   Q.     And as part of your opinions you've -- you've suggested

 6   that Mr. Atwood be either seen by a neurosurgeon for his spinal

 7   stenosis or an orthopedic surgeon; is that right?

 8   A.     Specifically an orthopedic surgeon with spine training,

 9   yes.

10   Q.     You testified earlier that you have prescribed a patient an

11   opioid before; is that right?

12   A.     Yes.

13   Q.     What are the things that you consider when you're

14   prescribing a patient an opioid?

15   A.     The clinical context.     For example, what generated the need

16   for the opioid, is it an acute injury, is it cervical pain, is

17   it as in this case a chronic pain issue?           Then we look at the

18   patient, his history, are they habituated, what's the potential

19   for habituation, what's their relevant medical history in terms

20   of, for example, their kidney and liver function?             We really

21   consider a lot of parameters.         The prescription of opioids over

22   the course of my career has become much more stringently

23   scrutinized and carefully undertaken.

24   Q.     Why has the prescription of opioids over the course of your

25   career have become more stringently scrutinized?


                         UNITED STATES DISTRICT COURT
     Case
      Case2:22-cv-00860-MTL--JZB
            2:20-cv-00623-JAT-JZB Document
                                  Document 1-2
                                           168 Filed
                                                Filed05/19/22
                                                      11/10/21 Page
                                                                Page417
                                                                     36 of
                                                                        of 64
                                                                           465
                     Cross-Examination - Philip A. Davidson, M.D.                36


 1   A.   Because of what's been commonly called the opioid epidemic.

 2   Q.   What has lead to the opioid epidemic in your opinion as a

 3   medical provider?

 4                MR. LANE:    Objection, Your Honor, that's irrelevant.

 5                THE WITNESS:   Should I answer?

 6                THE COURT:   Overruled.

 7   BY MS. CHRONISTER:

 8   Q.   Yes.    Now you can answer.

 9   A.   Okay.    I think the opioid epidemic is multifactorial.           I

10   mean, it's getting, just the general media perpetuated to some

11   extent by the pharma, perpetuated by some societal traumas,

12   poverty.     I mean, the opioid epidemic has also been contributed

13   by overprescribing at times.        I mean, there is an array of, you

14   know, large scale reasons that this is, remains a huge problem

15   in the United States.

16   Q.   Is part of the reason, in your opinion, the fact that an

17   opioid is extremely, or I guess can be extremely addictive?

18   A.   Yes.

19   Q.   Now, a few minutes ago you told us some of the things you

20   consider when prescribing opioids to a patient, it's fair to

21   say that the only thing that -- it's not the only thing you

22   consider when you're prescribing an opioid to a patient is its

23   effectiveness for that patient's pain complaints, is that fair?

24   A.   Right.    There is many considerations beyond effectiveness

25   that needs to be considered, yes, I agree.           That was a


                          UNITED STATES DISTRICT COURT
     Case
      Case2:22-cv-00860-MTL--JZB
            2:20-cv-00623-JAT-JZB Document
                                  Document 1-2
                                           168 Filed
                                                Filed05/19/22
                                                      11/10/21 Page
                                                                Page418
                                                                     37 of
                                                                        of 64
                                                                           465
                     Cross-Examination - Philip A. Davidson, M.D.                37


 1   complicated question.

 2   Q.   I am sorry.     I could have worded it a little bit better

 3   maybe.

 4                Have you ever prescribed a patient an opioid --

 5                THE REPORTER:   I'm sorry, excuse me, counsel, can you

 6   repeat that, please?

 7                THE WITNESS:    Not personally.    The clinicians that I

 8   oversee in my clinic do that, yes.

 9   BY MS. CHRONISTER:

10   Q.   Dr. Davidson, hold on just a second.

11                MS. CHRONISTER:    Which question?

12                THE REPORTER:   The question right before he started to

13   answer.    I didn't get that.

14   BY MS. CHRONISTER:

15   Q.   Okay.    Have you ever prescribed a patient an opioid for an

16   indefinite period of time?

17   A.   Not personally, but physicians work with me in my clinic

18   that do that.

19   Q.   What do you mean by when you say that they prescribe it for

20   an indefinite period of time?

21   A.   There is an entire field of medicine, and I have several

22   practitioners that work with me in my clinic called pain

23   management physicians.       And pain management, which we've kind

24   of been talking about but not naming it, pain management is

25   this multimodal way to help people with chronic pain.


                          UNITED STATES DISTRICT COURT
     Case
      Case2:22-cv-00860-MTL--JZB
            2:20-cv-00623-JAT-JZB Document
                                  Document 1-2
                                           168 Filed
                                                Filed05/19/22
                                                      11/10/21 Page
                                                                Page419
                                                                     38 of
                                                                        of 64
                                                                           465
                     Cross-Examination - Philip A. Davidson, M.D.                38


 1                So I am a surgeon and I also am a director of a

 2   clinic, and so if I have a patient that is going to need

 3   chronic pain meds, I would refer them to a colleague that would

 4   prescribe them modalities of treatment sometimes which include

 5   chronic opioids.

 6   Q.   Okay.    And just to clarify, Dr. Davidson, that prescription

 7   written by a pain management doctor wouldn't be for an

 8   indefinite period of time, is that fair to say?

 9   A.   That is correct.      It's -- effectively patients can be on it

10   indefinitely, but what I see from my colleagues, and these are

11   my patients being cared for by my colleagues, what I see is the

12   prescription is periodically reviewed in terms of safety and

13   side effects, but, no, I mean, no one is getting a prescription

14   that says you have this permanently, but I do see patients on

15   medications which are effectively permanent but they require

16   ongoing monitoring.

17   Q.   So sometimes maybe when those patients are prescribed

18   chronic opioids, as you've testified, when their providers are

19   evaluating whether or not to continue on that prescription,

20   that's done on a periodic basis, is that fair?

21   A.   Yes.

22   Q.   Okay.    And you would agree that in any situation where a

23   patient is being evaluated for an ongoing opioid prescription,

24   the person in the best position to make that determination is a

25   provider who is treating that patient in person and evaluating


                          UNITED STATES DISTRICT COURT
     Case
      Case2:22-cv-00860-MTL--JZB
            2:20-cv-00623-JAT-JZB Document
                                  Document 1-2
                                           168 Filed
                                                Filed05/19/22
                                                      11/10/21 Page
                                                                Page420
                                                                     39 of
                                                                        of 64
                                                                           465
                     Cross-Examination - Philip A. Davidson, M.D.                 39


 1   him or her?

 2   A.   Yes.

 3   Q.   Okay.    And again, you have not personally treated

 4   Mr. Atwood in this case?

 5   A.   That's correct.

 6   Q.   Would you agree with me that his treating provider whose

 7   evaluated him personally over the course of almost two years

 8   has a better understanding of his needs than you do?

 9   A.   No, I disagree with that insofar as additional medical

10   prospectus can help in patient's care, and I have nothing good

11   or bad to say about Nurse Practitioner Olmstead.               I am saying

12   that as an orthopedic surgeon with the experiences that we

13   outlined already today, that in my opinion ongoing opioid

14   treatment is clinically appropriate in this particular example

15   with Tramadol.

16   Q.   And you would make that opinion here today even though it's

17   in disagreement with the neurosurgeon who you've opined in this

18   case that he should see?

19                MR. LANE:    Objection, assumes facts not in evidence,

20   Your Honor.

21                THE COURT:   Sustained.

22   BY MS. CHRONISTER:

23   Q.   Dr. Davidson, the exhibit that I'm referring to, the

24   neurosurgeon exhibit is Exhibit 54 of the defendant's exhibits,

25   you have not reviewed that exhibit in this case; is that


                          UNITED STATES DISTRICT COURT
     Case
      Case2:22-cv-00860-MTL--JZB
            2:20-cv-00623-JAT-JZB Document
                                  Document 1-2
                                           168 Filed
                                                Filed05/19/22
                                                      11/10/21 Page
                                                                Page421
                                                                     40 of
                                                                        of 64
                                                                           465
                     Cross-Examination - Philip A. Davidson, M.D.                40


 1   correct?

 2   A.   I have not seen original notes from the neurosurgeon.

 3   Q.   Okay.    And that exhibit has been stipulated to and we

 4   entered in this case, 54.

 5                MS. BARNES:   Sorry, Your Honor.

 6   BY MS. CHRONISTER:

 7   Q.   To re-ask the question so we can establish that the record

 8   is in fact in evidence, would make your opinion that an opioid

 9   prescription for Mr. Atwood is medically indicated even though

10   that would be in opposite to the recommendations made by the

11   neurosurgeon who has recently treated Mr. Atwood essentially at

12   your, in line with your opinions that he see a neurosurgeon for

13   pain management?

14                MR. LANE:    I will object.    It's a compound question.

15   She hasn't referred to any page in Exhibit 54 that anybody can

16   look at.

17                THE COURT:    She makes reference to something being an

18   evidence.     I am not aware of anything in evidence yet.

19                MS. BARNES:   Your Honor, responding to that objection,

20   Exhibit 54 is in evidence, the entire exhibit.            She can refer

21   you to the page.

22                THE COURT:    I didn't -- I don't recall being -- I

23   don't recall something being offered in evidence and the Court

24   receiving it in evidence.

25                MR. LANE:    Your Honor is correct.     We have agreed --


                          UNITED STATES DISTRICT COURT
     Case
      Case2:22-cv-00860-MTL--JZB
            2:20-cv-00623-JAT-JZB Document
                                  Document 1-2
                                           168 Filed
                                                Filed05/19/22
                                                      11/10/21 Page
                                                                Page422
                                                                     41 of
                                                                        of 64
                                                                           465
                    Cross-Examination - Philip A. Davidson, M.D.                 41


 1              THE COURT:     That's one thing.     I get stipulations

 2   everyday that say: --

 3              MR. LANE:    Understood.

 4              THE COURT:     -- Judge, here's what we've stipulated and

 5   may come into evidence, but until something is offered in

 6   evidence, it is not in evidence.

 7              MR. LANE:    Correct.

 8              THE COURT:     And to embellish on that, I mentioned

 9   earlier, if you're going to put something in evidence, it needs

10   to be accompanied by a statement as to why it's being offered

11   in evidence 'cause we're not going to -- I guess you can offer

12   the whole thing wholesale if there is no objection that we

13   receive it in wholesale, but you're going to have to do the

14   homework as I told you at the end of the day, and that is go in

15   there and highlight what it is that I am supposed to look at.

16              MS. CHRONISTER:      Okay.   Your Honor, this is

17   Exhibit 54.     The neurosurgeon's summary of his findings is on

18   page 5 of the exhibit, but it's marked as page 3 of 11 on the

19   actual record.      Your Honor, may I show this exhibit to the

20   witness?

21              THE COURT:     You may.

22              MS. CHRONISTER:      May it be entered into evidence as

23   stipulated to by the plaintiff?

24              COURTROOM DEPUTY:      Did you admit that, Judge?        Did you

25   admit this exhibit?


                         UNITED STATES DISTRICT COURT
     Case
      Case2:22-cv-00860-MTL--JZB
            2:20-cv-00623-JAT-JZB Document
                                  Document 1-2
                                           168 Filed
                                                Filed05/19/22
                                                      11/10/21 Page
                                                                Page423
                                                                     42 of
                                                                        of 64
                                                                           465
                    Cross-Examination - Philip A. Davidson, M.D.                 42


 1              THE COURT:     I'm pondering the -- are the exhibits

 2   now -- the totality of the exhibits, are they now, do they each

 3   have individual exhibit numbers on them?

 4              MS. CHRONISTER:      Yes, Your Honor, they should.

 5              THE COURT:     Let me look.    Well, I got it.      In view of

 6   what Mr. Lane says, both parties are in agreement that all of

 7   the exhibits can come into evidence.

 8              MS. CHRONISTER:      All of the defendant's exhibits.

 9   Some of the plaintiff's exhibits have not been stipulated to by

10   the defense.

11              MR. LANE:    Every single exhibit, Your Honor, basically

12   is a medical record, and we don't have any foundational

13   objections, we don't have any evidentiary objections, but I

14   have no doubt that this court is not going to go through a

15   stack of medical records, you know, 8 inches high.             So I'm

16   fully in support of the Court and what we should do rather than

17   just dump 8 inches of medical records on the Court, is go

18   through, like right now she's focused on page 3, no objection.

19   She can focus the witness and then maybe this little piece of a

20   medical record can come in.

21              THE COURT:     So you're offering then what is marked as

22   Exhibit 3?

23              MS. CHRONISTER:      What I am offering right now has been

24   marked as part of defendant's exhibits.           It's been marked as

25   Exhibit 54.     It's the first exhibit offered today to be


                         UNITED STATES DISTRICT COURT
     Case
      Case2:22-cv-00860-MTL--JZB
            2:20-cv-00623-JAT-JZB Document
                                  Document 1-2
                                           168 Filed
                                                Filed05/19/22
                                                      11/10/21 Page
                                                                Page424
                                                                     43 of
                                                                        of 64
                                                                           465
                     Cross-Examination - Philip A. Davidson, M.D.                43


 1   admitted into evidence.

 2                MS. BARNES:   Tell him what it is.

 3                MS. CHRONISTER:    It's a medical record dated July 30th

 4   of 2021.

 5                THE COURT:    Let me ask the courtroom deputy, you would

 6   be treating it as Exhibit 54?

 7                COURTROOM DEPUTY:    Correct.

 8                THE COURT:    And that's -- is there any reason we can't

 9   treat it as Exhibit 54?

10                MS. CHRONISTER:    I don't believe so, Your Honor.

11                THE COURT:    Let's do it that way, so we don't end up

12   with me, causing me to get confused by things.            So we'll go

13   with 54.     You're offering that, no objection, and it's

14   received.     54 is received.

15                     (Exhibit 54 is admitted)

16   BY MS. CHRONISTER:

17   Q.   Dr. Davidson, can you see Exhibit 54 on your screen?

18   A.   I can.

19   Q.   Okay.    And have you taken a look at the exhibit?

20   A.   I am reading it now.       Okay.

21   Q.   And do you see under "Plan" or mere plan where it says

22   epidural injection, Lumbar 1 to 2?

23   A.   Yes.

24   Q.   And your opinion, it was your opinion back in June of 2021

25   in this case that an epidural spinal injection was recommended


                          UNITED STATES DISTRICT COURT
     Case
      Case2:22-cv-00860-MTL--JZB
            2:20-cv-00623-JAT-JZB Document
                                  Document 1-2
                                           168 Filed
                                                Filed05/19/22
                                                      11/10/21 Page
                                                                Page425
                                                                     44 of
                                                                        of 64
                                                                           465
                    Cross-Examination - Philip A. Davidson, M.D.                 44


 1   for Mr. Atwood to help manage his chronic pain; is that

 2   correct?

 3   A.   I think that is appropriate, yes.

 4   Q.   And you also see where it says "physical therapy"?

 5   A.   Yes.

 6   Q.   And did I tell that you -- do you have any -- have you

 7   reviewed Mr. Atwood's physical therapy records after your

 8   opinions were offered in this case?

 9   A.   Only the secondary reference to them.

10   Q.   Okay.    You have no reason to dispute the fact that Mr.

11   Atwood has gone to physical therapy since the date of your

12   report?

13   A.   No.

14   Q.   Okay.    And anywhere in this Plan section do you see where

15   the neurosurgeon recommended that Mr. Atwood be resumed on

16   Tramadol or any other specific pain medication?

17   A.   No.

18   Q.   Okay.    And so again, it's your opinion here today that he

19   should be resumed on an opioid prescription even though his

20   treating neurosurgeon has not made that recommendation?

21   A.   Yes.

22   Q.   And you would agree with me that the appropriateness of a

23   medication may change over time as a patient's current health

24   status changes?

25   A.   Yes.


                         UNITED STATES DISTRICT COURT
     Case
      Case2:22-cv-00860-MTL--JZB
            2:20-cv-00623-JAT-JZB Document
                                  Document 1-2
                                           168 Filed
                                                Filed05/19/22
                                                      11/10/21 Page
                                                                Page426
                                                                     45 of
                                                                        of 64
                                                                           465
                    Cross-Examination - Philip A. Davidson, M.D.                 45


 1   Q.   Just because an opioid prescription at one point may have

 2   been effective and appropriate for a patient doesn't mean it

 3   always will be?

 4   A.   I agree with that.

 5   Q.   Now, you testified earlier that Mr. Atwood had reported to

 6   you during your telephone conferences with him about

 7   experiencing excruciating pain; is that right?

 8   A.   Yes.

 9   Q.   Did you ever confirm what Mr. Atwood was telling you in his

10   medical records from an objective perspective?

11   A.   Pain is always subjective, so it's -- I am not sure how to

12   answer the question.       I mean, there's multiple reports and

13   things I read talking about pain, different locations of pain,

14   but the report of pain is always subjective.            That's a

15   challenge in managing and treating pain.

16   Q.   Is it your testimony that there are no objective findings

17   that a patient may be experiencing pain?

18   A.   There's ways that pain can be sort of quantified, but it's

19   always dependent upon the subjective.          It's only experienced by

20   the patient, right.       We as clinicians can only take input from

21   our patients.     It's definitionally subjective.

22   Q.   So you did not observe any objective -- you did not review

23   Mr. Atwood's medical records to confirm whether or not they

24   reflected any objective reports of his pain complaints, is that

25   fair?


                         UNITED STATES DISTRICT COURT
     Case
      Case2:22-cv-00860-MTL--JZB
            2:20-cv-00623-JAT-JZB Document
                                  Document 1-2
                                           168 Filed
                                                Filed05/19/22
                                                      11/10/21 Page
                                                                Page427
                                                                     46 of
                                                                        of 64
                                                                           465
                    Cross-Examination - Philip A. Davidson, M.D.                 46


 1   A.   No.   Again, but this notion of objective and subjective

 2   pain, like in my experience when a patient has described to me,

 3   in this case Mr. Atwood, said that he was having so much pain

 4   that he couldn't transfer and get to the toilet so he defecated

 5   and urinated on himself at times, and was crawling around

 6   because he was in so much pain, to me that provides what I

 7   would describe as indirect and very, very important evidence of

 8   pain.

 9   Q.   Okay.    But you didn't review any medical record that

10   supported Mr. Atwood's statements about those events, is that

11   fair?

12   A.   I reviewed records where the clinicians described pain to

13   them and then the secondary reference to pain by other

14   clinicians.

15   Q.   Okay, but no specific record where he was crawling from bed

16   or anything else that you just described?

17   A.   No, just the clinician's description of pain.

18   Q.   Okay.    And would you be surprised to know that Mr. Atwood

19   wheels himself in his wheelchair to his med pass on a daily

20   basis?

21   A.   No.

22   Q.   And then he is in a wheelchair and is able to be in his

23   wheelchair in his cell at the Browning Unit?

24   A.   That doesn't surprise me.

25   Q.   My co-counsel may have a few questions for you, Dr.


                         UNITED STATES DISTRICT COURT
     Case
      Case2:22-cv-00860-MTL--JZB
            2:20-cv-00623-JAT-JZB Document
                                  Document 1-2
                                           168 Filed
                                                Filed05/19/22
                                                      11/10/21 Page
                                                                Page428
                                                                     47 of
                                                                        of 64
                                                                           465
                    Cross-Examination - Philip A. Davidson, M.D.                 47


 1   Davidson, but I don't at this moment.

 2              THE COURT:     I am sorry.    You're both in the same law

 3   firm --

 4              MS. CHRONISTER:      Yes, Your Honor.

 5              THE COURT:     Representing the same defendant?        We don't

 6   do it that way.

 7              MS. BARNES:      May I have one moment with my co-counsel

 8   then, Your Honor?

 9              THE COURT:     One person takes a witness and they make

10   the objection of the witness, and then they ask all the

11   questions.     That's the way it works.       Sorry about that.

12              MS. BARNES:      May I have one moment with her?

13              THE COURT:     You may.    In fact, I will tell you, what

14   we're going to do is we're going to take a 15-minute break

15   right now so you can confer, and we will return in 15 minutes.

16              MR. LANE:    Thank you, Your Honor.

17              MS. CHRONISTER:      Can we leave the exhibit up during

18   the break.     Thank you?

19                    (Whereupon, a recess was taken.)

20              THE COURT:     Thank you.    Please be seated.      And you may

21   continue, Ms. Chronister.

22              MS. CHRONISTER:      Thank you, Your Honor.

23   BY MS. CHRONISTER:

24   Q.   Dr. Davidson, I have additional question for you on the

25   exhibit.    Do you see on at the top of this exhibit on the


                         UNITED STATES DISTRICT COURT
     Case
      Case2:22-cv-00860-MTL--JZB
            2:20-cv-00623-JAT-JZB Document
                                  Document 1-2
                                           168 Filed
                                                Filed05/19/22
                                                      11/10/21 Page
                                                                Page429
                                                                     48 of
                                                                        of 64
                                                                           465
                    Cross-Examination - Philip A. Davidson, M.D.                 48


 1   screen where it says after the neurosurgeon physically examined

 2   Mr. Wood he noticed four plus out of five on the strength of

 3   his hands?

 4   A.   Yes.

 5   Q.   And also a four out of five strength on his legs?

 6   A.   Yes.

 7   Q.   You would agree with me, Dr. Davidson, that a neurosurgeon

 8   is an appropriate person to be evaluating and treating

 9   Mr. Atwood's pain complaints with respect to his back pain?

10   A.   Yes.

11   Q.   And you would agree with me that there are some objective

12   indicator for pain such an elevated heart rate, change in

13   vitals, whether or not the patient is moving around, things

14   like that?

15   A.   Yes, they are not consistent, but they are indicative, yes.

16   Q.   And in this case you never took Mr. Atwood's vitals, is

17   that fair to say?

18   A.   I did not do an examination of Mr. Atwood.

19   Q.   You didn't cross-reference his alleged pain complaints with

20   any changes in vitals if they exist in his medical records; is

21   that correct?

22   A.   That is correct, but I think if we're talking about the

23   records maybe you can put up the record you us just showed me

24   and took down.

25   Q.   It's not a specific record, Dr. Davidson.           I will make my


                         UNITED STATES DISTRICT COURT
     Case
      Case2:22-cv-00860-MTL--JZB
            2:20-cv-00623-JAT-JZB Document
                                  Document 1-2
                                           168 Filed
                                                Filed05/19/22
                                                      11/10/21 Page
                                                                Page430
                                                                     49 of
                                                                        of 64
                                                                           465
                    Cross-Examination - Philip A. Davidson, M.D.                 49


 1   question a little that bit more clear.          When Mr. Atwood

 2   expressed experiencing excruciating pain to you, you didn't on

 3   a certain date depending what he said to you during the

 4   conversation, you didn't then cross-reference his subjective

 5   pain complaint to you to see if there were any objective notes

 6   in his medical records?

 7   A.    That wouldn't have been appropriate insofar as my interview

 8   with Mr. Atwood was me asking him questions and him answering

 9   me.   It wasn't meant to cross-reference with a particular

10   clinic visit.

11   Q.    Okay.   So in other words, you just took his word for it on

12   his subjective pain complaints?

13   A.    That's how medicine works.

14   Q.    Would the fact that a patient may be experiencing an

15   increase in falls be a reason to wean or discontinue that

16   person off an opioid medication?

17   A.    In general, yes, but in this particular case I think what

18   it tells me as an experienced and relevant clinician is he

19   needs more assistance with transfers.          He needs an environment

20   that's safer is what that tells me.

21   Q.    But from a prescription of an opioid medication

22   perspective, that would be something that you would take into

23   consideration in determining whether or not an opioid is

24   medically appropriate to continue to prescribe to somebody?

25   A.    Your question is strange to me because all clinical


                         UNITED STATES DISTRICT COURT
     Case
      Case2:22-cv-00860-MTL--JZB
            2:20-cv-00623-JAT-JZB Document
                                  Document 1-2
                                           168 Filed
                                                Filed05/19/22
                                                      11/10/21 Page
                                                                Page431
                                                                     50 of
                                                                        of 64
                                                                           465
                    Cross-Examination - Philip A. Davidson, M.D.                 50


 1   decisions are made in a holistic context, so we need to think

 2   about other things the patient has tried.           This is a patient,

 3   for example, that can't take Tylenol or Aspirin.              This is a

 4   patient that's tried multiple medications.           So in prescribing

 5   any medication, you have to consider the context of their care,

 6   and so your question to me is like off base or irrelevant.

 7   Q.   Okay.    So you would agree with me whether or not a patient

 8   has fallen in the context of their care is something that would

 9   be evaluated in whether or not to continue to prescribe a

10   patient an opioid medication?

11   A.   It can.    It's irrelevant because we're talking about a

12   human being here.      We're not talking about a hypothetical or in

13   isolation, and this human being is being effectively treated

14   with an opioid and needs supportive assistance to transfer

15   safely.

16   Q.   Okay.    If a patient had a history of substance abuse, is

17   that something you would take into consideration when

18   determining whether or not to prescribe or discontinue an

19   opioid?

20   A.   It can.    It's all in context.      That's definitely something

21   that needs to be considered, but most importantly we want to

22   treat a human being.

23   Q.   Sure, and that's a history of substance abuse or whether or

24   not the patient has been experiencing falls are part of that

25   person's medical history you would consider?


                         UNITED STATES DISTRICT COURT
     Case
      Case2:22-cv-00860-MTL--JZB
            2:20-cv-00623-JAT-JZB Document
                                  Document 1-2
                                           168 Filed
                                                Filed05/19/22
                                                      11/10/21 Page
                                                                Page432
                                                                     51 of
                                                                        of 64
                                                                           465
                    Cross-Examination - Philip A. Davidson, M.D.                 51


 1   A.   Yes.

 2   Q.   And now, Dr. Davidson, would you agree with me that an

 3   opioid has the potential side effect of altering an

 4   individual's cognition?

 5   A.   Yes.

 6   Q.   You have no reason to disagree with me that an alteration

 7   in an inmate's cognition may present unique security or safety

 8   risks in a prison setting?

 9   A.   I am not an expert on prison settings.

10   Q.   Okay.    Today what is your specific recommendation for

11   Mr. Atwood's Tramadol prescription?

12   A.   I would suggest that he be maintained on a prescription of

13   Tramadol with the idea of being that it would be monitored

14   periodically, that it would be given according to the formal

15   indications for use, and that he be monitored in terms of

16   routine blood testing, for example, every three to six months,

17   and then very importantly I think of equal importance is that

18   he be placed in an environment where he can be safe from falls.

19   Q.   Okay.    And so your recommendation, and just so I am clear,

20   is that Mr. Atwood is prescribed Tramadol and is monitored on

21   it for as long as it may be medically indicated?

22   A.   Yes.

23   Q.   Okay.    And as part of that monitoring by -- who would you

24   suggest monitors Mr. Atwood's, the medical necessity of

25   Mr. Atwood's Tramadol prescription?


                         UNITED STATES DISTRICT COURT
     Case
      Case2:22-cv-00860-MTL--JZB
            2:20-cv-00623-JAT-JZB Document
                                  Document 1-2
                                           168 Filed
                                                Filed05/19/22
                                                      11/10/21 Page
                                                                Page433
                                                                     52 of
                                                                        of 64
                                                                           465
                    Cross-Examination - Philip A. Davidson, M.D.                 52


 1   A.   A primary care type physician.

 2   Q.   Okay.    And so --

 3   A.   It doesn't require a specialist.

 4   Q.   Someone like a nurse practitioner who is seeing the patient

 5   on a regular basis?

 6   A.   Yes.

 7   Q.   And that nurse practitioner has the ability based on her,

 8   you know, holistic knowledge of that inmate patient's

 9   treatment, both past and current, to make a determination on

10   whether or not an opioid is appropriate?

11   A.   Well, I think in this particular case the particular

12   practitioner that you mentioned has opined that it's not

13   necessary, and I disagree with that opinion.            I opined a moment

14   ago or answered your question that a primary care physician or

15   designee could appropriately monitor a patient in a situation

16   for side effects, but I strongly disagree with the opinion

17   rendered by the nurse practitioner that Mr. Atwood doesn't need

18   Tramadol.     It's my opinion that he does.

19   Q.   Okay.    And my question was just general as to a primary

20   care provider for an inmate, that that person is somebody who

21   has -- who is an appropriate person to evaluate whether or not

22   a patient could continue on an opioid like Tramadol?

23   A.   Again, I would reiterate, the primary care physician is

24   appropriate to monitor a patient for side effects of

25   medications to include narcotics.


                         UNITED STATES DISTRICT COURT
     Case
      Case2:22-cv-00860-MTL--JZB
            2:20-cv-00623-JAT-JZB Document
                                  Document 1-2
                                           168 Filed
                                                Filed05/19/22
                                                      11/10/21 Page
                                                                Page434
                                                                     53 of
                                                                        of 64
                                                                           465
                    Cross-Examination - Philip A. Davidson, M.D.                 53


 1   Q.   If the result of those monitoring efforts indicates that an

 2   opioid prescription should no longer be prescribed, that's

 3   within what a nurse practitioner or a similar primary care

 4   provider can determine?

 5   A.   It would depend on available data, and the available data

 6   that I have indicates that it's appropriate for him to maintain

 7   on the medication.      So as I outlined a moment ago, and I don't

 8   want to be redundant or waste the Court's time, it's my opinion

 9   the Tramadol was definitively and strongly indicated in this

10   case.

11   Q.   Okay.    And that's your opinion despite the fact that the

12   neurosurgeon who has been appropriately treating Mr. Atwood has

13   not made a recommendation as to Tramadol or another opioid

14   medication?

15   A.   His note that you shared with me a few minutes ago made no

16   comment of medications for or against.

17   Q.   Right.    So there is nothing in the medical record that you

18   reviewed that recommends that Mr. Atwood maintain or receive an

19   opioid prescription or other similar pain medication?

20   A.   The note that you showed me a few minutes ago on the

21   scanner has to be put in context, as does all health care.              And

22   I recognize as an attorney, that may not be your bailiwick, but

23   the patient was sent from that visit urgently and emergently to

24   the emergency room.       So I don't think that that physician or

25   any physician in the context of a concurrent emergent event is


                         UNITED STATES DISTRICT COURT
     Case
      Case2:22-cv-00860-MTL--JZB
            2:20-cv-00623-JAT-JZB Document
                                  Document 1-2
                                           168 Filed
                                                Filed05/19/22
                                                      11/10/21 Page
                                                                Page435
                                                                     54 of
                                                                        of 64
                                                                           465
                    Cross-Examination - Philip A. Davidson, M.D.                 54


 1   expected to make a comprehensive discussion about medications,

 2   contraindications, old medications, new medications.             The

 3   conclusion of that visit that you showed me was:              Go to the

 4   emergency room immediately.        You're having an emergent event.

 5   So the fact that it doesn't discuss medications one way or

 6   another, to me is like, okay, whatever.

 7   Q.   Dr. Davidson, didn't you just testify that you would agree

 8   that a neurosurgeon would be an appropriate medical

 9   professional to evaluate and treat complaints of back pain?

10   A.   Absolutely.

11   Q.   Okay.    And you just mentioned in your answer right before

12   that that Mr. Atwood was recently admitted to the emergency

13   room; is that correct?

14   A.   That's what the note you shared with me indicated.             You

15   showed to me, rather, indicated.

16   Q.   Have you reviewed any hospital records where a hospital

17   clinician has recommended that he resume a Tramadol

18   prescription?

19   A.   That question seems redundant because I already told you

20   that I don't have any primary records subsequent to my initial

21   review of Mr. Atwood's case.

22   Q.   So your answer to my question would be no, you have not

23   reviewed any hospital records where a hospital clinician has

24   recommended Tramadol for Mr. Atwood?

25   A.   The question doesn't make any sense because you know I


                         UNITED STATES DISTRICT COURT
     Case
      Case2:22-cv-00860-MTL--JZB
            2:20-cv-00623-JAT-JZB Document
                                  Document 1-2
                                           168 Filed
                                                Filed05/19/22
                                                      11/10/21 Page
                                                                Page436
                                                                     55 of
                                                                        of 64
                                                                           465
                 Examination by the Court - Philip A. Davidson, M.D.             55


 1   don't have those records.

 2   Q.   I believe you testified earlier also that you don't have an

 3   opinion either way about Nurse Practitioner Olmstead's course

 4   of treatment with regard to Mr. Atwood?

 5   A.   I said that I have no reason to -- no reason to doubt her

 6   course of treatment.       I mean, you can read my transcript if you

 7   want the exact wording.       I am not sure exactly what I said.

 8               MS. CHRONISTER:     I don't have any further questions

 9   for you, Dr. Davidson.       Thank you.

10               THE COURT:    Thank you.    I have a few questions, and

11   let me -- I will ask my questions and then give both counsel a

12   chance to follow up on anything I may have -- I may have

13   raised.

14                                 EXAMINATION

15   BY THE COURT:

16   Q.   Doctor, I have been given the understanding over the years

17   that there's a variety of back conditions that can cause pain

18   and often times excruciating pain such as protruding discs,

19   compression fractures, osteoarthritis, osteoarthritis,

20   et cetera; correct?

21   A.   Yes.

22   Q.   And in this case the physical condition, as I understand

23   it, is the narrowing of the canal that in turn impinges on the

24   spinal cord; is that right?

25   A.   Yes.   In addition, the joints of the spine have the disc


                         UNITED STATES DISTRICT COURT
     Case
      Case2:22-cv-00860-MTL--JZB
            2:20-cv-00623-JAT-JZB Document
                                  Document 1-2
                                           168 Filed
                                                Filed05/19/22
                                                      11/10/21 Page
                                                                Page437
                                                                     56 of
                                                                        of 64
                                                                           465
                 Examination by the Court - Philip A. Davidson, M.D.             56


 1   and you have the facets, and those joints are also arthritic

 2   and pressing on the nerves and the spine.

 3   Q.   And is that true in his case both at the cervical level and

 4   the lumbar level?

 5   A.   Yes.

 6   Q.   So is there any doubt that he suffers from a physical

 7   condition that can be, well, let me ask this:            Were

 8   radiological studies done in his case?

 9   A.   Yes.

10   Q.   And did you review those?

11   A.   Yes.

12   Q.   So is there any doubt that he suffers from a physical

13   condition that's capable of the type of pain that he has been

14   describing and over the years he's suffered from it?

15   A.   None whatsoever in my mind.

16   Q.   And I know there's a reference to injections, epidural

17   injections.     In fact, did I understand you had suggested those

18   as well?

19   A.   Yes.   The recommendation -- the consultation with the

20   neurosurgeon, the recommendation for injections was made

21   subsequent to my suggesting such in the past four months.

22   Q.   Would you suggest that those would be a permanent -- well,

23   two questions.      Would you suggest that they would have to be

24   done periodically over the long-term, or would a series of

25   those likely mitigate the pain such that he wouldn't need


                         UNITED STATES DISTRICT COURT
     Case
      Case2:22-cv-00860-MTL--JZB
            2:20-cv-00623-JAT-JZB Document
                                  Document 1-2
                                           168 Filed
                                                Filed05/19/22
                                                      11/10/21 Page
                                                                Page438
                                                                     57 of
                                                                        of 64
                                                                           465
                 Examination by the Court - Philip A. Davidson, M.D.             57


 1   Tramadol?

 2   A.   The injections for the spine, whether it be the cervical or

 3   lumbar spine, provide typically only temporary or transient

 4   relief in a case like this.        And if they were to be effective,

 5   they could diminish the need for Tramadol, but those injections

 6   would need to be repeated every two to three times each year.

 7   But in all likelihood, if they were to be, quote, successful in

 8   this case, they would provide partial relief and he may still

 9   be well indicated to take Tramadol in addition.

10   Q.   I know you're licensed in Utah and I think Wyoming and

11   Washington currently.       I suppose at one time Florida 'cause I

12   think you practiced down there.

13   A.   Yes.   Yes.

14   Q.   Are you licensed in Arizona?

15   A.   I am not.

16   Q.   And the fact you're not, would that preclude you from being

17   his treating physician?

18   A.   I could not be a treating physician in the State of

19   Arizona.

20   Q.   That's what I mean.

21   A.   If requested, I could obtain licensure just as I obtained

22   licensure in many states, but I am not currently licensed and

23   couldn't treat a patient in the state of Arizona.

24   Q.   But if he was your, well, let me ask this:           Do you -- if he

25   was your patient, do you feel like you know enough by virtue of


                         UNITED STATES DISTRICT COURT
     Case
      Case2:22-cv-00860-MTL--JZB
            2:20-cv-00623-JAT-JZB Document
                                  Document 1-2
                                           168 Filed
                                                Filed05/19/22
                                                      11/10/21 Page
                                                                Page439
                                                                     58 of
                                                                        of 64
                                                                           465
                 Examination by the Court - Philip A. Davidson, M.D.             58


 1   the history you've taken over the Zoom and the records you've

 2   reviewed, do you feel that you know enough to make a

 3   prescription of Tramadol?

 4   A.   Yes.

 5   Q.   And if you were to do that, what dose would you prescribe?

 6   A.   I would have to review the dosing schedule.           Offhand I

 7   think it would be -- let me just look that up.            I have a

 8   team -- I have a team that works with me that actually

 9   administers the prescriptions.         So if I were to prescribe on

10   occasion, they would adjust dosage, but the common dose is

11   50 milligrams twice a day or something like that, but the dose

12   would have to be adjusted based on what he had been taking in

13   the past, and I don't know the number of milligrams he's been

14   taking.

15   Q.   And would it -- would it periodically require or call for

16   adjusting sometimes upwards and sometimes downward, or would

17   that be a potential course?

18   A.   Yes.   For example, let's say he got an epidural steroid

19   injection or a facet injection, which are spinal injections to

20   relieve pain, let's say he got that injection that was

21   effective, then the Tramadol can be diminished or possibly even

22   stopped.    That's where the dynamic patient care comes into

23   play.    These are all palliative measures.         There is no curative

24   measure surgically in my mind that's called for in his lumbar

25   spine given his age and health status.


                         UNITED STATES DISTRICT COURT
     Case
      Case2:22-cv-00860-MTL--JZB
            2:20-cv-00623-JAT-JZB Document
                                  Document 1-2
                                           168 Filed
                                                Filed05/19/22
                                                      11/10/21 Page
                                                                Page440
                                                                     59 of
                                                                        of 64
                                                                           465
                 Examination by the Court - Philip A. Davidson, M.D.             59


 1              His cervical spine, if it continues to progress, may

 2   benefit from more surgery.        But in every case, not just in

 3   Mr. Atwood's case, the ongoing care is dynamic, meaning you

 4   consider what are the side effects, what are the benefits, what

 5   are the risks, what is the result of further imaging, what's

 6   been the result of the response to pain relief from the

 7   injection, and the medication could and would be adjusted

 8   accordingly.

 9   Q.   And based on your review of the records, did you determine

10   why the Tramadol was discontinued?

11   A.   I was not able to ascertain why it was discontinued.             It

12   was represented to me in the records I reviewed that there was

13   no particular reason given, but I would assume that in good

14   conscience, I am assuming in good conscious on the part of the

15   providers that maybe they were concerned about a fall risk

16   because he had been falling.

17   Q.   Is Tramadol potentially a problem for someone with kidney

18   disease?

19   A.   The answer is yes, but it's all considered relative to

20   other things.     For example, Tylenol, which so many of us take

21   for pain relief all the time, is formally contraindicated given

22   his kidney problems.       He also has cirrhosis, and so the kidney

23   and the liver are the principal ways in which most medications

24   are metabolized in our bodies, and Tramadol is excreted through

25   the kidney and the liver, but he appears to have tolerated it


                         UNITED STATES DISTRICT COURT
     Case
      Case2:22-cv-00860-MTL--JZB
            2:20-cv-00623-JAT-JZB Document
                                  Document 1-2
                                           168 Filed
                                                Filed05/19/22
                                                      11/10/21 Page
                                                                Page441
                                                                     60 of
                                                                        of 64
                                                                           465
                 Examination by the Court - Philip A. Davidson, M.D.             60


 1   well and taken it for many years.

 2   Q.   I used the term "kidney disease," if I understood it

 3   correctly, in looking at the records his kidney issues were

 4   largely, were kidney stones; is that right?

 5   A.   Correct.    That's what I read.

 6   Q.   Was there any indication that he actually suffered from

 7   chronic kidney disease?

 8   A.   No, I don't think so now that I'm thinking about it more

 9   closely.    The thing that I read was he had prostate disease,

10   cirrhosis and kidney stones.        I didn't read it as failure of

11   kidney filtration.

12   Q.   Other than monitoring the use of the drug Tramadol, based

13   on everything you've seen, would you, and if you were his

14   treating physician, would you, would you be recommending that,

15   that he be put back on Tramadol without reservation?

16   A.   Yes.

17   Q.   Is there another alternative drug that you would prefer him

18   on than Tramadol?

19   A.   The alternative drugs have been considered and tried most

20   recently.     The records that I was sent in the past day, I think

21   it was Nurse Practitioner Olmstead, perhaps it's Dr. Fowlkes'

22   reference of Nurse Practitioner Olmstead, that there was most

23   recently in the past weeks discussion about putting him back on

24   a drug called Duloxetine, the trade name is Cymbalta, and that

25   category of drug has been tried on him in the past and he's


                         UNITED STATES DISTRICT COURT
     Case
      Case2:22-cv-00860-MTL--JZB
            2:20-cv-00623-JAT-JZB Document
                                  Document 1-2
                                           168 Filed
                                                Filed05/19/22
                                                      11/10/21 Page
                                                                Page442
                                                                     61 of
                                                                        of 64
                                                                           465
                 Examination by the Court - Philip A. Davidson, M.D.             61


 1   expressed intolerance and it has been inefficacious, and he's

 2   described intolerance to that family of drugs.            So I think that

 3   to my knowledge, and I don't hold myself out as an expert on

 4   pain management as much as the topic related to spine

 5   conditions, I think that the things that are commonly used have

 6   been tried and failed or he has been allergic or been

 7   ineffective, or other narcotics would potentially help his pain

 8   but be more addictive and more habit forming.

 9              For example, Perc, the active ingredient in Percocet

10   is Oxycodone, would certainly help him with his pain, but it's

11   more constipating, it's more habit forming, it's more --              it

12   gives more dizziness.       I think in light of the failure of other

13   medications and the options, I think Tramadol is uniquely well

14   suited, especially given its efficacy and the fact that he's

15   tolerated it, his personal efficacy and his personal tolerance

16   of it in terms of the side effects.

17              THE COURT:     Those are all my questions.       Redirect, and

18   then I will give the defense counsel a chance to ask any

19   follow-up questions.

20              MR. ALLISON:     We have no further questions for

21   Dr. Davidson.     Thank you.

22              THE COURT:     Ms. Chronister.

23              MS. CHRONISTER:      Nothing from us, Your Honor.

24              THE COURT:     Then may this witness be excused?

25              MR. LANE:    Yes, Your Honor.      Well, actually he's going


                         UNITED STATES DISTRICT COURT
     Case
      Case2:22-cv-00860-MTL--JZB
            2:20-cv-00623-JAT-JZB Document
                                  Document 1-2
                                           168 Filed
                                                Filed05/19/22
                                                      11/10/21 Page
                                                                Page443
                                                                     62 of
                                                                        of 64
                                                                           465
                                                                                 62


 1   to stay on because, with the Court's permission, what counsel

 2   and I have agreed to is that they are now going to go out of

 3   turn, put their doctor on.        Dr. Davidson can listen to their

 4   doctor and then if there's a need to fill the Court in more

 5   fully, Dr. Davidson will remain on if that's acceptable with

 6   the Court.

 7              THE COURT:     That is certainly acceptable.

 8              MS. BARNES:     I have an objection to recalling

 9   Dr. Davidson after his testimony, direct, cross, redirect now.

10   That wouldn't happen in the normal course of things.             It would

11   be our defense witness going.         We have agreed to call him now,

12   so it's not keep --

13              THE COURT:     He could -- they could call him on a

14   rebuttal in a typical trial; right?

15              MS. BARNES:     If they want to reserve the right to

16   that.    Sometimes -- I don't think that that's always true, but

17   that's fine.     The whole reason we were going to call him out of

18   turn was to let these gentlemen both go afterwards.

19              THE COURT:     To what?

20              MS. BARNES:     So that both of the experts could be

21   excused.

22              THE COURT:     Well, let's go with your doctor then and

23   Dr. Davidson can -- I guess he is going to be listening.

24              MR. LANE:    Listening, Your Honor.

25              THE COURT:     Very well.    You may proceed.


                         UNITED STATES DISTRICT COURT
     Case
      Case2:22-cv-00860-MTL--JZB
            2:20-cv-00623-JAT-JZB Document
                                  Document 1-2
                                           168 Filed
                                                Filed05/19/22
                                                      11/10/21 Page
                                                                Page444
                                                                     63 of
                                                                        of 64
                                                                           465
                                                                                 63


 1                                       ***** END OF PARTIAL TRANSCRIPT

 2

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 4

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10

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                         UNITED STATES DISTRICT COURT
     Case
      Case2:22-cv-00860-MTL--JZB
            2:20-cv-00623-JAT-JZB Document
                                  Document 1-2
                                           168 Filed
                                                Filed05/19/22
                                                      11/10/21 Page
                                                                Page445
                                                                     64 of
                                                                        of 64
                                                                           465
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 4                            C E R T I F I C A T E

 5

 6              I, HILDA E. LOPEZ, do hereby certify that I am duly

 7   appointed and qualified to act as Official Court Reporter for

 8   the United States District Court for the District of Arizona.

 9              I FURTHER CERTIFY that the foregoing pages constitute

10   a full, true, and accurate transcript of all of that portion of

11   the proceedings contained herein, had in the above-entitled

12   cause on the date specified therein, and that said transcript

13   was prepared under my direction and control.

14              DATED at Phoenix, Arizona, this 9th day of November,

15   2021.

16

17

18
                                         s/Hilda E. Lopez_______
19                                       HILDA E. LOPEZ, RMR, FCRR

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                         UNITED STATES DISTRICT COURT
Case 2:22-cv-00860-MTL--JZB Document 1-2 Filed 05/19/22 Page 446 of 465




                         APPENDIX E
 Case
   Case
      2:22-cv-00860-MTL--JZB
        2:20-cv-00623-JAT-JZB Document
                               Document1-2
                                        173 Filed
                                             Filed05/19/22
                                                   12/07/21 Page
                                                             Page447
                                                                  1 ofof19
                                                                         465




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 6                         IN THE UNITED STATES DISTRICT COURT
 7                              FOR THE DISTRICT OF ARIZONA
 8
 9   Frank Jarvis Atwood,                               No. CV 20-00623-PHX-JAT (JZB)
10                           Plaintiff,
11   v.                                                 ORDER
12
     Panann Days, et al.,
13
                             Defendants.
14
15          Plaintiff Frank Jarvis Atwood, who is currently confined by the Arizona Department
16   of Corrections (ADC) in the Arizona State Prison Complex (ASPC)-Eyman, filed this civil
17   rights action pursuant to 42 U.S.C. § 1983.1 Before the Court is Plaintiff’s Motion for
18   Temporary Restraining Order and Preliminary Injunction regarding his medical care.
19   (Doc. 109.) The Court held a hearing on the Motion on October 29, 2021 and permitted
20   the Parties to file amended proposed findings of fact and conclusions of law.2 The Court’s
21   findings of fact and conclusions of law based on the Parties’ briefing and the hearing are
22   set forth herein.
23   ....
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25              Plaintiff filed the original Complaint pro se but is now represented by counsel.

26
            2
              Plaintiff and Defendants Centurion and Olmstead (“Centurion Defendants”) had
     filed proposed Findings of Fact and Conclusions of Law prior to the hearing. (Docs. 147,
27   151.) After the hearing, only Plaintiff filed amended proposed Findings of Fact and
     Conclusions of Law as well as a proposed order (Doc. 166); Centurion Defendants filed an
28   Objection to Plaintiff’s Proposed Order (Doc. 171). Defendants Days, Shinn, Scott, Lopez,
     and Arnold (“ADC Defendants”) did not file any proposed Findings of Fact and
     Conclusions of Law either before or after the hearing.
 Case
   Case
      2:22-cv-00860-MTL--JZB
        2:20-cv-00623-JAT-JZB Document
                               Document1-2
                                        173 Filed
                                             Filed05/19/22
                                                   12/07/21 Page
                                                             Page448
                                                                  2 ofof19
                                                                         465




 1   I.     Findings of Fact
 2          Plaintiff has been incarcerated by ADC since 1987. (Doc. 147 ¶ 1.) Philip A.
 3   Davidson, MD, a board-certified orthopedic surgeon, has evaluated Plaintiff
 4   telephonically, reviewed Plaintiff’s medical records related to his current condition, and
 5   testified at the hearing. Based on his review of Plaintiff’s January 8, 2021 MRI of the
 6   lumber and cervical spine, Dr. Davidson concluded that Plaintiff has “severe cervical
 7   spondylosis with severe radicular symptoms to include, of great importance, C5-C6
 8   myelomalacia. He has apparently overt radicular symptomatology as well as radiating
 9   pain, weakness, and motor dysfunction.” (Doc. 109 at 28-29 ¶ 37.) Plaintiff’s lumbar
10   spine is his most painful condition, and “[his] neural symptomatology has contributed to
11   the weakness that is limiting his ability to transfer and position, let alone ambulate. In
12   addition, the neural compression and degenerative spondylosis are highly painful, most
13   acutely when prone or in an erect seated posture.” (Id. at 29 ¶ 38.)
14          Plaintiff’s back pain began around 1990, and he has been treated over the past 30
15   years with oral medications. (Id. at 21 ¶ 14.). Plaintiff began using a wheelchair in 2015
16   and at that time he was classified an ADA (Americans with Disabilities Act) patient. (Doc.
17   167 (Hearing Tr.) at 117.) From 2011 to September 2020, Plaintiff was prescribed
18   Tramadol, which effectively treated his pain. (Doc. 109 at 23 ¶ 20.) Plaintiff has tried
19   numerous other medications, such as Cymbalta, for his pain, but they have either failed or
20   Plaintiff had negative reactions to them. (Doc. 167 at 61, 121.)
21          In September 2020, Defendant Nurse Practitioner Olmstead discontinued Plaintiff’s
22   Tramadol prescription, and from October 2020 to the present, Plaintiff has been prescribed
23   a lidocaine patch and Tylenol, which have provided “no appreciable pain relief.” (Doc.
24   109 at 23 ¶ 20.) Olmstead asserts that “the medical decision has been made, after repeat
25   examinations and other testing, that [Plaintiff] needs to be weaned off of narcotics,
26   including Tramadol, due to poor tolerance/side effects and that had or have been, at times,
27   a part of his prescription medication regimen, and that there is no medical indication to
28   continue this medication.” (Doc. 114-6 at 2 ¶ 4.) According to Olmstead, “[n]arcotics are



                                                -2-
 Case
   Case
      2:22-cv-00860-MTL--JZB
        2:20-cv-00623-JAT-JZB Document
                               Document1-2
                                        173 Filed
                                             Filed05/19/22
                                                   12/07/21 Page
                                                             Page449
                                                                  3 ofof19
                                                                         465




 1   very powerful medications that should only be used in the appropriate case and for the
 2   shortest duration needed, which is how they have been used.” (Id.) Olmstead testified that
 3   Centurion’s medical director told her it was Centurion’s policy “that long-term opioids are
 4   not prescribed unless a patient has cancer pain or they are in a hospice setting.” (Doc. 167
 5   at 169.) During the hearing, the Court asked Defendants to produce the policy. (Id. at 208-
 6   209.) Following the hearing, Defendants notified the Court that “no formal written policy
 7   exists,” and they submitted the declaration of Dr. Rodney Stewart, Centurion’s Site
 8   Medical Director for ASPC-Eyman. (Doc. 165 at 1.) Dr. Stewart states that he has
 9   implemented a policy “that patients are not to be prescribed opioids, such as tramadol, for
10   an extended or indefinite period of time unless that patient is suffering from cancer-related
11   illness or pain, terminal illness with pain, and other serious long-term disease implicating
12   severe pain symptoms.” (Doc. 165-1 at 1 ¶ 5.)
13          Plaintiff   has   not   walked    since    2017    and   without    Tramadol     suffers
14   “incomprehensible pain every time he need[s] to transfer to bed, chair or wheelchair.”
15   (Doc. 109 at 22-23 ¶¶ 17, 19.) Plaintiff can only sleep sporadically because he cannot lie
16   flat and must sit in his wheelchair or partially recline in bed to minimize the severity of
17   constant pain. (Id. at 24 ¶ 23.) Plaintiff’s pain interferes with nearly all activities of daily
18   living. (Doc. 167 at 27-28.) Without Tramadol, Plaintiff’s pain is severe at 9 or 10 out of
19   10, his ability to transfer to and from his wheelchair is decreased, and his sleep is even
20   more compromised. (Doc. 109 at 27 ¶ 34.) With Tramadol, Plaintiff’s pain decreases to a
21   5 or 6, a moderate and manageable pain level. (Doc. 167 at 112, 121.)
22          Plaintiff has a recent history of falling, secondary to weakness in his legs, including
23   falls in November 2020 and March 2021 when he was not taking Tramadol. (Doc. 109 at
24   24 ¶ 22.) Plaintiff testified he has fallen a half dozen times since 2016, and he attributes
25   his falls to his medical condition and not Tramadol because the falls occur when he tries to
26   move, and he feels a twinge of pain and weakness and collapses. (Doc. 167 at 115.) Dr.
27   Davidson testified that Plaintiff’s falls are not necessarily attributable to Tramadol, and the
28



                                                  -3-
 Case
   Case
      2:22-cv-00860-MTL--JZB
        2:20-cv-00623-JAT-JZB Document
                               Document1-2
                                        173 Filed
                                             Filed05/19/22
                                                   12/07/21 Page
                                                             Page450
                                                                  4 ofof19
                                                                         465




 1   falls indicate to him that Plaintiff needs more assistance with transfers and needs to be in a
 2   safer environment. (Id. at 49.)
 3          In January 2021, Plaintiff suffered an extreme case of diarrhea, which was
 4   eventually diagnosed as a staph infection; the infection intensified Plaintiff’s back pain and
 5   caused spasms, and he was unable to leave his bed or roll onto his side for nearly a week.
 6   (Doc. 109 at 25 ¶¶ 25-26.) To accept meals and medication, Plaintiff crawled or slid across
 7   his cell’s urine-covered and feces-smeared floor. (Id. ¶ 25.) Plaintiff received injections
 8   of Toradol and a corticosteroid injection, which provided some pain relief for a couple of
 9   weeks. (Doc. 109 at 21 ¶ 15.)
10          Plaintiff received Tramadol when he was hospitalized in April 2021 and afterwards
11   in the infirmary, but when he was moved back to the Browning Unit in June 2021, NP
12   Olmstead reduced the dose of Tramadol to once daily with the intention of weaning
13   Plaintiff off Tramadol completely. (Doc. 109 at 26 ¶¶ 28-33.)
14          On April 6, 2021, Olmstead submitted an urgent request for a neurosurgery
15   consultation; Olmstead noted that she reviewed the case with Dr. Young, who asked that a
16   consult be entered with a neurosurgeon to see if Plaintiff was a candidate for epidural
17   injections. (Doc. 114-1 at 5-6.) On June 25, 2021, Plaintiff had an appointment with
18   neurosurgeon Dr. Feiz-Erfan at Valleywise Health, but Dr. Feiz-Erfan first wanted an
19   updated MRI and a follow-up appointment in 4 to 6 weeks. (Doc. 114-6 at 2 ¶ 7; Doc.
20   114-4 at 36-39.) On June 30, 2021, Olmstead submitted a routine consultation request for
21   an MRI of the cervical spine and for a follow-up appointment with the neurosurgeon once
22   the MRI is completed. (Doc. 114-16 at 2 ¶ 7; Doc. 114-5 at 11.) The MRI was authorized,
23   and Plaintiff had the cervical MRI on July 16, 2021. (Doc. 114-5 at 11.; Doc. 130-1 at 2.)
24          Plaintiff next saw Dr. Feiz-Erfan on July 30, 2021, and Dr. Feiz-Erfan noted that
25   Plaintiff’s chief complaint was neck and back pain, but Plaintiff was also febrile and short
26   of breath. (Doc. 132-1 at 15, 17.) Dr. Feiz-Erfan diagnosed Plaintiff with “status post
27   anterior fusion, cervical 5-6, for myelopathy done by me on 12/11/2018. New Diagnosis
28   is canal stenosis, lumbar 1-2; adjacent level disease, cervical spine.” (Id.) Dr. Feiz-Erfan’s



                                                 -4-
 Case
   Case
      2:22-cv-00860-MTL--JZB
        2:20-cv-00623-JAT-JZB Document
                               Document1-2
                                        173 Filed
                                             Filed05/19/22
                                                   12/07/21 Page
                                                             Page451
                                                                  5 ofof19
                                                                         465




 1   Plan of Care was “Epidural injection, lumbar 1-2. Physical therapy,” follow up in 3
 2   months, and to go to the nearest emergency room for acute symptoms, noting that Plaintiff
 3   “looks ashen and pale and appears sick acutely.” (Id.) Under “Patient Instructions,” the
 4   doctor wrote, “Patient to have injections and PT and follow up in 6 weeks. 3 (Id. at 19.)
 5   Olmstead noted in an August 2, 2021 medical record that Plaintiff was admitted to
 6   Valleywise Hospital on July 30 for urosepsis and had surgery for a new left stent placement
 7   and cystoscopy. (Id. at 37.) Dr. Davidson testified that in Plaintiff’s case, spinal injections
 8   would provide only temporary or transient relief, and injections could diminish the need
 9   for Tramadol if repeated two to three times a year, but that it is likely they would only
10   provide partial relief and Plaintiff may still need Tramadol in addition.4 (Doc. 167 at 57.)
11          On August 2, 2021, Olmstead submitted a routine consultation request for epidural
12   lumbar injections. (Doc. 132-1 at 37.) As of the date of the hearing, October 29, 2021,
13   Plaintiff had not received his first epidural injection, but defense counsel asserted Plaintiff
14   would have an injection in the next two weeks. (Doc. 167 at 199.) After seeing Dr. Feiz-
15   Erfan, Plaintiff had four half-hour physical therapy sessions at the prison, but he testified
16   that the physical therapy ended up causing more discomfort than any benefit. (Id. at 119.)
17          In October 2021, Plaintiff was again in the infirmary and while there, a doctor
18   prescribed Tramadol for his pain on October 20, 2021, but Plaintiff did not receive
19   Tramadol until the night before the October 29, 2021 hearing. (Id. at 109.) Plaintiff
20   testified that a nurse told him he received Tramadol just before the hearing because “they
21   wanted to be able to say [Plaintiff] was on the medication again.” (Id. at 109-110.)
22          Dr. Davidson recommends without reservation that Plaintiff again be prescribed
23   Tramadol given that trials of other medications have not worked and because other
24   narcotics that might help his pain could be more addictive and habit forming. (Id. at 60-
25   61.) Dr. Davidson stated a typical dose is 50 mg twice a daily, but the dose would have to
26
            3
27            It is not clear from the record if Dr. Feiz-Erfan was planning one epidural injection
     or a series of injections because he used the singular “injection” in the “Plan of Care” and
28   plural “injections” in the “Patient Instructions.”
            4
                Dr. Feiz-Erfan did not testify.

                                                  -5-
 Case
   Case
      2:22-cv-00860-MTL--JZB
        2:20-cv-00623-JAT-JZB Document
                               Document1-2
                                        173 Filed
                                             Filed05/19/22
                                                   12/07/21 Page
                                                             Page452
                                                                  6 ofof19
                                                                         465




 1   be adjusted based on what Plaintiff has taken in the past and on the effectiveness of the
 2   spinal injections. (Id. at 58.) Dr. Davidson’s professional opinion is that “it is imperative
 3   and humane that additional, palliative measures also be implemented on this patient’s
 4   behalf immediately. These include lumbar and cervical orthosis, along with a residency
 5   setting where immediate hands-on wheelchair transferring assistance is continually
 6   available.” (Doc. 109 at 30 ¶ 44.) Defendants’ expert, Dr. Thomas Fowlkes, is board-
 7   certified in emergency medicine and is currently the medical director at a county detention
 8   facility in Oxford, Mississippi. (Doc. 167 at 64.) Dr. Fowlkes reviewed Plaintiff’s medical
 9   records and agreed there was no evidence Plaintiff was addicted to Tramadol, that Plaintiff
10   was diverting or abusing Tramadol, or that his cognition suffered because of Tramadol.
11   (Doc. 167 at 80-85.)
12   II.    Preliminary Injunction Standard
13          “A preliminary injunction is ‘an extraordinary and drastic remedy, one that should
14   not be granted unless the movant, by a clear showing, carries the burden of persuasion.’”
15   Lopez v. Brewer, 680 F.3d 1068, 1072 (9th Cir. 2012) (quoting Mazurek v. Armstrong, 520
16   U.S. 968, 972 (1997) (per curiam)); see also Winter v. Natural Res. Def. Council, Inc., 555
17   U.S. 7, 24 (2008) (citation omitted) (“[a] preliminary injunction is an extraordinary remedy
18   never awarded as of right”). “A plaintiff seeking a preliminary injunction must show that
19   (1) he is likely to succeed on the merits, (2) he is likely to suffer irreparable harm without
20   an injunction, (3) the balance of equities tips in his favor, and (4) an injunction is in the
21   public interest. Winter v. Natural Resources Defense Council, Inc., 555 U.S. 7, 20 (2008).
22   The movant “has the burden of proof on each element of the test.” See Envtl. Council of
23   Sacramento v. Slater, 184 F. Supp. 2d 1016, 1027 (E.D. Cal. 2000).
24          Where a movant seeks a mandatory injunction, rather than a prohibitory injunction,
25   injunctive relief is “subject to a higher standard” and is “permissible when ‘extreme or very
26   serious damage will result’ that is not ‘capable of compensation in damages,’ and the merits
27   of the case are not ‘doubtful.’” Hernandez v. Sessions, 872F.3d 976, 999 (9th Cir. 2017)
28   (quoting Marlyn Nutraceuticals, Inc. v. Mucos Pharma GmbH & Co., 571 F.3d 873, 879



                                                 -6-
 Case
   Case
      2:22-cv-00860-MTL--JZB
        2:20-cv-00623-JAT-JZB Document
                               Document1-2
                                        173 Filed
                                             Filed05/19/22
                                                   12/07/21 Page
                                                             Page453
                                                                  7 ofof19
                                                                         465




 1   (9th Cir. 2009)). “A mandatory injunction orders a responsible party to take action,” while
 2   “a prohibitory injunction prohibits a party from taking action and preserves the status quo
 3   pending a determination of the action on the merits.” Marlyn Nutraceuticals, 571 F.3d at
 4   879 (internal quotation marks omitted). “The ‘status quo’ refers to the legally relevant
 5   relationship between the parties before the controversy arose.”       Arizona Dream Act
 6   Coalition v. Brewer, 757 F.3d 1053, 1060-61 (9th Cir. 2014).
 7          The Prison Litigation Reform Act imposes additional requirements on prisoner
 8   litigants who seek preliminary injunctive relief against prison officials and requires that
 9   any injunctive relief be narrowly drawn and the least intrusive means necessary to correct
10   the harm. 18 U.S.C. § 3626(a)(2); see Gilmore v. People of the State of Cal., 220 F.3d 987,
11   999 (9th Cir. 2000).
12          “The urgency of obtaining a preliminary injunction necessitates a prompt
13   determination” and makes it difficult for a party to procure supporting evidence in a form
14   that would be admissible at trial. Flynt Distrib. Co. v. Harvey, 734 F.2d 1389, 1394 (9th
15   Cir. 1984). As a result, “a preliminary injunction is customarily granted on the basis of
16   procedures that are less formal and evidence that is less complete than in a trial on the
17   merits.” Univ. of Texas v. Camenisch, 451 U.S. 390, 395 (1981). In its determination on
18   a motion for a preliminary injunction, “a court may properly consider evidence that would
19   otherwise be inadmissible at trial.” Cherokee Inc. v. Wilson Sporting Goods Co., No. CV
20   15-04023 BRO (Ex), 2015 WL 3930041, at *3 (C.D. Cal. June 25, 2015); see Johnson v.
21   Couturier, 572 F.3d 1067, 1083 (9th Cir. 2009) (district court did not abuse its discretion
22   by considering “unverified client complaints” and the plaintiff’s counsel’s interested
23   declaration when it granted a preliminary injunction); Flynt Distrib. Co., 734 F.2d at 1394
24   (the district court has discretion to rely on hearsay statements when deciding whether to
25   issue a preliminary injunction). A court may also consider evidence or developments that
26   postdate the pleadings. Farmer v. Brennan, 511 U.S. 825, 846 (1994).
27
28



                                                -7-
 Case
   Case
      2:22-cv-00860-MTL--JZB
        2:20-cv-00623-JAT-JZB Document
                               Document1-2
                                        173 Filed
                                             Filed05/19/22
                                                   12/07/21 Page
                                                             Page454
                                                                  8 ofof19
                                                                         465




 1             When evaluating the merits of a preliminary injunction motion, a court’s factual
 2   findings and legal conclusions are not binding at trial on the merits. Univ. of Tex., 451 U.S.
 3   at 395.
 4   III.      Conclusions of Law
 5             Plaintiff seeks an order requiring Defendants to provide him (1) “the necessary pain
 6   medication to treat his constant severe pain,” (2) “rehousing to a unit that has wheelchair
 7   transferring assistance available at all times,” and (3) referral to an orthopedic surgeon “to
 8   evaluate Plaintiff for possible surgical intervention to treat and improve his spinal
 9   condition.” (Doc. 109 at 15.) Based on the hearing and Dr. Davidson’s recommendation,
10   it is clear Plaintiff is seeking a resumption of his previous Tramadol prescription and the
11   epidural injection(s) recommended by Dr. Feiz-Erfan. Because Plaintiff is not currently
12   prescribed Tramadol and or received epidural injections as of the hearing date, he is seeking
13   mandatory, rather than prohibitory, injunctive relief, with respect to his pain relief as well
14   as his requests to be rehoused in a different unit with wheelchair transfer assistance
15   available at all times and an evaluation by an orthopedic surgeon.
16             A.     Pain Relief
17                    1.     Likelihood of Success on the Merits
18             To establish a likelihood of success on the merits of an Eighth Amendment medical
19   care claim, a prisoner must demonstrate “deliberate indifference to serious medical needs.”
20   Jett v. Penner, 439 F.3d 1091, 1096 (9th Cir. 2006) (citing Estelle v. Gamble, 429 U.S. 97,
21   104 (1976)). The prisoner must show (1) that his condition constitutes a “serious medical
22   need” and (2) that the defendant’s current response to that need is deliberately indifferent.
23   Jett, 439 F.3d at 1096; see Farmer v. Brennan, 511 U.S. 825, 845 (1994) (where a plaintiff
24   seeks injunctive relief, the deliberate indifference determination is based on the defendant’s
25   current conduct).
26                           a)     Serious Medical Need
27             Plaintiff has satisfied the objective prong of the deliberate indifference analysis. In
28   the Court’s January 12, 2021 Order on Plaintiff’s previous request for injunctive relief, the



                                                    -8-
 Case
   Case
      2:22-cv-00860-MTL--JZB
        2:20-cv-00623-JAT-JZB Document
                               Document1-2
                                        173 Filed
                                             Filed05/19/22
                                                   12/07/21 Page
                                                             Page455
                                                                  9 ofof19
                                                                         465




 1   Court found no meaningful dispute that Plaintiff suffers from severe spinal pain, a serious
 2   medical condition. (Doc. 87 at 9.) Moreover, Centurion Defendants do not dispute that
 3   Plaintiff suffers from degenerative disc disease. (Doc. 114 at 3.) Indeed, Plaintiff’s
 4   condition causes him chronic and severe pain that medical personnel have found worthy of
 5   attention and treatment. See McGuckin v. Smith, 974 F.2d 1050, 1059–60 (9th Cir. 1992),
 6   overruled on other grounds, WMX Techs., Inc. v. Miller, 104 F.3d 1133, 1136 (9th Cir.
 7   1997).
 8                          b)     Deliberate Indifference
 9            With respect to the subjective prong, a plaintiff must first show that the defendant
10   was “subjectively aware of the serious medical need[.]” Simmons v. Navajo Cnty., Ariz.,
11   609 F.3d 1011, 1017–18 (9th Cir. 2010) (quotation and citation omitted). A defendant’s
12   knowledge of a serious medical need or substantial risk to health “is a question of fact
13   subject to demonstration in the usual ways, including inference from circumstantial
14   evidence,” and a defendant may be found to have known of a substantial risk if the risk
15   was obvious. Farmer, 511 U.S. at 842.
16            Here, there can be no dispute that Centurion Defendants are aware of Plaintiff’s
17   diagnosed condition and serious medical need because it is documented in his medical
18   records showing decades of treatment for his spinal condition, including surgeries,
19   medication trials, MRIs, and specialist appointments. Moreover, an orthopedic surgeon
20   has recommended that Plaintiff have, at a minimum, palliative measures such as Tramadol
21   and epidural injections, and a neurosurgeon has recommended epidural injection(s) and
22   physical therapy.
23            After showing that a defendant was subjectively aware of the serious medical need,
24   a plaintiff must show that the defendant “failed to adequately respond” to that need.
25   Simmons, 609 F.3d at 1018. Prison officials are deliberately indifferent to a prisoner’s
26   serious medical needs when they deny, delay, or intentionally interfere with medical
27   treatment.” Hallett v. Morgan, 296 F.3d 732, 744 (9th Cir. 2002) (internal citations and
28   quotation marks omitted). Deliberate indifference may also be shown by the way in which



                                                  -9-
 Case
  Case2:22-cv-00860-MTL--JZB
        2:20-cv-00623-JAT-JZB Document
                              Document 1-2
                                       173 Filed
                                            Filed05/19/22
                                                  12/07/21 Page
                                                            Page456
                                                                 10 of
                                                                    of 19
                                                                       465




 1   prison officials provide medical care, Hutchinson v. United States, 838 F.2d 390, 394 (9th
 2   Cir. 1988), or “by a purposeful act or failure to respond to a prisoner’s pain or possible
 3   medical need.” Jett, 439 F.3d at 1096.
 4          In the January 12, 2021 Order denying injunctive relief, the Court noted that
 5   Defendant Olmstead was taking steps to address Plaintiff’s pain by means other than
 6   Tramadol, including seeking authorization for MRIs of Plaintiff’s lumbar and cervical
 7   spine to assess whether there was further deterioration, which could support surgery or
 8   epidural spinal injections, and providing lidocaine pain patches. (Doc. 87 at 10.) However,
 9   at that time, the Court informed Defendants that a prolonged failure to address Plaintiff’s
10   severe pain through other means may warrant consideration of a new motion for injunctive
11   relief. (Id. at 10-11.)
12          While Plaintiff had the lumbar and cervical spine MRIs on January 8, 2021, he did
13   not see the neurosurgeon until June 25, 2021, which Centurion Defendants assert was the
14   earliest appointment available to see the neurosurgeon. (Doc. 114 at 4 n.2). But Olmstead
15   did not submit a consultation request for Plaintiff to see the neurosurgeon until April 6,
16   2021—three months after the MRIs were completed. There is no explanation for this three-
17   month delay in attempting to obtain authorization for the neurosurgery consult. When
18   Plaintiff saw the neurosurgeon in June 2021, the neurosurgeon wanted a new MRI, and
19   when Plaintiff returned to the neurosurgeon on July 30, 2021, the neurosurgeon
20   recommended epidural injections, physical therapy, and follow up in three months.
21   Afterwards, Defendant Olmstead only submitted a routine consultation request for epidural
22   lumbar injections, and as of the date of the hearing, October 29, 2021, Plaintiff had not had
23   an epidural injection. Plaintiff has had physical therapy sessions at the prison, but they
24   caused him more discomfort than benefit.
25          Centurion Defendants argue there is no evidence Plaintiff has been denied
26   appropriate medical care and that he simply disagrees with the medical providers who have
27   changed his pain medication from a narcotic to a non-narcotic. (Doc. 114 at 6.) They
28   assert that “alternative means to treat Plaintiff’s pain, including epidural steroid injections



                                                 - 10 -
 Case
  Case2:22-cv-00860-MTL--JZB
        2:20-cv-00623-JAT-JZB Document
                              Document 1-2
                                       173 Filed
                                            Filed05/19/22
                                                  12/07/21 Page
                                                            Page457
                                                                 11 of
                                                                    of 19
                                                                       465




 1   and/or additional surgery, are currently being evaluated by the appropriate specialists.”5
 2   (Id. at 4.)
 3           Centurion Defendants have provided no explanation why Tramadol was appropriate
 4   for ten years and is suddenly inappropriate, requiring immediate cessation, or how the
 5   minimal pain relievers Plaintiff has received outside of the hospital or infirmary have been
 6   adequate to treat his significant pain issues. Defendant Olmstead makes the conclusory
 7   statement that “the medical decision has been made, after repeat examinations and other
 8   testing, that [Plaintiff] needs to be weaned off of narcotics, including Tramadol, due to
 9   poor tolerance/side effects . . . and that there is no medical indication to continue this
10   medication.” (Doc. 114-6 at 2.) Olmstead, though, does not say how Plaintiff manifested
11   “poor tolerance/side effects” or point to any medical records showing poor tolerance/side
12   effects to Tramadol. Nor does she explain why, if Plaintiff had poor tolerance/side effects
13   to Tramadol which would contraindicate its use, he has been prescribed Tramadol while in
14   the hospital and prison infirmary. Olmstead does say that Plaintiff “is still being prescribed
15   some pain medication, including a topical aspercream [sic] lidocaine patch to place on his
16   lower back for pain, due to the lower risk of drug interaction and side effects, especially
17   with [Plaintiff’s] advancing age the fact that he is a fall risk.” (Doc. 114-6 at 2 ¶ 5.) But
18   Olmstead does not address the history of falls Plaintiff has had since his regular Tramadol
19   prescription was stopped in September 2020 or how Tramadol has increased the likelihood
20   of falls by Plaintiff. Moreover, Dr. Davidson, who reviewed Plaintiff’s medical records
21   and evaluated Plaintiff by telephone, did not attribute the falls to Tramadol use and
22   recommends that a “prescribed moderate dose of Tramadol should be sustained,” noting
23   Tramadol’s “prior effectiveness and its lack of side-effects over the span of many years.”
24   (Doc. 109 at 29 ¶ 41.) Dr. Feiz-Erfan has recommended epidural injection(s), and,
25   although Centurion Defendants indicated at the hearing that Plaintiff would have an
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28           5
             Defendants made this argument before Plaintiff saw Dr. Feiz-Erfan for the second
     time on July 30, 2021.

                                                 - 11 -
 Case
  Case2:22-cv-00860-MTL--JZB
        2:20-cv-00623-JAT-JZB Document
                              Document 1-2
                                       173 Filed
                                            Filed05/19/22
                                                  12/07/21 Page
                                                            Page458
                                                                 12 of
                                                                    of 19
                                                                       465




 1   injection around mid-November, it is unknown if Plaintiff will receive more than one
 2   injection or on a regular basis, as Dr. Davidson indicates may be necessary.
 3          Centurion Defendants’ post-hearing evidence of an unwritten policy that opiates
 4   only be prescribed for cancer patients with severe pain, terminal illness with pain, or other
 5   long-term disease implicating severe pain symptoms is unpersuasive, especially
 6   considering Plaintiff’s past use of Tramadol for over ten years in the prison setting when
 7   Plaintiff was neither a cancer patient nor had a terminal illness. Specifically, the Court
 8   finds the policy unpersuasive because there was no evidence that it was based on a patient
 9   specific medical justification or a penological justification. Moreover, it appears Plaintiff’s
10   pain may fall under the unwritten policy’s category of “long-term disease implicating
11   severe pain symptoms.”
12          Of particular concern to the Court is Centurion Defendants’ delay of more than a
13   year of treating Plaintiff’s severe pain with something as effective as Tramadol. See Hallet,
14   296 F.3d at 744; Jett, 439 F.3d at 1096. Plaintiff’s expert, who has interviewed and
15   evaluated Plaintiff, recommended in June 2021 that Plaintiff be prescribed Tramadol on an
16   ongoing basis, but Plaintiff has only received Tramadol when hospitalized or in the
17   infirmary. Defendants finally sent Plaintiff to a specialist this summer, who recommended
18   on July 30, 2021 that Plaintiff receive epidural injections and follow-up in three months,
19   but Plaintiff had not received those injections as of October 29, 2021, and was not
20   scheduled to receive an injection until sometime in November 2021, and there is no
21   evidence that a follow-up appointment with Dr. Feiz-Erfan has been scheduled. The Ninth
22   Circuit and other courts have routinely found that failure to follow a specialist’s
23   recommendation may amount to a course of treatment that is medically unacceptable. See
24   Colwell v. Bannister, 763 F.3d 1060, 1069 (9th Cir. 2014) (denying summary judgment
25   where prison officials “ignored the recommendations of treating specialists and instead
26   relied on the opinions of non-specialist and non-treating medical officials who made
27   decisions based on an administrative policy”); Snow v. McDaniel, 681 F.3d 978, 988 (9th
28   Cir. 2012) (where the treating physician and specialist recommended surgery, a reasonable



                                                 - 12 -
 Case
  Case2:22-cv-00860-MTL--JZB
        2:20-cv-00623-JAT-JZB Document
                              Document 1-2
                                       173 Filed
                                            Filed05/19/22
                                                  12/07/21 Page
                                                            Page459
                                                                 13 of
                                                                    of 19
                                                                       465




 1   jury could conclude that it was medically unacceptable for the non-treating, non-specialist
 2   physicians to deny recommendations for surgery), overruled in part on other grounds by
 3   Peralta v. Dillard, 744 F.3d 1076, 1083 (9th Cir. 2014); Jones v. Simek, 193 F.3d 485, 490
 4   (7th Cir. 1999) (the defendant physician’s refusal to follow the advice of treating specialists
 5   could constitute deliberate indifference to serious medical needs); McNearney v. Wash.
 6   Dep’t of Corrs., C11-5930 RBL/KLS, 2012 WL 3545267, at *26 (W.D. Wash. June 15,
 7   2012) (in granting a preliminary injunction for specialist treatment, the district court found
 8   that the prisoner plaintiff showed a likelihood of success on the merits of her Eighth
 9   Amendment claim where the defendants failed to follow an orthopedic surgeon’s strong
10   recommendation for further orthopedic evaluation). In addition, a failure to competently
11   treat a serious medical condition, even if some treatment is prescribed, may constitute
12   deliberate indifference in a particular case. Ortiz v. City of Imperial, 884 F.2d 1312, 1314
13   (9th Cir. 1989) (“access to medical staff is meaningless unless that staff is competent and
14   can render competent care”); see Estelle, 429 U.S. at 105 & n.10 (the treatment received
15   by a prisoner can be so bad that the treatment itself manifests deliberate indifference);
16   Lopez v. Smith, 203 F.3d 1122, 1132 (9th Cir. 2000) (prisoner does not have to prove that
17   he was completely denied medical care).
18          Based on this record, Plaintiff has shown a likelihood of success on the merits of his
19   deliberate indifference claim regarding the treatment of his pain. While up until the time
20   of the hearing Plaintiff had received minimal treatment, the evidence shows that treatment
21   is inadequate.     And, the continual delays in providing adequate alternative pain
22   management also support that Plaintiff will succeed on the merits of this claim. A
23   reasonable jury could find that, in these circumstances, Centurion Defendants failed to
24   competently treat Plaintiff’s serious pain needs and acted with deliberate indifference.
25                 2.     Irreparable Injury
26          In addition to showing a likelihood of success, Plaintiff must demonstrate that
27   absent an injunction, he will be exposed to irreparable harm. Caribbean Marine Servs.
28   Co., Inc. v. Baldrige, 844 F.2d 668, 674 (9th 1988) (speculative injury is not irreparable



                                                 - 13 -
 Case
  Case2:22-cv-00860-MTL--JZB
        2:20-cv-00623-JAT-JZB Document
                              Document 1-2
                                       173 Filed
                                            Filed05/19/22
                                                  12/07/21 Page
                                                            Page460
                                                                 14 of
                                                                    of 19
                                                                       465




 1   injury sufficient for a preliminary injunction); see Winter, 555 U.S. at 22. To support a
 2   mandatory preliminary injunction for specific medical treatment, a plaintiff must
 3   demonstrate ongoing harm or the present threat of irreparable injury, not a past injury. See
 4   Conn. v. Mass., 282 U.S. 660, 674 (1931) (an injunction is only appropriate “to prevent
 5   existing or presently threatened injuries”); Caribbean Marine, 844 F.2d at 674. “[T]here
 6   must be a presently existing threat of harm, although injury need not be certain to occur.”
 7   Villaneuva v. Sisto, CIV S-06-2706 LKK EFB P, 2008 WL 4467512, at *3 (E.D. Cal. Oct.
 8   3, 2008) (citing FDIC v. Garner, 125 F.3d 1272, 1279–80 (9th Cir. 1997)). Pain can
 9   constitute irreparable harm. See Rodde v. Bonta, 357 F.3d 988, 999 (9th Cir. 2004)
10   (irreparable harm includes delayed and/or complete lack of necessary treatment, and
11   increased pain); McNearney, 2012 WL 3545267, at *14 (finding a likelihood of irreparable
12   injury where the plaintiff’s medical condition predated her incarceration and had not
13   worsened, but the evidence showed that she continued to suffer unnecessary pain due to
14   the defendants’ inadequate treatment plan); Von Collin v. Cnty. of Ventura, 189 F.R.D.
15   583, 598 (C.D. Cal. 1989) (“Defendants do not argue that pain and suffering is not
16   irreparable harm, nor could they”).
17          Prior to his kidney issues earlier this year, Plaintiff reported to Dr. Davidson that his
18   pain was constant at 8 out of 10, he suffers “incomprehensible pain” when he transfers to
19   and from the wheelchair, a history of falls, that the pain is only somewhat lessened by
20   remaining in a seated position, that he cannot lie down at all, and he only sleeps
21   sporadically. After Plaintiff’s treatment for kidney issues, his pain is now at 9 out of 10,
22   his ability to transfer has decreased even more, and his sleep is even more compromised.
23          Plaintiff’s ongoing severe pain and associated issues are sufficient to support a
24   finding of irreparable harm. See Estelle, 429 U.S. at 103 (Eighth Amendment applies even
25   to “less serious cases, [where] denial of medical care may result in pain and suffering which
26   no one suggests would serve any penological purpose” ); McGuckin, 974 F.2d at 1060 (pain
27   and anguish suffered by prisoner constituted harm sufficient to support a § 1983 action).
28                 3.     Balance of Hardships



                                                 - 14 -
 Case
  Case2:22-cv-00860-MTL--JZB
        2:20-cv-00623-JAT-JZB Document
                              Document 1-2
                                       173 Filed
                                            Filed05/19/22
                                                  12/07/21 Page
                                                            Page461
                                                                 15 of
                                                                    of 19
                                                                       465




 1          Courts “must balance the competing claims of injury and must consider the effect
 2   on each party of the granting or withholding of the requested relief.” Winter, 555 U.S. at
 3   24 (quotation omitted). The Ninth Circuit has held that the interest in protecting individuals
 4   from physical harm outweighs a government entity’s monetary costs. See Harris v. Bd. of
 5   Supervisors, L.A. Cnty., 366 F.3d 754, 766 (9th Cir. 2004) (“faced with [ ] a conflict
 6   between financial concerns and preventable human suffering, [the court has] little difficulty
 7   concluding that the balance of hardships tips decidedly in plaintiff’s favor”) (quotation
 8   omitted).
 9          Centurion Defendants argue that “restructuring the procedures and policies for one
10   single inmate could result in security and safety breaches, inmate unrest and staffing issues,
11   particularly where the relief sought is not necessary or is already being processed.” (Doc.
12   114 at 9-10.) They further argue that the relief requested would trigger federalism concerns
13   and cause the Court to needlessly interfere with the prison’s operations.
14          The Court is unconvinced by Centurion Defendants’ general argument, without any
15   citation to any procedures or policies, that “restructuring the procedures and policies for
16   one single inmate could result in security and safety breaches [and] inmate unrest and
17   staffing issues.” The Court is also unconvinced that granting Plaintiff pain relief would
18   result in needless interference in the prison’s operations.
19          As articulated above, Plaintiff is likely to suffer irreparable injury absent an
20   injunction; thus, his injury is more than just speculative.         Furthermore, Centurion
21   Defendants have made no showing that they will face any harm if an injunction issues. The
22   Court finds that the balance of hardships tips sharply in Plaintiff’s favor.
23                 4.     Public Interest
24          “[I]t is always in the public interest to prevent the violation of a party’s
25   constitutional rights.” Melendres v. Arpaio, 695 F.3d 990, 1002 (9th Cir. 2012) (quotation
26   omitted). Moreover, “the public has a strong interest in the provision of constitutionally-
27   adequate health care to prisoners.” McNearney, 2012 WL 3545267, at *16 (quoting Flynn
28   v. Doyle, 630 F. Supp. 2d 987, 993 (E.D. Wis. 2009)); see Farnam v. Walker, 593 F. Supp.



                                                 - 15 -
 Case
  Case2:22-cv-00860-MTL--JZB
        2:20-cv-00623-JAT-JZB Document
                              Document 1-2
                                       173 Filed
                                            Filed05/19/22
                                                  12/07/21 Page
                                                            Page462
                                                                 16 of
                                                                    of 19
                                                                       465




 1   2d 1000, 1017 (C.D. Ill. 2009) (holding that public had an interest in the maintenance of
 2   prisoner’s health during the pendency of the lawsuit).
 3          Centurion Defendants argue that granting injunctive relief “would not be in the
 4   public interest because it would require this Court to override the decisions of correctional
 5   authorities and medical providers, who are responsible for the safety, security, care and
 6   efficient operation of the prison, as well as for the healthcare of Plaintiff.” (Doc. 114 at
 7   10.) They further contend that “the public welfare militates against the issuance of
 8   extraordinary relief in the prison context, absent a sufficient showing of a violation of
 9   constitutional rights.” (Id.)
10          Contrary to Centurion Defendants’ assertions, the record supports Plaintiff’s claims
11   that he is suffering significant pain, sleeplessness, and related issues and is being denied
12   constitutionally adequate medical care for his pain. The Court finds that it is in the public
13   interest to prevent Plaintiff from suffering ongoing pain and other complications during the
14   remainder of this lawsuit. Accordingly, this factor favors injunctive relief that requires
15   Centurion Defendants to provide the epidural injection(s) recommended by Dr. Feiz-Erfan
16   and to re-start Plaintiff’s prescription for Tramadol, unless a specialist recommends an
17   alternative pain medication.
18                 5.      Narrowly Tailored Relief
19          As stated, the PLRA requires any injunctive relief to be narrowly drawn and the
20   least intrusive means necessary to correct the harm. 18 U.S.C. § 3626(a)(2). Centurion
21   Defendants do not address this factor.
22          As noted, Plaintiff wants his prescription for Tramadol re-started, as recommended
23   by Dr. Davidson, and the epidural injection(s) recommended by Dr. Feiz-Erfan. Adhering
24   to the specialists’ recommendations is the most narrowly drawn relief necessary to correct
25   the harm identified by Plaintiff.        Thus, Plaintiff’s request for relief satisfies the
26   requirements of the PLRA.
27                 6.      Bond Requirement
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                                                 - 16 -
 Case
  Case2:22-cv-00860-MTL--JZB
        2:20-cv-00623-JAT-JZB Document
                              Document 1-2
                                       173 Filed
                                            Filed05/19/22
                                                  12/07/21 Page
                                                            Page463
                                                                 17 of
                                                                    of 19
                                                                       465




 1          Rule 65(c) of the Federal Rules of Civil Procedure provides that “[t]he court may
 2   issue a preliminary injunction or a temporary restraining order only if the movant gives
 3   security in an amount that the court considers proper to pay the costs and damages sustained
 4   by any party found to have been wrongfully enjoined or restrained.”                  Despite this
 5   mandatory language, “Rule 65(c) invests the district court with discretion as to the amount
 6   of security required, if any.” Johnson v. Couturier, 572 F.3d 1067, 1086 (9th Cir. 2009)
 7   (internal quotation omitted). The district court may dispense with the filing of a bond when
 8   it concludes there is no realistic likelihood of harm to the defendant from enjoining his or
 9   her conduct. Id.
10          Here, Centurion Defendants have not requested a bond or submitted any evidence
11   regarding likely damages. Accordingly, the Court will waive the bond requirement.
12          Having met all requirements for injunctive relief, the Court will require Centurion
13   Defendants to provide Plaintiff with the epidural injection(s) and to re-start Plaintiff’s
14   prescription for Tramadol, unless a specialist recommends an alternative pain medication.
15          B.      Housing
16          As to Plaintiff’s request for different housing, ADC Defendants argue that this relief
17   is wholly unrelated to the remaining claims in this lawsuit and therefore inappropriate.
18   (Doc. 118 at 5.) In his First Amended Complaint, Plaintiff alleged that on July 12, 2019,
19   Defendant Days moved Plaintiff from the death-row wheelchair pod to the death-row
20   security threat group pod and housed Plaintiff in a cell without handicap bars, causing
21   Plaintiff to fall repeatedly while transferring to and from his wheelchair to his bunk and
22   toilet. (Doc. 36 at 5, 14.) ADC Defendants point out that the prison has now installed grab
23   bars in Plaintiff’s cell and the specific areas of the prison he requested. (Doc. 118 at 5,
24   citing Doc. 61; see also Doc. 37 at 28 (denying as moot Plaintiff’s request for grab bars in
25   his cell and shower).) Plaintiff does not address ADC Defendants’ argument that his
26   request for a transfer to a different unit is unrelated to his existing claims or requested relief.
27          “[T]here must be a relationship between the injury claimed in the motion for
28   injunctive relief and the conduct asserted in the underlying complaint.” Pac. Radiation



                                                   - 17 -
 Case
  Case2:22-cv-00860-MTL--JZB
        2:20-cv-00623-JAT-JZB Document
                              Document 1-2
                                       173 Filed
                                            Filed05/19/22
                                                  12/07/21 Page
                                                            Page464
                                                                 18 of
                                                                    of 19
                                                                       465




 1   Oncology, LLC v. Queen’s Med. Center, 810 F.3d 631, 636 (9th Cir. 2015); see Devose v.
 2   Herrington, 42 F.3d 470, 471 (8th Cir. 1994) (affirming denial of a preliminary injunction
 3   request based on alleged retaliatory conduct unrelated to the basis of a prisoner’s § 1983
 4   claim). Plaintiff’s requested relief for a transfer is unrelated to his claim about the lack of
 5   handicap bars in his cell and certain areas of the prison, which have been resolved, and
 6   there is no existing claim regarding 24-hour transfer assistance or that Plaintiff has
 7   requested and been denied such assistance. Accordingly, the Court will deny this request
 8   for relief.
 9           C.    Surgical Evaluation
10           Plaintiff filed his Motion on June 22, 2021, seeking “an immediate evaluation by an
11   orthopedic specialist to determine available surgical options that could treat and improve
12   his condition.” (Doc. 109 at 2.) Plaintiff’s expert, Dr. Davidson, recommended an
13   evaluation by either an orthopedic spine surgeon or neurosurgeon to determine his surgical
14   options. In his Reply, Plaintiff states that he “asked this Court to order an evaluation with
15   a neurosurgeon, and although he “was evaluated by such a specialist in late June, nothing
16   has yet come of that evaluation and consult.” (Doc. 125 at 5 n.2.) After he filed his Reply
17   on July 19, 2021, Plaintiff saw Dr. Feiz-Erfan a second time—on July 30, 2021—and Dr.
18   Feiz-Erfan recommended epidural injection(s) to relieve Plaintiff’s pain. Dr. Feiz-Erfan
19   did not include any recommendations or comments regarding surgical options in his report.
20           Because Plaintiff has now been evaluated by a neurosurgeon, and the Court has
21   already ordered compliance with Dr. Feiz-Efran’s recommendations for epidural
22   injection(s), this request for injunctive relief is moot.
23   IT IS ORDERED:
24           (1)   The reference to the Magistrate Judge is withdrawn as to Plaintiff’s Motion
25   for Temporary Restraining Order and Preliminary Injunction (Doc. 109).
26           (2)   Plaintiff’s Motion for Temporary Restraining Order and Preliminary
27   Injunction (Doc. 109) is granted in part as follows:
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                                                  - 18 -
 Case
  Case2:22-cv-00860-MTL--JZB
        2:20-cv-00623-JAT-JZB Document
                              Document 1-2
                                       173 Filed
                                            Filed05/19/22
                                                  12/07/21 Page
                                                            Page465
                                                                 19 of
                                                                    of 19
                                                                       465




 1                (a)    Within ten (10) days of the date of this Order, Centurion Defendants
 2         must re-start Plaintiff’s prior prescription for Tramadol, unless a specialist has
 3         recommended an equally effective alternative pain medication.
 4                (b)    Within ten (10) days of the date of this Order, Centurion Defendants
 5         must schedule the epidural injection(s) recommended by Dr. Feiz-Erfan unless the
 6         injection(s) have already occurred.
 7                (c)    Centurion Defendants must file a Notice with the Court within 20 days
 8         of the date of this Order, that Plaintiff has been re-started on Tramadol, or on an
 9         equally effective alternative pain medication recommended by a specialist, has
10         received at least one epidural injection, and when any future injections are
11         scheduled.6
12                (d)    This relief is narrowly drawn, extends no further than necessary to
13         correct the harm, and is the least intrusive means necessary to correct the harm. See
14         18 U.S.C. § 3626(a)(2).
15                (e)    Plaintiff is not required to post bond.
16         (3)    The Motion is otherwise denied.
17         Dated this 7th day of December, 2021.
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27            The Court recognizes that for security reasons, it may not be appropriate for
     Defendants to divulge the exact dates and times of the scheduled appointments for
28   injections. But Defendants’ Notice must include the week(s) in which the injection(s) are
     scheduled. Defendants may redact the day—but not the month or year—of the
     appointments or may seek to file the dates under seal for ex parte review.

                                                 - 19 -
